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                   COMMENTS ON THE SROAII,

       NINE CRITERIA ANALYSIS, PROPOSED PLAN

                    AND RELATED DOCUMENTS

                                October 29, 1992




                                     Submitted by:

                             Atlantic Richfield Company
                            Phillips Petroleum Company
                                 Shell Oil Company
                                     Texaco Inc.
                                         and
                           Union Oil Company of California




                                     Volume III


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                                 1.0     INTRODUCTION
1.1 HISTORY
1. The McColl Superfund site is an inactive waste disposal facility located in Fullerton,
    California (Figures 1.1 and 1.2). According to McColl site records, the facility accepted acid
    petroleum waste sludge between 1942 and 1946. This sludge, produced in the refining of
    aviation fuel for use by the military in World War n, was placed in 12 excavated sumps
    (Figure 1.3). Reports indicate that other types of waste, including construction debris and
    miscellaneous trash, have also been disposed of at the McColl site.

2. During the 1950s, at least three of the sumps on the eastern side of the McColl site were
   covered with drilling mud from various California oil fields. This side of the McColl site is
   now referred to as the Ramparts area. The western sumps were later covered with natural fill
   materials during the construction of the Los Coyotes Country Club golf course in the late
   1950s. This portion of the McColl site is known as the Los Coyotes area.

3. In September 1980, the California Department of Health Services (DHS) and the U.S.
   Environmental Protection Agency (EPA) began a joint investigation of the site. The first step
   in the investigation was an historical information search conducted for EPA by its Field
   Investigation Team (FIT) contractor, Ecology & Environment, Inc. (E&E). E&E prepared a
   report of its findings for EPA and, for the first time in a published document, identified the
   site as the McColl Hazardous Waste Disposal site. Site investigation activities have continued
   from 1980 to the present

4. In 1982, the McColl site was placed on the federal Superfund list (i.e., National Priorities
   List, or NPL). Based on the Remedial Investigation and Feasibility Study (RI/FS) conducted
   in 1982-1983 by Radian Corporation for the McColl Site Group (MSG) and DHS, it was
   determined by DHS and EPA that the appropriate remedial action was excavation, removal and
   transportation of the hazardous wastes from the McColl site to an offsite facility for final
   disposal. The EPA prepared a Record of Decision (ROD) in April 1984 selecting excavation
   and redisposal as the preferred remedial action.

5. A contractor (Canonic Engineers, Inc.) was hired by DHS and EPA to implement the selected
   remedial action. DHS and EPA selected the Petroleum Waste, Inc. (PWI) landfill in Kem
   County, California to receive the wastes for final disposal. However, before remediation of
   the site began, the Kern County Board of Supervisors filed a lawsuit asking that DHS be




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             OCEAN

               KEY PLAN                         ENVIRONMENTAL SOLUTIONS, INC
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                                                                          SITE LOCATION MAP


REFERENCE U S G S 75 MINUTE TOPOGRAPHIC QUADRANGLE                            McCOLL SITE
          MAP OF LA HABRA, ORANGE COUNTY, CALIFORNIA
          BASE MAP DATED 1964 AND PHOTOREVISED 1981                 ENVIRONMENTAL SOLUTIONS, INC
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    o ESTIMATED LOCATIONS OF
      EXISTING SEEPS




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                                        ROSECRANS AVE




                                                            FIGURE 1.3


                                                          SITE PLAN


                                                           McCOLL SITE
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    required to prepare an Environmental Impact Report (EIR) prior to implementing the
    excavation and redisposal action. On May 31, 1985, a Superior Court judge issued an
    injunction requiring the State of California to prepare an EIR for the McColl site remediation in
    accordance with the California Environmental Quality Act (CEQA).

6 . Subsequent to the court's decision, EPA chose to reevaluate remedial action alternatives for
    the site. EPA contracted with CH2M Hill to conduct additional waste, contaminated soil and
    ground water investigations at the McColl site. These field activities were performed at the
    site between November 1986 and June 1987.

7 . In June of 1987, the MSG proposed to the agencies a remediation approach which provided
    for limited excavation and redisposal of 5,000 cubic yards of waste materials, a perimeter
    cement/bentonite containment wall, berm stabilization and a Resource Conservation and
    Recovery Act (RCRA) equivalent cover with passive emission control system.

8 . In February 1989, EPA issued a "Supplemental Reevaluation of Alternatives" (SROA) in
    which the results of these investigations were provided along with an evaluation of the
    remedial alternatives under consideration for the McColl site. The SROA stated a preference
    for excavation and onsite incineration. At approximately the same time, DHS released a draft
    EIR (DHS, 1989). On May 30, 1989, the MSG provided extensive comments on the
    Agencies' findings and selection of remedy.

9 . In 1989, EPA performed a trial bum of McColl wastes at the Ogden Environmental facility in
    La Jolla, California. Reports were published in the fall of 1989, subsequent to which an
    onsite trial burn was cancelled. Later in 1989, EPA undertook treatability studies, the results
    of which have yet to be published In June 1990, EPA performed a trial excavation of a
    portion of a sump at McColl. A pre-publication report was issued in November 1990
    (EPA, 1990). In August 1990, EPA conducted a borehole drilling project on one of the
    McColl sumps. No report on this project has yet been issued. Ongoing ground water
    monitoring studies are reported periodically.

10. The MSG expressed concern for the preferred alternative in the SROA because of risks
    associated with excavation and added public exposure from incinerator emissions.
    Accordingly, in 1990, in response to a Section 122 Notice Letter, the MSG submitted the
    1990 Stabilization and Closure Plan prepared by Brown and Caldwell (MSG, 1990) which
    recommended remediation using a cap and slurry wall closure concept with procedures for



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    treatment of arsenic, in situ stabilization of the drilling muds, solidification of tarry material
    with gravel, and biofiltration and redundant systems for controlling organic emissions that
    might occur at the cap.

11. In November 1990, the MSG retained Environmental Solutions, Inc. to reevaluate
    technologies which could be applicable for McColl site remediation to determine if an
    alternative could be developed which potentially could satisfy the public, agencies, and the
    MSG. The MSG also retained the ENVIRON Corporation (ENVIRON) to perform a Health
    Risk Assessment of the alternative and compare it to the preferred alternative in the SROA. A
    primary objective of the Environmental Solutions, Inc. activity was to evaluate the alternative
    technologies sufficiently to allow a remediation scope of work to be developed which would
    include flexibility for the development of the most appropriate remedy during predesign
    investigation and design stages.

12. The Environmental Solutions, Inc., and ENVIRON study results indicated that complete
    excavation of the sumps cannot be justified because of the high risks to which the onsite
    workers and nearby residents would be exposed during the excavation period. It was
    concluded however, that the remedy should address the geotechnical instability problems with
    the drilling muds and tarry materials, and mobility potential for tarry materials to cause surface
    seeps. Also, removal of shallow materials with elevated arsenic concentrations could be
    accomplished without creating significant onsite or offsite risks. The principal purposes of
    subsequent studies, leading to this report, were therefore to:
    •    Develop a remediation approach which addresses EPAs concerns with
         respect to closure while avoiding the substantial risks associated with total
         excavation and incineration/thermal destruction.
    •    Compare the new remediation approach with those remedial approaches
         evaluated in the SROA.


1.2 SCOPE OF REPORT
1. This report determines: (1) if a selective excavation option exists which can be implemented
   safely at McColl, (2) solutions to the concerns expressed by EPA and DHS for the 1987 and




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   1990 plans proposed by MSG, and (3) types of predesign activities required to develop
   detailed procedures for implementing the most appropriate remedy. The investigation included
   the following major steps:
   •     The review of available site characterization data, including discussions
        with experts on refinery material properties, to develop a characterization
        of the range of conditions which exist within the sumps. This
        characterization is necessary to evaluate the technical feasibility for
        implementing any remediation procedures, and for defining predesign
         activities required to design details for the solution.
   •     The review of previously evaluated remediation alternatives, including
        quantitative and qualitative evaluations of how well each alternative
         satisfies the National Contingency Plan (NCP) criteria; and especially
        health risk and technical feasibility considerations.
   •     The review of past health and environmental risk evaluations, with
         contributions from ENVIRON, to determine how both short-term and
        long-term risks are affected by various alternative procedures; with special
        emphasis on comparisons of short-term risk due to remediation
         implementation, and long-term residual risks subsequent to site closure.
   •     The establishment of site remediation goals with special consideration of
         NCP criteria and risks, and impact on nearby residents due to onsite
         activities.
   •     The development of an approach involving selective excavation and
         treatment which goes beyond basic RCRA equivalent closure, but has the
        potential to significantly reduce the high implementation risks associated
         with total sump excavation and/or onsite incineration.
   •     The evaluation of the range of selective excavation and treatment options
         with respect to site conditions, technical feasibility, risk and schedule.
   •     Development by ENVIRON, of comparisons of short- and long-term
        risks of the selective excavation alternative with alternatives considered in
         the SROA.
   •     Identification of Applicable or Relevant and Appropriate Requirements
         (ARARs) which would have to be satisfied by the selective excavation
         alternative.
   •     A comparison of the degree to which the selective excavation alternative
         and the prior SROA alternatives satisfy the NCP criteria.
   •     The identification of predesign activities required to fully develop a design
         for the selective excavation alternative.

   Consistent with the approach taken in the SROA, a ground water study and monitoring
   program should be instituted but is not included in this report




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f*\   1.3 SOURCES OF INFORMATION
      1.   Chapter 11.0 summarizes the reference material used for the investigations described in this
           report The manner in which the references are identified in the text is by first giving the name
           of the source and its respective date. Examples would be: (EPA, 1988), (Radian, 1983), and
           (MSG, 1990).



      1.4 REPORT ORGANIZATION
      1. The remainder of this report is discussed in the following chapters, authored by the
          organization indicated by footnote:
           •    Chapter 2.0 -    Site Characteristics*1)
           •    Chapter 3.0 -    Remediation Alternatives Evaluated in the SROA^1'1
           •    Chapter 4.0 -    Risk Considerations*2*
           •    Chapter 5.0 -    Remediation Goals*1)
           •    Chapter 6.0 -    Development of Selective Excavation Alternative*1-'
           •    Chapter 7.0 -    Description of Recommended Alternative*1)
           •    Chapter 8.0 -    Recommended Alternative Risk Evaluation*3)
                Chapter 9.0 -    NCP Analyses*2)
                Chapter 10.0 -   ARARs Analysis*1)
                Chapter 11.0-    References*2^




      **) Authored by Environmental Solutions, Inc.
      *2) Co-Authored by Environmental Solutions, Inc. and ENVIRON
      *3) Authored by ENVIRON



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                              APPENDIX H

    McColl Superfund Site, Selective Excavation, Treatment
    and RCRA-Equivalent Closure Report, February 12,1991




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             McCOLL SUPERFUND SITE
           SELECTIVE EXCAVATION
                TREATMENT
                    AND
         RCRA EQUIVALENT CLOSURE
                   REPORT




                                February 12,1991




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                           2.0 SITE CHARACTERISTICS
2.1 SITE BACKGROUND
1. The McColl Superfund Site is located on approximately 22 acres adjacent to Rosecrans Avenue
   in the city of Fullerton, as shown in Figure 2.1 and illustrated in Figure 2.2. The site includes
    12 sumps, within a portion of the site encompassing approximately 8 acres, where alkalation
   process wastes were allegedly disposed during World War II and drilling muds were allegedly
   disposed in the 1950s. Elevated levels of arsenic, from unknown origin, have been found at
   one location in one sump. The sumps are divided into two basic groups, the Los Coyotes
   Sumps and Ramparts Sumps on the western and eastern portions of the site, respectively.
   Sumps in these two areas are further subdivided into the following groupings:
    • Los Coyotes Sumps
              East Los Coyotes Sumps L-1 and L-2
              West Los Coyotes Sumps L-3, L-4, L-5, and L-6
    • Ramparts Sumps
              Lower Ramparts Sumps R-l, R-2, R-3, and R-4
              Upper Ramparts Sumps R-5 and R-6

2. The Ramparts Sumps subdivision is logically made because of a steep slope area, which
   physically and logistically separates the upper and lower groups. The subdivision for the
   Los Coyotes Sumps is made primarily because the outside edges of this group of sumps
   slope (drain run-off) in separate directions.

3. The sumps are presently covered with approximately 1 to 5 feet of clean overburden. As a
   result, the wastes are generally not exposed to the atmosphere except at the locations of tarry
   material seeps.

4. The tar seeps extend through the overburden material at approximately 50 locations illustrated
   in Figure 1.3. The seeps have been a source of odors which have bothered nearby residents
   from time to time. The California DHS has an ongoing program to cover seep areas with
   plastic liners and soil as soon as they are observed to minimize such emissions. Preventing
   the seep conditions and isolation of the arsenic material would reduce long-term residual
   carcinogenic risks associated with the site to an estimated level of less than 1 x 10*11.

5. Most of the health risk associated with the sumps in their present condition is related to
   elevated arsenic concentrations, which exist at shallow depths in a portion of Sump R-l.
   Assuming that these materials could become exposed over time due to wind or water erosion,



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                                            ROSECRANS AVE.




               »V       L-2




      ESTIMATED LOCATION
      OF SUMPS

                                                      SITE TOPOGRAPHY



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                           SUMP BOUNDARIES                                         j
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                                                                       FIGURE 2 2

                                                                 PERSPECTIVE VIEW
                                                                         OF
                                                                EXISTING CONDITIONS

                       FENCE                                           McCOLL SITE

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    the risk assessment in the SROA indicates that ingestion and inhalation of dust from the
    arsenic would represent approximately 98 percent of the total health risk presently associated
    with the site.

6 . The close proximity of the residences to the site increases the concern for emissions which
    occur from the seeps or remedial activities. As illustrated in Figure 1.3, there are residences
    immediately adjacent to the entire eastern portion of the property and across Rosecrans Avenue
    at the northeast portion of the site. These residences are located at distances varying between
    60 and 300 feet from the sumps. Other surrounding land uses include:
    •     The Los Coyotes Country Club golf course to the south.
    •     A wooded slope area of the Frank B. Clark Regional Park to the west.
    •     Chevron Oil Company production field facilities to the north across
         Rosecrans Avenue.

7 . Ground water monitoring wells have been installed on and near the site, at locations shown in
    Figure 2.3 (MSG, 1990). Ground water in the regional aquifer was first encountered at a
    depth of at least 225 feet below ground surface (approximately 200 feet below deepest waste)
    in all previous test drilling operations directly on the site (MSG, 1990). One offsite well,
    located 800 feet from the site, encountered ground water at about 190 feet below ground
    surface.

8 . The wells have not indicated any significant contamination which may have occurred from the
    McColl Site sumps. A single finding of very low concentrations of benzene and thiophenes
    was reported in one well in one sampling period. The EPA has noted that this sampling may
    indicate some contamination from the sumps is now occurring. However, the geologic
    conditions at the site and chemical characteristics of the wastes make the potential for ground
    water contamination very remote. On that basis, the small levels of organics noted will not be
    consistently observed over long periods and that those noted may have been due to
    characteristics of the completed well. In either event, it is reasonable to conclude that the
    potential for major ground water contamination is very low considering the sumps have
    existed for 50 years with no special cover or closure provisions (MSG/ENVIRON, 1990).



2.2 GENERAL SITE CONDITIONS
1. The overall slope trend at the site is from north to south as illustrated in Figures 2.1 and 2.2.
    This trend is disrupted toward the west side of the site where a wide shallow swale exists
    which drains rainfall run-off from approximately the western two-thirds of the property.



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                                                   ROSECRANS               AVENUE
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                                                                               EC
                                                                                                          FIGURE 2.3
                                                     Ifor
                                                      CD
LEGEND                                                l<                                               GROUND WATER
                                                   wio                                           MONITORING WELL LOCATIONS
A SHALLOW WELL LOCATION AND DESIGNATION
O DEEP WELL LOCATION AND DESIGNATION
                                                                                                          McCOLL SITE

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    The Los Coyotes Sumps exist on an elevated knoll area adjacent to this drainage swale,
    and run-off from the west Los Coyotes Sumps primarily drains toward the swale.

2. The eastern side of the knoll containing the Los Coyotes Sumps slopes fairly steeply toward
   the east to a narrow drainage channel existing just to the west of the property lines of the
   adjacent residences. The steepness of this slope decreases from north to south and becomes
   relatively gentle as the knoll blends into the abutting golf course.

3 . Topography in the Ramparts Sumps areas is characterized by relatively flat zones in the
    two upper and lower groupings. The slope downward from the Upper Ramparts Sumps is
    relatively steep and appears to represent the outside slope of berms constructed to form those
    original depressions. The slope downward from the Lower Ramparts toward the adjacent
    residences is also relatively steep and appears to form the outside slope of the berms used to
    form those sumps. Drainage from the Ramparts portion of the site generally occurs as
    sheetflow toward the south, until it encounters a drainageway immediately north of adjacent
    residences.

4 . The northwestern portion of the site has been extensively graded primarily to establish
    parking lots and staging areas for remediation activities, which were to be initiated in 1984
    (see Section 1.1). Presently, the majority of this graded area is vacant except for the storage
    of drums and stockpiles containing materials from borings and the 1990 trial excavation
    (EPA, 1990) and an existing decontamination facility near the center of the site.

5 . Subsurface and hydrogeologic conditions for the site area have been described in previous
    site study reports (see Chapter 11). Subsurface strata at the site consists of finely interbedded
    layers of clay, sandy clay, silts, and clayey sands. This interbedded type of stratigraphy can
    prevent or retard the downward migration of infiltrating rainwater and may in part account for
    the natural protection to ground water which has been observed.

6 . Ground water exists at a depth of approximately 225 feet below the ground surface. The
    gradient of this ground water generally is toward the southwest. The nearest known water
    supply wells are two wells operated by the City of Fullerton located south and slightly east of
    the site at a distance of approximately one-half mile. Monitoring wells located downgradient
    from the site in the shallow aquifer do not contain any contaminants in concentrations that
    exceed applicable standards. Static ground water elevations in these wells are consistent with
    the potentiometric surface encountered in the McColl site monitoring wells.


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2.3 SUMP CONDITIONS
1 . Preliminary characterization of the sumps can be developed using information from the
    following three references:
    •    "Physical and Chemical Characterization and Distribution of Waste at the
         McColl Site," prepared in 1983 by Radian.
    • The SROA report, prepared by CHiM Hill in 1989, which includes
         appendices describing subsurface investigations used to supplement the
         earlier Radian work.
    •    The technical evaluation report for the 1990 trial excavation (EPA, 1990),
         which describes in detail the conditions encountered at one portion of
         Sump L-4.

2 . Although additional, more detailed sump characterization work will be required during a
    predesign portion of a remediation program (see Section 7.2.10), the existing data does show
    sufficient consistency to characterize conditions in the sump to adequately develop and
    evaluate conceptual remediation alternatives. The following paragraphs summarize the
    characterization of sumps used in this report, as illustrated in Figure 2.4.

3 . The available boring data and experience from the test excavation show that the bottom portion
    of the sumps is composed of an asphaltic-type material, which is described as a hard char or
    coal-like material in various boring logs. This material typically has an inorganic ash content
    in the 50 to 60 percent range. Discussions with an oil refinery expert (Beychok, 1990)
    regarding published data from the McColl site time period (SRP, 1942) indicate that most
    likely the origin of this hard asphaltic-type material is through the natural auto-oxidation
    process, which occurs in sulfuric acid sludges over time.

4 . Materials overlying the asphaltic material are significantly different between the Los Coyotes,
    Upper Ramparts, and R-3 Sumps; and the Lower Ramparts, R-l, R-2, and R-4 Sumps. The
    main difference is that, in one case, the overlying material consists primarily of overburden
    soil placed onto the sumps. The majority of overlying material in the three Lower Ramparts
    Sumps, on the other hand, consist of drilling mud disposed in the 1950s. These sumps also
    include a thin overburden soil cover varying in thickness between 0.5 to 2 feet, which was
    placed above the drilling mud in 1984.

5. The available drilling data, the existence of tar seeps at approximately 50 locations above nine
   of the sumps, and the trial excavation experience, indicate that tarry-type material exists above
   the asphaltic material for some portion of the overall sump areas. This material has organic



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                                                                        TARRY MATERIAL-
       [-0
                                            CLEAN OVERBURDEN

                                        MIXED SOIL AND TARRY MATERIAL
       -10




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       L
       -30




                                   LOS COYOTES. UPPER RAMPARTS. ANO
                                       LOWER RAMPARTS R-3 SUMPS



              MIXED DRILLING MUD                         POTENTIAL ZONE OF
              AND TARRY MATERIAL                         SHALLOW ELEVATED
                                                         ARSENIC
       TARRY
       MATERIAL




lu -10



  -20



 •-30




                                   LOWER RAMPARTS R-1, 2, AND 4 SUMPS




                                                                                            40 FEET

                                                                  APPROXIMATE SCALE

                                                                               FIGURE 2.4


                                                                    ESTIMATED AVERAGE
                                                                     SUMP CONDITIONS

       CONCEPTUAL ILLUSTRATION OF TAR                                         MCCOLL SITE
              SEEP CONDITIONS                              ENVIRONMENTAL SOLUTIONS, INC.
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    characteristics similar to those of the asphaltic material, but an ash content of only about
    2 percent. The factors causing this tar to occur are not specifically known, but it may have
    naturally evolved as a film above the asphaltic material when inert constituents partially settled
    prior to its solidification.

6. Initially, in this investigation it was assumed that the most appropriate preliminary
   characterization would have been to assume that a 1- to 2-foot layer of tarry material existed
   fairly uniformly above the hard asphaltic material in each of the sumps. However,
   considering the manner in which the overburden soils and drilling muds would have been
   placed in the sumps, and the fact that soil borings and the trial excavation indicate a
   nonuniform distribution, a reasonable hypothesis would be that the tarry material existing
   above the hard asphaltic layer would have been "mud waved" across the sump bottom as the
   overlying, heavier material was deposited into the sump. This activity would result in more
   concentrated zones of tar, which could be thicker at some locations, such as at the trial
   excavation in Sump L-4. As depicted in Figure 2.4, the resulting characterization would be
   the occurrence of many locations where the tarry material would be very thin, and a variety of
   buried "pockets" where the tarry material may be in thicknesses ranging up to as much as
   several feet In addition to its chemical characteristics, the tarry material is an important factor
   for remedy evaluation because of its inherent low stability characteristics in a geotechnical
   sense, and its mobility potential as evidenced by the existence of seeps at the top of the
   overburden soils.

7 . The exact mechanism that causes these seeps to occur is not presently known. However, it
    is reasonable to anticipate that the source is at least partially related to geostatic pressure
    within buried tarry zones caused by the weight of the overburden material. This could be an
    important factor for evaluating remediation requirements because, if pressure is the major
    factor for causing tar seepage, it would be reasonable to assume that conditions are presently
    at a state near equilibrium. It is possible that the rate of seepage and the number of seeps
    could change (probably increase) if additional weight were applied to the sumps in the form of
    a closure cap. Therefore, an important design consideration for cap installation would be to
    account for deformations or movement which could occur due to tarry material instability in a
    procedure to assure additional seepage would not impair the usefulness of the cap. As an
    alternative, zones of thickest tar, especially in areas of existing seeps, should be excavated if
    removal can be safely accomplished.




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8. Figure 2.4 illustrates how available boring data shows that the bottom portion of the
   overburden appears to be mixed, to varying degrees and thicknesses, with a tarry-like
   material. At several feet above the asphaltic material, the overburden generally becomes clean
   (i.e., tar-free). Figure 2.4 illustrates a similar mixed zone at the base of the drilling mud for
   Sumps R-l, R-2 and R-4. Available data indicates that the top portion of the drilling mud
   does not appear to be affected by the underlying organic materials.

9. Figure 2.4 also illustrates the existence of a zone of elevated arsenic concentrations within one
   location in Sump R-l, approximately in the interface between the thin overburden material and
   the drilling mud. The source of this arsenic is not known. Available data indicates that the
   areal extent of the elevated arsenic zone is relatively small.

10. Chemical and general physical characteristics of the various sump materials are summarized in
    Table 2.1. Key characteristics estimated for the following sump materials are summarized in
    Figures 2.5 through 2.9:
        Elevated Arsenic
        Drilling Mud
        Mixed Soil/Drilling Mud and Tarry Material
        Tarry Material
        Asphaltic Material

    These figures illustrate several characteristics which are important for evaluating risks and
    problems associated with the various materials. The elevated arsenic is primarily located near
    the top of the drilling mud (in Sump R-l). SOa emissions, which would represent major
    excavation difficulties and worker and community risks, are associated primarily with the tarry
    and asphaltic materials, although moderate emissions are also related to the mixed materials.

11. The depth of each material is an important consideration if an open excavation were to be
    attempted because of related potential effects on excavation equipment suitability and side wall
    slope stability. The indicated maximum depths of the drilling muds, mixed materials and tarry
    wastes could create significant problems for large excavation areas, especially with heavy
    equipment located adjacent to excavation slopes consisting of materials with low geotechnical
    strength. Large scale excavation to the 30-foot maximum depth of the asphaltic materials
    using available types of equipment probably would be impossible. Although excavators or
    backhoes with extended arms can reach this deep in trenches, their use for a large excavation




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                                                Arsenic - 50 to 5,000 ppm
                                                SO2 Emission Rate - None/Low
   SHALLOW ELEVATED ARSENIC
                                                Average Depth - 2.5 ft.
                                                Volume -1,800 c.y.
                                                Migration Potential - None/Low
                                                Existing Geotechnical
                                                Instability Potential - Low



                                                                        FIGURE 2 5


                                                                 CHARACTERISTICS OF
                                                                  ELEVATED ARSENIC

                                                                       McCOLL SITE
                                                                                                                    K>

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                                                •    Arsenic - Low
     DRILLING MUD                               •    SO2 Emission Rate - Low
                                                •    Maximum Depth -13 ft.
                                                •   Volume -10,900 c.y.
                                                •   Migration Potential - None
                                                •   Existing Geotechnical
                                                    Instability Potential - High



                                                                       FIGURE 2.6


                                                                 CHARACTERISTICS OF
                                                                    DRILLING MUD

                                                                       McCOLL SITE
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                                                                  •     Arsenic - Low
                 MIXED SOIL/DRILLING MUD                          •     SO2 Emission Rate - Moderate
                 AND TARRY MATERIAL
                                                                  •     Maximum Depth -16 ft.
                                                                  •     Volume -19,100 c.y.
                                                                  •     Migration Potential - Low
                                                                  •     Existing Geotechnical
                                                                       Instability Potential - Low



                                                                                                   FIGURE 2.7

                                                                                             CHARACTERISTICS OF
                                                                                           MIXED SOIL/DRILLING MUD
                                                                                             AND TARRY MATERIAL
                                                                                                  McCOLL SITE
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                                                                            Arsenic - None
                                    r TARRY MATERIAL                        SO2 Emission Rate - High
                                                                            Maximum Depth -17 ft.
                                                                            Volume - 5,900 c.y.
                                                                            Migration Potential - High
                                                                            Existing Geotechnical
                                                                            Instability Potential - High



                                                                                                   FIGURE 2.8


                                                                                            CHARACTERISTICS OF
                                                                                              TARRY MATERIAL

                                                                                                  McCOLL SITE
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                                    ASPHALTIC MATERIAL
                                                                            Arsenic - None
                                                                            SO2 Emission Rate - High
                                                                            Maximum Depth - 30 ft.
                                                                            Volume - 48,000 c.y.
                                                                            Migration Potential - None
                                                                            Existing Geotechnical
                                                                            Instability Potential - None


                                                                                                   FIGURE 2.S


                                                                                             CHARACTERISTICS OF
                                                                                             ASPHALTIC MATERIAL

                                                                                                  McCOLLSITE

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                                                                                        TABLE 2.1

                   PRELIMINARY ASSESSMENT OF CHEMICAL AND GENERAL PHYSICAL CHARACTERISTICS OF WASTE

                                                                                                                                                         PHYSICAL              SPECIAL
                                                                                       SIGNIFICANT                                  LEACHATE
MATERIALTYPE              LOCATION                 PH            ASH CONTENT
                                                                                          METALS
                                                                                                                    TOC           SULFATE (mg/L)
                                                                                                                                                        CHARACTER-           CHARACTER-
                                                                                                                                                          ISTICS                ISTICS
Clean Overburden       Los Coyotes         Similar to local soil High, about 80%.     Acceptable heavy        About 1%.           Low                 Soil like.           None
                       Upper Ramparts      pH 7.0 to 8.5.        Typical for soil.    metals content.
                       Lower Ramparts
                       No Overburden

Soil or Waste          Sump R-l            Probably acidic due Expected to be         Other than arsenic High if tarry, low       Expect low in soil, Expected to be the   High values
Containing             Generally near      to proximity to     high.                  (1 to 5 feet depth), if soil.               higher in waste.    same as              generally limited to
Elevated Arsenic       surface             waste surface.                             only barium                                                     overburden or        small areas in
                                                                                      averages about four                                             mixed soil and       upper 1 to 5 feet of
                                                                                      times background                                                tarry waste.         Sump R-l.
    e
                                                                                      near surface.

Drilling Muds          Lower Ramparts      Generally pH 7.0     No data available,    Expect high barium Ranges from 2 to  Averages about             Soft wet             Generally high
                       R-ltoR-4            to 8.0. One sample   but assumed to be     detected since      58% depending on 96,000; maximum            thixotiophic clay    moisture content.
                                           (pH 2.0) has high    high except for       barium sulfate is a tar content.     351,000. High              with moisture        One sample with
                                           tar content.         high tar sample.      constituent of                       values indicate            content of 25 to     high TOC;
                                                                                      drilling muds.                       possible contact           60%.                 probably not
                                                                                                                           with sulfuric acid.                             drilling mud, but
                                                                                                                                                                           tar.

Mixed Soil and         At interface in     Since tarry material Expect intermediate   Would expect to         TOC level depends   Depends on tar      Black sticky soil.   It is assumed that
Tarry Waste            Los Coyotes and     is characterized by ash about 35%.         have acceptable         on tar content      content Ranges                           this mixing
                       Upper Ramparts.     low pH, would                              heavy metals            Average of 5        5,000 to 238,000                         occurred as
                       Limited amount in   expect mixture in                          content because         samples 34%.        mg/L over 5                              overburden was
                       Lower Ramparts.     range pH 1 to 4.                           neither soil nor tars                       samples. Average                         placed on tarry
                                           Data shows 1 to                            have high metals.                           131,000 mg/L.                            waste.
                                           3.5 with one
                                           sample 7.5.

Tarry Waste            In all sumps.       Acidic pH<1.0 to     Unmixed tar about     Very low metals         Very high TOC,      High acidity        Black with high      Unmitigated SO2 ,
                                           2.0                  2% ash.               content                 maximum 61%.        corresponds to      viscosity.           benzene, and THT
                                                                                                                                  high teachable                           emissions
                                                                                                                                  sulfate. Average                         estimated from trial
                                                                                                                                  for Ramparts and                         excavation at 4,000
                                                                                                                                  Los Coyotes                              to 40,000 ppm.
                                                                                                                                  203,000 mg/L.                            12 to 160 ppm,
                                                                                                                                                                           and 5 to 43 ppm,
                                                                                                                                                                           respectively.




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    above materials with low strength would be extremely risky; especially with consideration of
    the health effects (Chapters 4.0 and 8.0) of high SCh emissions on workers if an accident
    were to occur.

12. The volumes shown in Figures 2.5 through 2.9 are based on material thicknesses determined
    from borings at each sump. The side slopes of the original sumps are estimated to be
    approximately 1:1 based on the interpretation of borings. The shallow elevated arsenic
    material represents only about 2 percent of the total waste volume. At the other extreme, the
    deep asphaltic material represents approximately 56 percent of the total waste material volume.

13. The final data on these figures illustrate the major geotechnical problems associated with the
    various materials. These are:
    •    Only the tarry material has a high potential to be mobile. This condition is
         indicated by the seep conditions at the site.
    •    The two materials which have highest potential to cause geotechnical
         problems are the soft drilling mud and the tar. The mixed materials could
         have low geotechnical instability, but only near the tarry material interface.

    The asphaltic material represents neither a mobility nor a geotechnical stability problem.
    Figure 2.10 provides a qualitative summary of the relative problems associated with each of
    the sump materials for existing conditions.




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                                                   PROBLEM        POTENTIAL   POTENTIAL   MIGRATION             CAP
                                                                   HEALTH     EXPOSURE    POTENTIAL         INSTABILITY
                                             MATERIAL                RISK




§
LJJ
U^


ex.
8
                                                                                      RELATIVE PROBLEMS WITH
      L-30
                                                                                        EXISTING CONDITIONS

                                                                                              McCOLL SITE
  BASED ON DATA FROM THE SROA                                                                                                         to
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                                   Exhibit 43
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 3.0 REMEDIATION ALTERNATIVES EVALUATED IN THE SROA

3.1 GENERAL
1 . This chapter describes the remediation alternatives currently being evaluated by EPA and DHS
    so that comparisons can be made with the selective excavation alternative recommended in this
    report.

2. As discussed in Chapter 1.0, in 1989 the EPA undertook a Supplemental Reevaluation of
   Alternatives (SROA) to reconsider options for site remediation/closure. Per NCP
   guidelines, the SROA evaluated three categories of remedial alternatives. The categories
   were: (1) no action, (2) treatment alternatives, and (3) containment options. From the
   three alternative categories, the following four specific alternatives were selected by the EPA
   for evaluation in the SROA:
   • Excavation and Redisposal
   • RCRA Equivalent Onsite Containment
   • RCRA Equivalent Closure
   • Excavation and Onsite Incineration

    These remedial options are discussed below. Chapter 8.0 discusses risks associated with the
    selective excavation option and one of the SROA alternatives. Chapter 9.0 provides both an
    individual and a comparison analysis of the selective excavation approach and four SROA
    alternatives per the NCP criteria.


3.2 OPTIONS INCLUDED IN SUPPLEMENTAL REEVALUATION OF
       ALTERNATIVES (SROA)
3.2.1 TOTAL EXCAVATION AND REDISPOSAL
1. The excavation and redisposal alternative considered in the SROA was primarily based on the
     1983 alternative evaluated by the DHS. The prior DHS alternative was updated to reflect
     revised transportation plans (Canonic, 1985) to redispose of the wastes at Petroleum
     Waste, Inc. in Buttonwillow, California. In addition, more recent air quality modeling
     studies indicated that a more substantial excavation enclosure would be required to prevent
     exposure of the surrounding neighborhood to air emissions from the excavation process.

2. The excavation and redisposal alternative evaluated would involve the complete removal of the
   arsenic-containing materials, overburden, drilling muds, mixed wastes, tarry wastes and
   asphaltic wastes from both the Ramparts and Los Coyotes sumps, with the wastes being
   transported and redisposed in a permitted Class I landfill. As part of this excavation,



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    significant portions of the overburden, berm material and underlying soils would also be
    excavated and disposed in a Class 1 or 2 landfill. The SROA failed to consider RCRA's Land
    Ban Restrictions.

3. The excavation and redisposal alternative would rely heavily on the use of temporary and
   permanent odor suppression foams to control air emissions, and deodorants to control odors.
   This alternative would also include the use of an excavation enclosure or tent to collect residual
   emissions. The collected emissions were to be treated by scrubbing to remove SO2, and
   incineration to destroy hydrocarbons. All emission calculations preceded the trial excavation.

4. Redisposal of the excavated waste materials would require transportation of these materials
   over long distances. However, the location of the redisposal site was not considered in this
   alternative.



3.2.2 RCRA EQUIVALENT ONSITE CONTAINMENT
1. This alternative would involve the onsite construction of a secure hazardous waste landfill.
     The landfill would meet the current federal and state requirements for landfill construction.
     The arsenic-containing materials, overburden, drilling muds, mixed wastes, tarry wastes,
     asphaltic materials and underlying soils would be excavated from the sumps, and placed in the
     landfill unit. After the excavation was completed and the wastes transferred to the landfill
     unit, the landfill would be capped and closed in compliance with the federal and state
     regulations. Air emissions during excavation would be controlled by the use of foams, and by
     neutralization using lime. To prevent exposure of contaminants to the residents, the emissions
     were to be controlled by the use of enclosures and air treatment systems. The air treatment
     system would consist of a flare or a passive granular activated carbon adsorption system.

2. The onsite containment alternative would consist of the following three major systems:
   • A composite liner system including leachate collection.
   • A multilayer cover system.
   • A gas collection and treatment system to collect and control air emissions.

3. The onsite landfill or landfills would be located in one of the following areas:
   • The Ramparts sump area
   • The Los Coyotes sump area
   « The current parking lot area




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3.2.3 RCRA EQUIVALENT CLOSURE
1. The RCRA equivalent closure alternative evaluated in the SROA would include the installation
     of a cover system and the lateral containment of the wastes, with an in situ low permeability
     cutoff wall around the perimeter of the waste areas.

2. The low permeability cover considered would include provisions for a gas collection layer,
   which would use either carbon adsorption or a flare system to treat offgases after capping.
   The alternative also would include provisions to improve the geotechnical stability in the
   drilling mud areas, prior to installing the cap by adding geotextile and crushed rocks to control
   differential settlement.

3. This alternative would also include provisions for the improvement of slope stability by
   installation of crib walls and pile supports.



3.2.4 EXCAVATION AND ONSITE INCINERATION
1. The excavation and onsite incineration alternative would include: excavation of the
     arsenic-containing soils, drilling muds, mixed soils, tarry wastes, asphaltic wastes and
     underlying soils; pretreatment of the wastes to achieve acceptable consistency; incineration of
     the wastes; and disposal onsite of the incineration residue. Excavation procedures for this
     alternative were considered to be the same as those for the excavation and redisposal, and the
     excavation and onsite containment options.

2.   Air emissions from the excavation would be controlled by the use of foams, lime and
     enclosures, as described for the RCRA equivalent onsite containment option.

3. After excavation, the wastes would be pretreated with lime to reduce the acidity, and
   physically sized using a vibrating grid to produce an acceptable consistency for incineration.
   The wastes would be incinerated using a rotary kiln system, with an air emissions control
   system. No special emissions control provisions would be provided for arsenic or chromium
   volatilizations.

4.   After incineration, the residual ash, which potentially could be hazardous due to metal content,
     would be redisposed onsite. If the ash were found to be hazardous, the ash would be




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/*****•        disposed of using the RCRA equivalent closure plans; however, if the ash were found not to
               be hazardous, the material would be backfilled onsite without a liner and covered with clean
               soil. Alternatively, the ash could be sent to a RCRA Class I facility.

          5.   In addition to the waste residual disposal, approximately 28,500 tons of alkaline scrubber
               waste would also be generated and would require treatment and/or disposal.




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        4.0 SUMMARY OF BASELINE RISK ASSESSMENT AND
                   REMEDIATION OBJECTIVES
4.1   INTRODUCTION
1. In the February 1989 Supplemental Revaluation of Alternatives (SROA), the EPA issued a
   Public Health Assessment for the McColl Site. The Companies, assisted by ENVIRON,
   provided comments on the Public Health Assessment in May 1989. ATSDR also performed a
   preliminary site assessment in 1989. In April 1990, the Companies submitted a Risk
   Assessment on the four alternatives under consideration by EPA. In September 1990, EPA
   issued EPA's Pre-Publication Report, Technology Evaluation Report, SITE Program
   Demonstration of a Trial Excavation at the McColl Superfund Site (Trial Excavation Report)
   dated September 1990 which provides significant new data and information with respect to the
   concentrations of emissions related to total excavation, the effectiveness of foams and other
   worker and community safety concerns. Contemporaneously with this document, the
   Companies are submitting their comments on the Trial Excavation Report. All of the above
   documents have been relied upon by ENVIRON in the preparation of the Public Health
   Assessment for the Selective Excavation, Treatment and RCRA Equivalent Closure
   Alternative, and are hereby incorporated by reference. In this Chapter, we provide a review of
   the baseline (i.e., No-Action Alternative) public health assessment, so as to lay a foundation
   for our remediation goals. In preparing our review, which is essential to the establishment of
   remediation goals, we provided information based upon the EPA's trial excavation.



4.2 GENERAL
1. In the selection of remedial alternatives for hazardous waste sites, the NCP requires weighing
    such factors as long-term residual risk reductions posed by a site against the short-term
    (implementation) risks associated with the remediation activities themselves. To provide
    background information to such a decision for the McColl site, this chapter describes the
    health risks posed by the site in its current condition. These are the risks that an acceptable
    remediation plan must mitigate.

2. Four remedial alternatives were proposed in the SROA: Total Excavation and Redisposal,
   RCRA-Equivalent Onsite Containment, RCRA-Equivalent Onsite Closure, and Total
   Excavation and Incineration. A fifth remedial alternative is proposed herein: Selective
   Excavation, Treatment and RCRA-Equivalent Closure. All five remedial alternatives purport
   to meet NCFs criterion to be protective of human health and the environment. To determine




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    ^(R<^       which alternative is preferred, it is necessary to understand the nature of the baseline risks at
•               the McColl site, the residual risks resulting from each remedial alternative, and the
                implementation risks resulting from each remedial alternative.

            3. This Chapter summarizes the baseline risks associated with the McColl site and the goals that
               any remediation alternative proposed must meet. Chapter 8 presents the residual and
               implementation risks as well as transportation risks of each remedial alternative.



            4.3 BASELINE RISKS
            1. As described in the SROA, 98 percent of the total cancer risk estimated for the McColl site
               under current conditions is attributed to arsenic in the top 1 foot of soil (Figure 4.1). This is
               only 2 percent of the volume of the McColl waste. The remaining cancer risk is attributed to
               benzene and methylene chloride vapors coming from the buried wastes. In separate health
               assessments of the McColl site, the California Department of Health Services (1983) and the
               Agency for Toxic Substances and Disease Registry (ATSDR, 1989) also expressed concern
               about potential for direct skin contact with acidic seep material that occasionally appears on the
               surface of the site.

            2. Ingestion of arsenic-bearing soil is the largest single source of risk estimated for the site,
               accounting for over 70 percent of the total estimated cancer risk (SROA). This estimate is
               based on the assumption that an individual enters the site every day for a 70 year lifetime and
               that all of the soil a person is assumed to eat over a lifetime comes from the surface of the
               McColl site (SROA). Inhalation of arsenic in dust blowing from the site is the second largest
               source of the estimated risk for the site, accounting for approximately 28 percent of the total
               cancer risk (SROA).

            3. As noted in the SROA, the elevated arsenic responsible for the high risk attributed to soil
               ingestion and dust inhalation is localized in one sump, R-l, in the Ramparts area. The average
               arsenic levels reported for surface soil in the Los Coyotes Sumps area of the site is only
               slightly elevated above local background (2.8 vs. 1.5 mg/kg). The higher average
               concentration in the Ramparts Sumps is largely determined by two measurements, 5,480
               mg/kg and 316 mg/kg (CHaM Hill 1987), both in R-l. The other surface samples in the
               Ramparts sumps all had arsenic concentrations under 10 mg/kg (CHaM Hill 1987).




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          ARSENIC
            2%


                                                                             ARSENIC
                                                                               98%
                                                                              7x1(T 4




                                                                                              ALL OTHER WASTE
                                                                                                      2%
                                                                                                    1 x 1 0 -5
                    WASTE VOLUME ESTIMATE                               ASSOCIATED RISK FOR
                                                                         UNREMEDIATED SITE




                                                                                                FIGURE 4.1

                                                                                             WASTE VOLUME
                                                                                                 AND
                                                                                           RISK RELATIONSHIP
                                                                                                McCOLL SITE
BASED ON DATA FROM THE SROA
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      4 . The SROA estimated a cancer risk of 1 x 10"6 from inhalation exposure to methylene chloride
          and benzene diffusing through a 5 foot soil layer and emitted into the air. Volatile emissions
          from buried wastes would increase if the site was not managed and the soil cover allowed to
          erode. The cancer risk increased to 2 x 10*3 in the absence of a soil cover (SROA).

      5 . The seeps that occasionally appear on the site have been associated with nuisance odor and the
          potential for skin bums via direct contact with the acidic seep material (ATSDR 1989,
          CDHS 1983). Based on an evaluation of air sampling performed after an odor episode
          attributed to a waste seep, the California Department of Health Sciences concluded that, ". . .
          air monitoring has indicated that no unhealthful levels are reached in these odor episodes"
          (CDHS 1989).



      4.4      HEALTH ISSUES ASSOCIATED WITH EXCAVATION
      4.4.1 SO2 EFFECTS
      1 . Emissions of SOa caused by total excavation of the McColl site pose potentially serious
           irreversible health effects and conceivably death to remediation workers. Full-scale excavation
^^^        will generate SC»2 levels that are consistently above 100 ppm, a level that is considered
           Immediately Dangerous to Life or Health ("IDLH") by NIOSH (1990). During the trial
           excavation, maximum SO2 levels averaged approximately 600 ppm within the enclosure on
           days that actual excavation occurred. Based on the trial excavation data, ENVIRON estimates
           SO2 levels within the enclosure will reach 4,000 to 40,000 ppm during full-scale excavation.

      2 . These levels of SOa are well above IDLH levels. In the event of failures in the respiratory
          protective equipment workers will be required to wear, workers may be overcome within
          minutes, before they are able to escape. If SO2 levels are at the higher end of the predicted
          range, even the 10,000-fold protection factor afforded by the Level A PPE may not be
          sufficient to protect workers from being exposed to levels in excess of OSHA's permissible
          exposure level of 2 ppm. Therefore, it is anticipated that full-scale excavation will result in
          workers' exposure to SOa that are clearly unacceptable.

      3 . Sulfur dioxide emissions routinely escaping from the enclosure during full-scale excavation
          are expected to exceed California and proposed national ambient air quality SC*2 standards. In
          the event of significant leakage or complete collapse of the enclosure, the SOa levels could
          remain virtually undiluted for up to 200 feet downwind under low wind conditions. In such
          an instance, nearby residents may be exposed to SO2 levels many times above IDLH levels.


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              Thus, it is anticipated that full-scale excavation will result in nearby residents being exposed to
              unacceptable levels of SO2.


          4.4.2 TOTAL HYDROCARBON EFFECTS
          1. Total Hydrocarbons (THC) emissions from excavation and waste processing create an
               additional health concern for workers and the community. Exposures and risks from
               individual THC constituents cannot be evaluated because speciation data collected during the
               trial excavation was declared invalid. Radian (1983), however, reported that benzene
               constituted 6 to 80 percent of THC in air at the site. Even assuming benzene comprises just
               6 percent of THC, the level of benzene in the air would exceed the State's Applied Action
               Level (AAL) of 2.2 x 10'5 ppm if THC levels exceeded 3.7 x 1Q-4 ppm. We note that under
               the Community Contingency Plan, site excavation can proceed as long as THC levels at the
               perimeter remain below 70 ppm for thirty seconds. Thus it is possible that THC levels could
               remain well below the limit established in the CCP (i.e., 70 ppm for 30 seconds) and still
               correspond to levels above the THC level (i.e., 3.7 x 10"4 ppm) that corresponds to the State's
               AAL for benzene. Determining the actual risk posed to the community by benzene emissions
               during excavation will require the acquisition of data to characterize the constituents of the
f/!***>
              hydrocarbon mixture that will be released during waste excavation and processing.


          4.4.3 TETRAHYDROTHIOPHENE EFFECTS
          1. Tetrahydrothiophene (TUT) and related sulfur compounds will be released during the
               excavation of McColl site wastes. It is anticipated that the THT levels within the enclosure
               during full-scale excavation will be so high that even Level A PPE will not be sufficient to
               protect workers against these foul-smelling compounds. It is anticipated that the THT levels
               during full-scale excavation will be well above THTs odor threshold in nearby communities
               causing discomfort, anxiety, and possibly other adverse health effects among the residents.
               The odor problem will need to be addressed for each proposed remedial alternative for the
               McColl site, especially in light of the proximity of homes from the site.




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4.5 REMEDIATION GOALS
1. Any remediation alternative proposed for the McColl site must attain residual risk levels within
   the NCP cancer risks criterion of 1 x 10"6 to 1 x 1Q-4 and a hazard index for non-cancer effects
   of less than 1.0. Potential odor and other aesthetic problems also should be mitigated. Thus,
   an appropriate remedial alternative at the McColl Site should:
   • Eliminate or reduce exposure by direct contact and paniculate emissions from arsenic-
        containing materials;
   • Eliminate or reduce exposure to volatile organic compounds;
   • Eliminate the potential for direct contact with seeps and inhaling volatile
        chemicals liberated from seeps;
   • Eliminate or reduce the appearance of new seeps to reduce any exposure
        to odor or volatile organic compound emissions associated with new
         seeps.

2. The appropriate remedial alternative should reduce residual risks to acceptable levels without
   increasing significantly the risks to workers and nearby residents during its implementation.
   The appropriate remedial alternative should address such site-specific issues as the nature of
   the wastes (high levels of SC>2 and reduced sulfur compounds), the quantity and disposition of
   the wastes within the sumps (small quantities of carcinogenic wastes near the surface and large
   quantities of malodorous compounds near the bottom of the sumps), and the relative proximity
   of the sumps to residential neighborhoods.

3. Besides exposure to carcinogenic compounds such as arsenic and benzene, workers may also
   be exposed to SO2 levels that are capable of causing irreversible health damage and death, to
   levels of malodorous reduced sulfur compounds which may be intolerable, to work conditions
   which may result in heat stress or heat stroke and numerous opportunities for accidents.
   These latter conditions will be compounded by the likelihood that cumbersome personal
   protective equipment such as a self-contained breathing apparatus (SCBA) for respiratory
   protection and a total body encapsulating suit for skin protection will be needed. Nearby
   community residents will be exposed to SC*2 or reduced sulfur compounds that may cause
   greater respiratory distress and discomfort in addition to some incremental increase in cancer
   risks due to the release of carcinogenic agents.

4. Thus, the appropriate remedial alternative for the McColl site needs to balance the reduction in
   residual risk by the increase in implementation risk. Only by achieving a suitable balance of
   these two risks can the appropriate remedial alternative be selected.




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                                       5.0 REMEDIATION GOALS
        5. 1 GENERAL
        1 . In general, the preferred alternative is to be designed to satisfy, as best as possible, the
            following nine NCP feasibility screening criteria:
            • Threshold criteria which must be met:
                      Protection of human health and the environment
                       Compliance with ARARs.
            •    Primary criteria which must be optimized:
                     Long-term effectiveness and permanence.
                     Reduction of mobility, toxicity or volume through treatment.
                     Short-term effectiveness.
                     Implementability
                     Cost effectiveness.
            •    Balancing criteria which should be considered:
                     State acceptance.
                     Community acceptance.

        2 . Selection of a "best alternative" on the basis of these criteria often is difficult and the decision
            requires tradeoffs because the different alternatives satisfy the various criteria to different
            levels. While at times the selection or elimination of remedies is straightforward, more often
            the relative importance of each criteria is very site-specific.


        3 . The evaluation of alternatives for the McColl site is more unique than those for other sites
            because of: (1) the widely differing degrees to which various alternatives satisfy different
            criteria, and (2) the characteristic that the long-term risks at the site are, unless exacerbated by
            the remedy, far below that normally considered acceptable for Superfund remediation projects.
            The areas of conflict relate to: the degree to which treatment should be implemented and the
            type of treatment which should be employed; and the unusually high risks that workers and
            the public would be subjected to if large scale excavation of the materials were to be
            implemented.


        4 . Risk assessment calculating presented in the SROA and developed independently by
            ENVIRON (see Chapter 8.0) consistently indicate that excavation and incineration/thermal
            destruction of the waste at the McColl site will not significantly (if at all) improve the long-
            term risks associated with the site which are, by all measurements, insignificant. On the other
            hand, there are significant risks associated with uncovering and removing the waste materials
            from their present location for treatment and thereby exposing the workers and the public to
/***%



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    those materials and their emissions. One of the major goals of this report is to determine if
    there are ways to increase the treatment of relevant materials without posing unnecessary high
    risks to the public and workers.

5. The specific characteristics of the various waste materials also represent basic factors which
   must be considered to establish appropriate remediation goals. Figures 5.1 through 5.5 have
   been prepared to summarize special remediation considerations which are appropriate for the
   various waste materials.

6. Each Figure repeats the estimated volume and depth characteristics described in Chapter 2.0.
   They also provide a rationale of why each material should be considered for remediation by
   treatment and/or excavation. These are:
   •    Elevated arsenic materials represent the major contributor (98 percent) to
        health risks associated with the existing site conditions.
   •    The tarry material is the potential source of two potential problems:
             This soft material is not geotechnically stable and would represent a
             potential differential settlement issue if a closure cap were to be
             constructed without complete in situ solidification.
             The material's mobility yields tar seeps which have a low pH and
             emit SC*2 and organics at concentrations which may cause odor
             episodes to nearby residents.
   •    Unless solidified, the drilling mud represents a potentially unstable
        foundation if a closure cap were to be constructed.
   •    The mixed materials do not pose any specific problems, other than they
        overlie the tarry waste. Chemicals in these materials do not pose a
        significant health risk, and the nondrilling mud portion of mixed maiterials
        do not represent a major geotechnical problem,
   •    The asphaltic materials do not permit any existing or future problems
        which would indicate that special treatment or excavation is required. The
        asphaltic material:
             Is geotechnically stable.
             Is not mobile.
             Does not present a pH or emission risk in its present configuration
             and location.

7. This evaluation shows that removal and/or treatment of the elevated arserac materials should
   be an important remediation goal. This is especially true because that shallow material can be
   excavated with conventional equipment without creating any significant health risks to the
   community or onsite workers.




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                                                                            Volume -1,800 c.y.
                                  SHALLOW ELEVATED ARSENIC
                                                                            Depth - Shallow
                                                                            Rationale for Considering
                                                                            Treatment/Excavation of
                                                                            Material:
                                                                            - Arsenic is the major
                                                                              contributor (98%) to health
                                                                              risk of unremediated site.


                                                                                                   FIGURE 5.1

                                                                                         REMEDIATION CONSIDERATIONS
                                                                                          SHALLOW ELEVATED ARSENIC

                                                                                                   McCOLL SITE
REVISED FEBRUARY 12, 1991                                                              ENVIRONMENTAL SOLUTIONS, INC.
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                                                                        Volume -10,900 c.y.
                               DRILLING MUD

                                                                        Maximum Depth -13 ft.
                            ?//^^^^
                                                                        Rationale for Considering
                                                                        Treatment/Excavation of
                                                                        Material:
                                                                        - Geotechnically unstable
                                                                          relative to cap.



                                                                                              FIGURE 5.2


                                                                                   REMEDIATION CONSIDERATIONS
                                                                                          DRILLING MUD

                                                                                              McCOLL SITE
REVISED FEBRUARY 12,1991                                                          ENVIRONMENTAL SOLUTIONS, INC.
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                                                                           Volume -19,100 c.y.
                                                                           Maximum Depth -16 ft.
                                                                           Rationale for Considering
                            MIXED SOIL/DRILLING MUD
                            AND TARRY MATERIAL                             Treatment/Excavation of
                                                                           Materials:
                                                                           - None, other than it overlays
                                                                             tarry waste.
                                                                             • Contains no chemicals
                                                                               which would pose a
                                                                               significant health risk.
                                                                             • Geotechnical stability
                                                                               relative to cap is not a
                                                                               major issue.
                                                                                                  FIGURE 5.3

                                                                                       REMEDIATION CONSIDERATIONS
                                                                                         MIXED SOIL/DRILLING MUD
                                                                                           AND TARRY MATERIAL
                                                                                                 McCOLL SITE
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                                                                           Volume - 5,900 c.y.
                                                                           Maximum Depth -17 ft.
                                         TARRY MATERIAL                    Rationale for Considering
                                                                           Treatment/Excavation of
                                                                           Material:
                                                                           - Geotechnically unstable
                                                                             relative to cap.
                                                                           - Material mobility yields
                                                                             seeps which have:
                                                                             • LowpH.
                                                                             • Sulfur dioxide and
                                                                               benzene present.

                                                                                                  FIGURE 5.4


                                                                                       REMEDIATION CONSIDERATIONS
                                                                                             TARRY MATERIAL

                                                                                                 McCOLL SITE
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                                                                            Volume - 48,000 c.y.
                                                                            Maximum Depth - 30 ft.
                                     ASPHALTIC MATERIAL                     Rationale for Considering
                                                                            Treatment/Excavation of
                                                                            Materials:
                                                                            - None.
                                                                              • Geotechnically stable
                                                                                relative to cap.
                                                                              • Material is not mobile.
                                                                              • Material in-place does not
                                                                                present a pH or emission
                                                                                risk.

                                                                                                   FIGURE 5.5


                                                                                        REMEDIATION CONSIDERATIONS
                                                                                            ASPHALTIC MATERIAL

                                                                                                  McCOLL SITE

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8. The drilling mud and tarry materials pose potential problems because of their low strength
   characteristics. Key goals of remediation should be to excavate the current seeps and those
   other appropriate tarry materials and drilling muds which can be excavated safely, and to
   eliminate the unstable characteristics of both of these materials, and especially to immobilize
   the remaining problematic tarry materials which are causing the seeps.

9. Finally, Figures 5.6 and 5.7 are provided to illustrate the relative magnitude of problems
   anticipated to be associated with excavating each of the materials. The factors considered in
   this evaluation are:
   • Gaseous emissions which would occur if the material is exposed.
   • Handling difficulties due to either the chemical (e.g., pH) or physical
         material properties.
   • Depth-related problems associated with access with conventional
         equipment and slope stability.
   •     Schedule, because of the length of time that other problems would have to
         be dealt with and the time that the community and workers would be
         exposed to related risks.
   • Volume, which is a measure of the total effort required to excavate any
         material,

10. Figure 5.6 shows that the excavation problems would be greatest if removal of the asphaltic
    material were to be attempted. It is judged to represent the greatest amount of difficulty in all
    categories except handling. Even then, low pH and SO2 emission characteristics would make
    handling of the asphaltic material significantly more difficult than normal soil type conditions.

11. The tarry material would be the next most difficult material to excavate because of its SO2
    emission and physical characteristics. This soft viscous material could not be readily handled
    with conventional equipment on a large scale basis or by pumping. Also, its flowing
    characteristics would make it extremely difficult to clean the bottom of an excavation for
    testing or backfilling.

12. Lesser, but still significant, difficulties would be encountered with excavation of the drilling
    mud. This soft, wet material will have very low shear strength and therefore would not be
    expected to be stable for steep excavation forces. The mixed soil material would have variable
    amounts of difficulty depending on its closeness to the tar.




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                                                                         GASEOUS   HANDLING        DEPTH
                                                                        EMISSIONS DIFFICULTIES   RELATED         SCHEDULE
                                                                         CONTROL                 PROBLEMS




                                                                                              RELATIVE WASTE
L.30                                                                                       EXCAVATION PROBLEMS

                                                                                                 McCOLL SITE
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        13. Figure 5.7 qualitatively illustrates the overall relative degree of excavation problems
            anticipated for the various materials. The relative percentages were determined by ranking
            the degrees of difficulty for each material considering the last four categories shown in
            Figure 5.6. The relative rankings were then multiplied by the respective volumes to reflect
            the importance of problems and materials to be handled. This figure illustrates:
            • That the asphaltic wastes constitute about 75 percent of the problems
                 which would be realized if large scale excavation of the sups were to be
                 attempted. Considering that the asphaltic material does not present any
                 significant amount of existing or future problems, it does not appear that
                 its excavation could be justified under any alternative.
             • The tarry, mixed and drilling mud materials would present less, but still
                 significant excavation difficulties. However because these materials (tar
                 and drilling mud) also represent significant existing problems they will
                 require special design consideration and/or treatment.
            An additional major remediation goal of this report is to provide appropriate treatment to the
            drilling mud and tarry material so that they will not represent long term problems, but without
            creating excessive short term problems or risks.



        5.2 SPECIFIC REMEDIATION GOALS
/""S,
        1. With consideration of the NCP criteria and the unique site-specific characteristics of the
            McColl site, the following specific goals are recommended as being basic requirements for
            developing the most appropriate remedial action:
            • Eliminate, or reduce to insignificant levels, the health risks to the public,
                workers and the environment.
            • Treat all arsenic that generates a human health hazard by excavating it and
                thereby eliminating, or reducing to insignificant levels, the potential for
                exposure by direct contact and paniculate emissions. Excavated materials
                will be appropriately treated, handled and disposed.
            • Eliminate, or reduce to insignificant levels, the current seeps and eliminate
                the potential for new seeps so as to preclude any exposure to odor or
                volatile organic compound emissions associated with any seeps.
            • Treat all tarry materials that generate a human health risk by excavation
                and treatment, or in situ treatment, so as to eliminate, or reduce to
                insignificant levels, the potential for exposure to volatile organic
                compounds and so as to eliminate, or reduce to insignificant levels, the
                potential for direct contact with seeps and inhalation of volatile chemicals
                from those seeps.
            • Minimize excavation to avoid the generation of SOj and benzene in
                emissions.
^w^         • Solidify all waste whose geotechnical properties cause the material to be
''               unstable or prone to failure/slippage (e.g., drilling muds).



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                                                                                           ARSENIC




                                                                                             DRILLING MUD

                                                                                     MIXED SOIL

                                                                            TARRY WASTES




                                                                                                       FIGURE 5.7

                                                                                        RELATIVE IMPLEMENTATION PROBLEMS
                                                                                        ASSOCIATED WITH VARIOUS MATERIALS

                                                                                                      McCOLL SITE
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              •   Contain (cap) all waste that does not generate a significant health risk.
              •   Control future migration of contaminants by designing remediation
                  redundances (e.g., RCRA equivalent cap and slurry wall in combination
                  with emission control wells).
              •   Collect emissions the design, implementation and maintenance of an
                  emissions control system.
              •   Design all structures/improvements to withstand maximum credible
                  earthquake.
              •   Minimize infiltration into the waste.
              •   Monitor groundwater.
              •   Comply with ARARs in achieving all of the specific remediation goals set
                  forth above.

         2 . A summary of preliminary design procedures to meet these goals is discussed below in
             Section 5.3. Chapter 6.0 describes the development of a selective excavation alternative
             which meets these goals. Chapter 7.0 provides details of the recommended approach.
             A health risk assessment of the alternative is presented in Chapter 8.0, while Chapters 9.0
             and 10.0 address NCP criteria compliance and comparisons, and ARARs to be satisfied,
             respectively,


         5.3 DESIGN PROCEDURES TO MEET GOALS
         1 . The recommended design approach focuses on the excavation, neutralization, treatment and
             disposal of the materials that generate site risks and avoids unnecessary and/or dangerous
             excavation and/or incineration of site wastes. To accomplish the remediation goals, the
             approach involves multiple controls during selective on-site excavation and stabilization to
             limit short-term risks to acceptable levels. Also, emission control systems, slope stability
             measures and groundwater monitoring are provided to maintain site conditions after closure
             80 that long-term risks are not increased.

         2 . The recommended design approach also includes removal of the near-surface, elevated
              (i.e., greater than 50 ppm) arsenic-containing materials to reduce the risk of exposure by
              ingestion or wind-borne inhalation. The depth of removal recommended is 3 feet; the risk
              assessment performed for the site indicates that even without protective measures such as the
              cap, there is no risk from the arsenic below 3 feet. But to provide additional assurance, the
              recommended design approach calls for the removal of the top 3 feet of arsenic which is to be
/***%\   replaced        by clean backfill, prior to treating the underlying drilling muds. With these



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 _»         provisions and the permanent closure cap and drainage control systems, there would be no
            opportunity for ingestion or wind erosion of any remaining arsenic-containing soil. The
            criterion of removing those materials containing greater than 50 ppm arsenic is based on
            dilution factors for the 5 mg/L TCLP standard.

        3. The remedial actions are designed to meet ARARs (see Chapter 10.0) and protect the health
           and safety of all on-site workers and nearby residents. The protections include:
           •    Site perimeter fencing or walls to be excavated to reduce SO2 and VOC
                emissions.
           • Preneutralizing materials to be excavated to reduce SO2 and VOC
                emissions.
           • Performing all excavations and in situ treatment within positive air
               pressure enclosures with redundant air collection and purification
                systems.
           • Continuous monitoring of emissions within the enclosures, around the
                enclosures, and at site perimeters.
           • Training of necessary workers in health and safety per OSHA standards
                and use of the appropriate types of personal protective equipment (PPE) at
                all times.
           • On-site health and safety monitoring and response by trained experts
/"""N           during all remediation work.
           • Establishing equipment decontamination areas and procedures,
               designating exclusion areas and site entry/exit controls in accordance with
                a specifically enforced site health and safety plan.
           • Carefully planning equipment operation and traffic control to limit
               potential for accidents.
           •    Carefully collecting air treatment residues and decontamination
               liquids/sludges, and spent PPE or supplies, for appropriate treatment or
               offsite disposal under manifest.
           • Health risks and analysis of the remedial actions proposed are discussed
               in greater detail in Chapter 8.0.

        4. For long-term geotechnical stability of sump materials, it is proposed that the material
           properties, as existing or after solidification, be such that differential settlements under
           planned loading conditions (including earthquake conditions) do not exceed 3 inches in
           10 feet This criteria will limit the potential for surface irregularities which could pond water
           and/or disturb surface runoff controls and reduce operation and maintenance requirements of
           the cap surface (e.g., small cracks, grading). Otherwise, a specially designed capping system
           will be required to accommodate greater differential settlement




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5. Immobility of the tarry material, as existing or after partial solidification, will be determined
   according to shear strength or cone penetrometer resistance. Materials with undrained shear
   strength of at least 500 psf, or cone tip resistance of about 25 kg/cm2, are equivalent to "firm"
   soil and will not "flow" into or through overlying or adjacent materials, under expected
   loading conditions. If these criteria cannot be met by solidification, the cap system will be
   designed to accommodate the partially solidified conditions or the materials will be excavated.

6. Excavated materials will be incinerated offsite, or will be treated and redisposed at an off site
   landfill, or will be treated and redisposed on-site depending on their chemical and physical
   characteristics. The criteria for making this decision are:
   • Materials with a total petroleum hydrocarbon (TPH) value of greater than
        100,000 ppm (10 percent) will be evaluated on a case-by-case basis to
        determine if they should be treated and disposed at a landfill or incinerated
        off-site. This concentration is selected because materials with
        significantly higher TPH concentrations can become difficult to handle
        and may not be accepted at landfills.
        Materials with a TPH of between 10,000 ppm to 100,000 ppm will be
        treated and redisposed at a landfill.
   • Materials with a TPH of less than 10,000 ppm will be treated and
        redisposed onsite. This criteria is based on the California leaky
        Underground Fuel Tank (LUFT) Manual (DHS, 1989) for diesel fuel.
        The diesel criterion is selected because the VOCs will have been removed
        by in situ and aboveground treatment processes.

7. The design includes emission control systems in the cap and around the sump perimeters
   which preclude emissions or lateral gas migration. Collected emissions will be treated and
   required to satisfy air quality ARARs (see Chapter 10.0).

8. To prevent rainfall infiltration, the RCRA equivalent system will include demonstrated
   elements having the following characteristics:
   • RCRA equivalent cap with 10*7 cm/sec or less permeability.
    •    Vegetative cover and rainfall run-off collection system.
     •   Surface grading and drainage to direct rain water away from sumps.
     •   Cement/bentonite containment wall extending below the sump materials
         around the sump perimeters.
     •   Groundwater monitoring system to confirm no long-term impact by the
         site.




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9.   Slope stabilizing systems (backfills and crib walls) implemented prior to and/or after
     remediation will be designed to resist the short- and long-term static and seismic loading
     conditions associated with the maximum credible earthquake. The systems will be designed
     by state-of-the-art procedures and for conditions similar to those described in the Lindval,
     Richter & Associates seismic evaluation of the site (Lindval, et al. 1987),




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                   6.0 DEVELOPMENT OF SELECTIVE EXCAVATION
                                ALTERNATIVE
        6.1 GENERAL
        1. This chapter justifies a selective excavation alternative as the approach that satisfies the goals
            described in Chapter 5.0 (see Table 6.1). The procedure is aimed specifically toward
            accomplishing the following remediation requirements:
            •    Requirement:
                     Materials within 3 feet of the surface of Sump R-l with arsenic
                     concentrations above 50 ppm will be excavated and transported
                     offsite for disposal at an acceptable landfill. This material will be
                     solidified onsite or at the landfill to satisfy BDAT requirements of the
                     federal land ban regulations.
                     Goals Satisfied:
                           Treatment of relevant materials without creating a high risk.
                           Eliminate or reduce health risks.
                           Excavate arsenic.
                           Minimize excavation.
                           Solidify waste.
                           Comply with ARARs.
/***%       «    Requirement:
                    Drilling muds and tarry material will be excavated, or treated and
                    solidified in situ, where required to eliminate geotechnical instability
                    (differential settlement) and tarry material mobility (potential to cause
                    surface seep) conditions.
                    Goals Satisfied:
                          Treatment of relevant materials without creating a high risk
                          Reduce tarry material mobility and toxicity.
                         Treatment of drilling muds.
                         Eliminate or reduce health risks.
                         Eliminate or reduce seeps.
                         Treatment of tarry materials.
                          Minimize excavation.
                          Solidify waste.
                         Contain waste.
                          Remediation redundancies to control any future migration.
                         Control any emissions.
                         Comply with ARARs.
                 Requirement:
                    Excavation of tarry material will not be undertaken under any
                    conditions where safety of workers and residents cannot be reliably
                    assured. Specifically, this includes excavations which result in
                    expansive excavation faces under large enclosures, because of the
                    exposure to potential risks for illness or death to both onsite workers
                    and nearby residents.



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                                                                                              TABLE 6.1

                                                                 ESTIMATED ADMIXTURE REQUIREMENTS

            MATERIAL                                    PURPOSE                              TREATMENT TYPE                                ESTIMATED
                                                                                                                                           ADDITIVES*')                   REFERENCES

Materials with Elevated Arsenic           • Satisfy Federal Land Ban                          BOAT Solidification               • 10% Portland Cement                       EPA, 1989a
                                            Regulations                                                                                                                     EPA, 1988e
Drilling Muds                             • Improve Geotechnical                                  Solidification                • 15% Silicate                              EPA, 1988d
                                            Properties                                                                                                                      EPA, 1979g
                                                                                                                                • 30% Portland Cement
                                                                                                                                                                            EPA, 1989b
Tarry Material                            • Reduce Acidity and Improve                           Neutralization                 • 30% Fly Ash                             Patterson, 1985
                                            Handling Characteristics                                                            • 10% Lime
                                          • Improve Geotechnical                                  Solidification                • 20% Fly Ash                               EPA, 1986T
                                            Properties                                                                          • 30% Portland Cement                       EPA, 1986f
                                                                                                                                • 10% Lime
                                                                                                                                                                            EPA, 1986f
Soil and Drilling Mud Mixed with * Improve Geotechnical                                           Solidification                • 30% Portland Cement                       EPA, 1988c
Tarry Material                     Properties                                                                                   • 10% Lime                                  EPA, 1986f

(*) The volumes and typei of additives will be optimized based on bench and demonstration tests conducted during predesign studies (see Section 7.2.10).

REFERENCES:
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EPA, 1986T. Handbook for Subilizaa'on/Sclidifkatkn of Hazardous Waste, EPA/540/2-86AX)!. U.S. Environmental Protection Agency, Office of Research and Development, Hazardous Waste Engineering
    Research Laboratory. June 1986.
EPA, 1979g. Survey of Solidification/Stabilization Technology for Hazardous Industrial Waste by Environmenul Laboratory, EPA/600/2-79-056. U.S. Environmental Protection Agency, Risk Reduction
     Engineering Laboratory, Cincinnati, OH.
Industrial Waste Treatment Technology, Second Edition. James W. Patterson, 1985. Butterwonh Publishing, London, U.K.                                                                              (a


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        Major Goals:
             Treatment of relevant materials without creating a high risk.
             Eliminate or reduce health risks.
             Minimize excavation.
             Control emissions.
             Comply with ARARs.
     Requirement:
        Excavation of tarry material will be accomplished only in small,
        discrete areas under conditions which provide very high assurance
        that workers and residents are not exposed to unnecessary risks.
        Goals Satisfied:
             Treatment of relevant materials without creating a high risk.
             Eliminate or reduce health risks.
             Minimize excavation.
             Control any emissions.
             Comply with ARARs.
     Requirement:
        Excavated materials will be redeposited onsite, disposed at an offsite
        landfill, or transported offsite for incineration, according to the
        following criteria:
        •    Dispose onsite if TPH < 10,000 ppm.
             Dispose at landfill if TPH is 10,000 to 100,000 ppm.
             Incinerate offsite or dispose at landfill if TPH > 100,000 ppm.
        Goals Satisfied:
             Treatment of relevant wastes without creating a high risk.
              Treatment of arsenic containing waste.
              Reduce tarry material mobility and toxicity.
              Eliminate or reduce health risks.
              Excavate arsenic.
              Eliminate or reduce seeps.
              Treatment of tarry materials.
            Solidify waste.
            Comply with ARARs.
     Requirement:
         The hard asphaltic materials at the bottom portion of each sump.,
         which do not pose geotechnical or mobility concerns, will not be
         excavated or treated in situ. Disturbance of these materials would
         pose unjustifiably large risks to both the public and workers, with no
         residual benefit
         Goals Satisfied:
              Treatment of relevant materials without creating a high risk.
              Eliminate or reduce health risks.
              Minimize excavation.
              Control any waste.
              Control emissions.
              Comply with ARARs.



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         Requirement:
            Remediated site closure procedures will assure: long-term protection
            of public health and the environment; elimination of potential nuisance
            odors', and an aesthetic condition compatible with the surrounding
            residential neighborhood. The main closure elements should include:
            •    A RCRA equivalent cap to preclude the infiltration of water or
                 the escape of emissions. If selective excavation cannot be
                 undertaken safely, the cap will be designed for the geotechnical
                 characteristics of the partially stabilized material or seeps which
                 are not completely eliminated by in situ treatment and
                 solidification.
            •    A positive subsurface cutoff wall surrounding the sump areas to
                 preclude outward emissions migration and infiltration of adjacent
                 perched water.
            •    Crib wall, or equivalent, embankment stability mechanisms
                 (designed for maximum credible earthquake) at sump area
                 boundaries with steep slopes.
            •    Appropriate vegetation to provide both a park-like setting and
                 protection of the RCRA equivalent cap components.
            •    Curb and sidewalk improvements on the south side of
                 Rosecrans Avenue and a site boundary wall.
         -  Goals Satisfied:
                   Reduce tarry material mobility and toxicity.
                   Eliminate or reduce health risks.
                   Eliminate or reduce seeps.
                   Minimize excavation.
                   Contain waste.
                   Remediation redundancies to control any future migration.
                   Control any emissions.
                  Withstand maximum credible earthquake.
                  Minimize infiltration.
                  Comply with ARARs.
    Selective excavation is the most appropriate balance between reducing risk and satisfying the
    remediation goals.

2. Figure 6.1 illustrates a remediation program which satisfies each of the requirements, with
   built-in flexibility to assure that unnecessary risk conditions are avoided, while accounting for
   benefits of predesign site characterization and field demonstration activities. The alternative's
   flexibility is based upon establishment of several "types" of conditions which collectively
   account for all potential sump characteristics. Section 6.2 describes the manner in which
   various types of conditions are established. Section 6.3 describes the individual remediation
   activities to be used for each type of area. Details for implementing the selective excavation
   alternative are described in Chapter 7.0.



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                                                                             PREDESIGN ACTIVITIES
                                                                       Workplan Preparation
                                                                       Sump Characterization
                                                                       Bench Scale Treatment/Solidification Tests
                                                                       In Situ Treatment/Solidification Demonstration
                                                                       Dsita Evaluation
                                                                       Develop Design Criteria
                                                                       Prepare Final Remediation Worlcpian




                                                                         Subdivide Sump Areas Into Types Based
                                                                                Upon Characteristics and
                                                                             Required Remediation Actions




    TYPE! AREAS                             TYPE 2 AREAS                               TYPE 3 AREAS                              TYPE 4 AREAS                       TYPE 5 AREAS
  Areas with Shallow                     Existing Seeps and Tar                    Tar Zones of a Size                     Zone* with Drilling Muds                   Areas Where
    Elevated Arsenic                   Zones Where Solidification                Configuration and Depth                         Which Require                   Improvements Prior to
Concentrations, Underlain              May Not Satisfy Differential             Where In Situ Solidification               Solidification to Eliminate          Closure Are Not Required
   with Drilling Mud                      Settlement Criterion                   Success is Demonstrated                    Differential Settlement
                                                                                and Required to Eliminate                            Potential
                                                                                     Potential Seep or
                                                                                  Differential Settlement
                                                                                        Conditions



Excavate, Treat and Dispose         Can Selective Excavation be Safely
 Elevated Arsenic Materials
        at a Landfill
                              J     Accomplished After Neutralization
                                       and Partial Solidification is
                                             Accomplished?
                                                                                  No




                              J
    Go to Type 4 Area                                   Yes
         Activity                                                                          Treat and
                                         Neutralize and Partially                       Solidify In Situ
                                            Solidify In Situ
                                                                      J

                                          Selectively Excavate
                                              and Backfill
                                                                      J                                    Test Solidification
                                                                                                            Characteristics


                                                                                                                    1




                                  For Excavation Material:                                            Is Differentia! Settlement              Yes
                                                                                                          Criteria Satisfied?
                                  • If TPH <IO,000 ppm, dispose onsite
                                  • If TPH is lOjOOO to 100,000 ppm,
                                    dispose at landfill                                                                 No

                                  • If TPH >100,QOO ppm, incinerate
                                    offsite or dispose at landfill                                          Design a Special
                                                                                                    Closure Cap to Accommodate
                                                                                                    Partially-Solidified Conditions
                                                                                                                                      J
                                                                                                     Install RCRA Equivalent Cap
                                                                                                        Cemem/Bentonite Wall,
                                                                                                       Active Emissions Control
                                                                                                                System




                                                                                                      Complete Site Landscaping



                                                                                                                                                               FIGURE 6.1
                                                                                                                                                         SELECTIVE EXCAVATION
                                                                                                                                                              ALTERNATIVE
                                                                                                                                                             FLOW DIAGRAM
                                                                                                                                                               McCOLL SITE
                                                                                                                                               ENVIRONMENTAL SOLUTIONS, INC.




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         6.2 TYPES OF SUMP CONDITIONS
         1 . Five types of characteristics are defined to account for the range of conditions anticipated for
             various sump areas. These are based on the sump characterizations described in Chapter 2.0,
             and determined from the available subsurface data and the 1990 test excavation. Section 7.2.9
             describes the predesign characterization program recommended to subdivide each sump into
             the five area types as input to the final remediation design. Section 7.2. 1 discusses waste
             material volumes determined from the available data used for estimating costs and
             implementing schedule requirements.

         2. The Type 1 Area is designated to the portion of Sump R-l which contains shallow arsenic
            concentrations. This material is expected to be just beneath a thin layer of overburden and
            within the top portion of the drilling mud. It is not anticipated that significant concentrations
            of SO2 or VOC emissions will result from the shallow excavation of this material. The
            conservative estimated volume considered for this material in Section 7.2.1 is based on the
            requirement to remove 3 feet of material from one-third of the Sump R-l area.

^        3 . Type 2 Areas are those locations where selective excavation is planned because either
             • There is an existing seep, or
             • The tarry material is several feet thick so that: (1) the potential for a
                  future seep to occur is high, and (2) the potential for complete in situ
                  solidification cannot be verified without successful field demonstration
                  testing.
             As a minimum, it is estimated that selective excavation will be required at each of the existing
             seeps. The maximum estimate includes 24 locations of 1,250 square feet each (an average of
             two per sump, representing approximately one-third of the controlled sump areas) where
             complete solidification of the tarry material may not be possible.

         4. Type 3 Areas are those locations where:
            • The tarry material is sufficiently thick and shallow so that die tar could
               potentially create a seep condition when additional weight is added by site
               grading and the closure cap.
            • The tar is relatively thin in comparison with the overburden thickness so
               that the potential for successful solidification is high. Anticipated in situ
               solidifying procedures and additives are discussed in Section 6.3.3.

^**»»K
             The exact configuration and depth of tar falling within this category will be finalized during the
*            predesign program, as the detailed sump characteristics are developed. The analysis will be
             based on comparisons of tar conditions (depth and thickness) in existing seep areas and the


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    pressures which will be applied to zones with similar thickness at closure. Based on available
    boring data, it is conservatively assumed that tar thickness great enough to result in the
    combination of Type 2 and 3 areas will exist for about 75 percent of the total sump areas.

5. Type 4 Areas are those locations with thick drilling mud (Sumps R-l, -2, and -3) which
   could cause significant differential settlement to occur beneath the cap. These materials are
   expected to be readily solidified using procedures and additives discussed in Section 6.3.3.

6. Type 5 Areas are those locations which do not contain either drilling mud or a significant
   thickness of tar, so that no treatment will be required to improve geotechnical properties or
   reduce mobility potential. A significant number of the available borings outside of
   Sumps R-l, -2, and -4 (with drilling mud) indicate that this may be the case. For estimating
   purposes, it is assumed that approximately 25 percent of the total sump areas will not require
   either selective excavation or in situ treatment and solidification.



6.3 DESCRIPTION OF INDIVIDUAL REMEDIATION ACTIVITIES
6.3.1 ELEVATED ARSENIC MATERIAL EXCAVATION (TYPE 1 AREA)
1. Excavation will be performed in areas with arsenic concentrations above 50 ppm within 3 feet
     of the surface. Arsenic emissions during excavation are not a concern as long as conventional
     dust controls are implemented. However, pending confirmation of requirements during final
     design, it is assumed that this excavation will be performed under a small, 88-foot diameter
     enclosure. The enclosure will be connected to a treatment facility designed to remove
     paniculate matter and any unexpected SO2 or VOC emissions encountered during the
     excavation process.

2. Excavation of this shallow material will be accomplished using an excavator or gradeall type
   equipment This equipment will work from a fixed position while excavating and loading to
   avoid the need for wheel or track mount which could create dust within the enclosure.
   Additional risk reduction factors will include:
   • Excavating at a low rate (10 to 15 cubic yards per hour) only in small
        areas at a time to minimize the dust generated; although paniculate
        emissions will be naturally very low because the elevated arsenic is
        located at the top of wet drilling mud.
   •    Prewetting dry overburden soil within the scheduled work area the night
        before excavation is to be implemented.
   • Use of fog spray equipment to minimize dust during truck loading.

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             •   Maintaining at slight negative pressure on the enclosure to avoid outside
                 dust migration. Air collected will be processed through a wet scrubber to
                 remove dust which may be generated.
             •   Sealing of the transport truck inside the enclosure.
             •   Controlling the access door so that it is opened only when there are no
                 significant dust-producing activities being implemented

        3. The excavated material will probably be hauled by the transport truck, following
           decontamination, directly to an acceptable landfill for BDAT solidification, to satisfy federal
           land ban requirements, and disposal. Table 6.1 shows the additives anticipated to be used to
           satisfy the BDAT requirements. If results of the predesign investigations indicate that onsite
           treatment of this material is preferable, the affected drilling mud would be partially solidified in
           situ before excavation, using procedures described below for drilling muds and portions of the
           tarry material.


        6.3.2 IN SITU TREATMENT AND SOLIDIFICATION PROCEDURES (TYPE 3 AREAS)
/***%
        1. The procedures for treatment and solidification (Type 3 Areas) are discussed before those for
             selective excavation (Type 2 Areas) because the in situ process is used to precondition material
             to be excavated. Procedures for the Type 2 Areas are described in Section 6.3.3.

        2. The goals for in situ treatment and solidification at Type 3 Areas are:
           • Improve the geotechnical stability characteristics of the drilling mud and
               tarry material by improving their strength characteristics, so that they
               behave in a soil-like manner.
           • Eliminate the potential for tarry material mobility through overlying or
               adjacent materials by increasing its shear strength (viscosity) to that of a
               solid soil-like material.
           • Reduce or eliminate the potential for SOa generation and emissions from
               treated tarry and mixed tarry material, by raising the pH to above 7.0.
           • Reduce the SOa trapped in the material pore spaces through a combination
               of a pH increase and collection of emissions into a vacuum controlled
               shroud, provided at the ground surface above the material being treated.
           • Reduce the volatile organic compound (VOQ concentrations in the
               materials to levels significantly below those which presently exist, by also
               collecting vapors emitted from the solidification in the ground surface
               shroud. The VOC removal would be naturally enhanced by the hydration
f**\           temperature increases resulting from neutralization and solidification
               activities.


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3 . The type of in situ treatment and solidification rig used will be similar to those presently
    available from Geocon (Figure 6.2) or Haliburton (Figure 6.3), or other remediation
    companies such as Toxic Treatment, U.S.A., who presently have equipment in operation for
    gas emission control, and equipment under development for adding solidification additives.
    Figure 6.4 illustrates the rig configuration for in situ treatment of the McColl sump materials.
    A 5-foot diameter auger blender will be used to treat cylindrical zones in an overlapping
    pattern which assures that 100 percent coverage is achieved. Table 6.1 provides admixtures
    estimated to be required to satisfy the solidification goals and criteria established in
    Chapter 5.0.

4.   Normally a single shroud, such as that used and patented by Toxic Treatment, U.S A.
     for emission control, is adequate, even when steam is injected to enhance VOC removal.
     However, to satisfy the specific McColl conditions and goals, the in situ operation for this site
     will be accomplished within a double enclosure system, illustrated in Figure 6.4. The internal
     enclosure would be a conventional steel shroud, hydraulically pushed from the crane rotary
     table, several inches into the existing ground surface. This shroud will be placed under
     vacuum, with one volume change per minute, to collect the emissions rising from the central,
     "kelly bar," drive for the auger blender. The vacuum system will transmit the emissions to a
     cleaning system consisting of: (1) a wet scrubber for dust control adjacent to the crane, and
     (2) a centralized SO2 scrubber and VOC destruction system.

5 . The outside enclosure, approximately 15 feet wide by 40 feet long (Figure 6.4), will collect
    any small emissions escaping from the shroud or the immediately adjacent ground surface.
    This redundant enclosure is not connected directly to the crane, but instead is supported on
    skids and pulled by a small dozer as the crane is moved from one treatment cylinder to the
    next The structural form within the secondary enclosures, immediately outside of the
    excavation zone, is provided to temporarily contain the excess volume of material developed
    by the treatment and solidification process. This form extends sufficiently far behind the
    excavation zone to allow the material to undergo its initial "set", thus avoiding the potential for
    slurry materials to flow uncontrolled onto the site working area.

6. A blanket emission control system is shown immediately above the last several solidification
   cylinders, to collect any small remaining emissions which might occur as the material cures.
   This blanket will be connected directly to the enclosure vacuum system so that these remaining
   emissions are also directed to the
                                    •
                                      air treatment system. The blanket will also protect the
   partially cured material against rainfall run-off.

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            -j^***zijti(»jie*™-» - - - •   --




                                                                       FIGURE 6.2

                                                                 SHALLOW SOIL MIXER


                                                                       McCOLL SITE
REFERENCE: GEO-CON,INC.
                                                Exhibit 43
                                                             ENVIRONMENTAL SOLUTIONS, INC.
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                                                                    FIGURE 6.3


/-"•s                                                           IN SITU BLENDER

                                                                    McCOLL SITE
        REFERENCE HALIBURTON ENVIRONMENTAL
                  TECHNOLOGIES                            ENVIRONMENTAL SOLUTIONS, INC
                                             Exhibit 43
                                               5936
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S
o
3
oc
                                                                 r- ROTARY PLATFORM




g                                                                                     SMALL DOZER
                                                                                  SOLIDIFICATION
                                                                                  AUGER
                                                                                       A'


                                                                                       REDUNDANT
                                                                                       ENCLOSURE
                                                                                       AIR CONTROL
                                                                                       SHROUD

                                                                                       EDGE OF
                                                                                       SOLIDIFICATION

                                  LOCAL EMISSION
                                  CONTROL BLANKET -


                                                                 PLAN


                                                                            3' STROKE HYDRAULIC CYLINDER
                                                                            ROTARY TABLE


                                                                                  FLEXIBLE BOOT

                                                                                  KELLY BAR



                                                                                  PRIMARY EMISSIONS
                                                                                  CONTROL SHROUD

                                                                                  REDUNDANT
                                                                                  ENCLOSURE

                                                                                  EXCESS
                                                                                  SOLIDIFICATION


                                          J
                                            -rrr
                                            *.....!...' •^"•fr
                                            \ \ jj
                                                                                  MATERIAL FORM

                     SOLIDIFIED
                      MATERIAL



                   SOLIDIFIED
                   CONFIGURATION
                   FROM PRIOR PASS •                     SECTION A-A'

                                                                                            FIGURE 6.4

                                                                             IN SITU TREATMENT AND
                                                                            SOLIDIFICATION EQUIPMENT

                                                                                            McCOLL SITE
                                                                        ENVIRONMENTAL SOLUTIONS, INC.
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7. Cost and schedule estimates discussed in Chapter 7.0 are based on treating and solidifying an
   average 5-foot diameter by 12-feet deep cyUnder in 20 minutes. This equates to a production
   rate of 0.6 feet per minute or 25 cubic yards per hour, which is the lowest production rate
   expected for the in situ processing equipment currently available.

8. For solidification in the sumps containing thick drilling mud, the pattern of cylinders will be
   configured to allow the crane to "walk" across presolidified areas. This configuration avoids
   the need for the crane to be operated directly over the soft drilling mud.



6.3.3 TARRY MATERIAL EXCAVATION (TYPE 2 AREAS)
1. To satisfy both the goals and requirements described above, selective excavation of tarry
     material will be undertaken only where: (1) it is necessary to address where the volume of tar
     creates geotechnical stability and tar mobility issues, and (2) the work can be performed in a
     sufficiently small and defined area so that workers and residents are not exposed to significant
     risks.

2. Further, since most of the geotechnical and mobility problems can be resolved by in situ
   treatment and solidification, the selective excavation activities will be limited to only Type 2
   areas; at existing tar seeps where mobility is known to occur, and locations where predesigned
   demonstrations cannot positively show that adequate in situ solidification is possible. Based
   on the examination of aerial photographs, it is estimated that there are approximately 51
   existing seeps. The number of areas, if any, where the tar thickness will inhibit complete tarry
   material solidification is not known. The available boring data do not indicate any areas of
   thick tar, but the 1990 trial excavation (EPA 1990) did encounter a location where the tarry
   material is about 4 feet thick.

3. Figure 6.5 illustrates the selective excavation procedure for Type 2 areas which accomplishes
   the required goals and minimizes risks to workers and residents. The procedure includes the
   following special precautions:
   •    The area of excavation will always be small, limited only to that necessary
        to address the geotechnical and mobility issues.
   •    The excavation will be undertaken only after it is shown by predesign
        demonstrations that the process can be accomplished in a manner safe to
        both workers and residents.



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 0)
OC
                                                         TYPE 2
*§
ofc                                                      AREA
o




                                                                                        TYPE 2 AREA
                                                                                        (AS DEFINED BY PREDESIGN
                                                                                        SAMPLING ACTIVITIES)




             STEP 1. NEUTRALIZATION/PARTIAL SOLIDIFICATION OF TYPE 2 AREA

                                                                           EXCAVATOR
           SAMPLING TYPE 2 AREA-               CONCURRENT
           (SEEP)
                                               BACKFILLING WITH CLAY




                                              EXCAVATION TYPE 2 AREA
                                                                                                          IN SITU
                                                                                                          SOLIDIFIED
                                                                                                          BUFFER


         STEP 2, SAMPLING/TESTING                          STEP 3. EXCAVATION BASED ON CRITERIA


                             TYPE 3 AREA                          TYPE 2 AREA
                                                                                         COMPACTED CLEAN
                                                                                         BACKFILL


        IN SITU TREATMENT
        AND SOLIDIFICATION
        AT TYPE 3 AREA




                                           STEP 4. REMEDIATED SUMP

                                                                                       FIGURE 6.5
                                                                           EXCAVATION SEQUENCE
                                                                              AT TYPE 2 SEEP
                                                                          OR POTENTIAL SEEP AREA
                                                                                   McCOLL SITE
                                                                    ENVIRONMENTAL SOLUTIONS, INC.
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    •    Prior to excavation, the tarry and overlying mixed materials will first be
         neutralized and at least partially solidified using in situ techniques with a
         double emissions containment system as described in Section 6.3.2.
         Activities used for this purpose will be the same as those shown in
         Table 6.1 for in situ treatment and solidification.
    •    The actual excavation will always be conducted within a small enclosure,
         with strictly controlled activities and personnel. Equipment entry and
         egress from the enclosure will only occur after at least 1 foot of clay
         backfill is placed over any exposed asphaltic material.
    •    The excavation will be backfilled with clay concurrently with the
         excavation process (within the enclosure) so that the maximum exposed
         asphaltic material surface will always be less than about 15 square feet
    The overall selective excavation process is further described in the following paragraphs.

4. Tarry material preconditioning would be accomplished utilizing the in situ solidification
   equipment shown in Figure 6.4. The large diameter auger blender would first mix neutralizing
   materials into the tarry material to raise the pH above 7.0.

5. The process will be performed using a procedure which minimizes at any time the excavation
   opening size. This could be accomplished by using an excavator and hoe ram in tandem, for
   simultaneously excavating and backfilling, as illustrated in Figure 6.5. An alternative
   procedure would be to utilize a bucket auger rig to remove the treated and partially stabilized
   soil, followed immediately by backfilling so that only one cylinder would be opened at any
   given time. Potential disadvantages of the bucket auger option are that a drilling rig would
   have to be modified to operate within the enclosure and a special materiail handling system
   would be required to transfer material from the auger to a truck. During predesign, options
   will be evaluated so that the best approach is selected

6. The excavation and backfilling process will take place within an enclosure anticipated to be
   approximately 88 feet in diameter and 24 feet high, illustrated in Figure 6.6. The assembled
   enclosure would be moveable by a single crane to various areas requiring excavation. This
   will avoid delays due to dismantling and remanding of the enclosure.

7. Excavated partially solidified material will be moved from the excavation enclosure to a second
   enclosure by dedicated onsite trucks or a conveyor system, which would be moved with the
   enclosure. Selection of the transportation mode during predesign will be based on verification
   of an arrangement which allows trucks to be easily moved into and out of the enclosure and
   across sumps which may not have been totally solidified.


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tr
O




                                                                 DIMENSIONS: 120'x 360'
                                                                 AREA =• 40,000 S.F.
                                                                 VOLUME -1,520,000 C.F.



                                CONCRETE PUMP (SLICK) LINE

                                                DISC HOPPER
               50-TON                           AND PUMP
               BINS


            HOOD                      HOOD —PUG MILL
            SCRUBBER                  HOPPER AND      —•"ir-
                                      WEIGHT BELT FEEDER ^ DRAPE
            RECIRCULATING
            TANK                                  RAW               ±140'
                                               MATERIAL
                                               STOCKPILE
                                                100 C.Y.




                                                                      NOT TO SCALE
                                                                        FIGURE 6.6
                                        \     /
                                                              CURING AND SOLIDIFICATION
                                                                    ENCLOSURE

                                                                       McCOLL SITE
                                                             ENVIRONMENTAL SOLUTIONS, INC.
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8 . Once inside the second enclosure, the excavated material will be fed through a pug mill for
    additional conditioning and solidification. It is anticipated that after the in situ neutralization
    and pug mill conditioning, SO2 and VOC emissions will be negligible. The conditioned
    material will be tested for TPH content to decide which of the following three disposal options
    would be appropriate, based on criteria established in Chapter 5.0:
    •    Relatively clean, solidified materials with a total petroleum hydrocarbon
         content (TOC) of less than 10,000 ppm, will be transported back to the
         sump area and disposed on top of in situ solidified material for inclusion
         under the RCRA equivalent cap.
    • Materials with a TPH greater than 10,000 ppm but less than
         100,000 ppm (10 percent organic material) will be removed offsite and
         disposed at an acceptable landfill.
    • Materials with a TPH exceeding 100,000 ppm will either be disposed at
         an acceptable landfill or incinerated at an offsite facility. The incineration
         versus landfill determination will be made during the predesign program
         based on the toxic characteristics of the material after excavation and
         treatment (expected to be very low), cost, and the recommendations of
         incinerators regarding their ability to appropriately treat the material



6.3.4 SPECIAL CLOSURE CAP DESIGN CONSIDERATIONS
1 . If it is possible to safely excavate the Type 2 Area, the entire RCRA equivalent cap will
    be constructed above material which is completely stable. In that event, geotechnical
    requirements for the cap will be related to the selection and construction of materials to satisfy
    performance specifications. However, if it is determined during predesign that excavation
    cannot be safely performed at some or all of the Type 2 Areas, appropriate portions of the cap
    will be designed to account for the actual degree of solidification and mobility reduction
    accomplished. It is anticipated that tarry material mobili ty reduction will be satisfactorily
    accomplished even with only partial solidification.

2 . As a minimum, it is anticipated that the partial solidification activities will essentially eliminate
    the provision for significant volumes of tarry material to be mobile, and the degree of
    solidification will reduce potential differential settlement which might occur. This section
    describes engineering factors for this special design, if required. Differential settlement
    conditions, if any, will be accommodated by:
    * Providing an adequate cap slope at locations with potential for differential
         settlement, to assure a positive drainage. Conservative predictions of
         displacements would be developed based upon properties of partially
         solidified materials determined during the predesign program.


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            •    Providing piping systems from materials which will deform without
                 cracking, buckling, or breaking at couplings.
            •    Specifying clay water content and compaction criteria which assure
                 sufficient material pliability so that excessive cracking due to settlement
                 deformation does not occur.
            •    Providing synthetic liner materials, including seams, which allow
                 elongation without tearing.

            Designing of clay and synthetic cover and emission control systems to account for significant
            settlement is a relatively routine requirement for many landfill closures, particularly those
            which consist of municipal trash. Settlement of these landfills frequently exceeds 10 feet,
            and sometimes is as much as 50 or more feet as the trash volume reduces due to its natural
            biological degradation. Differential movements in those cases are many times greater than the
            few inches which could be expected for partially solidified materials at the McColl sumps.



        6.3.5 HNALCU3SURE ACTIVITIES
/***%   1. Final closure includes the following components, most of which are illustrated in Figure 6.7.
             •  The RCRA equivalent cap with a configuration similar to that shown in
                the Figure. The gravel and perforated pipe layer at the base of the cap
                system would be utilized for the control of emissions which may occur
                from the sump areas. The clay and synthetic liner composite layer would
                function as an impermeable zone for preventing: (1) downward
                infiltration of water, and (2) the escape of vapors flowing within the
               emissions collection system. The drainage collection layer would collect
               water infiltrating through the top vegetative layer for discharge into the
                site's storm drainage system. The vegetative soil layer would be specified
                to support vegetation, which aesthetically complements overall site
                landscaping but does not have root depths which could affect other cap
               components.
             •  A subsurface cement/bentonite (or equivalent) cutoff wall and emissions
               control system surrounding the sump areas as illustrated in the Figure.
               The wall will be 30 to 40 feet deep to extend below the bottom of the
                sump configurations. The perimeter emissions control system will consist
               of a row of extraction wells inside of and adjacent to the cutoff wall. The
               emissions control system will preclude the outward migration of
               emissions, and the cutoff wall will prevent the inward infiltration of
               perched water.
             •  Crib walls, or equivalent slope stabilizing systems, constructed adjacent to
               the Lower Ramparts sumps and Los Coyotes Sump 1 where existing
               sump berms abut the property line. These would be designed to assure
               stability under maximum credible earthquake conditions as determined for
               the McColl site by Lindvall, Richter and Associates, 1987 (MSG, 1990).
               The slope stability enhancement external configuration would be designed
               by a landscape architect to assure its acceptable aesthetics and adequate
               provisions for growing proper vegetation.
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                                                                                                                                                         6 lla
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                                                                                                                         RANDOM FILL     pSLOPE
                                                                                                                         FOR SITE ORADNG I STABILITY
                                                                                                                                           IMPROVEMENT




                                                                           PERMETER OF RAMPARTS
                                                                           CLOSURE AREA


PERFORATED PIPES                                              RAMPARTS PERIMETER
IN CAP GAS CONTROL
                                                              SAS CONTROL WELLS AND ICADEH
SYSTEM


                                                                                             !f VEQETATIVE COVER

                                                                                                      QEOTEXTIE

                                                                                                GEONET CRANAGE

                                                                                                      QEOTEXTLE

                                                                                              60 MIL HIGH DENSITY
                                                                                             POLYETHYLENE (HOPE)
                                      IDS COYOTES PERIMETER
                                      GAS CONTROL WEILS AND HEADER




                                                                                    \r QRAVEL OAS COLLECTION
                                                                                   SYSTEM WITH PERFORATED PIPES




                        200    400 FEET
                                                             LESHffi

                       SCALE                                           GAS CONTROL WEILS                                         FIGURE 6 7

                                                                        PERIMETER FENCE LINE                               ILLUSTRATION OP
                                                                                                                         RCRA EQUIVALENT CAP
                                                                       CRIB WALL (APPROXIMATELY 25' HEIGHT)               CLOSURE ELEMENTS
                                                                                                                                McCOLLSITE
                                                                                                                    ENVIRONMENTAL SOLUTIONS, INC.




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         The installation of a small centralized, long-term air cleaning system, and
         a small operational office and parts warehouse in the central northern
         portion of the site, away from residences and site boundaries. The
         exterior of these facilities will be designed to blend into the landscaping.
         The air cleaning system will only be that required for the cap and
         perimeter emission control systems.
    •    Onsite grading and landscaping to safely control rainfall run-off and
         provide the park-like setting. Vegetation outside of the sump areas would
         include a sufficient number of large, decorative trees to create the desired
         aesthetics and especially to blend into the adjacent park and residential
         areas.
    •    Curbing and sidewalk construction along the south side of
         Rosecrans Avenue and a slump stone type wall along the site boundary at
         Frank B. Clark Park, Rosecrans Avenue and Sunny Ridge Drive. The
         design of these improvements will be compatible with similar features in
         the residential areas.
    The landscape architecture elements of the closure are more fully described in Chapter 7.0.

2. The majority of the closure activities would be accomplished after selective excavation and in
   situ treatment activities are completed. To the extent possible from a geotechnical standpoint,
   the crib wall (or other slope stabilizing system) and related landscaping would be installed as
   part of the first construction activities to begin development of the desired buffer between the
   residences and the remediation activities.




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                                   Exhibit 43
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          7.0 RECOMMENDED ALTERNATIVE DESCRIPTION
7.1 GENERAL
This chapter describes the selective excavation alternative and its implementation process
(Section 7.2), predesign activities to support implementation (Section 7.2.10), and a cost
evaluation of the alternative (Section 7.3).



7.2 SELECTIVE EXCAVATION ALTERNATIVE DESCRIPTION
7.2.1 GENERAL
1. Major elements of the recommended alternative and its implementation are illustrated in
     Figure 6.1. The main activities include:
     •   Prior to commencing remediation activities in the sumps, berm
         reinforcement and grade modifications will be performed to provide slope
         stability improvements. A combination of backfill and reinforced crib
         walls are planned to modify existing berms, which are as steep as
          1-1/2 horizontal to 1 vertical, to withstand the maximum credible
         earthquake. Backfill will be used wherever possible and designed so as
         not to encroach on adjacent properties. Other areas will require crib walls
         (e.g., concrete-beam, reinforced earth structures) constructed on the
         existing berms within the site property limits. Crib wall construction will
         not require excavation of sump materials (wastes). The backfills and crib
         walls will be designed so that they can be extended to provide support to
         the final closure cap, as well and carefully integrated with the containment
         (cement bentonite cut-off wall) and closure cover elements. These slope
         stabilizing features have the advantage of providing a buffer from
         remediation activities and the base for attractive landscaping.
     •    Materials in the 12 sumps, above the hard asphaltic layers, will be divided
         during predesign site characterization into five "types" of areas and
         handled as follows:
              Type 1 Argas: Materials within the top 3 feet of any sump with
               arsenic concentrations greater than 50 ppm will be excavated,, treated,
              and disposed at an acceptable landfill. The 50 ppm action level is
              based on dilution factors for the 5 mg/L TCLP standard. With 3 feet
              of backfill, the permanent closure cap, and drainage control systems,
              there would be no opportunity for ingestion or wind erosion of any
              remaining arsenic-containing soil. The material will be stabilized
              onsite or at the landfill location using procedures which satisfy BDAT
              requirements of the Federal land ban regulations. Based on available
               site date, it is expected that elevated arsenic material will be excavated
              only from Sump R-l.




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                   Type 2 Areas: These areas will consist of the existing seeps and tar
                   zones where solidification may not satisfy differential settlement/
                   immobility criteria. Each area will be assessed as to whether or not it
                   can safely be excavated after neutralization and partial solidification,
                   and the following appropriate actions will be taken:
                    •     If excavation is determined to be safe, the area and a
                          surrounding several-foot buffer zone will be preneutralized
                          and partially solidified, excavated, and backfilled. Excavated
                          and treated materials will then be disposed onsite, transported
                          offsite for disposal, or incinerated depending on TPH.
                    • If excavation is not safe, the area will be treated and solidified in
                          situ to the extent possible and tested for its solidification
                         characteristics (i.e., strength and consolidation). An evaluation
                          of potential differential settlement will be performed to determine
                          whether or not a special cap design is needed in this area. The
                          special cap design, if required, will accommodate predicted
                          settlements.
                    Type 3 Areas: Zones which have a thickness and depth of tarry
                    material which could pose stability/mobility problems, but in which
                    solidification success is anticipated, will be treated and solidified in
                    situ. Post-treatment testing will be performed to confirm that the
                    degree of solidification required has been achieved. If solidification
                    is satisfactory, no further special treatment will be required. If not
                    successful, a closure cap will be designed to accommodate the
/**%,               partially-solidified conditions in the area.
                    Type 4 Areas: These areas contain zones of drilling muds which
                    require solidification to eliminate differential settlement potential.
                    They will be solidified in situ, tested and evaluated. If predicted
                    differential settlements after testing do not meet the design criteria for
                    the normal RCRA equivalent cap, a special cap design will be
                    installed which accommodates the remaining predicted settlements.
                    Type 5 Areas: These ate the remaining sump areas where predesign
                    characterization and analysis indicate that no improvements are
                    required.
               Table 7.1 provides estimates, based on the currently available data, of the
               sump volumes expected to be grouped into each area type. Two estimates
               are provided based on interpretation of the minimum and maximum
               volumes expected to be excavated
           •   After excavation and in situ treatment activities are completed, a RCRA
               equivalent closure system will be provided consisting of the following
               containment, slope stabilizing and aesthetic features:
                    A cement/bentonite containment wall constructed entirely around the
                    sump areas and extending below the treated materials to prevent
                    outward gas migration and inward infiltration of perched water.
                    Installation of a RCRA equivalent cap over the sump areas with
                    integral impermeable layers, emission control system, surface water
                    collection system and vegetative cover layer to provide redundant
                    containment of gas migration and water infiltration.
                    Placement of a network of vertical emission control wells along the
                    inside face of the cemenVbentonite containment wall.


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                                               TABLE 7.1                                           7-2a

       ESTIMATED SUMP AREA WASTE MATERIAL VOLUMES
                         BY TYPE
                                               ESTIMATED VOLUME OF MATERIAL^)
                                                                             CASE 2
                                      CASE1
                                                                   SELECTIVE EXCAVATIONS AT
                             SELECTIVE EXCAVATION AT
                                                                   EXISTING SEEP AREAS AND 24
                               EXISTING SEEP AREAS               PARTIALLY SOLIDIFIED LOCATIONS
  MATERIAL TYPE
                                               VOLUME AFTER                          VOLUME AFTER
                             IN PLACE            EXCAVATION        IN PLACE           EXCAVATION
                              VOLUME                  AND          VOLUME                  AND
                          (Bank Cubic Yards)    SOLIDIFICATION (Bank Cubic Yards)    SOLIDIFICATION
                                               (Loose Cubic Yards)                  (Loose Cubic Yards)
ELEVATED ARSENIC                 1,800                  2,300          1,800              2,300
MATERIAL - TYPE 1

TYPE 2

• Excavated, Treated,            1,960                  3,140            NA                  NA
  and Disposed at
  Offsite Landfill

• Excavated and                   NA                     NA            4,230               6,770
  Incinerated Offsite

• Excavated, Treated,           2,120                   3,490          9,930              15,990
  and Redisposed Onsite

             TYPE 2             4,080                   6,630         14,160             22,760
          SUBTOTAL

TYPE 3 - In Situ               14,640                    NA            8,080                 NA
  Solidified Tarry
 Material and Soil and
  Drilling Mud Mixed
 with Tarry Material

TYPE 4 - In Situ                9,380                     NA           5,860                 NA
 Solidified Drilling
 Mud

TYPE 5 - Materials              8,700                     NA           8,700                 NA
 with No Required
 Improvement

               TOTAL           38,600                   8,930         38,600              25,060

NA = Not Applicable

W These estimated volumes were used in cost estimate.




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                  Site grading and construction of drainage systems to collect and direct
                  rainfall run-on and run-off for erosion control and additional
                  infiltration prevention.
                  Extension and completion of backfills and crib walls, and site grading
                  to provide adequate factor of safety for long-term slope stability
                  under both static and earthquake loading conditions.
                  Installation and implementation of ground water monitoring system to
                  confirm no long-term impact from the closed site.
                  Final landscape contouring and tree/shrub planting to provide an
                  aesthetically pleasing "park-like" setting which integrates with the
                  surrounding community.

     2. The following sections (7.2.2 through 7.2.9) describe details for the recommended selective
        excavation alternative and its implementation, which will be refined and improved as part of
        the predesign activities. A summary schedule and a preliminary schedule of predesign,
        design, and implementation are shown in Figures 7.1 and 7.2, respectively. The discussions
        follow the sequence of graphics illustrated in Figures 7.3 through 7.12 to illustrate site
        conditions and the types and sequencing of equipment operations to be used for actual
        remediation.

^^   3. Section 7.2.10 describes the recommended predesign activities to provide data for the final
        remediation design. A cost evaluation for the alternative is presented in Section 7.3.


     7.2.2 SITE CONDITION NO. 1 - EXISTING CONDITIONS
      1. Figure 7.3 shows "Site Condition No. 1" which is the existing condition as determined from
          aerial photographs and topographic maps developed in November 1990. Key features shown
          are:
          • The relatively steep existing slope between the Upper Rampart and
               Lower Rampart sumps which will require that these two areas be handled
               at separate times.
          • The relatively steep slope adjacent to the southwestern boundary of the
               Lower Rampart sumps, immediately adjacent to the property boundary
               and tiie nearby residences. The slope represents an area where special
               considerations may be required for supporting an environmental enclosure
               and establishing excavation boundaries.
          • The existence of a large drainage culvert near the southwest portion of the
               site (west of the Los Coyotes sumps) which can continue to be utilized as
               the main drainage path for run-off from most of the site.
          • The existing decontamination facility near the center of the site which will
               be upgraded and utilized as part of the work described in the following
               sections.


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                                                                                             FIGURE 7.1

                                                                         SUMMARY PROJECT SCHEDULE
                                                                      SELECTIVE EXCAVATION ALTERNATIVE
                                                                                        1992                      1993                         1994                  1995
LINE                             AcnvmES
                                                                           RJIST SECOND THIRD POURTH FWST SECOND THKD FOURTH FBIST SROOND THIRD POURTH FIRST SECOND THIRD POURTH

 1     PRE-EXCAVATION/SOL1DIF1CATION ACnVITIES
 2       Prepare Woifc Plan                                               ""
         Ptadesign Phase
 4       Design Engineering Phase                                                                       1 mmmm •"••»• *
 5       Equipment and Material Procurement
                                                                                         t
 6       Permitting md Approvals (ARAR Satisfaction)                                I    i


 7       General Site Facilities end Infrastructure                                                                 mmmm   •B*

 1       Construct Rncfcmire Air Ttetmett Facility                                                                        • ••••
 9       btctafl Solidification and Coring Enclosure «nd Equipment                                                        i •m
 10      Construct Movable Excavation Enclosure                                                                             ••••
 11      Construct Crib Walls                                                                                             • •MM    •HI
 12
 13    Offt^T
       STAOK V1 WfA
                1 ACV
                    AVlftt\1&tBfVt VmLljl 1C
                        A I ION/M/LH»lr   *ATmM    /B tKAMrAK
                                             A 1 IOW  A&t9A&TC\1 o>                                                                                    ••BUR

 14
 15    STAGE H EXCAVATION/SOLroffJCATlON (EAST LOS COYOTES)                                                                      • naam   «B     MM)

 16
 17    STAGE m EXCAVATION«OLIDIFICATION (WEST LOS COYOTES)                                                                                mmm MHH
 18
 19    SITE CLOSURE ACTIVITIES
 20      RAMPARTS CLOSURE
 21      LOS COYOTES CLOSURE                                                                                                                                   ••M MMM   ••
 22
 23    hitullation Perranent Gis Treatment snd Irrigitkm Systems                                                                                                    m •MM
 24    Find Site Grading md Landscaping                                                                                                                                  •Hi

 25    Demobilization and Final Site Cleanup                                                                                                                                •Mi

                                                                                                                                                                         90-336A(2/12/91/dh)




                                                                                                 Exhibit 43
                                                                                                   5951
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                                                                       FIGURE 7.2                                                                                                                                                                                                            7-3b
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                                                                                                       PRELIMINARY PROJECT SCHEDULE
                                                                                                     SELECTIVE EXCAVATION ALTERNATIVE
                                                                                                                                                                                                                                                                             fffC   1 Of 1


                                                                                      1992                                          19   93                                              1994                                                               19<95
                         ACTIVITIES
                                                                          RRST   SECOND      THIRD   FOURTH       HRST     SECOND             THIRD    POURTH          HRST     SECOND          THIRD         FOURTH                nwr            SEOOND           TWRP     FOURTH


PRE-EXCAVATION/SOUBIFICATION ACTIVITIES
  Prepare Work Plan                                                    ••••••
  Predesign Pha*s
  PC sign Engineering Ph**e
  Equipment and Material Procurement
  Permitting and Approvals (ARAR Satisfaction)
  General Sue Grading. Roadi and Dramage                                                                                                 •BaMaa^MH    mm
  Site Buildings                                                                                                                              MiWMM
  Utilities insuOUnon                                                                                                                         •HHaVHB m
  Bulk Maan*] Storage Facilme*                                                                                                                 mamwm aWMB
  Construa Enclosure An Treatment Facility                                                                                                            MMMMMB

  Install Solidiftcanon and Going Enctotuxe                                                                                                      —m
                                                                                                                                                  M ••BMW
  Install Solidification Module and Ventilation Ductwork                                                                                                  m—m*m
  Coostruct Movable Excavation Enclosure
                                                                                                                                                          m—m
  Construct Crib W*tb

STAGE I EXCAV ATSON/S<H.H)IFIC ATION
  Install Excavanon Equipment. Enclosure Ductwork and Test Systems                                                                                              MB

  Excavate R-l Arsenic Soils                                                                                                                                         tmmm
  Neutralize and PamaUy Solidify Excavation Areas and Buffer
  6*c*vate Seep M&tenal Including Find Solidificaiton and Shipmeni                                                                                                                     m •aWHMM
   Solidify R-l, R-2 R-3 and R-* Wa*i«                                                                                                                                                                   0   mmmmm

STAGE a EXCAVATION/SOLIDIFICATION
  Install SohdiftcaDOQ Bcftupmcnt and Test                                                                                                                   •"
  Neutralize and Partially Solidify Excavation Area and Buffer                                                                                                       mmmmmm mtmm
  Excavate Seep Material Including Final Solidification and Shipment                                                                                                          i •MMM
   Solidify L-l andL-2 Waste*                                                                                                                                                               """ '"""•"


STAGE OIEXCAVATlON/SOUDfflCATlON
  Eo£E*lI Solidification Equipment and Text Systems                                                                                                                               m
  Neutralize end P»rn»Uy Solidify Excavation Areas and Buffer                                                                                                                          •m •••••••••I
  Excavate Seep MaienaJ Including Final Solidufkatton and Shipment                                                                                                                                  am       BOl


   Solidify L 3, L-4 and L-o Wastes                                                                                                                                                                          •MMMHM         •

SITE CLOSURE ACHV llltS
RAMPARTS CLOSURE
   Rough Grading                                                                                                                                                                                                            •""'
   fcttall Slurry Wall                                                                                                                                                                                             mtfmmm   •••
                                                                                                                                                                                                                                      —
   Fine Grading for Cap Installation                                                                                                                                                                                                      ""
                                                                                                                                                                                                                                1
   Install Perimeter Gas Control Weils
   Install Gas Control Layer
                                                                                                                                                                                                                                            •••
   Install Low Permeability Layer                                                                                                                                                                                                              ^™*


   Install Top Sod. frngaoon System and Hydroseed                                                                                                                                                                                                       «• ••

LOS COYOTES CLOSURE
                                                                                                                                                                                                                                _•
   Rough Grading
   Install Slimy Wall                                                                                                                                                                                                               mif^f      m
   Fine Grading for Cap Installation                                                                                                                                                                                                           ••
   Install Penmettr Gu Control WelU                                                                                                                                                                                                       •^ •••
   install Gu Control Layer                                                                                                                                                                                                                    mum
   buxaf ! Low Permeability Layer                                                                                                                                                                                                                    mm*
   Lutajl HDPEGeoraembnne                                                                                                                                                                                                                               mt
   ListaJI Top Sod, Irrigation System and Hydroseed                                                                                                                                                                                                            mmm

Install Perutancut Gas Tre«tment and Irrigation Systems                                                                                                                                                                                                 ^m wmmmmm
Ftfsti Site Grading andLandacaprag                                                                                                                                                                                                                                  •MB
Demobikcatton andFinml Site Cleanup                                                                                                                                                                                                                                  wmmmm

                                                                                                              Exhibit 43
                                                                                                                5952
                               i = Partial Activity
                               i = Full Activity
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X**


                                                           EXISTING TRIAL EXCAVATION
                                                           MATERIAL STOCKPILES
                                                           AND DRUM STORAGE AREA




                                                                   FIGURE 7.3

                200         400 FEET
                                                          SITE CONDITION NO. 1
               SCALE                                      EXISTING CONDITIONS

                                                                  McCOLL SITE
                                         Exhibit 43   ENVIRONMENTAL SOLUTIONS, INC.
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            SECURITY
                                                             AREAGRADED
                                                             FORF1LAND
                                                               MATERIAL
                                                               LAYDOWN


SITE OPERATION AND
ADMINISTRATIVE OFFICES


MATERIAL RECEIVING/
WAREHOUSE




                                                                                           UNRESTRICTED AREA

                                                                                           HEALTH AND SAFETY
                                                                                           EXCLUSION AREA

                                                                                           SITE FENCE LINE

                                                                                           EXCLUSION AREA FENCE

                                                                                           CRIB WALL
                                                                                           (APPROXIMATELY 25 FEET HIGH)

                                                                                                                       400 FEET

                                                                                                 SCALE

                                                                                                FIGURE 7.4

                                                                                        SITE CONDITION NO. 2
                                                                                     SITE INFRASTRUCTURE AND
                                                                                       PERIMETER CRIB WALLS
                                                                                               McCOLL SITE
                                                                                 ENVIRONMENTAL SOLUTIONS, INC.
                                                            Exhibit 43
                                                              5955
                                                                                                                                                                                                                                               /-je
                                                  S-1 &Case
                                                        S-2     2:91-cv-00589-CJC Document
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                                                                                                                                               & C-2 ID                                                         B-4
                                     PARTICULATE AND PRIMARY                SECONDARY SO2 SCRUBBERS #:5999
                                                                                                      MAIN BLOWER     INCINERATOR        VANE DEMISTER                                                   MAIN BLOWER        INCINERATOR
                                          SO2 SCRUBBERS                                                                            5,000 cfm             5,000 dm                  AND CONDENSATE TRAP    15,000 cfm          15,000 cfm
                                              1,000cfm                                                                                               CONTAMINATED AIR                                                     CONTAMINATED AIR




                                      1,200 cfm                                                                                                                                 STACK
                                                                   2.500 dm I


               300 cfm




                                       1,000 cfm
                                                                                                  CAUSTIC
                                         ff
                                                                                                   SODA
 AIR

                                                                                                                                                            T50F FACILITY

                                                                                                                   Id.
                                                                  fff- WASTE TO
                                                                  ~~ TSDF FACILITY
                                      1,200 cfm                                         CONDENSAT£                             CIRCULATING     CONDENSATE
                                                                   2,500 cfm H
                                                                                           TANK                                   PUMP            TANK                                                                                      STACK


GROUND                                                                               ACROSS TIE
               300 cfm




                                                                                            ^^TSDF FACILITY
                                                                                                                                                                                   CAUSTIC
                                                                                                                                                                                    SODA
                                                    5,000 dm                                          5.000 cfm           _^
                                                                                                                                                                                             1
                                                                                                                                                                                                                              _ WASTE TO
                                                                                                                                                                                                                              TSDFFAC1UTY
                                              1,600 cfm                                                  1    1,000 cfm   _-



         SOLIDIFICATION                                                                                                                            EXCAVATION       CONDENSATE                    CIRCULATING    CONDENSATE
          ENCLOSURE                                                                                                                               ^ENCLOSURE           TANK                          PUMP           TANK
                                                                                            J                         DIESEL    ^
                                                                                                                   EXHAUST HOOD
                                                                                                                            /
                                                                                                                           / /
                                                                                                                                                                                                                      FIGURE 7.5
                                                                                                                                                                      AIR

                                                                                                                                                                                                            AIR TREATMENT SYSTEM
                          PUG MILL
                                                                                                                                                                                                                 FLOW DIAGRAM
                                                          B-2                      B-3                                                                                      T-1 & T-2
              PUG MILL PARTICULATE            SOLIDIFICATION                  EXCAVATION                    DIESEL EXHAUST                                  SCRUBBER CIRCULATING TANK
                                                                                                                                                                                                                      McCOLL SITE
               AND SOg SCRUBBER             ENCLOSURE BLOWER               ENCLOSURE BLOWER              PARTICULATE SCRUBBER
                     1,500 cfm                   5,000 cfm                      5,000 cfm                              Exhibit 43
                                                                                                                1.000 cfm                                                                            ENVIRONMENTAL SOLUTIONS, INC.
                                                                                                                         5956
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                                     ROSECRANS AVE




                                                              FIXED VACUUM
                                                              HEADER

                                                                     LESEM1

                                                                              UNRESTRICTED AREA

                                                                              HEALTH AND SAFETY EXCLUSION
                                                                              AREA
                                     EXCAVATION
                                     ENCLOSURE (88'0)                         SITE FENCE LINE
                                     FOR ELEVATED
                                     ARSENIC REMOVAL                          EXCLUSION AREA FENCE

                                                                              CRIB WALL
                                                                              (APRROXIMATELY 25 FEET HIGH)

                                                                               200              400 FEET

                                                                             SCALE

                                                                             FIGURE 7.6

                                                               SITE CONDITION NO. 3
                                                                   TYPE I AREA
                                                            ELEVATED ARSENIC REMOVAL
                                                                         McCOLL SITE
                                                          ENVIRONMENTAL SOLUTIONS, INC.
                                   Exhibit 43
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                                        ROSECRANS AVE




                                                                                NEUTRALIZATION, PARTIAL
                                                                                SOLIDIFICATION OF EXAMPLE
                                                                                TYPE 2 AREA (PRIOR TO
                                                                                EXCAVATION EQUIPMENT AND
                                                                                ENCLOSURE)

                                                                FIXED VACUUM
                                                                HEADER

                                                                       LEGJNJJ


                                                                                UNRESTRICTED AREA

                                                                                HEALTH AND SAFETY EXCLUSION
                                                                                AREA


                                                                                SITE FENCE LINE

                                                                                EXCLUSION AREA FENCE

                                                                                CRIB WALL
                                 NEUTRALIZATION, PARTIAL                        (APPROXIMATELY 25 FEET HIGH)
                                 SOLIDIFICATION OF EXAMPLE
                                 TYPE S AREA (PRIOR TO                                              400 FEET
                                 EXCAVATION EQUIPMENT AND
                                 ENCLOSURE)
                                                                               SCALE
                                 ENCLOSURE FOR
                                 EXCAVATING NEUTRALIZED                        FIGURE 7.7
                                 AND PARTIALLY SOLIDIFIED
                                 TYPE 2 AREA                      SITE CONDITION NO. 4
                                                                    NEUTRALIZATION,
                                                                 PARTIAL STABILIZATION
                                                               AND SELECTIVE EXCAVATION
                                                                           McCOLL SITE
                                     Exhibit 43              ENVIRONMENTAL SOLUTIONS, INC.
                                       5958
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                                                                                                                       90-336A/ETCr   „ ,-fEV 02/12/91




                                                      ROSECRANS AVE




                                                                                                        LEGJENJ1


                                                                                               |        I       UNRESTRICTED AREA

                                                                                               I         1     HEALTH AND SAFETY EXCLUSION
                                                                EXAMPLE TYPE 4 AREA            L-       1      AREA
                                                                SOLIDIFICATION/TREATMENT
                                                                                                               SUE FENCE LINE
                                                                                           X        H    X-    EXCLUSION AREA FENCE
                                             ENCLOSURE FOR
                                             EXCAVATING NEUTRALIZED                                            CRIB WALL
                                             AND PARTIALLY SOLIDIFIED                                          (APPROXIMATELY 25 FEET HIGH)
(         ^ •*•'    x   v   ^ «*.        a
    L-3    \       *t^>.            --       TYPE 2 AREAS
                                                                                                                200             400 FEET


                                             EXAMPLE TYPE 3 AREA
                                                                                                              SCALE
                                             SOLIDIFICATION/TREATMENT
                                                                                                              FIGURE 7.8

                                                                                                   SITE CONDITION NO. 5
                                                                                                    IN SITU TREATMENT
                                                                                                   AND SOLIDIFICATION
                                                                                                              McCOLLSITE
                                                                                       ENVIRONMENTAL SOLUTIONS, INC.
                                                   Exhibit 43
                                                     5959
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  -*\




                                                                        APPROXIMATE
                                                                        6'0AUGERING




                                                                  FIGURE 7.9

                                                             OVERLAPPING PATTERN
/•*                                                                   OF
                                                         IN SITU TREATMENT CYLINDERS
                                                                  McCOLL SITE
                                                        ENVIRONMENTAL SOLUTIONS, INC.
                                           Exhibit 43
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                                                      CEMENT-BENTONITE
                                                      CUTOFF WALL INSTALLATION




                                                                            LEGEND.

                                                                     I      |    UNRESTRICTED AREA

                                                                     I      |    HEALTH AND SAFETY EXCLUSION AREA

                                                                                 SITE FENCE LINE

                                                                    *—*—*-       EXCLUSION AREA FENCE

                                                                    — • —        INTERIM CLOSURE AREA

                                                                     ——          CRIB WALL (APPROXIMATELY 25 FEET HIGH)

                                                                                 TRENCH BACKFILLED WITH
                                                                                 CEMENT-BENTONITE

                                                                                                          400 FEET



                                                                                      FIGURE 7.10

                                                                       SITE CONDITION NO. 6
                                                                   COMMENCE CLOSURE ACTIVITIES

                                                                                      McCOLL SITE
                                                                 ENVIRONMENTAL SOLUTIONS, INC.
                                       Exhibit 43
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                                          ROSECRANS AVE


                                                          COMPLETED
                                                          CEMENT-BENTONITE




                           LONG-TERM
                           GAS
                           TREATMENT
                           FACILITY
                                                                               EMISSION CONTROL WELLS
                                                                               BEING INSTALLED THROUGH
                                                                             ; CAP SLEEVES




                                                                             UNRESTRICTED AREA

                                                                             HEALTH AND SAFETY EXCLUSION AREA

                                                                             CAP BEING INSTALLED

                                                                             SITE FENCE LINE

                                                                             EXCLUSION AREA FENCE

                                                                             TRENCH BACKFILLED WITH
                                                                             CEMENT-BENTONITE

                                                                             CRIB WALL
                                                                             (APPROXIMATELY 25 FEET HIGH)

                            CEMENT-BENTONITE                                       200               400 FEET
                            CUTOFF WALL

                                                                                 SCALE
                                                                                FIGURE 7.11

                                                                SITE CONDITION NO. 7
                                                             COMMENCE CAP INSTALLATION

                                                                               McCOLL SITE
                                                          ENVIRONMENTAL SOLUTIONS, INC.
                                       Exhibit 43
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     •   The area with existing trial excavation material stockpiles and drum
         storage area will be cleared, including removal of all materials and drums
         to appropriate offsite disposal facilities.
     •   The existing site facilities area which will be reworked and utilized for
         remediation.

2. Earthquake slope stability improvements (e.g., backfill against slopes and crib wall) will be
   started as early as possible to provide short-term stability during construction, added buffer
   from operations, and improved aesthetics. Predesign activities will include evaluation of the
   feasibility of performing these improvements in conjunction with infrastructure preparation.



7.2.3 SITE CONDITION NO. 2 - INFRASTRUCTURE REQUIREMENTS
1. Figure 7.4, "Site Condition No. 2", shows the general arrangement of the site infrastructure
     required to complete field activities. Table 7.2 summarizes the main components of the
     general facilities.

2. A fence will initially be constructed to subdivide the site into the following two basic areas:
   • The northwest portion of the site will be an unrestricted area, accessible to
        suppliers, truck drivers, etc., who do not have 40-hour health and isafety
       training required to enter a hazardous waste site.
   • The entire remainder of the site, where excavation and materials handling
        activities will take place, will be classified as an exclusion area with
       limited access.

3. The site personnel facility, personnel decon building, and laboratory are sized to accommodate
   the number of site employees (average 46, maximum of 70) anticipated. The maintenance
   and materials receiving building and warehouse are sized to accommodate spare materials and
   perform routine maintenance of site equipment The bulk material storage area has access
   from both the unrestricted and exclusion areas so that materials can be: (1) brought onto the
   site by truck drivers without 40 hours of health and safety training, and (2) then removed to
   working areas by persons with appropriate training. The northernmost portion of the site is
   designated as a parking and truck staging area. This area is necessary to avoid having either
   supply trucks (e.g., lime, cement, fly ash trucks) or waste haulage trucks being staged along
   Rosecrans Avenue.




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                                                                      FIGURE 7.12

                                                                  PERSPECTIVE VIEW
                                                                   AFTER CLOSURE

                                                                      McCOLL SITE
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                                                                                              •7-4b



                                     TABLE 7.2
                   SUMMARY OF INFRASTRUCTURE ITEMS
        FACILITY                  SIZE                                DESCRIPTION
 Air Treatment Area            5,000 S.F.               • Air Scrubbing, Blower, and
                                                          Incinerator Units
 Security Gate                  160 S.F.                    Prefabricated Structure
                                                            Controlled Site Entrance
 Personnel Break Room           400 S.F.                    Prefabricated Structures
 Remote Area                                                Break Facilities
 Laboratory               1,100 S.F. Laboratory/            Prefabricated Structure
                             1,100 S.F. Storage             Chemical Analysis; Health and Safety
                                                            Equipment Storage
 Bulk Materials Storage        15,000 S.F.              • Bulk Storage of Cement, Lime,
                                                          Fly Ash
                                                        • Bulk Storage of Gasoline, Diesel,
                                                          Lubricants
 Personnel                     2,900 S.F.               • Prefabricated Structure
 Decontamination                                        • Provide Controlled Access to
 Facility                                                 Contaminated/Uncontaminated Areas
 Personnel Break Room          2,800 S.F.               • Prefabricated Structure
 Work Area                                              • Lunch Room and Break Facilities
 Maintenance Building          2,200 S.F.               • Prefabricated Structure
                                                        • Provide Maintenance of
                                                          Decontaminated Equipment
 Warehouse                     2,900 S.F.               •   Prefabricated Structure
                                                        •   Spare Parts Storage
  Site Operations and          2,900 S.F.               •   Prefabricated Structure
  Administration                                        •   Facilities Administration




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4. The main structures within the exclusion area will be the emission control system and the
   curing enclosure for treated and solidified materials to be replaced onto the site or hauled
   offsite for appropriate disposal. The air treatment facility is centrally located to be relatively
   close to operations at any of the sumps, and will remain at the same location for the entire
   remediation program. If a stack location is required to be separate from the treatment facility,
   an additional blower and duct will be provided so that the treated air could be moved from the
   fixed treatment facility to the exhaust location.

5. Figure 7.5 shows an example flow diagram for the emission control system anticipated for in
   situ stabilization and selective excavation. The following two parallel systems will be
   provided:
         The first system will be designed to handle contaminated air from two
         auger stabilization units operating at once. The system will operate in the
         following way:
              Air from the steel shroud surrounding the Kelly bar of the auger will
              be extracted by a liquid jet scrubber (the primary scrubber) which will
              operate using caustic soda solution. This scrubber will remove the
              dust and some sulfur dioxide.
              Air from the secondary containment enclosure, which surrounds the
              Kelly bar shroud, will bypass the primary scrubber because it is dust
              free and low in SOi- This air will mix with the exhaust air from the
              primary scrubber and the combined mixture will be scrubbed in a
              packed tower secondary scrubber. The secondary scrubber will use
              circulating caustic soda as a scrubbing medium.
              A ground emission control blanket will also be provided to remove
              any emissions which might remain after in situ stabilization. This
              blanket will be designed for an air flow of 300 cubic feet per minute
              (cfm) and will be connected to the main scrubber duct.
              The air from the secondary scrubber which still contains VOCs will
              be treated in an incinerator designed to attain 99.99 percent
              destruction of the volatile organics.
   • The second air treatment system will treat air from the excavation
         enclosure and from the solidification enclosure.
              The excavation enclosure will be designed for two air changes per
              hour, which amounts to 5,000 cfm. It will be provided with a
              separate diesel exhaust system sized for 1,000 cfm.
              The solidification enclosure will be provided with one-fourth of an air
              change per hour, amounting to 5,000 cfm. It also will have a
              separate fume extraction hood over the solidification pug mill, where
              1,500 cfm of air will be extracted.
              The extractor hood air and the diesel exhaust air will both be treated
              in paniculate jet scrubbers to remove dust and soot, respectively.
         - The exhaust from the dust scrubbers will join the main air extracted
              from the enclosures. This air, which will contain some sulfur
              dioxide, will be treated in a packed scrubber. The exhaust from the
              scrubber will pass through a second incinerator to destroy VOCs.

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     •    The packed tower scrubbers (S-3 and S-6) and the incinerators will be at
          one central location. The jet scrubber (S-l, S-2 and S-5) will be skid
          mounted and capable of being moved, probably daily. The exhaust from
          the jet scrubbers will be connected to a central duct which has multiple
          quick disconnect connectors or flanges.
     •    All condensate tanks will be monitored, replaced as necessary, and the
          collected waste materials properly handled and transported under manifest
          to the appropriate toxic substance treatment or disposal facility.

     The two air treatment systems will be cross-connected to provide redundancy in the event of
     the breakdown of a component from either of the systems. For example, if the treatment
     system for the air within the steel shroud has a component failure, this will be detected by the
     monitors and augering will terminate. However, the secondary air treatment system will then
     continue to treat all air within the collection lines to prevent any emissions.

6.   The curing facility will be located adjacent to the clean area to avoid the need for offsite trucks
     to move throughout the remainder of the site.



7.2.4 SITE CONDITION NO. 3 - ELEVATED ARSENIC REMOVAL
1. The initial excavation activity to be accomplished will be removal of the materials with elevated
     arsenic concentrations within an enclosure as shown in Figure 7.6.

2.   Because of the potential for SOi or VOC emissions associated with this relatively minor
     excavation (i.e., 2,000 cubic yards or less), it will be accomplished under the small enclosure,
     discussed below for the selective tarry material excavation activities. Because the elevated
     arsenic is expected to exist within the drilling muds, it is anticipated that some degree of
     pretreatment or solidification onsite may be required to prepare this material for transport to an
     offsite landfill. This pretreatment activity will be accomplished within the curing enclosure
     and may also include the level of stabilization necessary to satisfy BDAT requirements of
     Federal land ban regulations unless it is determined that stabilization can be accomplished
     more effectively at the ultimate landfill disposal area. In that event, the material will simply be
     solidified adequately for transport.




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7.2.5 SITE CONDITION NO. 4 - NEUTRALIZATION, PARTIAL STABILIZATION, AND
       SELECTIVE EXCAVATION
1. The next activity, illustrated in Figure 7.7, will be the selective excavation of tarry material
     (Type 2 Areas) where required, because of existing seep conditions and/or concern that in situ
     stabilization may not adequately satisfy the established criteria for all locations. Excavation
     will be accomplished by the following procedures illustrated as Steps 1 through 4 in
     Figure 6.5 and further described as follows:
     • Step 1 will consist of utilizing the in situ treatment and solidification rig
          (see Figure 6.4) to inject additives into the tarry material and adjacent
          mixed materials (buffer zone) in order to neutralize and solidify the
          materials adequately for materials handling. Neutralization and
          solidification activities will extend across the questionable zone plus a
          buffer zone of several feet in all directions.
     • Step 2 will involve careful examination and testing of the solidified areas
          to determine the zones, if any, where adequate solidification has not been
          accomplished to satisfy the differential settlement or mobility criteria
          established during predesign engineering.
     •     Step 3, the selective excavation operation, will consist of the actual
          removal of the materials using procedures as previously discussed in
          Section 6.0 and illustrated in Figure 6.5. It is anticipated that the majority
          of the excavated material near the ground surface wUl be relatively clean
          and therefore in a condition for backfilling into a sump area onsite.
          Material with significant concentrations of organics will be removed
          to the curing enclosure and prepared for offsite disposal. The offsite
          destination will be either a landfill or incinerator. The following criteria
          will be used to determine the material disposition:
                TPH < 10,000 ppm, onsite redeposit.
                TPH 10,000-100,000 ppm, disposal at appropriate landfill.
                TPH >100,000 ppm, incineration offsite or disposal at appropriate
                landfill.


7.2.6 SITE CONDITION NO. 5 - COMMENCEMENT OF IN SITU TREATMENT AND
       SOLIDIFICATION ACnVTTIES
1. Figure 7.8 illustrates how in situ treatment and solidification will be accomplished using two
     auger rig setups operating in different portions of the site. The purpose of two rigs is
     primarily to reduce the overall project schedule. These operations will occur in: (1) those
     locations (Type 4 Areas) where drilling muds exist (Sumps R-l, R-2 md R-4), and (2) where
     predesign probing indicated that tarry material exists at a depth, configuration and volume
     which could ultimately result in a seep or differential settlement condition (Type 3 Areas);
     including those locations of existing seeps where it was determined that excavation was not
     safe (Type 2 Areas). The exact sequence for moving the in situ solidification rig over a
     designated area requiring this treatment will be determined during predesign and design



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    stages. Figure 7.9 illustrates the type of solidification pattern which could be utilized to assure
    that all areas within the selected zone were covered and to provide a procedure for the in situ
    solidification crane to work over previously solidified materials whenever possible.

2. As each designated in situ treatment and solidification area is completed, the auger rig will be
   moved to a new designated location. Subsequently, within a specified period, closely spaced
   probing will be accomplished in the completed area to assure that conditions required for the
   differential settlement and mobility criteria are satisfied. If locations of inadequate
   solidification are identified, those areas will have a specially designed cap installed to
   accommodate the partially solidified conditions.

3 . Based on admixture requirements (Table 6. 1 ), it is estimated that 13,000 cy of lime, cement
    and fly ash will be required to solidify the estimated quantities of sump materials.



7.2.7 SITE CONDITION NO. 6 - COMMENCEMENT OF CLOSURE ACTIVITIES
1. After approximately 12 months, the in situ work will have been completed, and closure
     activities will be started as discussed in the following paragraphs and illustrated in
     Figure 7.10.

2. A cement bentonite slurry wall (or an equivalent system determined during predesign) will
   initially be constructed around the Rampart sumps. This operation includes excavation of a
   trench to a depth of 30 to 40 feet into the natural soil and dike materials. Trench sidewall
   stability will be temporarily provided by a bentonite slurry. Cost estimates for the cement
   bentonite wall is based on handling of the materials within contained transport and mixing
   units to avoid risks associated with the more typical procedure of mixing materials in open
   sumps prior to trench backfilling.

3. An emission control system will be installed on the inside face of the cement bentonite wall to
   provide an active control system for removing emissions, which could potentially migrate
   internally from the closed sumps. The configuration of these wells is shown in Figure 6.7.

4. Initial closure activities will include completion of additional crib walls, if required, in areas
   where improved long-term slope stability is determined to be desirable or necessary. The
   locations may include a portion of the berm at the south side of the Lower Rampart sumps, at
   the steepest portion of remaining slope near Sump R-4, and possibly at the northeastern end of


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     the East Los Coyotes sumps, where the excavation will have occurred near to the property line
     and adjacent residences and along the west side of Sump L-3. As discussed in Section 7.2.1,
     the majority of the crib walls adjacent to the residences will be constructed in conjunction with
     initial infrastructure development, if possible.



7.2.8 SITE CONDITION NO. 7 - COMMENCEMENT OF CAP INSTALLATION
1. Figure 7.11 illustrates that after the cement bentonite wall is completed in the Rampart sump
     area, the trenching equipment will be relocated to the Los Coyotes sump area. Final cap
     construction will then be initiated in the Ramparts area.

2.   Figure 6.7 shows a typical cross section through the final cap. Pending final design, it is
     assumed that the cap will include the following elements (from top to bottom):
         Vegetation and Irrigation System
         Vegetative Soil Cover
         Infiltration Seepage Collection, Geocomposite Layer
         Low Permeability Layer - Composite of Clay and Synthetic Membrane
         Gas Collection Layer - Geotextile Filter Layer, Gravel and Perforated Pipes

3.   Most of the main emission control facility will be removed at this time. A small portion of the
     emission control facility is required for long-term emission controls for me cap and perimeter
     emission control systems.



7.2.9 SITE CONDITION NO. 8 - SITE CONDITION AFTER CLOSURE
1. Figures 7.12 illustrates site conditions after the cap is completed over both sump areas, and
   landscaping is completed. Most of the buildings required during remediation activities will be
   removed and the entire area will be graded for drainage. The remaining structures will include
   the small long-term emission control facility (Figure 7.13) and a site operations and
   administration office. These facilities will be either remodeled or reconstructed to have the
     appearance of "park administration" buildings to compatibly blend into the landscaping,
     discussed below. The landscaping and irrigation system will be designed by a landscape
     architect with special expertise for developing parks in southern California.




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                                                                    KNOCK-OUT
                                                                      VESSEL
                                                                                                            TREATED AIR OUT
50% NaOH
STORAGE
                                                              DEMISTER
                                                                                                                         J
                                                              PACKED BED
                                                               SCRUBBER
                                                                                Y/7///////////A                 V/7///////////

                                                                                  GAC-1                   GAC-2



                                                                                    VAPOR-PHASE CARBON ADSORBERS
                                                                                         2000 IBS CARBON EACH




      EMISSION
      CONTROL                                150 CFM
       SYSTEM                                                                                     FIGURE 7.13
                           FAN                                                       SCHEMATIC OF SULFUR
                                                                                    DIOXIDE SCRUBBER AND
                                                                                HYDROCARBON-ACTIVATED CARBON
                                                                                      ADSORPTION SYSTEM
                                                                                                  McCOLL SITE
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       2. At least the following four types of vegetation will be provided:
          •    Vegetation directly above the cap will consist of a variety of grasses and
               shallow root shrubs which will provide an "open area" park appearance,
               without the potential to damage the seepage or low permeability layer
               portion of the cap system. These areas could either consist of vegetation
               requiring year-round irrigation or could be California native species which
               are dormant during the summer period.
          •    Vegetation provided on the crib walls, adjacent to the residences will
               provide an attractive vegetative covering.
          •    Large decorative trees located along Rosecrans Avenue and Sunny Ridge
               Drive to provide a park-like image to the entire site property. These trees
               will be selected to be compatible with vegetation in the nearby
               communities, the Los Coyotes Golf Course, and the Frank B. Clark
               Park.
          •    A variety of smaller shrubbery compatible with the local area, for
               locations outside the sump areas. These plants and related ground cover
               will be selected to blend into the surrounding land uses and control site
               erosion.
          •    Improvement along Rosecrans Avenue including curb and gutter,
               sidewalks, and a slump stone wall.


       7.2.10 PREDESIGN ACTIVITIES
       1. The predesign activities recommended below have the following purposes:
            • To define the area within Sump R-l which needs elevated
               arsenic-containing materials removed.
            • To evaluate sumps against settlement and mobility criteria and volume for
               refining our understanding to characterize sump conditions for
               subdividing the sump areas into Types 1 through 5.
            • To develop final criteria and post-treatment tests for acceptable differential
               settlement and mobility.
            • To finalize type and amount of additives required for neutralization and
               solidification.
            • To acquire data to aid in equipment selection and performance verification.

       2. The scope of predesign activities will include:
              Workplan preparation.
              Sump characterization.
              Bench scale treatment/solidification tests.
              In situ treatment and solidification demonstration.
              Data evaluation.
              Sump subdivision into treatment area types.
              Preparation of final remediation Workplan.
              Preparation of Predesign Report.
/**>
       3. The predesign program is needed to finalize the remedy in accordance with the pre-established
          criteria.

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4. For sump characterization, additional data is needed on material distribution, physical
   properties, and chemical properties of the tarry waste. This will be accomplished by a
   preplanned program of selective cone penetrometer probes, soil borings and sample
   collections, and laboratory chemical and physical (mechanical) property tests.

5. Using actual bulk samples of the sump materials, laboratory bench scale tests will be
   performed to evaluate the beneficial effects (neutralizing and solidifying) of different types and
   amounts of additives (e.g., lime, cement, fly ash).

6. In situ treatment and solidification tests will be planned and performed at selective areas
   representing the range of conditions within the sumps. These may include cone penetrometer
   tests, plate load bearing tests, laboratory shear strength on cones, and chemical analyses. The
   equipment used will be selected from available demonstrated processes with some minor
   modifications to fit site conditions.

7. Data from the sump characterization, bench scale and in situ treatment tests will be evaluated in
   total to provide the design criteria, equipment selection, performance verification techniques,
   and to delineate each treatment type area on the site plan. Further, the data and test results will
   be used to refine and finalize the implementation process and equipment/operations
   sequencing.

8. Methods, data results, and conclusions will be summarized in a documentation report. Also,
   the final Workplan for remediation will be prepared.



7.3 RECOMMENDED ALTERNATIVE COST EVALUATION
1. Preliminary cost estimates (Table 7.3) for the selective excavation procedures discussed above
   have been developed for the following two cases, which are expected to limit the range of
   potential for seeps and tarry material which may exist:
     •    Case 1 - Minimum Costs considering:
             Selective excavation of approximately 4,100 bey (bank cubic yards -
             unexcavated or treated) of material at approximately 50 existing seeps
             identified in aerial photos.
             The onsite redisposal of 3,500 cy of solidified material with
             TPH <10,000 ppm.
             Offsite landfill redisposal of 3,100 cy of solidified material with
             TPH >10,000 ppm.



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                                                                                                                                     7-1 la
                                                             TABLE 7.3
                                            ESTIMATED COSTS FOR
                                        SELECTIVE EXCAVATION OPTION

                                                                                                                          CASE 2
                                                                                                CASE 1                  ELEVATED
                                                                                              ELEVATED                   ARSENIC,
                                       ITEM                                                   ARSENIC,                 MATERIAL AT
                                                                                            MATERIAL AT              24 TYPE 1 AREAS
                                                                                            EXISTING TAR             AND REMAINING
                                                                                             SEEPS ONLY               EXISTING TAR
                                                                                                  (S)                      SEEPS
                                                                                                                             ($)
Engineering, Procurement and Permitting (predesign and design)*1)                               6,089,000                   6,089,000
Site Management, Services and Operations                                                        6,554,000                   6,554,000
General Site Facilities and Infrastructure                                                      5,205,000                   5,400,000
Emissions Control Enclosures and Air Treatment Facilities                                       6,281,000                   5,507,000
Material Excavation, Treadrtent/Processing/Loadout Operations                                     935,000                   1,970,000
In Situ Treatment and Solidification Equipment and Facilities                                   6,709,000                   6,709,000
Offsite Waste Handling/Treatment/Disposal                                                       2,242,000                  11,361,000
Site Closure Activities                                                                         5,050,000                   5,050,000
Demobilization (including equipment decon)                                                        539,000                     539,000
Net Salvage Value (40% of plant equipment)                                                      (1,750,000')               (1,750,000)
                                                           Subtotal              Costs         36,854,000                  47,429,000
General Contractors Fee (5% excluding offsite disposal costs)                                    1,818,000                   1,891,000
                                                            Subtotal             Costs         38,672,000                  49,320,000
Contingency for Estimate Uncertainties (15%)                                                     5,801,000                  7,398,000
                                                            Subtotal             Costs         44,723,000                  56,718,000
McColl Site Group Costs                                                                          2,250,000                  2,250,000
                                                            Subtotal             Costs         46,723,000                  58,968,000
Allowance for Escalation (5% per year)                                                           7,592,000                  9,582,000
TOTAL ESTIMATED PROJECT COST THROUGH CLOSURED                                                  54,315,00!)                 68,550,000
Estimated 30-Year Post-Closure O&MW                                                            19,800,000                  19,800,000
                                 TOTAL ESTIMATED PROJECT COST                                 $74,115,000                 $88,350,000



   Includes Predesign Site Investigation. Bench/Pilot Studies and Solidification Demonstrations
   Estimated cost including an allowance for escalation based upon the proposed implementation schedule (see Figure 7.2).
   Present worth value for 30-year post-closure operations and maintenance cost at 5% is approximately equi valent to $3,280,000.




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   t    Case 2 - Maximum Costs considering:
            Selective excavation of 12 isolated seep areas consisting of 1,000 bey
            of material.
            Selective excavation of 24 Type 2 tarry zones, consisting of a
            13,200 bey.
            The onsite redisposal of 16,000 cy of solidified material with
            TPH <10,000 ppm.
            The offsite incineration of 6,800 cy of solidified material with
            TPH >10,000 ppm.
   Both cases include the excavation of approximately 1,800 cy of material with elevated arsenic
   from the top portion of Sump R-l. This will be stabilized and disposed at an offsite landfill.




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           8.0 PUBLIC HEALTH ASSESSMENT
      EXPOSURE AND TOXICITY ASSESSMENTS, RISK
 CHARACTERIZATION AND ALTERNATIVE RISK EVALUATION

8.1 INTRODUCTION
1. Chapter 4.0 describes the overall health/environmental considerations associated with
   remediation of the McColl site. The chapter illustrates the important characteristic that except
   for the potential for elevated arsenic near the surface of one of the sumps, the site presently
   represents a relatively low health risk to the public, well within the 10-4 to 10-6 cancer risk
   criteria typically established for Superfund sites. The risks attributed to surficial arsenic do
   not appear to exist today because the available data show that areas with elevated arsenic levels
   are now covered by a layer of clean soil. Aside from the risks attributed to surficial arsenic in
   the SROA, a cancer risk of 1 x 10-6 was attributed to emissions of VOCs (methylene chloride
   and benzene) from the site. Additional concerns expressed about the site include the potential
   for direct contact with acidic seep material that occasionally appears at the site surface and
   intermittent odors (ATSDR 1989, CDHS 1983).

2. Further, analyses described in the SROA show that when properly closed, with or without
   any excavation, the long-term health risks associated with the site would be low, on the order
   of 10~8 cancer risk. This is two orders of magnitude below the generally acceptable range. In
   addition, with proper closure, nuisance odors would be completely eliminated, and the
   occurrence of seeps significantly reduced.

3. The most important aspect of the evaluation is that the most health risk and nuisance exposures
   occur during the remediation process. Based on available data from site exploration and the
   1990 Trial Excavation, it is conclusive that the risks associated with large excavation of the
   tarry and/or asphaltic materials would pose an unacceptable risk to workers and nearby
   residences. The benefits achieved from such major excavation actions could not be justified in
   consideration of the potential for deaths to the workers and illnesses to residents in the event
   there was an accident associated with the enclosed excavation procedures.

4. The recommended selective excavation remedy with in situ treatment and solidification is
   directed specifically toward minimizing the risks to workers and the public during remediation
   implementation while eliminating geotechnical instability and mobility concerns with respect to
   the wastes. The following discussion, prepared by ENVIRON (Section 8.2) for this report,



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      illustrates that carefully designed procedures for in situ solidification and selective excavation
      can be developed so that during the remediation period the risk does not exceed a level of
      about 8 x 10-8. The long-term residual cancer risk attributed to emissions from the emissions
      control system would be less than 1 x 10*11.


5. Section 8.2 provides a discussion of the ENVIRON risk estimates for the recommended
   remedial alternative and provides a comparison of risks associated with the recommended
   selective excavation alternative, with risks related to the four solutions studied and described
   in the SROA.


8.2    PUBLIC HEALTH ASSESSMENT
8.2.1 BACKGROUND ON PREFERRED ALTERNATIVE
1. In February 1989, the U.S. Environmental Protection Agency (EPA) and the California
     Department of Health Services (DHS) issued the SROA for the McColl site cleanup. The
     SROA included a Risk Assessment for all 5 alternatives considered, including the preferred
     alternative, complete excavation and on-site incineration of the wastes. Major activities related
     to the EPA remedy alternative:
     • Excavation
               Complete excavation of overburden, drilling mud, tar and char
               On-site waste handling and temporary decontamination
     • On-site Incineration
               On-site waste transportation
               Construction of an on-site incinerator
               Feed preparation for incineration
               Operation of the on-site incinerator
               Construction of an on-site landfill for residues after incineration or
               off-site disposal of residues
               Backfill and re-grade the site
      Although the agency appears to have redefined its preferred alternative as one of thermal
      destruction, as opposed to the incineration alternative described in the SROA, the only
      information upon which we could rely in performing our risk analysis is that provided in the
      SROA on incineration.

2. The EPA conducted a trial excavation at the McColl site in June 1990. EPA subsequently
   released their Trial Excavation Report in September 1990. After analyzing the trial excavation
   data contained in the EPA Report, the Companies concluded that total site excavation, as a



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    component of any remedial alternative, would not be protective of human health and the
    environment, cost-effective, nor readily implementable. The Companies are therefore
    considering a Selective Excavation, Treatment, and RCRA-Equivalent Closure alternative
    remedy consisting of a combination of the following activities:
         Excavation of arsenic-contaminated surface soil
         Off-site treatment and disposal of arsenic-contaminated surface soil
         Selective excavation of tarry wastes where necessary or practical
         In situ neutralization of excavated materials to be excavated
         Off-site incineration of neutralized materials
         Off-site disposal of the neutralized materials
         On-site disposal of some neutralized, excavated materials
         Closure uses a RCRA equivalent cap, subsurface slurry walls and active
         emissions control system.

3. If selective excavation of tarry waste produces an environment too hazardous for the workers
   or nearby residents, then the pockets of tarry wastes (seeps) will be neutralized in situ,
   excavated, stabilized further, and disposed of either through off-site incineration, off-site
   disposal or disposed on-site.

4. This evaluation identifies emission sources and estimates the resultant on-site and off-site air
   concentrations for various remedial activities of the Total Excavation and Incineration
   alternative and the proposed Selective Excavation alternative. The objectives are:
     •   To evaluate the implementation health risks associated with the two
         remedial alternatives to on-site workers and off-site residents.
     •   To evaluate the residual health risks associated with the two remedial
         alternatives to off-site residents.
     •   To evaluate the transportation risks posed by the two remedial
         alternatives.

5. Further, health risks posed by the above two remedial alternatives are compared with the
   EPA's other three remedial alternatives, total excavation and redisposal, RCRA-equivalent
   containment, and RCRA-equivalent closure, as described in the SROA.

6. A preliminary risk assessment was conducted for the two identified remedial alternatives to
   achieve the objectives outlined above. The risk assessment was revised from the previous
   health evaluation of the four proposed alternatives for the McColl site in conjunction with the
   references cited in Section 8.2.6.




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      7. Comparisons between the two proposed remedies were made and the Selective Evaluation
         remedial alternative was concluded to be more protective of the health and safety of workers
         and community residents than the Total Excavation and Incineration remedy. The following
         results summarize the conclusions of this evaluation:
         • The likelihood of worker fatalities is increased many fold due to the longer
              length of time spent in conditions immediately dangerous to life or health
              for alternatives requiring the total excavation of the site.
          • The estimated incremental lifetime cancer risk for residents for the
               Selective Excavation remedy is below 8 x 10-8 whereas for the Total
              Excavation and Incineration remedy it is above 1 x 10-6.

      8. The rest of this chapter addresses implementation risks to workers and the community,
         residual risks and transportation risks associated with the remedial alternatives under
         consideration.



      8.2.2 IMPLEMENTATION RISKS
      1. The term "implementation risks" is used here to refer to health risks anticipated to occur during
           the implementation phase of a remedial alternative. Both the risks to workers engaged in
           remediation and the risks to residents in the surrounding community are addressed below for
           alternatives requiring total excavation and the Selective Excavation, Treatment, and RCRA-
           Equivalent Closure remedial alternative.



      8.2.2.1 Total Excavation and Incineration Remedial Alternative
      Workers Risks
      1. The McColl site contains approximately 86,000 cubic yards (cy) of waste materials; 1,800 cy
         of arsenic containing materials, 11,000 cy of drilling muds, 19,000 cy of mixed soil or
         drilling muds and tarry materials, 6,000 cy of tarry material, and 48,000 cy of asphaltic
         wastes. The arsenic-containing materials are located at a depth of 1 to 5 feet in Sump R-l
         followed by drilling muds, mixed materials, tarry materials, and asphaltic wastes at the
         bottom. The SROA estimated that 97,100 to 265,800 cy of materials may need to be
         excavated. The SROA did not, however, estimate implementation risks to workers under the
         assumption of total excavation. Based on the trial excavation conducted by EPA in 1990, total
         excavation of the McColl site wastes would result in serious health and safety work conditions
         potentially causing irreversible health damage or death to remediation workers. Among these


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    conditions include excessive exposure to SO2, total hydrocarbons (THC), and
    tetrahydrothiophene (THT), the necessity to use Level A or B personal protective equipment
    (PPE), and potentially intolerable temperatures resulting in heat stress.

2. Based on the trial excavation experience, ENVIRON estimated that the SOa levels in the
   enclosure would reach unmitigated levels of 4,000 to 40,000 ppm during the full excavation
   operation. The upper end of this range is 400-fold higher than the 100 ppm level and (for
   30 minutes) considered immediately dangerous to life or health (IDLH) (NIOSH, 1990) and
   20,000-fold higher than OSHA's permissible exposure level (PEL) of 2 ppm. Even given
   optimistic projections regarding the degree of protection afforded by Level A or B PPE,
   workers may be exposed to SOi concentrations exceeding the PEL. If the Level A or B PPE
   were to fail, workers could be exposed to SO2 concentrations capable of causing serious
   irreversible injuries or even death. Fatalities have been reported at SO2 exposures of
   3,000 ppm (for 5 minutes) and 1,000 ppm (for 10 minutes).

3. It is not possible to predict the frequency of respiratory protection failure during full-scale
   excavation. However, the hazardous conditions to be encountered within the enclosure
   increase the likelihood of such problems. For example, the high concentrations of SO2 within
   the enclosure coupled with the large volume of foams used for emission suppression could
   mix to form sulfuric and sulfurous acid and degrade the PPE. Furthermore, there is an
   increased potential for rips and tears in the PPE due to the slippery conditions caused by the
   use of foam. If failures were to occur it may be very difficult for a worker to escape from the
   enclosures given the depth of excavation, slippery surfaces, and cumbersome nature of
   Level A or B PPE.

4. Total hydrocarbon samples collected during the trial excavation suggested that levels may have
   exceeded 200 ppm at the scrubber inlet Based on this, higher levels would be expected at the
   workers' breathing zones, which are nearer to the excavation face. Radian (1983) reported
   that 6 to 80 percent of the THC may be the carcinogen, benzene. If correct, this would
   suggest benzene levels of 12 to 160 ppm at the workers' breathing zones, many times higher
   than OSHA's PEL for benzene of 1 ppm.

5. ENVIRON's McColl Site Risk Assessment (MSRA Environ, April 1990) estimated benzene
   levels within the enclosure during full-scale excavation to be between 1.7 to 19 ppm,
   assuming a 60 percent vapor emission suppressant efficiency of a foam proposed to be used


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    at the site. Because the foam performed much more poorly than this during the trial
    excavation, benzene levels would be expected to be much higher than the predicted range of
    1.7 to 19 ppm. Thus, both the trial excavation experience and the MSRA (Environ 1990,
    p. 292) suggest that Level A or B PPE may be necessary to protect against excessive benzene
    exposure during full-scale excavation.

6. Tetrahydrothiophene (and other homologs) are highly malodorous compounds which will be
   released during excavation. Tetrahydrothiophene (THT) levels were not addressed during the
   trial excavation or in the SROA. The MSRA (1990, p. 292) estimated THT (and homologs)
   levels within the enclosure during full-scale excavation to be between 5 and 43 ppm, again
   assuming 60 percent foam efficiency. These levels exceed THTs odor threshold of
   1.5 x 10-4 ppm by 33,000 to 280,000-fold. Odors of this level would make work
   impractical. A protection factor of 10,000 afforded by Level A or B PPE would not be
   adequate to protect against THT odors during full-scale excavation.

7. Emissions of SO2, THC, THT, and other contaminants within the enclosure would necessitate
   workers wearing Level A or B PPE. Although such PPE will mitigate routine exposures to
   toxic chemicals, it will increase the risk of heat stress and accidents. During the trial
   excavation, the temperature within the enclosure routinely exceeded 90° F, and reached 100° F
   or more on some of the few occasions temperatures are recorded in the EPA log operations.
   The heat stress experienced at such high temperatures would be exacerbated by the use of
   Level A or B PPE, which can increase the effective temperature to the worker by 10° to 20° F.
   Using this adjustment, temperatures to the worker can be expected to be routinely above
   120° F. At effective temperatures of 90° F or higher, the American Conference of
   Governmental Industrial Hygienists (ACGIH) recommends 15 minutes of work and
   45 minutes of rest each hour. NIOSH has proposed an effective temperature ceiling of 104° F
   for light work. Thus, it is clear that the risk of heat stress to workers would be very
   significant unless work could be conducted only during cool days or nights, or with frequent,
   extended rest periods.

8. Based on the excavation rates achieved during the trial excavation, it is estimated that
   approximately 475,000 man-hours of work in Level A or B PPE would be needed to
   complete total excavation. If the higher excavation rates projected by EPA prior to the trial
   excavation were achieved, over 60,000 man-hours in Level A or B PPE would still be needed.
   This large number of man-hours.in Level A or B PPE would be highly unusual, if not totally

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    unprecedented. The higher number of man-hours in Level A or B PPE indicates that the
    corresponding risk of chemical exposure, heat stress and accidents is also relatively high. The
    higher excavation rates projected by EPA if they could be achieved, while decreasing the total
    time required in PPE, could also increase the risks of accidents due to larger equipment and
    more congested work areas.



Community Rjsks
1. The SROA estimated that SO2 levels in nearby communities would not exceed 5 ppb
   (.005 ppm) during excavation of the McColl site due to routine enclosure leakage. Based on
   the trial excavation experience, ENVIRON estimated that nighttime 1-hour average SO2 levels
   are expected to exceed 0.5 ppm at a distance of approximately 0.5 miles downwind of the
   enclosure; during the day, 1-hour average SO2 levels may exceed 0.5 ppm at a distance of
   approximately 400 feet downwind of the enclosure. These SOi levels are above the
   0.25 ppm 1-hour California Ambient Air Quality Standard for SOa and above the 0.4 ppm
   1-hour National Ambient Air Quality Standard (53 FR 80, April 26,1988, p. 14926).
   Exceedance of the California Standard represents significant adverse impact, according to
   guidelines of the South Coast Air Quality Management District (SCAQMD, "Air Quality
   Handbook for Preparing Environmental Impact Report").

2. The SROA also estimated the incremental lifetime inhalation cancer risk due to exposure to
   methylene chloride and benzene to community residents during total excavation to be
   2 x 10'7. The SROA did not consider potential odor problems associated with the release of
   THT and related compounds during total excavation. The MSRA (1990, p. 258) estimated
   that THT levels may reach 3.2 x 10"2 ppm at a distance of 200 feet downwind of the enclosure
   during total excavation. The odor threshold of THT of 1.5 x 10"4 ppm is exceeded by over
   200-fold.

3. The SROA estimated a Hazard Index (HI) of less than 0.1 for non-cancer effects by the
   inhalation route to residents for total excavation. (An HI less than 1 is considered safe and
   greater than 1, unsafe). In the event of a catastrophic failure resulting from either major
   leakage or complete collapse of the enclosure, contaminant concentrations could remain
   virtually undiluted up to 200 feet downwind under certain conditions. Citizens in the




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    surrounding community could thus be exposed to levels nearly as high as those experienced
    within the enclosure during full-scale excavation. Such exposures would cause serious
    respiratory problems or death.


8.2.2.2 Selective Excavation. Treatment and RCRA-Equivalent Closure Remedial
         Alternative
Worker Risks
1. During implementation of the Selective Excavation alternative, the same types of worker health
     and safety concerns raised during EPA's alternative will also be present but to a much lesser
     extent This is primarily because excavation will only occur in small, discrete areas which will
     allow for controls to be easily established. Also, much of the SO2 will be eliminated or
     collected directly during the excavation process. Under the Selective Excavation alternative,
     the asphaltic wastes, which are a large portion of the wastes at the McColl site, will not be
     excavated. Furthermore, under the Selective Excavation alternative, the rate of excavation as
     well as the excavation surface area will be greatly reduced when compared to alternatives
     requiring total excavation.

2. During the Selective Excavation alternative, ENVIRON estimated that the SOz levels will be
   insignificant during arsenic excavation. The maximum possible level of SOa would be 0.5 to
   5.0 ppm during seep neutralization and stabilization, 5.7 to 57 ppm during the excavation of
   partially stabilized soils, and 8.4 to 84 ppm during further treatment of excavated soils,
   respectively. These levels were estimated assuming a 90 percent decrease in SO2 emissions
   due to neutralization, no application of vapor suppressing foams, and a relatively low
   ventilation rate in the enclosure and therefore, represent the maximum levels that may be
     expected.

3. Based on the planned procedures and schedules, it is estimated that 2,000 to 7,400 man-hours
   of work in Level A or B PPE would be needed, assuming 5 people inside of the excavation
   enclosure and stockpile portion of the curing enclosure. This is only 3 percent of the lower
   estimate for man-hours in Level A or B PPE needed for total excavation. Thus, the risks of
   chemical exposure, heat stress and accidents under selective excavation would clearly be
   significantly lower than for the total excavation.




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4. Exposure to carcinogenic volatile organic compounds and metals may occur during
   excavation. The methylene chloride and benzene level is not expected to exceed 0.006 ppm
   and 0.09 ppm, respectively. These levels are below OSHA's PEL of 50 ppm and 1 ppm,
   respectively. The airborne paniculate level within the enclosure is not expected to exceed
   42.4 mg/m3. Assuming that the arsenic concentration in airborne particulates is the same as
   in surface soil and the average site concentration estimated for arsenic by the SROA of
   210 ppm, the arsenic level within the enclosure is not expected to exceed 0.009 mg/m^. This
   is below the current OSHA PEL for arsenic of 0.01 mg/rrP.

5. The maximum particulate concentration within the enclosure of 42.4 mgy'm3 during selective
   excavation exceeds OSHA's PEL for particulates of 15 mg/nA Because of this, the use of
   water spray and other dust control practices are proposed to decrease airborne particulate
   dispersion. EPA (1989) provided information on the percent efficiency of airborne particulate
   dispersion with increasing soil moisture content. Efficiencies up to 95 percent can be
   achieved. Assuming 90 percent dust suppressing efficiency by water spray, the airborne
   particulate and arsenic concentration would be 4.24 mg/m^ and 0.0009 mg/rrP, well below
   OSHA's respective PELs.



Community Risks
1. Under the Selective Excavation alternative, ENVIRON estimated that SO2 levels would be no
   higher than 0.12 ppm at the nearest residence from the enclosure. This complies with both
   State and national air quality standards for SO2- The THT level was estimated to be no higher
   than 9.1 x 10-7 ppm, over 150 times lower than the THT odor threshold of 1.5 x 10"4 ppm.

2. Limited exposure to carcinogenic metals and volatiles will occur during Selective Excavation.
   Based on MSRA (Environ 1990, p. 251), the residential cancer risks for total excavation was
   8 x 10'8. The cancer risk for partial excavation would necessarily be lower than 8 x 10"^.
   Based on the SROA, the residential cancer risk would be between the 1 x 10"8 level estimated
   for RCRA-Equivalent Closure where no waste is excavated and the 2 x 10*7 level estimated
   for Excavation and Redisposal where all the wastes are excavated.

3. Based on the MSRA, the HI for non-cancer effects to residents for total excavation was less
   than 0.01. The HI for the Selective Excavation alternative would also merefore be expected to
   be even less than this and therefore not of concern.


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8.2.2.3 Comparison of Alternative^
1 . From a worker health and safety standpoint, the Selective Excavation alternative is preferred
    over any alternative requiring total excavation. Under total excavation, the SO2 levels may be
    so high that even the use of Level A or B PPE may not be adequately protective. With SO2
    levels possibly as high as 40,000 ppm, and a protection factor of 10,000 for Level A or B
    PPE, the resultant exposure may be as high as 4 ppm, or twice OSHA's PEL of 2 ppm.

2 . The Selective Excavation alternative may result is SOi levels as high as 84 ppm (during
    further treatment of excavated soils). The large reduction in SO2 levels GUI be attributed to
    leaving much of the SO2 containing wastes undisturbed under this alternative. Furthermore,
    because the excavation volume under the Selective Excavation remedy is much smaller than
    for total excavation, the rate of excavation can more easily be adjusted to minimize SO2
    emissions, if it becomes a concern, than for total excavation. In any event, under the Selective
    Excavation alternative, the length of time requiring Level A or B PPE will be greatly reduced
    when compared to alternatives requiring total excavation.

3 . Another major concern with remedial activities at the McColl site is heat stress. The
    temperature within the enclosure during the trial excavation often reached 90° F. At this
    temperature, the worker efficiency level is substantially reduced. ACGIH recommends a
    45-minute rest break for every 15 minutes of work. If Level A or B PPE is needed, the heat
    stress burden is further increased, further reducing worker efficiency.

4 . At least 60,000 man-hours, and perhaps more than 475,000 man-hours of work in Level A
    or B gear would be necessary under total excavation. Approximately 2,000 to 7,400 man-
    hours in Level A or B gear would be required under the Selective Excavation alternative.
    Thus the Selective Excavation remedy clearly poses much lower risks of chemical exposure,
    heat stress and accidents.

5 . The hazardousness of working under conditions where the SO2 levels may be life-threatening
    under the Selective Excavation and total excavation alternatives can be compared by the
    following approach. The IDLH level for SOa is defined as 100 ppm of exposure for
    0.5 hour, multiplying these two values gives 50 ppm-hr. This could be considered as an
    "IDLH unit" (NIOSH, 1990). If the SC>2 level during full-scale excavation is close to the




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    higher end of the estimated range of 4,000 to 40,000 ppm and 475,000 man-hours in Level A
    or B PPE as projected after the trial excavation experience is used, then under this scenario,
    the number of IDLH units is 3.8x 108 (40,000 ppm x 475,000 •*• 50 ppm/hr).

6. Under the Selective Excavation alternative the maximum range of SO2 levels anticipated is not
   greater than 8.4 to 84 ppm. The number of man-hours estimated in Level A or B PPE is
   2,200 to 7,400 hours. Using the higher end of the range of the SO2 level, the number of
   IDLH units is 3.7 x 103 (84 ppm x 2,200 hr + 50 ppm-hr). Thus, total excavation is over
   100,000 times more likely to cause a fatality than the Selective Excavation alternative. Using
   this comparison, the rate of PPE failure is assumed to be the same in the two alternatives and
   does not have to be known.

7. A third major concern with excavating the McColl site is the odor problem. Under total
   excavation, the concentration due to THT is at least 30,000-fold higher than the odor
   threshold. The odor threshold within the enclosure would be exceeded by at least 3-fold even
   using Level A or B PPE, assuming a protection factor of 10,000. It is estimated that during
   further treatment of excavated materials under the Selective Excavation alternative, THTs
   odor threshold may be exceeded by 220-fold. Wearing Level A or B PPE would therefore be
   effective in dealing with the odor problem.

8. Therefore, the Selective Excavation alternative is preferred over any alternative requiring total
   excavation from a worker health and safety standpoint in that under Selective Excavation,
   adverse health effects from SQ2 and THT exposures can be protected by the use of Level A or
   B PPE and the heat stress concern is greatly reduced by fewer hours requiring Level A or B
   PPE. On the other hand, under total excavation, even Level A or B PPE may not be sufficient
   to protect workers from the potentially irreversible and noxious effects of SO2 and THT.

9. From a community health and safety standpoint, the Selective Excavation alternative is also
   preferred over any excavation alternative. The total excavation and incineration alternative
   would result in an incremental lifetime cancer risk to nearby community residents as high as
   6 x 10"6 from the inhalation of incinerator emissions (SROA). This level is six times higher
   than the one-in-a-million risk level. In contrast, because the Selective Excavation alternative
   does not entail on-site incineration of the waste, but the redisposal of excavated wastes in a
   RCRA approved Type I landfill, the nearby community residents are spared from these risks.
   The SC*2 levels in nearby communities downwind of the enclosure are higher under total


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    excavation alternative than under Selective Excavation. ENVIRON estimated that the SO2
    level may reach 0.5 ppm at a distance of 0.5 miles downwind of the enclosure under total
    excavation. These levels exceed State and national ambient air quality standards for SO2 of
    0.25 and 0.4 ppm, respectively. Under Selective Excavation, the SOi level at the nearest
    downwind residence of the enclosure was estimated to be no greater than 0. 1 1 ppm.

10. Because the asphaltic wastes are not disturbed under the Selective Excavation alternative, the
    downwind THT levels are anticipated to be below its odor threshold whereas under the total
    excavation alternative the downwind THT levels are expected to be well above its odor
    threshold. The MSRA (1990) estimated that under total excavation, the THT level 200 feet
    downwind of the enclosure would be 3.2 x 10'2 ppm, over 200-fold higher than THTs odor
    threshold. Under Selective Excavation, ENVIRON estimated that THT levels at the nearest
    residential dwelling from the enclosure would be at least 50 times lower than THTs odor
    threshold.

1 1 . Therefore, the Selective Excavation alternative is superior to the total excavation from a
     community health and safety standpoint in that under Selective Excavation the risks from
     exposure to carcinogenic metals is well below 1 x 10A the SO2 levels are below the
     California and national ambient air quality standards, and the THT levels are below THTs
     odor threshold. On the other hand, total excavation is expected to produce SO2 levels above
     the California and national ambient air quality standards and THT levels well above its odor
     threshold.



8.2.3 RESIDUAL RISKS
1. The term "residual risks" is used here to refer to health risks anticipated to remain at the site
     after implementation of a remedial alternative is achieved. Because the residual risks are the
     basis for evaluating the long-term effectiveness of an alternative, they are an important
     consideration in the selection of a remedial alternative. The residual risks are addressed below
     by evaluating how each of the significant risks associated with current conditions at the site
     would be affected by the Selective Excavation alternative and by total excavation.

2. The largest risk attributed to the site in its current condition is that of a person assumed to gain
   access to the site and ingest arsenic-bearing soil on a daily basis. The risk for this scenario is
   5 x 10"4 (SROA). The second largest risk (2 x 10"4) is attributed to the inhalation of arsenic-


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    bearing dust by people living in houses adjacent to the site (SROA). Both of these risks stem
    from arsenic in surface soil at the site. The assumption of ingestion or inhalation of arsenic
    containing material is very conservative since the arsenic containing materials are now at a
    depth of 1 to 5 feet The inhalation of volatile organics (benzene and methylene chloride)
    released from the site in its current condition contribute a much smaller lifetime cancer risk of
    1 x 10-6 (SROA). The SROA also notes that if 5 feet of surface soil were to erode from the
    site, the estimated risk associated with the emissions of volatile chemicals would increase to as
    much as 2 x 10"3 (SROA). Additional concerns with the site expressed by the California
    Department of Health Services (DHS, 1983), the Agency for Toxic Substances and Disease
    Registry (ATSDR, 1989), and the community are related to the intermittent appearance of
    waste seeps on the site surface and intermittent occurrence of nuisance odors.



8.2.3.1 Total Excavation
1. The complete excavation of materials would eliminate the presence of the surface arsenic that
     according to the SROA (1989) is responsible for virtually all (98 percent) of the risk
     associated with the site in its current condition. In addition, the small risk (1 x 10"6) attributed
     by the SROA (1989) to volatile emissions would be eliminated by excavating the wastes.

2. The primary concern expressed about the seeps is that of direct dermal contact with the acidic
   seep materials (ATSDR, 1989). It is also possible that seeps would be associated with the
   emission of volatile chemicals that could contribute to health risk or odor nuisance. The
   complete excavation of waste materials called for in this remedial alternative would eliminate
   any possibility of the periodic appearance of waste seeps and their attendant concerns.
   Similarly, complete excavation of the waste material would eliminate any possibility of odor
   nuisance from buried material, once all of the waste is completely removed.

3. One of the remedial alternatives evaluated in the SROA (1989) included incineration following
   total excavation of the wastes. Some residual risk would be expected item incineration. As
   noted in Comments on the SROA (Companies, 1989), metallic waste constituents such as
   arsenic and chromium are not destroyed by incineration. Air emissions from an incinerator
   will include such carcinogenic elements as arsenic and chromium. These metals will be
   dispersed throughout the local community and will eventually settle to the ground or surface
   water where people can be exposed. The health risk associated with the dispersed metals will
   depend on several factors including the volume of metals put into the incinerator.


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          4. Because all of the waste would be excavated under this remedial alternative and because ash is
             assumed to be disposed of at an off-site location, the residual risks associated with the site
             itself are expected to be virtually nil (SROA, 1990). The metals emitted by an incinerator are
             deposited in the community would, however, result in a higher level community exposure to
             metals. Exposure to these metals would represent a residual risk in the community adjacent to
             the incinerator. We note that incineration may not occur at the McColl site and that the
             residents in the region of the McColl site would not be exposed to these residual risks if
             incineration occurred off-site. Nonetheless, there would be residual risks associated with the
             incinerator emissions and byproducts (e.g., ash). The magnitude of these risks would depend
             on several specific factors not yet known including the type of incineration used, the amount
             of metals in the incinerated waste, and other factors (e.g., air dispersion patterns and
             demographics) associated with the location of the incineration unit

          5. The SROA did not consider the possibility of secondary exposure to incinerator ash and thus
             did not estimate a cancer risk or hazard index. The MSRA (1990) estimated the residual
             cancer risks from secondary exposure to incinerator emissions (inhalation of incinerator
             emissions was considered part of the implementation risks) by soil ingestion, fish ingestion,
             vegetable ingestion, soil dermal contact, and pond water dermal contact to be 2 x 10"5.


          8.2.3.2 Selective Excavation. Treatment and RCRA-Equivalent Closure Remedial Alternative
          1. Under the Selective Excavation alternative, surface soils with the highest arsenic
               concentrations would be selectively excavated and removed from the site. In addition, seeps,
               and tarry waste which may result in seeps, which will be identified and excavated. The seep
               materials will first be neutralized in situ, excavated and treated by incineration or solidification
               off-site. Finally, a RCRA equivalent cap with an emission control system would be placed
               over the site. Removal of arsenic-bearing soils and the installation of a cap over the site would
               eliminate exposure to the surface arsenic that is responsible for the risks associated with the
               ingestion of surface soil and the inhalation of dust from the site. Thus, risks associated these
               two exposure pathways would be reduced to zero.

          2. The low-level risk attributed to volatile emissions from the site would be reduced by selective
             excavation of seeps and potential seeps and by the emission collection system. Because the
/*"*t'v      pockets of tarry material thought to be responsible for the seeps contains fairly high benzene
             concentrations, removal or treatment of these pockets of tarry material as part of the selective


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     excavation aspect of this alternative will reduce the volume of benzene present in the waste
     sumps. The vapor collection and treatment system will further reduced the volatile emissions
     from the site to levels below levels currently emitted from the site.

3. The MSRA (Environ, 1990) estimated a residual cancer risk of 1 x 10~1] from exposure to
   emissions escaping the gas collection system under the RCRA-Equivalent Closure alternative.
   Under Selective Excavation, the risks would be inherently lower because some of the source
   material would be removed. As previously discussed, an active emission control system will
   be built into the cap for the site. This system will collect the vaporous emissions from the site
   and channel them to an emissions control system. The emissions control system will be
   designed to eliminate the intermittent odor nuisance currently posed by the site. By removing
   known and potential seeps, this remedial alternative will eliminate the occurrence of seeps at
   the site.

4.   The residual HI calculated by the MSRA (1990) for the RCRA-Equivalent Closure alternative
     was much lower than 0.01. For the reasons discussed above, emissions following the
     implementation of the Selective Excavation alternative would be lower than those from RCRA-
     Equivalent Closure. Thus, for Selective Excavation the HI would be even lower than 0.01.

5. Although the wastes were disposed of more than 40 years ago, ground water monitoring has
   not conclusively identified any releases from the McColl Site to the regional ground water.
   Furthermore, monitoring wells located downgradient from the site in the shallow regional
   aquifer do not contain any contaminants in concentrations that exceed applicable standards. It
   is not anticipated that the ground water will be contaminated by site compounds in the future.
   The unlikelihood of future ground water contamination is further mitigated by the installation
   of a multi layer RCRA equivalent cap stabilization of the berms, drilling muds, and tarry
   waste, and in situ waste containment with cement-bentonite cut-off walls extending to below
   the wastes.




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8.2.3.3 Comparison Qf Alternatives
1. The dominant risk posed by the site in its current condition, exposure to surface arsenic, is
   eliminated by remedial alternatives involving the total excavation as well as alternatives
   involving capping of the site, such as the Selective Excavation alternative. The incineration
   phase of the total excavation and incineration alternative resulted in a 2 x 10"5 cancer risk to
   residents in the vicinity of the incinerator as estimated by the MSRA (1990). The magnitude
   of the residual risk posed by the arsenic would depend in a large part to the extent to which
   high arsenic content wastes are treated or disposed of and the type of incineration. The
   residual risk due to volatile organic emissions would be eliminated under alternatives
   involving the total excavation alternative and would reduced to below 1 x 10'11 under selective
   excavation (Environ, 1990). The total excavation of wastes would eliminate future seeps and
   odors at the site. Selective excavation of known and potential seeps is also expected to
   eliminate the occurrence of seeps. The vapor collection and treatment system is a
   demonstrated technology that would be designed to eliminate odors. Future ground water
   contamination under total excavation would be eliminated and undo- the Selective Excavation
   alternative would be improbable since water permeation will be prevented by a cap and slurry
   walls. Other alternatives involving the installation of a clay cap over the site would also be
   expected to eliminate potential for ground water contamination.


8.2.4 TRANSPORTATION RISK
1. An additional area of health and safety to be considered in the evaluation and selection of a
     remedial alternative for the McColl site is the risk associated with transporting materials to and
     from the site. Accidents, spills, and fatalities can be expected from transporting waste,
     incinerator ash, or chemical reagents. The number of accidents, spills, and fatalities will
     depend on the volume of materials transported and the distances over which they are
     transported.


8.2.4.1 Total Excavation
1. The transportation risks associated with alternatives involving total excavation would depend
   in part on whether the wastes are landfilled or incinerated, and if incinerated, the location of
   the incineration facility. Because of concerns of impacts on regional air quality, it is likely that
   the incinerator would not be located at the McColl site and would therefore require
   transporting waste materials to an off-site incinerator.


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2 . The SROA does not include any discussions of risks associated with maiterial transport
    However, the California Department of Health Services (DHS, 1989) developed its own
    environmental impact report for the McColl site which included an analysis of increased
    accidents associated with the off-site transportation of waste or ash. However, that analysis is
    not based on a worst-case volume and may greatly underestimate the actual remediation
    volume. In 1983, EPA selected the Excavation and Redisposal alternative as the preferred
    remedial alternative at the McColl site. At that time, the estimated excavation volume was
    139,000 cubic yards (cy) (USEPA, 1984, Record of Decision, McColl Site). Since that time,
    EPA has neither established cleanup levels nor performed sufficient soil analysis to determine
    the amount of materials which must be excavated to achieve those cleanup levels. While the
    SROA repeatedly stated its reliance on the 1983 study, which estimated an excavation volume
    of 139,000 cy, it inexplicably used an excavation volume of 97,100 cy and used this volume
    to estimate transportation risks. Furthermore, the SROA did not consider the volume of
    chemical reagents needed to stabilize the excavated wastes.

3 . The EPA recently concluded from its trial excavation at the McColl site that a 1:7 ratio of
    wastes to chemical additives may be required for on-site waste treatment Thus, the volume of
    wastes to be transported to an off-site incineration facility may increase to 605,300 cy, using
    SROA's low excavation volume estimate of 72,600 cy of waste requiring chemical treatment
    times 8 + 24,500 cy of excavated materials not requiring chemical treatment The volume to
    be transported may increase to 774,000 cy, using SROA's worst-case excavation volume
    estimate of 72,600 cy of waste times 8 + 193,200 cy of excavated materials not requiring
    chemical treatment

4 . If the waste materials are to be incinerated off-site, the location of this incinerator has not been
    identified. Assuming that the facility is located as far away as three landfills, PWI, CWM,
    and USPCI, and assuming that the remediation volume estimated in the SROA is not increased
    by the addition of chemicals, the expected number of accidents, spills, and fatalities were
    estimated and are presented in Table 8.1.

5 . Assuming that the incinerator is located at the McColl site, the transport of incinerators residue
    to a landfill would need to be considered. Disregarding the likelihood mat a greater number of
    truck loads may be required because the volume of residue ash may be increased or that the
    volume and weight of residue ash will increase due to



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                                                                               TABLE 8.1
                            PROBABILITY OF ACCIDENTS, SPILLS, AND FATALITIES WHILE
                           TRANSPORTING McCOLL SITE WASTE FOR OFFSITE INCINERATION


              TRANSPORT               VOLUME               WEIGHT
                                                               1                                        EXPECTED               EXPECTED              EXPECTED
                                                                            TRUCKLOADS<2>
              VOLUME (cy)             SOURCE               oW )                                        ACCIDENTS*3)             SPILLS<4>           FATALITIES*5)

                 97,100                 SROA                126,000                5,700            PWI(6>           4.7            0.1          PWI            0.07

                                                                                                    CWM*7)           6.4            0.1          CWM            0.09

                                                                                                    USPCl(8>       22               0.4          USPCI          0.33

                 265,800                SROA               384,000                17,000            PWI             14              0.3          PWI            0.2

                                                                                                    CWM             19              0.4          CWM            0.3

                                                                                                    USPCI           66              1.3          USPCI           1.0

        (1)
        - • Based on demolition before bulking of 1.53 tons/cy for soil, 1.22 tons/cy for waste, and waste volume of 72,600 cy (CH2M Hill, 1989).
        <2) Based on a truck loading capacity of 22 tons (DEIR, 1989, p. 3-26).
        (3) Based on an accident rate of 2.7 per 1 million truck miles (National Accident Sampling System, 1987), and round-trip distances:
            PWI:        306 miles
            CWM:        415 miles
            USPCI:      1,430 miles (DEIR, 1989, pp. 3-27, 5-191)
        (4) Based on an "accident with spill" rate of 0.11 per 1 million truck miles (DEIR, 1989, p. 5-191) and one way distances:
            PWI:        153 miles
            CWM:        208 miles
            USPCI:      715 miles
        (5) Based on a fatality rate for accidents involving trucks of 0.04 per 1 million truck miles (Fatal Accident Reporting System, 1987). National Highway 1 raffic
            Safely Administration.
        *6) Petroleum Waste, Inc., Kern County, California
        (7) Chemical Waste Management, Kings County, California
        *8) U.S. Pollution Control, Inc., Clive, Utah




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    chemically treating some of the excavated materials, the number of accidents, spills, and
    fatalities expected from transporting the ash to three landfill facilities are presented in
    Table 8.2.


8.2.4.2 Selective Excavation. Treatment and RCRA-Equivalent Closure Remedial
         Alternative
1. The Selective Excavation alternative proposes to transport 2,300 cy of arsenic containing soil
     and 6,770 cy of fully neutralized and solidified wastes off-site for disposal (see Table 7.1).
     Transport of approximately 1,300 cy of chemical additives to the McColl site is required (see
     Chapter 7.0). It is assumed that the chemical additives (lime, cement, fly ash, ammonia) can be
     purchased within a 50 mile radius from the McColl site.

2. The transportation risks associated with the Selective Excavation alternative are presented in
   Tables 8.3 and 8.4.



8.2.4.3 Comparison °f Alternative?
1. If the incinerator is located 715 miles away from the McColl site, the Total Excavation and
     Incineration alternatives is at least 41 to 125 times more likely to cause a fatality than the
     Selective Excavation alternative. The same would be true for excavation and off-site redisposal.
     If incineration takes place at the McColl site, the Total Excavation and Incineration alternative is
     at least 25 to 112 times more likely to cause a fatality than the Selective Excavation alternative.



8.2.5 RISK COMPARISONS FOR THE FIVE PROPOSED REMEDIATION ALTERNATIVES
1. Table 8.5 shows the very serious dangers posed by the alternatives involving total excavation,
     especially the total excavation and incineration alternative. That alternative has an estimated
     lifetime cancer risk for the community of greater than one in a million; for the exposed
     population of 3 million, 3 cancer deaths can be expected as a direct result of implementing the
     total excavation alternative. The total excavation alternative also involves significant dangers to
     workers: Table 8.5 shows that under total excavation conditions, workers could be exposed to
     4,000 to 40,000 ppm of SO2, well -- perhaps fatally - above the acceptable IDLH level of




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                                                                               TABLE 8.2
                              PROBABILITY OF ACCIDENTS, SPILLS, AND FATALITIES WHILE
                                   TRANSPORTING McCOLL SITE INCINERATOR ASH
                                               FOR OFFSITE DISPOSAL


             TRANSPORT                VOLUME              WEIGHT                                       EXPECTED               EXPECTED             EXPECTED
                                                                           TRUCKLOADS*2)
             VOLUME (cy)              SOURCE              (Tons)*')                                   ACCIDENTS*3)             SPILLS*4)          FATALITIES*5)

                 97,100                 SROA               89,000                 4,000           PWI*6)             3             0.1         PWI             0.05

                                                                                                  CWM*7)             5             0.1         CWM             0.1

                                                                                                  USPCI*8)          16             0.3         USPCI           0.2

                265,800                 SROA               329,000               15.000           PWI               12             0.3         PWI             0.2

                                                                                                  CWM               17             0.3         CWM             0.2

                                                                                                  USPCI            58              1.2         USPCI           0.9


        *') Derived from Tables C-3 and C-4 of the Draft SROA (CT^M Hill, 1989). Assurance that ash is dried before transporting.
            If ash is not dried, then risks would increase approximately two-fold, since weight would be double that stated.
        *2) Based on a truck loading capacity of 22 tons (DEIR, 1989, p. 3-26). If the truck loading capacity is 15 tons (as shown on p. 5-118 of the DEIR).
            then risks would increase by approximately 50 percent (one-half).
        *3) Based on an accident rate of 2.7 per 1 million truck miles (National Accident Sampling System, 1987), and round-trip distances:
            PWI:          306 miles
            CWM:          425 miles
            USPCI:        1,430 miles (DEIR, 1989, pp. 3-27,5-191)
        *4) Based on an "accident with spill" rate of 0.11 per 1 million truck miles (DEIR, 1989, p. 5-191) and one way distances:
            PWI:          153 miles
            CWM:          208 miles
            USPCI:        715 miles
        *5) Based on a fatality rate for accidents involving trucks of 0.04 per 1 million truck miles (Fatal Accident Reporting System, 1987).
            National Highway Traffic Safety Administration.
        (6) Petroleum Waste. Inc., Kern County. California.
        (?) U.S. Pollution Control, Inc., Clive, Utah.
        *8) Weight of chemical additives ash not included.

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                                                 TABLE 8.3

      PROBABILITY OF ACCIDENTS, SPILLS, AND FATALITIES
           WHILE TRANSPORTING McCOLL SITE WASTE
                   FOR OFFSITE DISPOSAL


   TRANSPORT                                       EXPECTED                 EXPECTED               EXPECTED
  VOLUME (cy)*1)         TRUCKLOADS*2)            ACCIDENTS*3)               SPTLLS*4>            FATALITIES*5)

       9,070                     380                     0.43                   0.009                  0.006


0 ) Based on volume of material from Table 7.1 expected to be transported offsite (2300 cy
    Type 1 waste plus 6,770 cy Type 2 waste).
*2) Based on a truck loading capacity of 24 cy.
*3) Based on an accident rate of 2.7 per 1 million truck miles (National Accident Sampling
    System, 1987), and round-trip distance of 415 miles.
*4) Based on an "accident with spill" rate of 0.1 1 per 1 million truck miles (DEIR, 1989,
    p. 5-191) and one way distance of 208 miles.
*5) Based on a fatality rate for accidents involving trucks of 0.04 per I million truck miles (Fatal
    Accident Reporting System, 1987). National Highway Traffic Safety Administration.




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                                                                                                                  8-18c


                                                  TABLE 8.4
      PROBABILITY OF ACCIDENTS, SPILLS, AND FATALITIES
           WHILE TRANSPORTING CHEMICAL ADDITIVES
                    TO THE McCOLL SITE


  TRANSPORT                                        EXPECTED                 EXPECTED               EXPECTED
 VOLUME (cy)*1)          TRUCKLOADS*2)            ACCIDENTS*3)                                    FATALITIES*5)
                                                                             SPELLS*4)

        13,000                  1,100                    0.15                   0.003                 0.002


(1)   Based on volume of chemical additives estimated in Chapter 7.0.
(2)   Based on a truck loading capacity of 12 cy.
(3)   Based on an accident rate of 2.7 per 1 million truck miles (National Accident Sampling
      System, 1987), and round-trip distance of 50 miles.
(4)   Based on an "accident with spill" rate of 0.11 per 1 million truck miles (DEIR, 1989,
      p. 5-191) and one way distance of 25 miles.
(5)   Based on a fatality rate for accidents involving trucks of 0.04 per 1 million truck miles
      (Fatal Accident Reporting System, 1987). National Highway Traffic Safety
      Administration.




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                                                                                                                                           8-18d
                                                             TABLE 8.5
                                    COMPARISON OF HEALTH RISKS
                                AMONG THE FIVE REMEDIAL ALTERNATIVES
                                        FOR THE McCOLL SITE

                                                                     REMEDIAL ALTERNATIVE

         HAZARD                                        TOTAL                                      RCRA-            EXCAVATION AND
                               SELECTIVE            EXCAVATION               RCRA-
                              EXCAVATION                                   EQUIVALENT           EQUIVALENT           REDISPOSAL
                                                        AND               CONTAINMENT
                                                   INCINERATION                                  CLOSURE


Cancer Risk (Community)         <8 x 10-8(»)          6xlO-«2)                 2 x 10-7*2>        3 x 10'»*2)              2xlO' 7 *2>


Non-Cancer Hazard Index           <0.01*!)              <0.1<2>                 <0.01*2>            <O.OlC2>                 <0.01<2>
(Community)


Sulfur Dioxide (Workers)      8.4 - 84 ppm*3)    4,000-40,000 ppm*3) -4,000-40,000 ppm*4>       <8.4-84 ppm*5)     -4,000-40,000 ppm*4)


Man-Hours in Level A/B          2,200-7,400           475,000                   -475,000            <2,200                  -475,000
                                man-hours*3)         man- hours*3)             man-hours*4)       man-hotjrs*5)            man-hours*4)


IDLH Units*6)                    3.7 x 103            3.8 x 108                -3.7 x 10»W       <3.7 x 103*5)             -3.8 x 108*4)



*')   Derived from McColl Site Risk Assessment (MSRA, April 1990).
<2)   Derived from Supplemental Revaluation of Alternatives (1989).
(3)   Based on data from EPA Trial Excavation Report (1990).
*4)   Not Calculated, but expected to be similar to Total Excavation and Incineration.
*5)   Not Calculated, but expected to be less than Selective Excavation.
(6)   IDLH Units calculated as follows [(man-hours) x (maximum SOalevel)] -t- [0,5 hr x 100 ppm]) where 0.5 hr x 100 ppm
      is indicated by NIOSH (1990) as representing a condition that is IDLH for SOj.




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    100 ppm. Additionally, because of the size and duration of the excavation, workers would be
    exposed to those SO2 conditions for 475,000 man-hours, some 467,000 to 473,000 more hours
    than under the Selective Excavation alternative.

2. Table 8.5 also shows that the Selective Excavation alternative has an insignificant residual
   cancer risk to the community of 8 x 10^ (well below the EPA acceptable range of 1 x 10-4 to
   1 x 10-°). SO2 exposure levels are also in the insignificant range and well below the acceptable
   IDLH level of 100 ppm. In sum, the Selective Excavation alternative presents no quantifiable
   healthrisks to either the community or workers.




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                                   9.0 NCP ANALYSIS
9.1 INTRODUCTION
1. This section provides a detailed two-pronged evaluation, with accompanying charts, of the
   selective excavation alternative. The first part of the evaluation analyzes the selective
   excavation alternative against the nine NCP criteria used in choosing a remedy. The second
   part analyzes and compares all five alternatives (the selective excavation alternative and the
   four alternatives analyzed in the SROA) against the NCP criteria to enable the reader to weigh
   the relative strengths and weaknesses of each alternative. In the second chart, all of the
   alternatives are judged against the NCP criteria but the discussion preceding that chart
   emphasizes the comparison between the selective excavation alternative and the total
   excavation and incineration alternative, which the EPA has identified as its preferred
   alternative.



9.2 FORMULATION OF THE SELECTIVE EXCAVATION ALTERNATIVE
1. The selective excavation alternative was formulated in light of the trial excavation and Ogden
   test burn, the problems and failures associated therewith, and the comments to the 1989
   SROA, and to respond to the concerns and question which have been raised by EPA and some
   members of the community.

2. The trial excavation and Ogden test bum manifested new, more serious and more complex
   problems associated with the total excavation alternative than had been studied in the SROA.
   Lack of worker safety -- and possibly worker fatalities, lack of community safety — and
   possible cancer episodes, and the likely infeasibility of the total excavation remedy were just
   some of the major problems with total excavation as pointed out by the trial excavation.

3. Resolving these issues (without accepting RCRA equivalent closure) re-quired the
   consideration and development of a new approach to the site. That approach was also
   developed in light of concerns that have been expressed by EPA and community and closure.

4. EPA has raised two primary concerns about RCRA equivalent closure. First, EPA is
   concerned that the long-term effects of leaving contaminants, especially arsenic, in the ground
   are uncertain and create the potential for long-term contamination problems. The selective
   alternative assumes, for purposes of developing an approach, the potential for long-term
   contamination effects and requires the removal of the highest risk contaminants.



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5. Second, EPA believes that CERCLA states a preference for treatment (see 42 U.S.C.
   Section 9621), a preference which is not satisfied by closure. Again the MSG disagree that
   CERCLA prefers a treatment alternative that poses serious risks to the workers and
   community over a remedy that avoids such risks. However, to resolve EiPA's concerns, the
   selective excavation alternative highlights and mandates treatment of the most toxic and
   appropriate substances yet still avoids the problems associated with total excavation and
   incineration.

6. Equally important are the concerns of the community about the tarry seeps which presently
   occur at the site and about the possibility of additional seeps occurring in the future. The
   selective excavation alternative addresses these issues by eliminating all current seeps and by
   eliminating (through excavation, disposal, neutralization, solidification and/or stabilization) the
   possibility of seeps in the future.

7. In this way, both the seep odors and the potential for direct contact with the seeps will be
   eliminated and the concerns of EPA and the community are satisfied yet the risks and
   problems of total excavation are still avoided.


9.3 NCP CRITERIA
1. Section 300.430(e)(9) of the NCP requires that a detailed analysis be conducted on the viable
    approaches to remedial action at a site. This detailed analysis consists of an assessment of
    each alternative against each of the nine evaluation criteria outlined in the NCP and a
    comparative analysis that focuses upon the relative performance of each alternative against
    those criteria. Paragraph 2 below provides an overview of the nine NCP criteria. Section 9.4
    below provides an assessment of the recommended Selective Excavation, Treatment and
    RCRA Equivalent Closure alternative against the nine NCP evaluation criteria. Section 9.5
    below provides a comparative analysis of the alternatives described in the 1989 SROA and the
    selective excavation, treatment and RCRA equivalent closure alternative.

2. The nine NCP evaluation criteria are (a) overall protection of human health and the
   environment, (b) compliance with ARARs, (c) long-term effectiveness and permanence,
   (d) reduction of toxicity, mobility or volume through treatment, (e) short-term effectiveness,
   (f) Implementability, (g) cost effectiveness, (h) State acceptance, and (i) community
   acceptance. The NCP elaborates upon each of the elements to be considered in assessing
   alternatives against each of the nine criteria.

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9.3.1 OVERALL PROTECTION OF HUMAN HEALTH AND THE ENVIRONMENT
1. An alternative provides protection of human health and the environment if it can adequately
     protect human health and the environment from unacceptable risks-in both the short- and
     long-term-posed by hazardous materials present at the site by eliminating, reducing or
     controlling exposure levels. Overall protection of human health and the environment draws on
     the assessments of other evaluation criteria, including long-term effectiveness and
     permanence, short-term effectiveness and compliance with ARARs.



9.3.2 COMPLIANCE WITH ARARS
1. The ARAR criterion requires that alternatives be assessed to determine whether they attain
     applicable or relevant and appropriate requirements under federal and state environmental
     laws. If they do not meet those ARARs, grounds for invoking an ARAR waiver must be
     provided in the analysis of the alternative.



9.3.3 LONG-TERM EFFECTIVENESS AND PERMANENCE
1. The long-term effectiveness and permanence criterion requires an assessment of the long-term
     effectiveness and permanence the remedy affords, along with the degree of certainty that the
     alternative will prove successful. This assessment includes a consideration of the magnitude
     of residual risk that will remain from untreated waste or treatment residuals at the site of
     redisposal, taking into account the volume, toxicity, and mobility of the remaining hazardous
     waste and its propensity to bioaccumulate, as well as the adequacy and reliability of controls
     used to manage residuals and untreated waste.



9.3.4 REDUCTION OF TOXICITY, MOBILITY OR VOLUME THROUGH TREATMENT
1. The degree to which alternatives reduce toxicity, mobility or volume through treatment is
     assessed by considering (a) the treatment or recycling processes the alternatives employ and
     materials they will treat, (b) the amount of hazardous materials that will be destroyed, treated
     or recycled, (c) the expected degree of toxicity, mobility or volume reduction due to treatment
     or recycling, (d) the degree to which the treatment is irreversible, (e) the type and quantity of
     materials that will remain following treatment, and (f) the degree to which treatment reduces
     the inherent hazards posed by principal threats at the site.




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9.3.5 SHORT-TERM EFFECTIVENESS
1. Short-term effectiveness of a remedy is assessed by considering the short-term risks that
   might be posed to the community during implementation, potential impacts on workers during
   remedial actions and the effectiveness and reliability of protective measures, potential
   environmental impacts of the remedial action and the effectiveness and reliability of mitigative
   measures during implementation, and the time it will take before protection is achieved.


9.3.6 IMPLEMENTABILrrY
1. The ease or difficulty of implementing alternatives is assessed by considering the alternative's
     technical and administrative feasibility, as well as the availability of services and materials.
     This analysis includes consideration of technical difficulties and unknowns, technology
     reliability, availability of offsite treatment, storage and disposal capacity and services, and the
     availability of prospective technologies.


9.3.7 COST EFFECTIVENESS
1. Cost effectiveness is assessed by considering the capital costs, annual operation and
     maintenance costs, and the net present value of capital, operation and maintenance costs
     associated with the given alternative.


9.3.8 STATE ACCEPTANCE
1. State acceptance involves assessing the State's position and key concerns related to the
     alternatives and the State's comments on ARARs or proposed use of waivers. This criterion
     is generally addressed in the Record of Decision once comments on the RI/FS and proposed
     plan have been received.


9.3.9 COMMUNITY ACCEPTANCE
1. Community acceptance includes determining which interested persons in the community
     support, have reservations about or oppose the remedy being proposed. Like the State
     acceptance criterion, this criterion is generally addressed in the Record of Decision once
     comments on the RI/FS and proposed plan have been received.




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9.4 NCP ANALYSIS OF THE RECOMMENDED APPROACH - SELECTIVE
    EXCAVATION TREATMENt AND RCRA EQUIVALENT CLOSURE
    ALTERNATIVE
1. The selective excavation alternative satisfies each of the nine NCP criteria. The narrative set
   forth below highlights the alternative's compliance with the NCP. Following that narrative is
   a chart in which the alternative is judged against each of the NCP criteria.

2. Summarizing the narrative and the table, the selective excavation alternative meets each of the
   NCP criteria and does not present any of the additional dangers associated with a total
   excavation and incineration or thermal destruction alternative.


9.4.1 OVERALL PROTECTION OF HUMAN HEALTH AND THE ENVIRONMENT
1. The selective excavation alternative would protect both human health and the environment.
     The principal risks posed by the site would be eliminated by excavating, treating and
     redisposing the arsenic-containing materials, the tarry seep materials and other appropriate
     tarry materials that can be safely excavated, thereby eliminating the potential for direct contact
     with these wastes. The drilling muds and remaining tarry materials that .are appropriate for
     stabilization would be rendered immobile by in situ stabilization/solidification treatment,
     thereby eliminating any migration potential of such wastes and eliminating any threat such
     wastes might pose to ground water. The toxicity of those materials will be reduced by
     chemically neutralizing SOi and driving off benzene and other VOCs which are then captured
     and treated via the emissions control system. The potential for air emissions and odors to
     impact the community and environment would be eliminated by excavation of the seeps, and
     the installation of an active emission control system and multi-layer RCRA equivalent cover.
     The community and environment would be protected from direct contact with the waste. The
     potential contamination of groundwater would be eliminated through the slurry walls and
     multi-layer RCRA equivalent cover. Risks to the community, workers and environment
     would be minimized during implementation by minimizing the amount of waste disturbance,
     thereby minimizing air emissions and odors.

2. The site total lifetime carcinogenic risk of this alternative is less than 8 x 10~8, well below the
   EPA acceptable risk range of 1 x 10"4 to 1 x




                                                Exhibit 43
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9.4.2 COMPLIANCE WITH ARARS
1. The selective excavation, treatment and RCRA equivalent closure alternative would meet all
     ARARs and would not require any ARAR waivers. The limited excavation activities would
     assure that air quality emission standards are complied with during implementation and would
     allow OSHA safety standards to be met The active emission control system would assure
     SCAQMD air quality standards are satisfied during and after implementation of this alternative
     and would meet all RCRA requirements. All excavated materials would be treated prior to
     redisposal to comply with the land disposal restrictions. BDAT treatment would be used to
     treat arsenic-containing materials and portions of the tarry materials. Residue from the
     emission collection system would be transferred to a TSD facility for treatment and disposal.
     The RCRA equivalent closure system would comply with all relevant and appropriate closure
     requirements. The groundwater protection afforded by the slurry walls and RCRA equivalent
     cover would avoid exceedance of all applicable water quality standards.



9.4.3 LONG-TERM EFFECTIVENESS AND PERMANENCE
1. Long-term effectiveness and permanence would be achieved with the selective excavation
   alternative. The magnitude of residual risk would be less than 1 x 10'11, well below
   acceptable risk levels by several orders of magnitude because the principal risks posed by the
   site would be removed from the site, the drilling muds and tarry materials that are appropriate
   would be neutralized and immobilized through the in situ treatment of stabilization/
   solidification, and all remaining materials would be beneath a 5 feet deep multi-layer RCRA
   equivalent cover. As the SROA states, even in an unremediated state, ithe site emissions pose
   an insignificant risk to the community and environment. With the selective excavation,
   treatment and RCRA equivalent closure remediation approach, any residual risk is well below
   EPA's acceptable risk range.

2. The long-term controls, both technological and institutional, recommended in the selective
   excavation alternative would protect against the remaining risks. Those controls are proven,
   reliable and enhance the long-term effectiveness of this alternative. Proven technologies
   would be used for the emission collection system, multi-layer RCRA equivalent cover,
   isolating slurry walls and system monitoring. A comprehensive long-term operations and
   maintenance program would be instituted to identify potential anomalies and prevent system
   failure. A ground water monitoring program would be instituted to assure groundwater is
   being protected by the closure system. The alternative would also be subject to a five year
   review under Section 121(c) of CERCLA. The multi-layer RCRA equivalent cover would

                                             Exhibit 43
                                               6007
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^***^       contain redundant components to virtually eliminate the potential for system failure and is
            designed to withstand a maximum credible earthquake. Even in the unlikely event of a system
            failure, an environmental or public health impact would not be likely. The materials remaining
            on-site would be immobile and the residual risk of those materials minimal, given that the
            unremediated site has not caused significant groundwater contamination, if any, in over
            40 years and that the site emissions today pose an insignificant risk to the community and
            environment The arid nature of the area, the migration rate of rainwater and the 5-foot cover
            make rainfall contact with the remaining material extremely unlikely.


        9.4.4 REDUCTION OF TOXICTTY, MOBILITY OR VOLUME THROUGH TREATMENT
        1. The statutory preference for treatment, where practicable, as the principal element of a remedy
             is satisfied by the selective excavation alternative. The principal threats posed by the 'site
             would be eliminated through the excavation, treatment (including BDAT and/or neutralization
             where appropriate) and redisposal of the arsenic-containing materials, the tarry seeps and all
             other appropriate tarry materials that can be excavated safely. The unstable materials that are
             not removed would be immobilized by in situ stabilization/solidification treatment and the
             immobile remaining materials would be treated with an active emission control system. The
             bentonite and cement slurry walls and multi-layer RCRA equivalent cover would prevent any
             perched water from contacting the remaining materials and percolating to groundwater.

        2. The selective excavation approach utilizes a combination of treatment technologies to achieve
           the reductions suggested by this criterion. EPA recognizes and supports the use of such
           technology combination "treatment trains'1 to achieve effective treatment (see EPA Response to
           Comments on Proposed Rule § 300.430(e)(9), 55 Fed. Reg. 8721, [1990]).

        3. The arsenic-containing materials would be treated with BDAT stabilization, the tarry seeps
           treated through neutralization, stabilization and/or thermal destruction, a portion of the drilling
           muds and remaining tarry materials treated through in situ stabilization/:joh'dification and the
           remaining immobile materials treated with an active emission control system.

        4. All of the arsenic-containing materials with concentrations in excess of 50 ppm lying within
           the top three feet of any sump will be excavated, stabilized and disposed offsite. All known
           tarry seeps will be neutralized and partially solidified, excavated and redisposed or thermally
           destroyed. All appropriate tarry materials that can be safely excavated will be neutralized and
           partially solidified, excavated and redisposed or thermally destroyed. All remaining tarry


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    materials and drilling mads that are appropriate for solidification will be treated in situ by
    stabilization/solidification. All remaining materials will be treated by the emission control
    system.

5. The toxicity concerns associated with the arsenic-containing materials will be eliminated by
   stabilization and offsite disposal. The toxicity of the tarry materials that are thermally
   destroyed will be eliminated The toxicity of the tarry materials and drilling muds that are
   treated through stabilization will be reduced by chemically neutralizing SO2 and driving off
   benzene and other VOCs which are then captured and treated The toxicity of emissions from
   the remaining materials will be eliminated by capture and treatment

6. The mobility of arsenic-containing material will be eliminated by stabilization and offsite
   disposal. The mobility of the tarry materials that are thermally destroyed will be eliminated.
   The mobility of the tarry materials and drilling muds that are treated through stabilization will
   be eliminated The mobility of the remaining material will be eliminated through the slurry
   walls and multi-layer RCRA equivalent cover.

1. Approximately 1,800 cubic yards of arsenic-containing materials will be excavated, stabilized
   and disposed offsite. With respect to tarry waste, up to 4,230 cubic yards will be excavated
   and thermally destroyed offsite, up to 1,960 cubic yards will be excavated, stabilized and
   disposed offsite and between 2,120 and 9,930 cubic yards will be excavated, stabilized and
   disposed onsite. (The volume ranges are based on reasonable upper and lower bounds for
   anticipated subsurface conditions as discussed in Chapters 2.0,6.0 and 7.0.) The remaining
   tarry waste and drilling muds that are appropriate for solidification will be detoxified and
   solidified in situ, rendering those materials immobile.

8. The tarry materials that are thermally destroyed will be irreversibly treated The S02, H2S,
   volatile and semi-volatile organics from the site will be irreversibly treated and removed as part
   of the emission control system.

9. The cancer risk of the remaining materials is less than 1 x 10*1 *, well below the EPA
   acceptable risk range (1 x 10"4 to 1 x 10^). The hazard index of the remaining materials is less
   than .01. A hazard index of less than 1.0 is considered to be non-hazardous.




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/""^   9.4.5 SHORT-TERM EFFECTIVENESS
       1. The selective excavation alternative achieves the short-term effectiveness criterion. The
            selective excavation of the treated materials would be done at calculated rates consistent with
            information derived from the EPA's 1990 trial excavation to assure that emissions can be
            controlled This approach to excavation would prevent adverse impacts to the community,
            workers and the environment.

       2. The community would be protected during implementation because waste disturbance would
          be minimal, thereby limiting odors and SO2 and benzene emissions. Implementation would
          be relatively uncomplicated and accomplished quickly, thereby minimizing the length of time
          for implementation accidents and minimizing potential exposure to the community.

       3. Selective excavation prevents high levels of exposure to workers and allows OSHA safety
          standards to be met Work would be accomplished safely and quickly by limiting the
          excavation activities. Placement of workers in deep excavation holes would be avoided by
          limiting the depth and extent of excavation activities. Exposure to high concentrations of
          benzene and SO2 would be avoided by not disturbing the asphaltic waste and neutralizing the
          tarry waste materials in place, prior to excavation. Workers would be protected from
          emissions during implementation by wearing protective equipment, the use of fume hoods
          over the augers and a small enclosure.

       4. Impacts to the environment during implementation of the selective excavation alternative
          would be minimal. The existing vegetation would be removed, and there would be few, if
          any, SO2 and hydrocarbon emissions released to the atmosphere. Truck traffic would be
          minimal.

       5. Total implementation time for this alternative is estimated to be between 42 and 48 months.
          The actual length of excavation is estimated to be between eleven and fourteen months.



       9.4.6 IMPLEMENTABILITY
       1. The selective excavation, treatment and RCRA equivalent closure alternative would involve the
          use of augers, off-site treatment, in situ stabilization/solidification treatment, RCRA equivalent
          closure, slurry walls and an active emission control system, all of which are demonstrated and
          reliable technologies.



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2. The limited excavation activities and non-disturbance of the asphaltic materials would serve to
   minimize the chance of technical problems such as uncontrollable emissions or waste handling
   problems that could lead to delay. Limited excavation and such non-disturbance also
   minimizes the potential impacts to the nearby community. The approvals and permits required
   to implement this alternative are available and would be obtained Due to the limited
   excavation, there would be minimal need for off-site services and redisposal capacity.

3. Technical expertise is available to implement the selective excavation alternative. The
   technologies required to implement the selective excavation alternative are proven and have
   been demonstrated at other Superfund sites. Materials required to implement the selective
   excavation alternative are readily available within the area. Considering the implementation
   risk, the site lifetime risk and the residual risk, the selective excavation alternative is clearly
   more cost effective than total excavation.


9.4.7 COST EFFECTIVENESS
1. The estimated capital costs for the selective excavation alternative ranges from $55 million to
     $69 million. The 30 year cost is estimated to be in the range of $74 million to $89 million.


9.4.8 STATE ACCEPTANCE
1. The State's acceptance of the selective excavation alternative is unknown. However, the MSG
     anticipates that a remedial alternative that meets the NCP criteria would be acceptable to the
     State.


9.4.9 COMMUNITY ACCEPTANCE
1. Community support of the selective excavation alternative is anticipated. In Spring 1990,
     interested persons in the community circulated a petition and obtained the strong support for
     the Companies' 1990 Stabilization and Closure Plan of those living close to the site. On
     December 17,1990, interested persons in the community met with Congressman William
     Dannemeyer to support a selective excavation, treatment and closure remedial approach for
     McColl and to present to him their petition. Congressman Dannemeyer agreed to submit this
     petition to EPA, for its administrative record, on behalf of the community. All of these
     activities indicate that the community would support this alternative.



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                                                   6011
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 NCP ANALYSIS OF SELECTIVE EXCAVATION, TREATMENT AND
         RCRA EQUIVALENT CLOSURE APPROACH

                                   I. THRESHOLD CRITERIA
                       PROTECTION QF HTJMAN HEALTH ANT? THE. .
  Eliminates the principal health risks posed by the site (as identified by EPA) through excavation, BDAT stabilization
  treatment, and offsite disposal of arsenic-containing materials.
  Eliminates the principal odor source from the site, the tarry seeps, through neutralization and partial solidification,
  excavation and a combination of the most appropriate of the following techniques: thermal destruction, offsite
  disposal, or onsite disposal.
  Eliminates other appropriate tarry materials that can be excavated safely through neutralization and partial
  solidification, excavation, and a combination of the most appropriate of the following techniques: thermal destruction,
  offsite disposal, or onsite disposal.
  Treats the remaining tarry materials that are not appropriate for excavation but are appropriate for solidification, and
  the drilling muds that are appropriate for solidification, through in situ treatment of stabilization/solidification,
  rendering them immobile, and reducing their toxicity by chemically neutralizing SO2 and driving off benzene and other
  VOCs which are then captured and treated.
  Eliminates potential for air emissions and odors both during implementation and in the future through an active
  emission collection system and post-implementation through engineering control consisting of a multi-layer RCRA
  equivalent cover.
  Eliminates possibility of contact with the remaining waste by capping these materials.
  Eliminates potential for contamination of ground water and leachate development by isolating the remaining materials
  with slurry walls and a multi-layer RCRA equivalent cover.
  Minimizes implementation risks to workers, the community, and environment by minimizing waste disturbance and
  handling.
  Site total lifetime carcinogenic risk is less than 8 x 10'8, well below the EPA acceptable risk range

                                         COMPLIANCE WrTH ARARS
  Selective excavation prevents high levels of exposure to workers and allows OS HA safety standards to be met
  Limited excavation activities assure air quality emission standards are not exceeded.
  Excavated arsenic-containing materials and tarry materials will be treated to comply with the land disposal restrictions,
  including BDAT where appropriate.
  Will meet all closure requirements applicable to a multi-layer RCRA equivalent cover.
  Multi-layer RCRA equivalent cover prevents rainwater and surface water from contacting wastes.
  Multi-layer RCRA equivalent cover prevents migration of contaminants to ground water.
  Emission control system collects and treats emissions and odors to meet all applicable air quality standards and will
  comply with all RCRA requirements.




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 NCP ANALYSIS OF SELECTIVE EXCAVATION, TREATMENT AND
         RCRA EQUIVALENT CLOSURE APPROACH
                       (Continued)

                                       II. PRIMARY CRITERIA

                               LONG-TERM EFFECTIVENESS AND PERMANENCE
 Magnitude of Residual Risk
 - Principal health risks posed by the site (as identified by EPA) will be eliminated.
 - Residual 6risk of remaining materials Qess than 1 x 10'1!) is well below acceptable EPA risk range (1 x 1CH to
    1 x 10- ).
 - Tarry materials that are not appropriate for excavation but are appropriate for solidification, and drilling muds that are
   appropriate for solidification, will be immobilized through in situ treatment of stabilization/solidification.
 - Remaining immobile materials will be under a 5-foot multi-layer RCRA equivalent cover with an active emission
   control system.
 - Even in the unlikely event the multi-layer RCRA equivalent cover fails, it is still unlikely that there will be an
   environmental or public health impact in the time it takes to make repairs:
   • As designed, the cover provides 5 feet of protection to prevent contact with the remaining materials.
   • The arid nature of the area and the migration rate of rainwater makes rainwater contact with the remaining
       materials extremely unlikely.
   • Remaining material is immobile, which prevents percolation of contaminants to ground water.
 - Even if a temporary failure of the emission collection system were so occur, emissions from the site pose
   insignificant risks as shown by EPA's no action risk assessment.
 Adequacy and Reliability of Controls
 - Proven technologies are being used for the emission collection system, multi-layer RCRA equivalent cover,
   isolating slurry walls and system monitoring.
 - Multi-layer RCRA equivalent cover with redundant components minimizes potential for system failure and will be
   designed to withstand a maximum credible earthquake.
 - Long-term operation and maintenance program serves to pre-identify potential anomalies and prevent system failure.
 - 5-year statutory review by the agency ensures the closure system remains protective of human health and the
   environment.
 - Ground water will be monitored to assure no percolation of contaminants is occurring.




                                                      Exhibit 43
                                                        6013
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 NCP ANALYSIS OF SELECTIVE EXCAVATION, TREATMENT AND
          RCRA EQUIVALENT CLOSURE APPROACH
                                      II. PRIMARY CRITERIA
                                            (Continued)
                REDUCTION OF MOBILITY. TOXICITY OR VQI.UMF THRpUGH TREATMENT
 Satisfies statutory preference for treatment as the principal element of remedy because it eliminates the principal health
 threat posed by the site (as identified by EPA) through excavation, BDAT stabilization treatment, and offsite disposal of
 arsenic-containing materials.
 Satisfies statutory preference for treatment as principal element of remedy because it treats the appropriate tarry waste
 that can be excavated safely through neutralization and partial solidification, excavation, and a combination of the most
 appropriate of the following techniques: thermal destruction, offsite disposal, or onsite disposal.
 Satisfies statutory preference for treatment as principal element of remedy because it treats the remaining tarry wastes and
 drilling mud that are appropriate for solidification by in situ treatment of stabilization/ solidification.
 Satisfies statutory preference for treatment as principal element of remedy because it treats remaining immobile material
 with an active emission control system.
 Multi-layer RCRA equivalent cover prevents surface and rainwater from contacting the remaining materials that could
 percolate to ground water.
 Slurry walls prevent perched water from contacting the remaining materials and percolating to ground water.
 Treatment Process Used and Materials Treated
 - Arsenic will be treated with BDAT stabilization.
 - Appropriate tarry materials that can be excavated safely will be treated by neutralization and partial solidification,
     excavation, and a combination of the most appropriate of the following techniques: thermal destruction, offsite
     disposal, or onsite disposal.
 - Drilling muds and remaining tarry material that are appropriate for solidification will be treated by in situ
     stabilization/solidification.
 - Remaining immobile material will be treated through active emission control system.
 - Multi-layer RCRA equivalent cover consisting of vegetation and irrigation system, vegetative soil cover, infiltration
     seepage collection, geocomposite layer, low permeability clay and synthetic membrane layer, and emission collection
     geotextile layer including gravel and perforated pipes-all proven technologies.
 - Slurry walls will be constructed of bentonite and cement.
 Amount of Hazardous Materials Destroyed or Treated
 - All arsenic-containing materials with concentrations in excess of SO ppm lying within the top 3 feet of a sump will
     be excavated, treated and redisposed offsite.
 - All known tarry seeps will be neutralized and partially solidified, excavated and redisposed or thermally destroyed.
 - All appropriate tarry materials that can be safely excavated will be neutralized and partially solidified, excavated and
     redisposed or thermally destroyed.
 - All remaining tarry materials and drilling muds that are appropriate for solidification will be treated in situ by
     stabilization/solidification.
 - All remaining materials will be treated by the emission control system.




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                                                        6014
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 NCP ANALYSIS OF SELECTIVE EXCAVATION, TREATMENT AND
         RCRA EQUIVALENT CLOSURE APPROACH

                                      II. PRIMARY CRITERIA
                                            (Continued)
 Degree of Expected Reductions in Toxicity, Mobility or Volume
 - A combination of treatment technologies~"treatmeni trains"-utilized to effect treatment, a procedure supported by the
    EPA.
 - Concerns associated with toxicity of arsenic eliminated by stabilization and offsite disposal.
 - Toxicity of tarry materials that are thermally destroyed is eliminated.
 - Toxicity of tarry materials and drilling muds that are treated through stabilization is reduced by chemically
    neutralizing $62.
 - Toxicity of tarry materials and drilling muds that are treated through stabilization is reduced by driving off benzene
    and other VOCs which are then captured and treated.
 - Toxicity of emissions from remaining material is eliminated by capture and treatment.
 - Mobility of arsenic is eliminated by stabilization and offsite disposal.
 - Mobility of tarry materials that are thermally destroyed is eliminated.
 - Mobility of tarry materials and drilling muds that are treated through stabilization is eliminated.
 - Mobility of remaining materials is eliminated through multi-layer RCRA equivalent cover and slurry walls.
 - Approximately 1,800 cubic yards of arsenic-containing materials will be excavated, stabilized, and disposed offsite.
 - Up to 4,230 cubic yards of tarry waste will be excavated and thermally destroyed offsite.
 - Up to 1,960 cubic yards of tarry waste will be excavated, stabilized and disposed off site.
 - Between 2,120 and 9,930 cubic yards of tarry waste will be stabilized, excavated, ami disposed onsite.
 - The remaining tarry waste and drilling muds that are appropriate for solidification will be detoxified and solidified in
    situ to render them immobile.
 - The mobility potential of the remaining materials will be further reduced by the multi-layer RCRA equivalent cover
    and slurry walls.
 Degree to Which Treatment Irreversible
 - Tarry materials that are thermally destroyed are irreversibly treated.
 - SC>2, H2§, volatile and semivolatile organics are irreversibly treated and removed as pan of the air treatment system.
 Type and Quantity of Residuals Remaining After Treatment
 - Cancer risk of remaining materials is less than
    1 x 10'1!, well below the EPA acceptable risk range (I x 10"4 to 1 x 10'6).
 - Hazard index of remaining materials is less than .01, a hazardous index of less than 1.0 is considered safe.
 Remaining drilling mud and tarry material and all of asphaltic material will be immobile.




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                                                       6015
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   NCP ANALYSIS OF SELECTIVE EXCAVATION, TREATMENT AND
           RCRA EQUIVALENT CLOSURE APPROACH

                                        II. PRIMARY CRITERIA
                                              (Continued)

                                           SJiDRT-TERM^EFECTTflENESS
   Selective excavation at slow rates assures that emissions are controllable and thereby prevents negative impact to the
   community, workers, and the environment.
   Protection of Community During Remedial Actions
   - Community protected from emissions and odors during implementation because minimal waste is disturbed.
   - Implementation is less complicated and is accomplished quickly so implementation failure and length of time for
      potential exposure is minimized.
   - SC>2 and benzene emissions minimized by not disturbing asphaltic waste.
   Protection of Workers During Remedial Actions
   - Selective excavation prevents high levels of exposure to workers and allows OSHA safety standards to be met.
   - Workers protected from high concentrations of SC>2 and other emissions during implementation by feasible use of
      protective equipment, fume hoods, small enclosures, and by minimal waste excavation and short implementation
      period.
   - High concentrations of SO2 and benzene avoided by not disturbing asphaltic waste.
   - Workers will not be placed into deep excavation holes.
   - Waste to be neutralized prior to excavation
   Environmental Impacts
   - Removal of vegetation.
   - Minimal SC>2 and hydrocarbon emissions in the sensitive Los Angeles air basin.
   - Minimal truck traffic.
   Time Until Remedial Action Objectives Are Achieved
   - Approximately 42 to 48 months until remedy is completed.
   - Crib walls installed as an initial construction element, if possible, to provide seismic stability.
   - Onsite construction activities limited to approximately 27 months.

• Technical Feasibility
  - Auger, in situ stabilization/ solidification, RCRA equivalent closure, slurry walls and the emission collection
     system are all demonstrated technologies.
  - Minimal excavation and non-disturbance of asphaltic waste minimizes chance of delay and potential impacts to the
     nearby community.
  - No additional surface remedial actions anticipated-all risks addressed by the alternative.
  - Large scale excavation of the waste is an unproven technology and worker and community risk make it impractical.
• Administrative Feasibility
  - Required approvals and permits can be obtained.
• Availability of Services and Materials
  - Minimal need for offsite services and redisposal capacity due to limited excavation.
• Proven technologies, materials and expertise are available to implement this approach.
                                                COST EFFECTIVENESS
   Estimated capital costs between $55 and $69 million.
   Operations and maintenance costs $19.8 million.
   Total cost between $74 and $89 million.




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                                                         6016
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       NCP ANALYSIS OF SELECTIVE EXCAVATION, TREATMENT AND
                RCRA EQUIVALENT CLOSURE APPROACH

                                        III. BALANCING CRITERIA

                                                    STATE ACCEPTANCE
         Unknown.

                                                COMMUNITY ACCEPTANCE
         Interested persons in community circulated petition supporting closure and obtained 89 signatures. The majority of
         the signators live in the neighborhood adjacent to the site.
         Interested persons in community met with Congressman Dannemeyer on December 17,1990 to discuss
         this approach.




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9.5 COMPARATIVE NCP ANALYSIS OF ALTERNATIVES
1. The alternatives identified in the 1989 SROA and the selective excavation alternative are
    evaluated (in the discussion below and in the following chart) against each other and each of
    the nine NCP evaluation criteria. The purpose of this analysis is to identify the relative
    advantages and disadvantages of each alternative. The discussion analysis emphasizes the
    comparison between the selective excavation alternative and the total excavation and
    incineration alternative. This emphasis is made for three reasons. EPA has stated that total
    excavation and incineration is the "preferred" remedy for the site. Given that, it is appropriate
    to evaluate that alternative in comparison to the selective excavation alternative. Additionally,
    new information (which applies to all of the alternatives which include excavation and/or
    incineration) has been obtained from the Ogden test burn and 1990 trial excavation,
    information which was not available in the 1989 SROA and information which is critical in
    determining which remedy best complies with the NCP and best serves the needs of the
    community. Finally, because the alternatives set forth in the 1989 SROA have already been
    discussed and commented upon at length, it is appropriate to focus on the selective excavation
    alternative (which is new) and the total excavation and incineration alternative (about which
    new information has been generated).



2. The MSG incorporate by this reference: the MSG's comments to EPA's Pre-Publication
   Report, Technology Evaluation Report, Site Program Demonstration of a Trial Excavation at
   the McColl Superfund Site dated September 12,1990; and their comments on the Ogden test
   burn. Although EPA appears to have substantially redefined its preferred alternative as one of
   "excavation and thermal destruction" as opposed to the excavation and incineration alternative
   described in the SROA, the only information upon which the MSG could rely in performing
   this comparative NCP analysis is that provided in the SROA on incineration. Either
   incineration is representative of thermal destruction and, therefore, the MSG's comments on
   incineration are applicable to an evaluation of thermal destruction, or incineration is not
   representative of thermal destruction and, therefore, EPA must supplement the feasibility
   study and issue a new proposed plan. The MSG believe, given the broad range of
   technologies encompassed within the thermal destruction class, that their comments on
   incineration are in fact applicable to many of these technologies. Even as to those
   technologies, however, issues would be raised which have never been identified or addressed
   by EPA and have never been opened to public comment. Furthermore, many technologies
   within this class (e.g., in situ vitrification), are so distinctly different from incineration that it
   would be necessary for EPA to perform an entirely new analysis. While the approach being


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    recommended in this document involves selective excavation of the site waste, the MSG's
    ongoing technical evaluation of the site continues to demonstrate that closure of the site is the
    best remedial alternative. Notwithstanding this conclusion, the MSG have arrived at the
    selective excavation approach by taking into consideration EPA's concerns with the statutory
    preference for treatment where practicable, the long term effectiveness of the remedy at the
    site, and the risks posed by disturbance of waste at the site.



9.5.1 OVERALL PROTECTION OF HUMAN HEALTH AND THE ENVIRONMENT
1. Compared to all other alternatives (except RCRA equivalent closure), the selective excavation
     alternative poses much lower risks, and risks to a much smaller population. Site total lifetime
     carcinogenic risk is less than 8 x 10*8. This risk is substantially lower than that presented by
     the total excavation and incineration alternative. There, site total lifetime carcinogenic risk is at
     least 6 x 10-6, according to the SROA. In fact, the McColl site risk assessment prepared by
     ENVIRON indicates total lifetime risk could reach 8 x 10-6. The resulting potential total
     population risk would be more than three additional cases of cancer. To certain individuals
     within the risk population, the cancer risk would approach 1 x 10-4. Moreover, emissions of
     SOa, THC, THT and other toxic substances caused by the excavation pose potentially serious
     and conceivably fatal health risks to workers and the surrounding community. The trial
     excavation indicated that a total excavation will generate SOi levels that are consistently above
     Immediately Dangerous to Life or Health levels. See the Companies' Comments to EPA's
     Pre-Publication Report, Technology Evaluation Report, Site Program Demonstration of a Trial
     Excavation at the McColl Superfund Site dated February 12,1991. The full extent of the risks
     associated with total excavation and incineration are still unknown and will in all probability
     get worse. The full extent of the problems associated with total excavation and incineration is
     not even known. For example, the invalidation of crucial THC speciation data, which would
     have quantified the presence of carcinogens in the released emissions, leaves unanswered
     crucial questions regarding health risks to the surrounding community. Further health impacts
     could result from the excavation of the sumps, at depths of 40 feet, as close as 60 feet to
     certain residences. There is no data to calculate the health effects of such excavation to nearby
     residences. The data indicates the likelihood of worker fatalities and of one or more persons
     developing cancer because of total excavation. These risks are discussed more fully below.
     In contrast, the short term health effects for workers and the community will be substantially
     less, and possibly eliminated, under the selective excavation alternative because of the limited
     amount of excavation, the protective equipment utilized and the controlled excavation rate.



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/~v   952  COMPLIANCE WITH ARARS
      1. The selective excavation alternative will comply with all ARARs. The limited excavation at
         controlled rates allows sensitive air, noise and OSHA ARARs to be complied with. No
         ARARs waivers are anticipated. The total excavation and incineration alternative will not
         comply with ARARs as proposed in the SROA due to exceedances of federal, state and
         SCAQMD S02 and N02 air quality standards. In fact, as discussed by the MSG in their
         comments to the SROA, SOa emissions from the proposed incinerator could put the South
         Coast Air Quality District out of compliance with the Clean Air Act Additionally, OSHA
         regulations and SCAQMD Regulation XTTI will be violated. Further violations will exist if the
         SOi levels are consistently above Immediately Dangerous to Life or Health levels. If the ash
         remains hazardous, the total excavation alternative will not comply with land disposal
         regulations.



      9.5.3 LONG-TERM EFFECTIVENESS AND PERMANENCE
      1. The selective excavation alternative has a residual cancer risk of less than 1 x 10'11, well
           below the EPA acceptable risk range ( I x l f J ^ t o l x 10*6). The selective excavation alternative
           also has a negh'gible non-cancer risk. The residual risk of the total excavation and incineration
           alternative was not calculated in the SROA and, therefore no estimate was made regarding
           metals that may be emitted from the stack into the nearby neighborhood. In contrast,
           ENVIRON actually did the risk analysis and estimated the cancer risk of total excavation at
           2 x 10-5. The selective excavation alternative is likely to meet performance standards and can
           be implemented. A crucial factor is that the excavation will be selective amd accomplished at
           controlled and calculated rates. Conversely, based upon the results of the trial excavation, it is
           very likely that total excavation will not meet performance standards and cannot be
           implemented. Excavating at the low rates necessary to meet performance standards would
           result in total excavation taking 16 to 21 years, not a practical solution in a residential
           community. If total excavation cannot be implemented, then serious problems result including
           how to redesign the remedy and how to ensure community and worker safety in the interim.
           There is a high degree of confidence that the controls for the selective excavation alternative
           are adequate and effective for long term protection because the technologies used are proven
           technologies. The controls necessary for the total excavation and incineration alternative have
           yet to be identified and, therefore, their effectiveness is unverifiable. Given the results of the
           trial excavation, it is uncertain at best whether the total excavation remedy can be implemented
           in a safe manner or whether it can be implemented at all.



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9.5.4 REDUCTION OF MOBILITY, TOXICITY, OR VOLUME THROUGH TREATMENT
1. The selective excavation alternative addresses and eliminates the principal contaminants of
     concern associated with the site through a combination of excavation, BDAT treatment,
     neutralization, in situ solidification/stabilization and redisposal. By selectively excavating, at a
     controlled rate, the selective excavation alternative avoids the problems and risks of total
     excavation. There are not feasible scientific processes by which the toxicity of arsenic can be
     eliminated or reduced. However, the selective excavation alternative directly addresses the
     toxicity concerns associated with arsenic by treating the arsenic with BDAT, binding it with
     cement, flyash or other stabilizing material, and disposing of it off-site, thereby eliminating the
     toxicity concerns associated with arsenic. In contrast, the total excavation alternative does not
     even address the arsenic issue and may exacerbate the arsenic problem. Because arsenic (and
     other metals) does not bum, attempting to incinerate arsenic does not reduce its toxicity. To
     the contrary, burning arsenic causes a loss of control over the arsenic and could cause the
     arsenic to be dispersed over the community, creating greater and more complex exposure
     problems. Thus, total excavation ignores the principal contaminants of concern at the site
     which are metals and which are not treated by incineration. Adding to this risk is the
     uncertainty that comes with excavation technology which has yet to be proven or identified.
     The mobility of certain contaminants, especially arsenic, will be increased under the total
     excavation and incineration approach. By contrast, the selective excavation approach is
     designed to eliminate and/or immobilize all materials which could possibly pose a danger at the
     site.


9.5.5 SHORT-TERM EFFECTIVENESS
1. The total excavation and incineration alternative presents new, extreme dangers to both the
     community and the workers at the site. The actual EPA data for the limited trial excavation
     showed an Immediately Dangerous to Life or Health ("IDLH") level 10 times greater than that
     which is acceptable. For total excavation, ENVIRON's validated model shows that even this is
     a low number, ENVIRON estimates that the actual IDLH level could be 4,000 to 40,000 times
     higher than the acceptable level. Because of the size of the total excavation, a failure of the
     remedy could lead to disastrous and even fatal results.

2. Other short-term effects of total excavation include transportation risks, structural failure, risk
   of explosion or fire due to the high concentration of THCs, risk of failure or damage of the
   excavation containment structure, dispersal of arsenic and heavy metals into the community
   during incineration, and exposure to noise. The short-term community risks of the selective

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    excavation alternative are much less both in number and in degree. Because of the limited
    excavation, gaseous emissions, transportation risks and the failure of the enclosure are all
    much more limited and controllable. Additionally, by not disturbing the asphaltic waste and
    by using shrouded auger systems with an emissions capture system plus a redundant small
    enclosure, the excavation risks to the community will be much smaller and will be
    controllable. The results are seen in the site lifetime total risks: For selective excavation, the
    site lifetime total risk is less than 8 x 10-8; for total excavation and incineration the site lifetime
    total risk is at least 6 x 10*6, and this risk does not consider any products of incomplete
    combustion or non-inhalation exposures. Moreover, for total excavation and incineration,
    significant transportation risks result If incineration is done off-site, the total excava^on
    alternative is 41 to 125 times more likely to cause a transportation fatality than the s&.
    excavation alternative. If incineration is done on-site, the total excavation alternative is
    25 to 112 times more likely to cause a transportation fatality.

3. The differences between total excavation and selective excavation are even more pronounced
   when the risks to workers are analyzed: The total excavation and incineration alternative will
   cause major occupational health and safety risks to workers. OSHA standards will inevitably
   be violated. There will be significant S02, THT and hydrocarbons emanating from the
   disturbance of the waste. During the trial excavation, S02 levels were measured at lethal
   levels. Other dangers to workers which were demonstrated during the trial excavation
   included potential heat stress, extreme difficulty of emergency egress from the enclosure,
   considerable noise, and cumbersome personal protective equipment (PPE) which caused
   communication problems, hampered mobility, and caused poor visibility, all of which would
   likely lead to accidents. These dangers are explained more fully in the Companies' Comments
   to EPA's Pre-Pubh'cation Report, Technology Evaluation Report, Site Program Demonstration
   of a Trial Excavation at the McColl Superfund Site dated February 12,1991. Because the
   major dangers to workers are associated with excavation, the less amount of excavation that is
   undertaken, the less is the risk for the workers. Thus, the selective excavation alternative
   presents far less dangers to workers, and no risks that cannot be controlled by proper planning
   and mitigation measures. The comparative dangers of total excavation are perhaps most
   clearly brought into focus when it is considered that total excavation poses a risk of cancerous
   death to three people and a transportation risk of death to one or two more people, while
   selective excavation is not expected to produce a single cancer death within more than a million
   years and not one transportation death.




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4. In conclusion, the risks to workers under the total excavation alternative are so great that death
   or other serious injuries are predictable using EPA's own risk assessment guidance, and it is
   unlikely that the total excavation approach will even receive OSHA approval. These risks are
   compounded when the difficulties of completing the alternative and the time that such
   completion will take are considered. If, as is possible, the remedy cannot be implemented in
   less than 16 to 21 years, the chances for serious worker injury and fatalities are increased even
   more. On the other hand, the selective excavation alternative will meet all OSHA standards
   and will entail only limited potential risk to workers, and can be accomplished within 42 to
   48 months.


9.5.6 IMPLEMENTABILrrY
1. It is very possible, even likely, that the total excavation and incineration .alternative cannot be
     implemented. In light of the trial excavation, the excavation rates in the SROA have been
     proven incorrect and unreliable. Potentially toxic emission levels, associated PPE
     requirements and other factors will lead to excavation rates radically lower than those
     anticipated by EPA thereby significantly extending the excavation schedule and dramatically
     increasing the cost for full-scale excavation. Moreover, use of Level-A PPE under the
     conditions and for the duration of a full-scale excavation would be unprecedented. Total
     excavation at the site is unfeasible, among other reasons, because the feasibility of an adequate
     emission control system has not been demonstrated; excavation of the sumps at depths of
     40 feet, as close as 60 feet to residences, will be extremely difficult; and because of the size of
     the enclosure needed to conduct a full-scale excavation.

2. Based on the data from the trial excavation, the time to implement the total excavation remedy
   could run as long as 16 to 21 years. During a full-scale excavation when ambient
   temperatures exceed 70°, workers will likely be limited to 15 minutes of work per hour due to
   heat stress associated with wearing Level-A PPE and the required health monitoring. In
   higher temperatures, work may not be able to proceed at all. Other issues indicate the fact that
   the foam relied upon by EPA to control toxic emissions from the waste during excavation was
   ineffective and costly. EPA's contention that all the problems in the trial excavation can be
   resolved in the design phase of the full excavation is not supported by the test results; in fact,
   if anything, it appears that problems which were not considered in the SROA have arisen, and
   exist to an extent that they present serious risks to the community and to workers. Similar
   implementability problems like those experienced at the trial excavation have shut down
   remediations at the Petro Processors site in Louisiana, and have lead to changes in remediation


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    selection at the Hardage site in Oklahoma, the Tyson's Lagoon site in Pennsylvania, and the
    Seymour Recycling site in Indiana. As noted above, where there are implementation problems
    or other delays, the risks to the community and to workers are greatly increased.

    The selective excavation alternative, on the other hand, is fully impletnerttable. It uses proven
    technologies to accomplish expected results. Additionally, because the amount of excavation
    is limited and undertaken at a controlled rate, the excavation and worker problems that exist
    under total site excavation will not occur. Thus, while the mobih'zation/demobilization of a
    temporary excavation enclosure will be possible under the selective excavation approach, it
    will likely not be possible under the total excavation approach because of the difficulty of
    constructing such a large, irregularly shaped enclosure with a resulting inability to meet air
    emission requirements for exhaust gases. These risks for total excavation and incineration are
    increased when it is considered that this approach contemplates excavating all the tar and acidic
    asphaltic waste, a handling process that will be complex and may exacerbate the risks
    involved. From an engineering standpoint, it is not possible to simply up-scale the trial
    excavation to a full-scale excavation. There are many more problems and complexities that
    must be addressed. For example, if a full-size, effective containment structure cannot be
    constructed or if an air handling system cannot be designed, the total excavation alternative
    cannot be implemented. Nor can that alternative be implemented if incinerator emission
    controls cannot meet applicable air quality standards.



9.5.7 COST EFFECTIVENESS
1. Neither the selective excavation alternative nor the total excavation and incineration alternative
     is inexpensive. The capital costs including escalation of the selective excavation alternative
     will range from about $54 million to $69 million. Operation and maintenance costs are
     expected to cost approximately $20 million for 30 years, making the total cost between about
     $74 million and $89 million. The cost of the total excavation alternative is even greater.
     Capital costs are estimated to range from $117 million to $173 million. Operation and
     maintenance costs could range anywhere from $0 to $7 million. The total costs, in present
     value, according to the SROA, could range anywhere from $120 million to $400 million.
     These numbers were calculated on the basis that the total excavation and incineration remedy
     could be completed in 5 to 8 years. The trial excavation indicates that, based on excavation
     issues alone, implementation of the remedy may take from 16 to 21 years. The cost
     ineffectiveness of the total excavation alternative becomes magnified when the community and
     worker risks, as shown by the test burn and trial excavation, are considered.


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/***%   2. Clearly, the selective excavation alternative is more cost effective than the total excavation
           alternative because total excavation is less protective of public health and the environment
           while costing substantially more.



        9.5.8 STATE ACCEPTANCE
        1. It is unknown, but anticipated, that the State will accept the selective excaivation alternative. In
             the 1989 Draft Environmental Impact Report and Remedial Action Plan on the McColl site, the
             State expressed a preference for the total excavation and incineration alternative. This,
             however, was prior to EPA's redefinition of the remedial approach as one of excavation and
             thermal destruction and prior to performance of the trial excavation and the Ogden test bum.
             In light of the problems and failures of the trial excavation and test burn, it is questionable
             whether the State's support will continue. The dangers to the community and to workers,
             coupled with the uncertainties of the excavation process and unidentified! and unproven
             technologies, make the total excavation alternative difficult, if not impossible, to evaluate.



        9.5.9 COMMUNITY ACCEPTANCE
        1. It is anticipated that the community will accept the selective excavation approach. The
             community has already given strong support to the RCRA equivalent enclosure remedy and
             favored closure over total excavation and incineration. Similarly, it is anticipated that, due to
             the problems and failures associated with the trial excavation and test burn, that the community
             will find the total excavation and incineration alternative unacceptable.




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            COMPARATIVE NCP ANALYSIS OF ALTERNATIVES PRESENTED IN THE 1989 SROA
      AND THE SELECTIVE EXCAVATION, TREATMENT AND RCRA EQUIVALENT CLOSURE APPROACH
                                                                                                                                                                            Page 1 of 27
                                                                                            ALTERNATIVES

    CRITERIA
                      SELECTIVE EXCAVATION,                EXCAVATION AND                 RCRA EQUIVALENT                 RCRA EQUIVALENT                   EXCAVATION AND
                       TREATMENT AND RCRA                    REDISPOSAL                     CONTAINMENT                      CLOSURE                          INCINERATION
                       EQUIVALENT CLOSURE
THRESHOLD CRITERIA
• Protection of       • Compared to all other          • Site total lifetime          • Site total lifetime           • Site total lifetime            • Least protective alternative -
  Human Health and      alternatives (except RCRA        carcinogenic risk is           carcinogenic risk is            carcinogenic risk is             site total lifetime
  the Environment       equivalent closure) and          2 x ID'7*.                     2 x 10-"*.                      3 x 10"8*.                       carcinogenic risk is
                        especially compared to                                                                                                           6x10"**. ENVIRON's
                        excavation and incineration,                                                                                                     risk analysis shows that a
                        this remedy poses much                                                                                                           population of 3 to S million
                        lower risks to a much                                                                                                            residents would be exposed
                        smaller population. Site                                                                                                         to incinerator emissions.
                        total lifetime carcinogenic                                                                                                      Maximum individual risks
                        risk is less than 8 x ID"8.                                                                                                      would approach 85 x 10A
                                                                                                                                                         The resulting potential total
                                                                                                                                                         population risk would be
                                                                                                                                                         more than 3 additional cases
                                                                                                                                                         of cancer.
                      • Minimal, if any, short-term • Emissions of SOj, THC,          • Emissions of SO2. THC,        • No short-term health effects   • Emissions of SO2, THC,
                        health effects are expected to  THT and other toxic             THT and other toxic             are expected                     THT and other toxic
                        workers and no short-term       substances caused by the        substances caused by the                                         substances caused by the
                        health effects are expected for excavation pose potentially     excavation pose potentially                                      excavation pose potentially
                        community; all health           serious and conceivably fatal   serious and conceivably fatal                                    serious and conceivably fatal
                        effects are minimized by the    health risks to workers and     health risks to workers and                                      health risks to workers and
                        limited extent of excavation,   the surrounding community       the surrounding community                                        the surrounding community
                        the protective equipment        based on the results of the     based on the results of the                                      based on the results of the
                        utilized and the controlled     trial excavation.               trial excavation.                                                trial excavation.
                        excavation rate.
• Compliance wilh     • Will comply with all          • Will not comply with        • Will not comply with        • Will comply with all               • Will not comply with
  ARARs                 ARARs - United excavation       ARARs as proposed in the      ARARs as proposed in the      ARARs - non-disturbance of           ARARs as proposed in the
                        at controlled rates allows      SROA due to exceedances of    SROA due to exceedances of    waste allows ARARs to be             SROA due to exceedances of
                        sensitive air, noise and        SCAQMD SO2 and NOj air        SCAQMD S02 and NO2 air        complied with.                       federal, state and SCAQMD
                        OSHA ARARs to be                quality standards, odor and   quality standards, odor and                                        SOa and NO2 air quality
                        complied with and redisposed    nuisance rules, noise         nuisance rules, noise                                              standards, odor and nuisance
                        waste will be treated to meet   restrictions, OSHA            restrictions, OSHA                                                 rules, noise restrictions,
                        land disposal restrictions.     regulations and the land      regulations and the land                                           SCAQMD Regulation 13
                                                        disposal restrictions.        disposal restrictions.                                             and OSHA regulations.
                                                                                                                                                         Also will not comply with
                                                                                                                                                         the land disposal restrictions
                                                                                                                                                         if ash remains hazardous.




* Information from the 1989 SROA.                                                     Exhibit 43
                                                                                        6026
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             COMPARATIVE NCP ANALYSIS OF ALTERNATIVES PRESENTED IN THE 1989 SROA
       AND THE SELECTIVE EXCAVATION, TREATMENT AND RCRA EQUIVALENT CLOSURE APPROACH
                                          (Continued)
                                                                                                                                                                              Page 2 of 27
                                                                                               ALTERNATIVES
     CRriERIA          SELECTIVE EXCAVATION.                EXCAVATION AND                   RCRA EQUIVALENT                 RCRA EQUIVALENT                   EXCAVATION AND
                        TREATMENT AND RCRA                    REDISPOSAL                      CONTAINMENT                       CLOSURE                         INCINERATION
                        EQUIVALENT CLOSURE
                       • No waivers are anticipated.   • Although no waivers were      • Although no waivers were      * No waivers are required.         • Although no waivers were
                                                         identified as appropriate in    identified as appropriate in                                       identified as appropriate in
                                                         the SROA, it appears the        the SROA. it appears the                                           the SROA, it appears the
                                                         trial excavation results make   trial excavation results make                                      trial excavation results make
                                                         ARAR non-compliance             ARAR non-compliance                                                ARAR non-compliance
                                                         likely. Additionally, the       likely. Additionally, the                                          likely. Additionally, the
                                                         land ban would restrict         land ban would restrict                                            land ban would restrict
                                                         redisposal without treatment    redisposal without treatment                                       redisposal without treatment
                                                         It appears waivers would be     It appears waivers would be                                        It appeals waivers would be
                                                         needed and there is no          needed and there is no                                             needed and there is no
                                                         likelihood they would be        likelihood they would be                                           likelihood they would be
                                                         granted.                        granted.                                                           granted.
                       • Will consider all TBCs.       • Consideration of TBCs is      • Consideration of TBCs is      • Will consider all TBCs.          • Consideration of TBCs is
                                                         uncertain - explicit            uncertain - explicit                                               uncertain - explicit
                                                         excavation criteria are not     excavation criteria are not                                        excavation criteria are not
                                                         identified in the SROA.         identified in the SROA.                                            identified in the SROA.
PRIMARY CRITERIA
• Long-Term
  Effectiveness and
  Permanence
  - Magnitude of       • Residual cancer risk of less • Not specifically calculated in • Not specifically calculated in • Not specifically calculated in • Not specifically calculated in
      Residual Risks     than 1 x 10-11, well below     the SROA.                        the SROA.                        the SROA.                        the SROA because it was
                         EPA acceptable risk range                                                                                                         assumed no hazard from
                         (1CT4 to KT6) and negligible                                                                                                      organics remaining onsite.
                         non-cancer risk.                                                                                                                  No estimate was made
                                                                                                                                                           regarding metals that may be
                                                                                                                                                           emitted from the stack into
         ,                                                                                                                                                 the nearby neighborhood.
                                                                                                                                                           Cancer risk estimated at 2 x
                                                                                                                                                           10"5 in the 1990 McColl
                                                                                                                                                           Site Risk Assessment
                                                                                                                                                           prepared by ENVIRON.




* Information from the 1989 SROA.                                                          Exhibit 43
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            COMPARATIVE NCP ANALYSIS OF ALTERNATIVES PRESENTED IN THE 1989 SROA
      AND THE SELECTIVE EXCAVATION, TREATMENT AND RCRA EQUIVALENT CLOSURE APPROACH
                                         (Continued)
                                                                                                                                                                              Page 3 of 27
                                                                                             ALTERNATIVES
    CRITERIA
                        SELECTIVE EXCAVATION,              EXCAVATION AND                  RCRA EQUIVALENT                  RCRA EQUIVALENT                   EXCAVATION AND
                         TREATMENT AND RCRA                  REDISPOSAL                     CONTAINMENT                        CLOSURE                         INCINERATION
                         EQUIVALENT CLOSURE
                         Residual risk from           * No remaining sources of           Possibility of gaseous           Possibility of gaseous           A residual risk will remain if
                         remaining materials consists   risks; all contaminated           emissions from the cap and       emissions from the cap and       ash is disposed onsite and
                         largely of emissions that      materials are assumed to be       dangerous sulfuric acid          dangerous sulfuric acid          metals are distributed around
                         will be controlled through     removed.                          emissions from the flare.        emissions from the flare.        neighborhood.
                         the RCRA equivalent cap
                         and treated by the active
                         emission control system
     Adequacy and
     Reliability of
     Controls
     • Ability to        Likely that limited             Very likely that total           Very likely that total                                            Very likely that total
        MGCt             excavation win meet             excavation required to           excavation required to                                            excavation required to
                         pcifut^iuutte standards         implement this alternative       implement this alternative                                        implement this alternative
        Standard!        because excavation will be      will not meet performance        will not meet performance                                         will not meet performance
                         selective and done at           standards based on the results   standards based on the results                                    standards based on the results
                         controlled and calculated       of the trial excavation.         of the trial excavation.                                          of the trial excavation.
                         rales.
                         Multi-layer RCRA                                                 Multi-layer cover minimizes      Multi-layer cover minimizes
                         equivalent cap with                                              the potential for system         the potential for system
                         redundant components                                             failure.                         failure.
                         minimizes the potential for
                         system failure.
                         Likely that active emission                                      Gas flare could convert          Gas flare could convert
                         control system will meet                                         sulfur dioxide to sulfuric       sulfur dioxide to sulfuric
                         performance standods                                             acid, a dangerous result not     acid, a dangerous result not
                         because technology is                                            addressed in the SROA.           addressed in the SROA.
                         proven.
        Operation and    Care and maintenance of die   • No specific long-term            Care and maintenance of the      Care and maintenance of the      Care and maintenance of the
        Maintenance      cover and active emission       operations and maintenance       cover, the leachate collection   cover, the leachate collection   cover (if needed for the
                         control system.                 required.                        system, and the gas flare        system, and the gas flare        redisposed ash) the leachate
                                                                                          system.                          system.                          collection system, and the
                                                                                                                                                            gas treatment system if used.




* Information from the 1989 SROA.                                                          Exhibit 43
                                                                                             6028
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                         TREATMENT AND RCRA                   REDISPOSAL                     CONTAINMENT                      CLOSURE                          INCINERATION
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     •   Monitoring    • Willrequirelong-term           • Norequirementsfor            • Will require long-term        • Will require long-term post-   * Will require long-term
                         post-closure inspection and      long-term post-closure         post-closure inspection and     closure inspection and           post-closure inspection and
                         maintenance consistent with      inspection and monitoring      maintenance consistent with     maintenance consistent with      maintenance consistent with
                         RCRA.                            (other than ground water       RCRA.                           RCRA.                            RCRA for ash placed onsite.
                                                          monitoring) if all
                                                          contaminated materials are
                                                          removed.
     *
                       • Willrequire5-year agency                                      • Will require 5-year agency    * Will require 5- year agency    • Will require 5- year agency
                         review under CERCLA.                                            review under CERCLA.            review under CERCLA.             review under CERCLA if
                                                                                                                                                          hazardous ash is redisposed
                                                                                                                                                          onsite.
                       • Ground water monitoring        • Ground water monitoring      • Ground water monitoring       • Ground water monitoring        • Ground water monitoring
                         will be necessary.               will be necessary.             will be necessary.              will be necessary.               will be necessary.
     •   Difficulties/ • No difficulties or             • No long-term operations and • No difficulties or             • No difficulties or             • No difficulties or
         Uncertainties   uncertainties with operation     maintenance required.         uncertainties with operation     uncertainties with operation     uncertainties with operation
         With            and maintenance.                                               and maintenance.                 and maintenance.                 and maintenance.
         Operation and
         Maintenance
     • Technical       • Somereplacementof die                                         • Some replacement of the gas • Some replacement of die gas
       Component         emission control                                                emission system               emission system
       Replacement       components may be needed.                                       components may be needed.     components may be needed.
       Needs
                       • Somereplacementof cover                                       • Somereplacementof cover       * Some replacement of cover      • Dependent upon the
                         components may be needed.                                       components may be needed        components may be needed.        disposition of the ash; some
                                                                                                                                                          replacements of die cover
                                                                                                                                                          components may be needed.
                       • Monitoring wells may need      • Monitoring wells may need    • Monitoring wells may need     • Monitoring wells may need      * Monitoring wells may need
                         die replacement of               die replacement of             the replacement of              the replacement of               the replacement of
                         equipment                        equipment                      equipment                       equipment                        equipment
     • Magnitude of • Failure of the remedy will        • Not applicable.              • Failure of the remedy will    • Failure of the remedy will     • Depends on disposition of
       Risks if the   not lead to catastrophic                                           not lead to catastrophic        not lead to catastrophic         the ash. The threat will be
       Remedial       effects.                                                           effects.                        effects.                         via ingestion of ash particles
       Action Needs                                                                                                                                       and leachate containing
       Replacement                                                                                                                                        metals.




* Information from the 1989 SROA.                                                          Exhibit 43
                                                                                             6029
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                          Odors may occur if die cover                                   Some odor problems may           Some odor problems may
                          is breached and die emission                                   occur if die cover is breached   occur if die cover is breached
                          collection system fails;                                       and die gas flare system         and die gas flare system
                          however this is unlikely                                       fails.                           fails.
                          because die remedial action
                          uses, a proven emission
                          collection system and a
                          cover of S feet Also, with
                          stabilized materials, odors
                          will be less dun if material
                          was untreated
        Degree of         High confidence dial the       Not applicable.                 Cover control should be          Cover control should be          Uncertain because of metals
        Confidence        controls are adequate and                                      adequate and effective for       adequate and effective for       dispersed by incinerator
        that Controls     effective for long-term                                        long-term protection because     long-term protection because     emissions using a new,
        Can               protection because                                             proposed technology is           proposed technology is           unproven technology. Other
        Adequately        technologies used aw proven                                    proven; gas flare system will    proven; gas flare system will    controls should be adequate
        Handle            technologies.                                                  not be effective due to          not be effective due to          and effective for long-term
        Problems                                                                         sulfuric acid releases.          sulfuric acid releases.          protection.
        Uncertainties                                    Wastes must be placed in a      Redeposited wastes must                                           Metals content of ash will
        Associated                                       disposal site that conforms     comply with die land                                              effect classification as
        with Land                                        to RCRA requirements.           disposal restrictions.                                            hazardous or nonhazardous;
        Disposal of                                      RCRA land disposal ban                                                                            if hazardous, must comply
        Residuals and                                    will require pretreatment                                                                         with land disposal
        Untreated                                        (unspecified in SROA)                                                                             restrictions including
        Wastes                                           before redisposaL                                                                                 required pre-treatment
                                                                                                                                                           (unspecified in SROA).
                        * Earthquake hazard; however,                                  • Earthquake hazard; however,      earthquake hazard; however,
                          system is designed to                                          system is designed to            system is designed to
                          withstand maximum credible                                     withstand maximum credible       withstand maximum credible
                          earthquake.                                                    earthquake.                      earthquake.




* Information from the 1989 SROA.                                                      Exhibit 43
                                                                                         6030
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• Reduction of        • The treatment process         • Restricts mobility through        • Restricts mobility through    • Mobilityreducedby cover.       • The treatment process
  Mobility, Toxicity,   employed eliminates the         containment                         containment                                                      employed does not address
                                                                                                                         • Does not reduce toxicity or
  or Volume Through     principal dneals - principal * Does not reduce toxicity or        • Does not reduce volume - in                                      the principal health threats
                                                                                                                           volume.
  Treatment             health threat is from arsenic   volume - in fact, volume            fact, volume is increased by                                     which are from metals and
                        and the principal nuisance is   increases by bulking from           lime additives and bulking                                       which are not treated by
                        limn seeps.                     excavation.                         from excavation.                                                 incineration.
                                                                                          * Lime neutralization
                                                                                            treatment may reduce
                                                                                            toxicity.
   - Treatment         • Arsenic treated with BDAT        • No treatment involved.        * Lime additive would           • Gas treatment system used      • The treatment process is
     Process Used and    stabilization.                                                     neutralize die waste            to treat remaining materials     uncertain and unproven; it
     Materials Treated                                                                      materials.                      but may convert sulfur           will have to be specially
                                                                                                                            dioxide to sulfuric acid - a     designed to be able to burn
                                                                                                                            dangerous result                 die high-sulfur, acidic
                                                                                                                                                             wastes.
                       • Tarry seeps and other            • No stabilization or other    • Gas treatment system used                                       • Uncertain which treatment.
                         appropuate tar materials           treatment of wastes proposed   to treat remaining materials                                      if any, will be applied to
                         treated by neutralization.         prior to transportation.       but may convert sulfur                                            residue from bum of acidic
                         partial solidification.                                           dioxide to sulfuric acid - a                                      wastes.
                         excavation and an                                                 dangerous result
                         appropriate combination of
                         die following technologies:
                         thermal treatment, off-site
                         disposal or onsite disposal.
                       » Drilling muds and remaining
                         tar material that is
                         appropriate for solidification
                         treated through in situ
                         stabilization/solidification.
                       • Remaining immobile
                         material treated through
                         active emission control
                         system.




* Information from the 1989 SROA.                                                         Exhibit 43
                                                                                            6031
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     Amount of           The actual quantity of        • No treatment involved.           Materials treated through       No treatment involved other     The organic fraction of die
     Hazardous           hazardous materials dial will                                    lime neutralization and gas     than gas treatment              wastes will be destroyed to a
     Materials           be destroyed will depend on                                      treatment                                                       large extent; die ash, if it is
     Destroyed or        die ultimate selective                                                                                                           hazardous, will require
     Treated             excavation approach selected,                                                                                                    treatment to comply with
                         but all of die waste material                                                                                                    die RCRA land disposal
                         will be treated in some                                                                                                          restrictions - this
                         manner.                                                                                                                          requirement is not addressed
                                                                                                                                                          in die SROA.
     Degree of           Toxicity concerns associated     No reduction in toxicity will   Toxicity may be reduced by      No reduction in toxicity will   Uncertain to what extent die
     Expected            widi arsenic eliminated by       be achieved                     lime treatment                  be achieved                     total mass of toxic
     Reduction* in       stabilization; toxicity of                                                                                                       contaminants is reduced, but
     Toxicity,           tarry materials eliminated by                                                                                                    volume of incinerator
     Mobility and        dtermal destruction and                                                                                                          residuals exceeds volume of
     Volume              reduced by neutralization;                                                                                                       waste by SO percent and may
                         toxicity of drilling muds                                                                                                        be toxic.
                         reduced by neutralization;
                         and toxicity of emissions
                         eliminated by capture and
                         treatment
                         Mobility of arsenic              Mobility will be reduced by     Mobility should be restricted   Mobility would be reduced       Uncertain as to die extent
                         eliminated by stabilization      containment in a proper         by containment                  by cover and cutoff walls.      mobility reduced, but
                         and disposal, mobility of        facility.                                                                                       mobility of arsenic, metals
                         some excavated tarry                                                                                                             probably increased.
                         materials eliminated through
                         titermal destruction, mobility
                         of otiier tarry materials and
                         drilling muds reduced by
                         solidification/stabilization
                         and mobility of remaining
                         materials reduced by multi-
                         layer RCRA equivalent cover
                         and slurry walls.




* Information from die 1989 SROA.                                                          Exhibit 43
                                                                                             6032
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                        EQUIVALENT CLOSURE
                    • Significant reduction in        • Reduction in volume onsite   • Noreductionin volume will • No reduction in volume will « Uncertain to what extent die
                      volume of onsite materials        will be achieved               be achieved - in fact volume be achieved.                 total mass of toxic
                      will be achieved                                                 increases from lime                                       contaminants is reduced but
                    • Utilizes a combination of                                        additives.                                                volume of incinerator
                      technologies-"(reatrncnt                                                                                                   residuals exceeds volume of
                      trains"— to effect treatment-                                                                                              waste by SO percent and may
                      an nnmm h recognized and                                                                                                   be toxic.
                      supported by EPA.
  - DegreetoWWch • SO2, H2S, volatile and             • No treatment involved.       • SO2, H2S, volatile and       • SO2, H2S, volatile and        • The extent to which die
    Treatment is      semi-volatile organics                                           semi-volatile organics         semi-volatile organics          effects of treatment are
    ItTcvciubte       irreversibly treated and                                         irreversibly treated and       irreversibly treated and        irreversible is uncertain for
                      removed as part of die                                           removed as part of air         removed as part of air          the inorganics - organics
                      emission control system.                                         treatment system.              treatment system.               would be destroyed
                    • Thermally destroyed tarry
                      materials are irreversibly
                      treated
  - Type and        • Remaining drilling mud,         • Assumed all materials        • Waste which is redisposed • No change in waste volume        • Ash and scrubbers solids
    Quantity of       tarry material and aspnainc       redisposed offsite.            onsite will have increased in or toxicity will occur - all     containing inorganic
    Residuals         material will be immobile.                                       volume due to expansion       materials will remain.           contaminants will remain.
    Remaining after                                                                    caused by excavation, plus                                   • 207,000 tons of ash and
    Treatment                                                                          lime additions but should be                                   sludges, possibly toxic due
                                                                                       neutralized.                                                   to metals by TCLP or EP
                                                                                                                                                      Toxics tost
                                                                                                                                                    • Unknown quantity of arsenic
                                                                                                                                                       and other metals dispersed
                                                                                                                                                      into die environment by
                                                                                                                                                      incineration.
                                                                                                                                                    • Inhalation of arsenic from
                                                                                                                                                      particulates may occur.
                                                                                                                                                      Ingestion of arsenic may
                                                                                                                       .                              occur due to particulates on
                                                                                                                                                      plants, soils or
                                                                                                                                                      environmental surfaces.




* Information from die 1989 SROA.                                                        Exhibit 43
                                                                                           6033
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• Short-Term
  Effectiveness
   - Protection of
     Community
     During Remedial
     Actions
     f   Risks to      • Gaseous emissions during      • Significant gaseous             • Significant gaseous             • Minimal gaseous and dust      • Significant gaseous
         Community       implementation are limited      emissions during                  emissions during                  emissions during RCRA           emissions during
                         due toiimiled excavation.       implementation due to             implementation due to             equivalent closure.             implementation due to
                                                         extensive excavation and          extensive excavation and                                          extensive excavation (as
                                                         waste handling as                 waste handling as                                                 experienced in the trial
                                                         experienced in die trial          experienced in die trial                                          excavation), waste hauling
                                                         excavation.                       excavation.                                                       and incineration.
                       • Odorous emissions during      > Exposure to highly irritating • Exposure to highly irritating                                    • Exposure to highly irritating
                         implementation are limited      and potentially dangerous       and potentially dangerous                                          and potentially dangerous
                         due to limited excavation.      odors.                          odors.                                                             odors.
                       • Transportation-related risks * Highest transportation-          • High transportation-related     • Limited transportation-      • High transportation-related
                         are United due to die limited  related risks due to high          risks due to waste                related risks from fill        risks due to waste movement
                         waste transportation required  volume of waste to be              movement                          components being               - risks increase if ash is
                                                        transported offsite.                                                 transported to site.           redisposed offsite.
                       * Failure or damage of          • Failure or damage of            • Failure or damage of                                           • Failure or damage of
                         enclosure could expose          enclosure could expose            enclosure could expose                                           enclosure could expose
                         community to toxic              community to extremely            community to extremely                                           community to extremely
                         emissions but emissions         high concentrations of toxic      high concentrations of toxic                                     high concentrations of toxic
                         will be limited by the          emissions.                        emissions.                                                       emissions.
                         Hnrited excavation.
                                                       * Risk of structural failure of   • Risk of structural failure of   • Heavy equipment disturbing • Risk of structural failure of
                                                         die sumps caused by               die sumps caused by               present cap.                 die sumps caused by
                                                         extensive excavation could        extensive excavation could                                     extensive excavation could
                                                         affect nearby residences.         affect nearby residences.                                      affect nearby residences.
                                                       • Risk of failure or damage of    • Risk of failure or damage of                                   • Risk of failure or damage of
                                                         excavation containment            excavation containment                                           excavation containment
                                                         structure.                        structure.                                                       structure.




* Information from the 1989 SROA.                                                            Exhibit 43
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                                                       • Risk of explosion or fire due • Risk of explosion or fire due                                   Risk of explosion or fire due
                                                         to high concentration of        to high concentration of                                        to high concentration of
                                                         THCs generated by extensive     THCs generated by extensive                                     THCs generated by extensive
                                                         excavation within enclosure.    excavation within enclosure.                                    excavation within enclosure.
                         Exposure to noise.            • Exposure to noise.            • Exposure to noise.              • Exposure to noise.            Exposure to noise.
                                                                                                                                                         Dispersal of arsenic,
                                                                                                                                                         products of incomplete
                                                                                                                                                         combustion, and heavy
                                                                                                                                                         metals into die community
                                                                                                                                                         during incineration.
                                                       • Risks increase at night due   • Risks increase at night due                                     Risks increase at night due
                                                         to prevalent meteorological     to prevalent meteorological                                     to prevalent meteorological
                                                         conditions.                     conditions.                                                     conditions.
        Mitigation of • Emissions will be controlled • Special enclosure with       • Special enclosure with       • Care and oversight during           Special enclosure with
        Community       by limiting excavation         exhaust gas treatment          exhaust gas treatment          construction will reduce            exhaust gas treatment
        Risks           activities, not disturbing dw  systems should reduce die      systems should reduce die      threats of disturbing present       systems should reduce die
                        asphaltic waste and by using   risk of exposure to            risk of exposure to            cap and wastes and                  risk of exposure to
                        shrouded anger system witfi    emissions during excavation.   emissions during excavation.   generations of gas and dust         emissions during excavation.
                        emissions capture system       However, trial excavation      However, trial excavation      emissions.                          However, trial excavation
                        plus aredundantsmall           indicates system will not      indicates system will not                                          indicates system will not
                        enclosure.                     adequately reduce emission     adequately reduce emission                                         adequately reduce emission
                                                       risks.                         risks.                                                             risks.
                       • Procedure to mitigate          • Procedure to mitigate        • Procedure to mitigate           • Procedure to mitigate         Procedure to mitigate
                         transportation risks would be    transportation risks would     transportation risks would        transportation risks would    transportation risks would
                         developed, but risks will be     need to be developed but       need to be developed but          need to be developed—lowest   need to be developed but
                         lower than ether excavation      risks will be high due to      risks will be high due to         level of material being       risks will be high due to
                         alternatives because             high volume of waste to be     required waste movement           transported                   high volume of waste to be
                         significantly less material is   uaiispuited                                                                                    transported - risks increase
                         being transported                                                                                                               more if ash is redisposed
                                                                                                                                                         offsite.




* .Information from die 1989 SROA.                                                       Exhibit 43
                                                                                           6035
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                                                   Sheeting and shoring of side       Sheeting and shoring of side                                  Sheeting and shoring of side
                                                   walls of excavation may            walls of excavation may                                       walls of excavation may
                                                   reduce die risk of structural      reduce die risk of structural                                 reduce die risk of structural
                                                   failure; however, die trial        failure; however, the trial                                   failure; however, die trial
                                                   excavation indicates die           excavation indicates the                                      excavation indicates die
                                                   reliability of these measures      reliability of these measures                                 reliability of these measures
                                                   is uncertain.                      is uncertain.                                                 is uncertain.
                                                                                                                                                    Up to 85 percent of arsenic
                                                                                                                                                    may volatilize and
                                                                                                                                                    potentially impact the
                                                                                                                                                    community.
                                                                                                                                                    Gaseous and particulate
                                                                                                                                                    control equipment may
                                                                                                                                                    reduce risks to die
                                                                                                                                                    community during
                                                                                                                                                    incineration.
         Uncon-    • The implementation cancer     The implementation cancer       * The implementation cancer        • The implementation cancer   The implementation cancer
         trollable   risk is less than 8 x 10"8.   risk is less than 2 x 10"7.*      risk is less than 2 x 10"7.*       risk was not specifically   risk is less than 6 x 10'6*.
         Community                                                                                                      calculated in die SROA.     This does not consider
         Risks                                                                                                                                      products of incomplete
                                                                                                                                                    combustion or non-
                                                                                                                                                    inhalation exposures.
                                                   THC speciation data were        • THC speciation data were                                       THC speciation data were
                                                   invalidated during trial          invalidated during trial                                       invalidated during trial
                                                   excavation, leaving               excavation, leaving                                            excavation, leaving
                                                   questions regarding health        questions regarding health                                     questions regarding health
                                                   risks to community from           risks to community from                                        risks to community from
                                                   total excavation unanswered,      total excavation unanswered,                                   total excavation unanswered,
                                                   especially with regard to         especially with regard to                                      especially with regard to
                                                   benzene.                          benzene.                                                       benzene.




* Information from the 1989 SROA.                                                    Exhibit 43
                                                                                       6036
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                      • Untiled transportation risks. • Significant transportation     • Significant transportation     • Limited transportation risks. • Significant transportation
                                                        risks.                           risks.                                                           risks - if incineration is done
                                                                                                                                                          offsite, this alternative is 41
                                                                                                                                                          to 12S times more likely to
                                                                                                                                                          cause a transportation
                                                                                                                                                          fatality than die selective
                                                                                                                                                          excavation approach - if
                                                                                                                                                          incineration is done onsite,
                                                                                                                                                          this alternative is 25 to 1 12
                                                                                                                                                          times more likely to cause a
                                                                                                                                                          transportation fatality than
                                                                                                                                                          die selective excavation
                                                                                                                                                          approach - depending on die
                                                                                                                                                          ultimate destination of die
                                                                                                                                                          ash, there would be between
                                                                                                                                                          12 and 38 accidents during
                                                                                                                                                          transport of die ash, which
                                                                                                                                                          leads to an expected number
                                                                                                                                                          of spills between .3 and 1.2
                                                                                                                                                          and an expected number of
                                                                                                                                                          fatalities between .2 and .9.
                                                      • Noise.                         *   Noise.                                                        •   Noise.
                                                      • Odor.                          • Odor.                                                           • Odor.
  - Protection of
    Workers during
    Remedial
    Actions
     • Risks to       • Occupational health and       • Will cause major               • Will cause major               • Usual occupation health and • Will cause major
       Workers          safety concerns associated      occupational health and          occupational health and          safety concerns for           occupational health and
                        with excavation are             safety risks associated with     safety risks associated with     construction projects.        safety risks associated with
                        minimized by limited            complete excavation as           complete excavation as                                         complete excavation as
                        excavation; meets OSHA          demonstrated in the trial        demonstrated in die trial                                      demonstrated in die trial
                        standards.                      excavation; OSHA standards       excavation; OSHA standards                                     excavation; OSHA standards
                                                        will be violated.                will be violated                                               will be violated.




* Information from the 1989 SROA.                                                          Exhibit 43
                                                                                             6037
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                       TREATMENT AND RCRA                  REDISPOSAL                        CONTAINMENT                           CLOSURE                       INCINERATION
                       EQUIVALENT CLOSURE

                         Limited sulfur dioxide, THT    Significant sulfur dioxide,     • Significant sulfur dioxide,                                     • Significant sulfur dioxide,
                         and hydrocarbon emissions      THT and hydrocarbon               THT and hydrocarbon                                               THT and hydrocarbon
                         emanating from the disturbed   emissions emanating from          emissions emanating from                                          emissions emanating from
                         tarry wastes.                  die disturbance of tarry and      die disturbance of tarry and                                      die disturbance of tarry and
                                                        asphaltic wastes; sulfur          asphaltic wastes; sulfur                                          asphaltic wastes; sulfur
                                                        dioxide levels during die trial   dioxide levels during die trial                                   dioxide levels during die trial
                                                        excavation were measured at       excavation were measured at                                       excavation were measured at
                                                        lethal levels.                    lethal levels.                                                    lethal levels.
                                                        Hydrocarbon and other air       • Hydrocarbon and other air                                       • Hydrocarbon and odter air
                                                        contaminants emanating            contaminants emanating                                            contaminants emanating
                                                        from die vehicles and             from die vehicles and                                             from die vehicles and
                                                        equipment operating in die        equipment operating in die                                        equipment operating in die
                                                        enclosure.                        enclosure.                                                        enclosure.
                      • Dangers from personal           Dangers from personal           • Dangers from personal             • Some personal protective    • Dangers from personal
                        protective equipment            protective equipment as           protective equipment as             equipment may be required     protective equipment as
                                                        experienced in die trial          experienced in die trial            during initial phases of      experienced in die trial
                                                        excavation.                       excavation.                         closure.                      excavation.
                         - Potential neat stress,       - Heat stress is a major           - Heat stress is a major                                          - Heat stress is a major
                           though less than other         concern due to die effects         concern due to die effects                                        concern due to die effects
                           excavation alternatives        of Level A PPE.                    of Level A PPE.                                                   of Level A PPE
                           because limited work in        Workers could be                   Workers could be                                                  Workers could be
                           enclosure and minimal          endangered when outside            endangered when outside                                           endangered when outside
                           use of Level A.                temperatures exceed 65 to          temperatures exceed 65 to                                         temperatures exceed 65 to
                                                          75°F.                              7S°F.                                                             75°F.
                                                           Emergency egress uOiii          - Emergency egress from                                           - Emergency egress from
                                                           die enclosure.                    die enclosure.                                                    die enclosure.
                                                        - Cumbersome personal              - Cumbersome personal                                             - Cumbersome personal
                                                          protective equipment               protective equipment                                              protective equipment
                                                          causes communication               causes communication                                              causes communication
                                                          problems, hampered                 problems, hampered                                                problems, hampered
                                                          mobility, poor visibility,         mobility, poor visibility,                                        mobility, poor visibility,
                                                          leading to accidents.              leading to accidents.                                             leading to accidents.
                                                        Potential for hydrocarbon      • Potential for hydrocarbon                                        • Potential for hydrocarbon
                                                        concentrations exceeding         concentrations exceeding                                           concentrations exceeding
                                                        explosive limits in die          explosive limits in the                                            explosive limits in the
                                                        excavation within die            excavation within die                                              excavation within die
                                                        enclosure.                       enclosure.                                                         enclosure.



* Information from the 1989 SROA.                                                       Exhibit 43
                                                                                          6038
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                        TREATMENT AND RCRA                    REDISPOSAL                       CONTAINMENT                        CLOSURE                       INCINERATION
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                      • Noise from operations.             Noise exposure from large         Noise exposure from large        Noise from operations.         Noise exposure from large
                                                           ventilation and equipment as      ventilation and equipment as                                    ventilation and equipment as
                                                           experienced in die trial          experienced in die trial                                        experienced in die trial
                                                           excavation.                       excavation.                                                     excavation.
                         Transportation accidents but      Transportation accidents.         Transportation accidents.        Transportation accidents.      Transportation accidents.
                         risks will be lower than
                                                           Trial excavation indicates        Trial excavation indicates                                      Trial excavation indicates
                         other alternatives involving
                                                           SO2 levels will exceed Level      SO2 levels will exceed Level                                    SO2 levels will exceed
                         total excavation.
                                                           B standards if total              B standards if total                                            Level B standards if total
                                                           excavation is done and hence      excavation is done and hence                                    excavation is done and hence
                                                           Level A protection will be        Level A protection will be                                      Level A protection will be
                                                           required                          requued                                                         required
                                                                                                                                                             Emissions in die material
                                                                                                                                                             storage building.
                                                                                                                                                             Heat exposure from die
                                                                                                                                                             incinerator and afterburner.
        Mitigation of • Workers will wear Level D    • Workers will have to wear             Workers will have to wear     • A site health and safety plan   Workers will have to wear
        Worker Risks    protection for auger work      Level A protection inside die         Level A protection inside die   will be developed               Level A protection inside die
                        and Level A for enclosure      enclosure (this will add to           enclosure (this will add to                                     enclosure (this will add to
                        work.                          die heat stress) based on die         die heat stress) based on die                                   die heat stress) based on die
                                                       results of die trial                  results of die trial                                            results of die trial
                      • Emissions will be controlled
                                                       excavation.                           excavation.                                                     excavation.
                        dirough an internal sled
                        shroud and a small redundant
                        outside enclosure for auger
                        work and a small enclosure
                        for backhoe work.
                      • Noise will be controlled by     • Noisereductiondevices will         Noisereductiondevices will                                      Noise reduction devices will
                        using appropriate noise           be used on die blowers - trial     be used on die blowers - trial                                  be used on die blowers - trial
                        control technology.               excavation indicates noise         excavation indicates noise                                      excavation indicates noise
                                                          levels would be dangerous to       levels would be dangerous to                                    levels would be dangerous to
                                                          workers and require ear            workers and require ear                                         workers and require ear
                                                          protection to be worn but ear      protection to be worn but ear                                   protection to be worn but ear
                                                          protection will further            protection will further                                         protection will further
                                                          hamper communication.              hamper communication.                                           hamper communication.




* Information from the 1989 SROA.                                                          Exhibit 43
                                                                                             6039
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                       TREATMENT AND RCRA                     REDISPOSAL                     CONTAINMENT                        CLOSURE                          INCINERATION
                       EQUIVALENT CLOSURE

                      • Transportation plans will be • Transportation plans will be     • Transportation plans will be • Transportation plans will be • Transportation plans will be
                        developed - risks will be less developed but risks will be        developed but risks will be    developed - risks will be less developed but risks will be
                        due to limited transportation. highest of all alternatives        high due to amount of          due to limited transportation. high due to amount of
                                                       due to amount of                   transportation required.                                      transportation required and
                                                       transportation required.                                                                         will increase further if ash is
                                                                                                                                                        disposed offsite.
                                                                                                                                                           • Metal shielding around
                                                                                                                                                             incinerator and afterburner.
     • Uncon-         • Limited heat stress.            • Heat stress.                  • Heat stress.                  • Limited heat stress.             • Heat stress.
       trollable
       Worker Risk
                                                        • Emergency egress.             • Emergency egress.                                                • Emergency egress.
                      • Very limited fire hazard        • Fire hazard                   • Fire hazard                                                      • Fire hazard.
                                                        • Exposuretotoxic               • Exposure to toxic                                                • Exposure to toxic
                                                          emissions.                      emissions.                                                         emissions.
                      • Usual health and safety         • Occupational health and       • Occupational health and       • Usual health and safety          • Occupational health and
                        concerns and special              safety concerns associated      safety concerns associated      concerns.                          safety concerns associated
                        concerns associated with          with total excavation and       with total excavation and                                          with total excavation and
                        limited excavation activities     special concerns due to die     special concerns due to die                                        special concerns due to die
                        within an enclosure.              enclosure.                      enclosure.                                                         enclosure.
                      • Earthquake - risk is low        • Earthquake - risk is high     • Earthquake - risk is high     • Earthquake - risk is low         • Earthquake - risk is high
                        during implementation and         during implementation and       during implementation and       during implementation and          during implementation and
                        post-implementation.              insignificant post-             low post-implementation.        post-implementation.               insignificant post-
                                                          implementation.                                                                                    implementation.
                      • Transportation risks;           • Transportation risks.         • Transportation risks.         •    Very limited transportation   • Transportation risks.
                        however, risks will be less                                                                         risks.
                        dian for odier excavation
                        alternatives because of die
                        limited amount of waste
                        requiring transport
     • Environ-       • Removal of vegetation.          • Removal of vegetation.        • Removal of vegetation.        • Removal of vegetation.           • Removal of vegetation.
       mental
       Impacts
                      • Potential increased SOj and     • Increased SO2 and             • Increased SO2 and                                                • Increased SO2 and
                        hydrocarbon emissions.            hydrocarbon emissions.          hydrocarbon emissions.                                             hydrocarbon emissions.



* Information from the 1989 SROA.                                                       Exhibit 43
                                                                                          6040
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                       TREATMENT AND RCRA                    REDISPOSAL                      CONTAINMENT                         CLOSURE                        INCINERATION
                       EQUIVALENT CLOSURE
                      • Truck traffic, construction   • Truck traffic, construction     • Truck traffic, construction     • Truck traffic, construction   • Truck traffic, construction
                        noise.                          noise.                            noise.                            noise.                          noise.
                                                                                                                                                          • Lights, maximum
                                                                                                                                                            equipment requirement leads
                                                                                                                                                            to noise during nighttime
                                                                                                                                                            incinerator operation.
                      • Wastewater discharge.         • Wastewater discharge.           • Wastewater discharge.                                           • Wastewater discharge.
                      . Odors.                        • Odors.                          • Odors.                                                          « Odors.
     • Mitigative     • United excavation by auger • Excavation under enclosure         • Excavation under enclosure                                      • Excavation under enclosure
       Measures         system widi steel shroud        and gas exhaust treatment         and gas exhaust treatment                                         and gas exhaust treatment
                        enclosure and redundant outer   systems to limit emissions;       systems to limit emissions;                                       systems to limit emissions
                        hood.                           however, unlikely to be           however, unlikely to be                                           however, unlikely to be
                      • United excavation under         effective based on results of     effective based on results of                                     effective based on results of
                        small enclosure.                trial excavation and may be       trial excavation and may be                                       trial excavation and may be
                                                        infeasible.                       infeasible.                                                       infeasible.
                      • Wastewater treatment          • Wastewater treatment -          • Wastewater treatment -                                          • Wastewater treatment -
                                                        disposal option                   disposal option                                                   disposal option
                                                        undetermined                      undetermined                                                      undetermined
                      • Limit activity to daytime,                                                                        • Limit activity to daytime,
                        weekdays.                                                                                           weekdays.
                                                                                                                                                          • Uncertain whether
                                                                                                                                                            unforeseen effects can be
                                                                                                                                                            mitigated because of use of
                                                                                                                                                            unproven technology.
     * Remaining      • Removal of vegetation.         • Removal of vegetation.         • Removal of vegetation.          • Removal of vegetation.        * Removal of vegetation.
       Impacts                                         • Increased SO2 and              • Increased SO2 and                                               • Increased SO2 and
                                                         hydrocarbon emissions.           hydrocarbon emissions.                                            hydrocarbon emissions.
                                                       • Truck traffic.                                                                                   • Truck traffic.
                                                                                                                                                          • Lights, noise during
                                                                                                                                                            nighttime.
                                                       • Odors.                         • Odors.                                                          • Odors.




* Information from the 1989 SROA.                                                         Exhibit 43
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                         TREATMENT AND RCRA                   REDISPOSAL                      CONTAINMENT                         CLOSURE                        INCINERATION
                         EQUIVALENT CLOSURE
  - Time Until      • From 42 to 48 months.            • From 33 to 69 months,*          • From 46 to 70 months.*
                                                                                                            • From 24 to 30 months,* die • From 63 to 94 months,*
    Remedial Action                                      probably longer based on          probably longer based on
                                                                                                              shortest implementation      probably longer. The
    Objectives are                                       trial excavation - could take     trial excavation - could take
                                                                                                              time.                        longest implementation
    Achieved                                             as long as 16 to 21 years.        as long as 16 to 21 years.                      time; based on trial
                                                                                                                                           excavation plus unsuccessful
                                                                                                                                           trial burn could take 16 to
                                                                                                                                           21 years or longer.
     • Time Until      • Notimefor implementation • No remaining ducats unless • Noremainingthreats unless • No time for implementation • SROA did not address
       Remaining         of any potentially needed  all contaminated materials   all contaminated materials   of any potentially needed    arsenic and heavy metal
       Threats           medial resmnse has been    cannot be excavated          cannot be excavated.         remedial response has been   dispersion into die
       Addressed         determined nor is any                                                                determined nor is any        community during
                         icrmtiai reannse                                                                     remedial response            incineration; uncertain how
                         anticipated                                                                          anticipated.                 or when these problems will
                                                                                                                                           be addressed or how long it
                                                                                                                                           will take it to address diem.
                                                                                                                                                          • Assumed no remaining
                                                                                                                                                            threats unless all
                                                                                                                                                            contaminated materials
                                                                                                                                                            cannot be excavated.
     * Time Until      • Noremainingresponse           » No remaining response           • Noremainingresponse             • Noremainingresponse          • No remaining response
       Remaining         unless further studies and      unless further studies and        unless further studies and        unless further studies and     unless further studies and
       Response          monitoring show die actual      monitoring show die actual        monitoring show die actual        monitoring show die actual     monitoring show die actual
       Objectives        contamination of ground         contamination of ground           contamination of ground           contamination of ground        contamination of ground
       Achieved          waters.                         waters.                           waters.                           waters.                        waters.
• Implementability
   - Technical
     Feasibility
      • Difficulties                                 • Special enclosure required * Special enclosure required                                            • Special enclosure required
        Associated   • SOj scrubber system design. » SO2 scrubber system must • SO2 scrubber system must                                                  • SO2 scrubber system must
        With                                           be designed for worst-case      be designed for worst-case                                           be designed for worst-case
        Construction                                   condition corresponding to      condition corresponding to                                           condition corresponding to
                                                       peak concentrations based on    peak concentrations based on                                         peak concentrations based on
                                                       results of die trial            results of die trial                                                 results of die trial
                                                       excavation.                     excavation.                                                          excavation.
                     • Installation of crib walls on • Installation of crib walls on • Installation of crib walls on • Installation of crib walls on      • Installation of crib walls on
                       exterior slopes.                exterior slopes.                exterior slopes.                exterior slopes.                     exterior slopes.



* Information from the 1989 SROA.
                                                                                            Exhibit 43
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                         Movement of excavation          Movement of excavation            Movement of excavation                                            Movement of excavation
                         enclosure and adjustments       enclosure and adjustments.        enclosure and adjustments.                                        enclosure and adjustments.
                         and coordinated movement of
                         inner and outer shroud during
                         solidification process.
                         Excavation technology is        Excavation technology - a       • Excavation technology - a                                      • Excavation technology - a
                         available for das approach.     critical aspect of this           critical aspect of this                                          critical aspect of this
                                                         alternative - is uncertain and    alternative - is uncertain and                                   alternative - is uncertain and
                                                         failed during trial excavation.   failed during trial excavation.                                  failed during trial excavation.
                      • Will require ventilation and     Adequate ventilation and    • Adequate ventilation and                                           • Adequate ventilation and
                        exhaust system, but system       exhaust gas treatment         exhaust gas treatment                                                exhaust gas treatment
                        will be smaller.                 system will be unwieldy and   system will be unwieldy and                                          system will be unwieldy and
                                                         costly.                       costly.                                                              costly.
                                                                                                                                                          • Rotary kiln did not prove
                                                                                                                                                            successful on McColl
                                                                                                                                                            materials in Ogden test burn
                                                                                                                                                            and further studies needed
                                                         Shoring or sheet piling of     • Shoring or sheet piling of                                      • Shoring or sheet piling of
                                                         side walls - die trial           side walls - die trial                                            side walls - die trial
                                                         excavation left unanswered       excavation left unanswered                                        excavation left unanswered
                                                         several questions related to     several questions related to                                      several questions related to
                                                         die feasibility of these         die feasibility of these                                          die feasibility of these
                                                         technologies.                    technologies.                                                     technologies.
                                                         Small enclosure may not        • Small enclosure may not                                         • Small enclosure may not
                                                         accommodate equipment            accommodate equipment                                             accommodate equipment
                                                         needed for total excavation.     needed for total excavation.                                      seeded for total excavation.
                         Mobilization/demobiHzation      Mobilization/demobilization • Mobilization/demobilization                                        • Mobilization/demobilization
                         of temporary enclosure          of enclosure during           of enclosure during                                                  of enclosure during
                         during construction.            construction, irregular sump  construction, irregular sump                                         construction, irregular sump
                                                         boundaries make complete      boundaries make complete                                             boundaries make complete
                                                         enclosure difficult           enclosure difficult                                                  enclosure difficult
                         Earthquake protection needed    Earthquake protection needed • Earthquake protection needed         Earthquake protection needed • Earthquake protection needed
                         during implementation - risk    during implementation - risk   during implementation - risk         during implementation - risk   during implementation - risk
                         posed is low and proven         posed is high.                 posed is high.                       posed is low.                  posed is high.
                         technology exists.




* Information from the 1989 SROA.                                                          Exhibit 43
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                                                                                       • May be difficult to fit
                                                                                         containment cell, excavation
                                                                                         staging area onsite for
                                                                                         maximum projected waste/
                                                                                         soil volume.
                                                       • Alternative to protective     • Alternative to protective                         • Alternative to protective
                                                         foam will be required for       foam will be required for                           foam will be required for
                                                         emission control since          emission control since                              emission control since
                                                         foams failed in trial           foams failed in trial                               foams failed in trial
                                                         excavation.                     excavation.                                         excavation.
  -   Uncertainties   • SOj, H2S and hydrocarbon       • SO2, II2S and hydrocarbon • SOa. H2$ and hydrocarbon                              • SO2, H2$ and hydrocarbon
      Related to        emission rates.                  emission rates but             emission rates but                                   emission rates but
      Construction                                       anticipated to be extremely    anticipated to be extremely                          anticipated to be extremely
                                                         high based on results of trial high based on results of trial                       high based on results of trial
                                                         excavation.                    excavation.                                          excavation.
                                                       • Difficulty of constructing    • Difficulty of constructing                        • Difficulty of constructing
                                                         effective excavation            effective excavation                                effective excavation
                                                         enclosure.                      enclosure.                                          enclosure.
                                                       • Inability to meet air         • Inability to meet air                             • Inability to meet air
                                                         emissions requirements for      emissions requirements for                          emissions requirements for
                                                         exhaust gases based on          exhaust gases based on                              exhaust gases on enclosure
                                                         results of the trial            results of die trial                                and incinerator (based on
                                                         excavation.                     excavation.                                         results of die trial
                                                                                                                                             excavation).
                      • Volume of waste to be          • Volume of wastes and soils    • Volume of wastes and soils                        • Volume of wastes and soils
                        selectively excavated is not     to be excavated is unknown.     to be excavated is unknown.                         to be excavated is unknown.
                        definitively known at this
                        time.
                                                       • Ability to excavate tar and   • Ability to excavate tar and                       • Ability to excavate tar and
                                                         asphaltic waste - materials     asphaltic waste - materials                         asphaltic waste - materials
                                                         handling will be complex        handling will be complex                            handling will be complex
                                                         and may exacerbate risks        and may exacerbate risks                            and may exacerbate risks
                                                         based on die results of die     based on die results of die                         based on die results of die
                                                         trial excavation.               trial excavation.                                   trial excavation.




* Information from die 1989 SROA.                                                         Exhibit 43
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                       EQUIVALENT CLOSURE
                                                     • There is insufficient         • There is insufficient                                          • There is insufficient
                                                       information to allow scaling    information to allow scaling                                     information to allow scaling
                                                       up of die trial excavation to   up of die trial excavation to                                    up of die trial excavation to
                                                       a full-scale excavation.        a full-scale excavation.                                         a full-scale excavation.
                                                     • Availability of offsite       • Effectiveness of bags to                                       • Availability of offsite
                                                       disposal
                                                          t      capacity
                                                                 »™i™™V is             control emissions while                                          disposal capacity is
                                                       unknown.                        filling containment cell is                                      unknown.
                                                                                       unknown.
                     • Selective excavation and in * Excavation rates unknown -      • Excavation rates unknown -                                     • Excavation rates unknown -
                       situ treatment rates unknown   could take 16 to 21 years        could take 16 to 21 years                                        could take 16 to 21 years
                       but completion of remedy       based on die results of die      based on die results of die                                      based on die results of die
                       estimated to be in four yean   trial excavation.                trial excavation.                                                trial excavation.
                       or less.
  - Reliability That                                • Exhaust gas treatment          • Exhaust gas treatment                                          • Exhaust gas treatment
    Technology Will                                   system has not been              system has not been                                              system has not been
    Meet Efficiency                                   designed to address die          designed to address die                                          designed to address die
    and Performance                                   problems experienced in die      problems experienced in die                                      problems experienced in die
    Goals                                             trial excavation.                trial excavation.                                                trial excavation.
                      • Emission control systems
                        effectively and reliably
                        minimize inhalation risks.
                      • Capping is a demonstrated                                    • Capping is a demonstrated       • Capping is a demonstrated    • High sulfur and ash content
                        reliable metiiod of                                            reliable mediod of                reliable mediod of             of waste materials makes
                        preventing direct exposure                                     preventing direct exposure        preventing direct exposure     reliability of incinerator and
                        tiireats.                                                      threats.                          threats.                       emissions control equipment
                                                                                                                                                        questionable.
                      • Design life of remedy is     • Design life of remedy is      • Design life of remedy is        • Design life of remedy is     • Variability of waste
                        expected to be at least        based on care exercised by      expected to be at least           expected to be at least        characteristics and other
                        30 years.                      offsite disposal facility.      30 years.                         30 years.                      constituents may cause
                                                                                                                                                        incinerator shutdown, and
                                                                                                                                                        require extensive
                                                                                                                                                        pretreatment and handling.




* Information from the 1989 SROA.                                                      Exhibit 43
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                       TREATMENT AND RCRA                     REDISPOSAL                   CONTAINMENT                      CLOSURE                       INCINERATION
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     Likelihood of       Because of use of proven      • Exceedance of air emissions     Exceedance of air emissions                                    Exceedance of air emissions
     Technical           technologies, delays appear     limits likely to delay          limits likely to delay                                         limits likely to delay
     Problems            unlikely, but predesign         implementation based on         implementation based on                                        implementation based on
     Leading to          activities may uncover          results of die trial            results of die trial                                           results of the trial
     Delays              issues needing further          excavation.                     excavation.                                                    excavation.
                         analysis, leading to some
                         delays.
                                                       •   Buildup of flammable or       Buildup of flammable or                                        Buildup of flammable or
                                                           explosive gases in die        explosive gases in die                                         explosive gases in die
                                                           sumps may delay               sumps may delay                                                sumps may delay
                                                           implementation.               implementation.                                                implementation.
                      • Excavation rates from trial    • Excavation rates from trial     Excavation rates from trial                                    Excavation rates from trial
                        excavation indicate              excavation indicate total       excavation indicate total                                      excavation indicate total
                        completion of remedy in          excavation will take 16 to      excavation will take 16 to                                     excavation will take 16 to
                        four years or less.              21 years.                       21 years.                                                      21 years.
                      * Potentially difficult working • Difficult working conditions     Difficult working conditions                                   Difficult working conditions
                        conditions around shroud        associated with personal         associated with personal                                       associated with personal
                        area, but activities are        protective equipment             protective equipment                                           protective equipment
                        United in duration.             (e.g., neat stress) as           (e.g., heat stress) as                                         (e.g., heat stress) as
                                                        demonstrated in die trial        demonstrated in die trial                                      demonstrated in die trial
                                                        excavation - workers could       excavation — workers could                                     excavation - workers could
                                                        only be expected to work IS      only be expected to work IS                                    only be expected to work IS
                                                        minutes per hour due to          minutes per hour due to                                        minutes per hour due to
                                                        health monitoring and rest       health monitoring and rest                                     health monitoring and rest
                                                        requirements.                    requirements.                                                  requirements.
                                                       • Timerequiredtomove waste        Time required to move waste                                    Time required to move waste
                                                         and equipment in and out of     and equipment in and out of                                    and equipment in and oat of
                                                         enclosure.                      enclosure.                                                     enclosure.
                                                                                                                                                        Waste feed handling
                                                                                                                                                        equipment problem may
                                                                                                                                                        cause delays.
                      • Odors should be controllable       Odors from disturbed waste    Odors from disturbed waste     No odors will be emitted if     Odors from disturbed waste
                        due to United excavation.          cause nuisance requiring      cause nuisance requiring       die wastes are not disturbed.   cause nuisance requiring
                                                           abatement as experienced by   abatement as experienced by                                    abatement as experienced by
                                                           residents during die trial    residents during die trial                                     residents during die trial
                                                           excavation.                   excavation.                                                    excavation.




* Information from die 1989 SROA.                                                         Exhibit 43
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                          TREATMENT AND RCRA                       REDISPOSAL                       CONTAINMENT                         CLOSURE                        INCINERATION
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                                                            •   Noise from activities may    •   Noise from activities may                                       •   Noise from activities may
                                                                require abatement or             require abatement or                                                require abatement or
                                                                additional design.               additional design.                                                  additional design.
  - Anticipated          • No future surface remedial       • No future surface remedial     • No future surface remedial       • No future surface remedial     • Ground water monitoring.
    Future Remedial        actions appear necessary at        actions appear necessary at      actions appear necessary at        actions appear necessary at      and perhaps remedial
    Actions                this time. Groundwater             distune. Groundwater             this time. Ground water            this time. Groundwater           measures, may be needed
                           monitoring and perhaps             monitoring, and perhaps          monitoring, and perhaps            monitoring, and perhaps
                           remedial measures, may be          remedial measures, may be        remedial measures, may be          remedial measures, may be
                           needed                             needed                           needed                             needed
  -   Difficulty of      •   Not difficult to implement     • Not difficult to implement     •   Not difficult to implement     • Not difficult to implement     •   Not difficult to implement
      Implementing           additional remedial actions.     additional remedial actions,       additional remedial actions.     additional remedial actions.       additional remedial actions.
      Additional             unless such actions require      unless any additional              unless any additional            unless such actions require        unless any additional
      Remedial               excavation.                      contaminated materials             contaminated materials           excavation.                        contaminated materials
      Actions                                                 require excavation.                require excavation.                                                 require excavation; treatment
                                                                                                                                                                     of ash if it remains
                                                                                                                                                                     hazardous.
      Migration or       • No migration or exposure         • No migration or exposure       • No migration or exposure         •   No migration or exposure     • Migration or exposure
      Exposure             padiways exist that cannot         padiways exist that cannot       pathways exist that cannot           padiways exist that cannot     padiways for dispersion of
      icMllwnya  AIHU
      PjlthwAVft TIlAi     be monitored adeQiiately.          be monitored adequately.         be monitored adequately.             be monitored adequately.       arsenic diroughout
      Cannot Be                                                                                                                                                    community from incinerator
      Monitored                                                                                                                                                    emissions difficult, if not
      Adequately                                                                                                                                                   impossible, to monitor.
  -   Risks of           • Gaseous emissions and odors • No monitoring required.             • Gaseous emissions and odors • Gaseous emissions and odors • Inhalation of arsenic from
      Exposure if          from die remaining            unless all contaminated               from die remaining            from die remaining            incinerator emissions.
      Monitoring is        materials.                    materials cannot be                   materials.                    materials.
      Insufficient or                                    excavated
      Fails
                                                                                                                                                                 • Ingestion of arsenic
                                                                                                                                                                   particulates from various
                                                                                                                                                                   sources.
                                                                                             • Potential for contamination                                       • Potential arserac and heavy
                                                                                               of soils if double liner and                                        metal contamination of
                                                                                               monitoring system fail and                                          ground waters if onsite ash
                                                                                               materials require excavation.                                       disposal alternated is
                                                                                                                                                                   implemented.




* Information from die 1989 SROA.
                                                                                                 Exhibit 43
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                         TREATMENT AND RCRA                    REDISPOSAL                     CONTAINMENT                       CLOSURE                      INCINERATION
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                        • Potential ground water         • No risks from padiways       • Potential for ground water   • Potential for ground water   * If all contaminated materials
                          contamination.                   addressed in die SROA but if   contamination.                 contamination.                 cannot be excavated or if ash
                                                           all contaminated materials                                                                   remains onsite, potential
                                                           cannot be excavated.                                                                         ground water contamination.
                                                           potential ground water
                                                           contamination.
• Administrative
  Feasibility
   - Steps Required     • Development and approval       • Development and approval     • Development and approval                                    * Development and approval
     to Coordinate        of a transportation plan.        of a transportation plan.      of a transportation plan.                                     of a transportation plan for
     With Other                                                                                                                                         any offsite transportation
     Agencies                                                                                                                                           activities.
                        • SARWQCB Discharge              • SARWQCB Discharge            • SARWQCB Discharge            • SARWQCB Discharge            • SARWQCB Discharge
                          Permit                           Permit,                        Permit                         Permit.                        Permit.
                        • SCAQMD Air Emissions           • SCAQMD Air Emissions         • SCAQMD Air Emissions         • SCAQMD Air Emissions         • SCAQMD Air Emissions
                          Permit                           Permit                         Permit                         Permit.                        Permit.
                        • CSDOC Sewer Discharge          • CSDOC Sewer Discharge        • CSDOC Sewer Discharge        • CSDOC Sewer Discharge        • CSDOC Sewer Discharge
                          Permit                           Permit                         Permit                         Permit                         Permit.
                        • EPA Hazardous Waste            • EPA Hazardous Waste                                                                        • EPA Hazardous Waste
                          Generator Identification         Generator Identification                                                                     Generator Identification
                          Number.                          Number.                                                                                      Number.
   -   Steps Required  • Planning activities under • Planning activities under • Planning activities under • Planning activities under • Planning activities under
       to Set Up Long-   SARA Tide HL                SARA Tide III.              SARA Tide III.              SARA Tide III.              SARA Tide HI.
       Term            * Long-term air monitoring  • Lone-term air monitoring  • Long-term air monitoring  • Long-term  air monitoring • Long-term air monitoring
       Coordination      coordination with SCAQMD    coordination with SCAQMD    coordination with SCAQMD    coordination with SCAQMD    coordination with SCAQMD
       With Other        during implementation of    during implementation of    during implementation of    during implementation of    during implementation of
       Agencies          remedy.                     remedy.                     remedy.                     remedy.                     remedy.
                       • Ground water monitoring.  • Ground water monitoring.  • Ground water monitoring.  • Ground water monitoring.  • Ground water monitoring.
   - Availability of    • Permits should be available    • RCRA land disposal                                                                         • RCRA land disposal
     Permits for Off-     for limited waste excavation     restrictions may prevent                                      ,                              restrictions may prevent
     Site Activities      activities.                      redisposal.                                                                                  redisposal of ash or require
                                                                                                                                                        further treatment




* Information from the 1989 SROA..
                                                                                            Exhibit 43
                                                                                              6048
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                        TREATMENT AND RCRA                   REDISPOSAL                         CONTAINMENT                    CLOSURE                        INCINERATION
                        EQUIVALENT CLOSURE

  Availability of
  Services and
  Materials
  - Availability of      Capacity is available at         Capacity may not be                 Adequate capacity will be    Adequate treatment, storage,   Uncertain whether
     Adequate            Class I landfill.                available at Class I landfill.      constructed onsite.          and disposal capacity and      incinerator capacity or
     Treatment,                                                                                                            services are not needed        capability exists to undertake
     Storage, and                                                                                                                                         task.
   ' Disposal                                                                                                                                             Capacity for ash disposal
    Capacity and                                                                                                                                          will be constructed onsite if
     Services                                                                                                                                             that is die option chosen;
                                                                                                                                                          otherwise, Class I disposal
                                                                                                                                                          facility will be needed.
     Additional          Approximately 5,440 to        • 97,100 to 265,800 cubic           • 97,100 to 139,500 cubic       Additional capacity is not     At least 207,000 tons of
     Capacity Needed     9,070 cubic yards.              yards-                              yards.*                       needed                         ash/sludge.
                         Lack of capacity does not     • United available capacity         • United available capacity     Lack of capacity does not      Lack of capacity probably
                         prevent implementation.         will affect implementation.         will affect implementation.   prevent implementation.        prevents implementation.
     Measures            Permitting offsite TSD        • Permitting offsite TSD            • Permitting offsite TSD        No measures required to        Probably permitting of
     Required to         facility.                       facility.                           facility.                     assure additional capacity.    offsite TSD facility.
     Assure die          Treatment of wastes to        • Treatment of wastes to            • Treatment of wastes, to                                      If ash remains hazardous,
     Additional          eliminate reactivity,           eliminate reactivity,               eliminate reactivity,                                        treatment mil be required
     Capacity            corrosivity. EP Toxicity.       corrosivity. EP Toxicity.           corrosivity, EP Toxicity.
     Availability of     Auger system is generally     • Specialty enclosure and           • Specialty enclosure and       No special equipment is        Specialty enclosure and
     Necessary           available - specialty           emission control system is          emission control system is    needed                         emission control system is
     Equipment and       enclosures are required but     needed for excavation of            needed for excavation of                                     needed for excavation of
     Specialists         much smaller.                   sumps.                              sumps.                                                       sumps.
                         Some modification of         • Specialty equipment required • Specialty equipment required                                       Specialty equipment required
                         existing specialty equipment   for deep excavation; may       for deep excavation; may                                           for deep excavation; may
                         is needed for in situ          require special prototype      require special prototype                                          require special prototype
                         treatment and selective        manufacture.                   manufacture.                                                       manufacture.
                         excavation.                                                                                                                      Specialty materials handling,
                                                                                                                                                          trains, with air emissions
                                                                                                                                                          control, are required




* Information from die 1989 SROA.
                                                                                             Exhibit 43
                                                                                               6049
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                        TREATMENT AND RCRA                    REDISPOSAL                    CONTAINMENT                        CLOSURE                        INCINERATION
                        EQUIVALENT CLOSURE
  - Additional       • Specialty excavation          • Specialty excavation            • Specialty excavation           • No special equipment is       • Specialty excavation
    Equipment and      containment structures.         containment structures.           containment structures.          needed                          containment structures.
    Specialists      • Special enclosures for die in
    Requirements       situ treatment unit
  - Lack of          • None.                         • If an effective enclosure       • If an effective enclosure      • None.                         • If an effective enclosure
    Equipment and                                      structure cannot be               structure cannot be                                               structure cannot be
    Specialists That                                   constructed and air handling      constructed and air handling                                     constructed and air handling
    Prevent                                            system designed dris              system designed dns                                               system designed, this
    Implementation                                     alternative cannot be             alternative cannot be                                            alternative cannot be
                                                       implemented                       implemented                                                      implemented.
                                                                                                                                                        • If incinerator emission
                                                                                                                                                          controls cannot meet
                                                                                                                                                          applicable (e.g., As, SO2
                                                                                                                                                          and NOi) standards, this
                                                                                                                                                          alternative cannot be
                                                                                                                                                          implemented unless an
                                                                                                                                                          ARAR waiver applies.
  - Additional       • None.                               • No additional provisions can • No additional provisions can « None.                        • No additional provisions can
    Provisions                                               be taken if die enclosure      be taken if die enclosure                                     be taken if die enclosure
    Required to                                              structure is technically       structure is technically                                      structure is technically
    Ensure Needed                                            infeasible.                    infeasible.                                                   infeasible.
    Equipment and                                                                                                                                       • Uncertain if additional APC
    Specialists                                                                                                                                           equipment is technically
                                                                                                                                                          feasible.
  - General          - All technologies eoRside?ed • Extensive excavation within • Extensive excavation within • All technologies considered • Extensive excavation within
    Availability and   are generally available and           an enclosure is unique,        an enclosure is unique,        are generally available and    an enclosure is unique,
    Demonstration      nave neen
                       k*MA  |MM« oemonsinucQ       to tlf
                                  jl»,,UMlalp algal t*» ne   complex and a technology       complex and a technology       have been demonstrated to be   complex and a technology
    of Technologies    effective.                            dial is unproven and not       dial is unproven and not       effective.                     dial is unproven and not
    Under                                                    generally available.           generally available.                                          generally available.
    Consideration
                                                           • Air emissions control        • Air emissions control                                       • Air emissions control
                                                             devices of this size and       devices of dns size and                                       devices of this size and
                                                             complexity will be specially   complexity will be specially                                  complexity will be specially
                                                             constructed; they are not      constructed; they are not                                     constructed; they are not
                                                             generally available and are    generally available and are                                   generally available and are
                                                             probably not feasible.         probably not feasible.                                        probably not feasible.



* Information from the 1989 SROA.                                                          Exhibit 43
                                                                                             6050
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                                                      • Use of Level A PPE for         • Use of Level A PPE for                                           • Use of Level A PPE for
                                                        extended periods of time         extended periods of time                                           extended periods of time
                                                        under conditions anticipated     under conditions anticipated                                       under conditions anticipated
                                                        during a full scale excavation   during a full scale excavation                                     during a full scale excavation
                                                        would be unprecedented           would be unprecedented                                             would be unprecedented
   - Technologies     • Ail equipment is available.   • Gas emissions treatment        • Gas emissions treatment          • All equipment is available.   • Gas emissions treatment
     That Require                                       systems must be designed         systems must be designed.                                          systems must be designed.
     Further          • Feasibility studies may be    « Excavation equipment           • Excavation equipment                                             • Excavation equipment
     Development        required to fully optimize
     Before They Can                                  • Operator protection.           • Operator protection.                                             • Operator protection.
     Be Applied Fall-                                                                                                                                     • Another test bum is required
     Scale                                                                                                                                                  to demonstrate this
                                                                                                                                                            technology which failed in
                                                                                                                                                            die Ogden test bum.
                                                                                                                                                          • Gaseous emissions treatment
                                                                                                                                                            systems and materials
                                                                                                                                                            handling equipment and
                                                                                                                                                            structures need to be
                                                                                                                                                            fabricated.
   - Availability of   • In situ treatment unit       • Enclosure will have to be      • Enclosure will have to be                                        • Enclosure will have to be
     Technology For      enclosures will require        fabricated                       fabricated                                                         fabricated
     Full-ScaleUse       fabrication.
   - More Than One     • More titan one vendor will   * More than one vendor will      • More than one vendor will        • More than one vendor will     • More than one vendor will
     Vendor              be available to provide a      be available to provide a        be available to provide a          be available to provide a       be available to provide a
     Available to        competitive bid.               competitive bid.                 competitive bid                    competitive bid.                competitive bid.
     Providem
     Competitive Bid
• Cost Effectiveness
   - Capital Costs     • $46.723,000 to $58,968,000 • $76,178,000*                     • $76,011,000*                     • $11,612,000*                  • $117,044,000 to
                                                                                                                                                            $172,717,000*
   - Operations and    • $19.800.000                  • $0*                            • $8,930,000*                      • $10375,000*                   • $0 to $7,162,000*
     Maintenance
     (@ i = 5%)
     (t = 30 years)




* Information from the 1989 SROA.                                                         Exhibit 43
                                                                                            6051
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                          EQUIVALENT CLOSURE

    - Total Cost         • $50,008,000 to $62,248,000 • $76,000,000 to                        • $85,000,000 to                  • $22,000,000*                    • $120.000,000 to
      (Present Worth)                                   $170.000,000*                           $170,000.000*                                                       $400,000,000*
    -   Sensitivity of   • Reliable based on                • High: Cost can be 2.2           • High: Cost can be double        •   No sensitivity to assumed     • High: Cost can be 3.3
        Costs to           information known to date.         times die low cost                die low cost estimate.              conditions.                     times die low cost
        Assumed
        Conditions
                         * Sensitive to the volume of       » Sensitive to amount of          • Sensitive to die amount of      •   Most specific, least sensitive • Sensitive to:
                           waste types identified in ore-     material excavated, distance      material to be excavated and        to assumptions.                  - excavation difficulty
                           design.                            to disposal facility, fee for     emission control system.                                             - amount of excavated
                                                              disposal and emission                                                                                     material
                                                              control system.                                                                                        - ash disposal
                                                                                                                                                                     - final design
                                                                                                                                                                     - emission control system
                                                                                                                                                                  • Least specific and reliable.
BALANCING CRITERIA
• State Acceptance       • Unknown                          • The State considered diis       • The State considered this       • The State considered this       • The State expressed a
                                                              alternative in die 1989 Draft     alternative in die 1989 Draft     alternative in die 1989 Draft     preference for dns alternative
                                                              RAP.                              RAP.                              RAP.                              in the 1989 Draft RAP.

•   Community            • Anticipated                      • Public commentsreceivedin • Public comments received in • Public comments received in * Over 50% of die individuals
    Acceptance             - 89 interested persons in         response to SROA nixed,     response to SROA nixed,       response to SROA favored        who submitted comments on
                              community signed a              but appears to be lacking   but appears to be lacking     this alternative over all other die SROA specifically
                              petition supporting             support                     support                       alternatives identified in      opposed this alternative.
                              closure, die majority of                                                                  SROA.                           Given die unsuccessful
                              whom live in die                                                                                                          Ogden test burn and die
                              neighborhood                                                                                                              unsuccessful trial
                              immediately adjacent to                                                                                                   excavation, it is anticipated
                              die site.                                                                                                                 that even greater opposition
                           - Interested persons in                                                                                                      to an incinerator could be
                              community met with                                                                                                        expected today.
                              Congressman
                              Dannemeyer on
                              December 17, 1990 to
                              discuss tins approach.

* Information from die 1989 SROA.




90-336A (12/12/91/mh)                                                                           Exhibit 43
                                                                                                  6052
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                                   Exhibit 43
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                                 10.0 ARAR ANALYSIS
1. Tables 10.1 and 10.2 provide a comprehensive listing of each of the individual
   Federal and State/Local ARARs, respectively, based on a thorough evaluation of data
   provided in the SROA, the MSG comments to the SROA, and an evaluation of each regulation
   in relationship to the specific activities to be included in the recommended alternative.

2. The ARARs provided in this section are assigned one of the following categories:
   •   An "applicable" ARAR refers to those cleanup standards, standard!; of
       control, and other substantive environmental protection requirements,
       criteria, or limitations promulgated under federal or state law that
       specifically address a hazardous substance, pollutant, contaminant,
       remedial action, location, or other circumstance at a Comprehensive
       Environmental Response, Compensation, and Liability Act of 1980
       (CERCLA) site, (Office of Solid Waste and Emergency Response
       [OSWER] Directive No. 9234.0-05, July 9,1987).
   •   A "relevant and appropriate" ARAR refers to cleanup standards, standards
       of control, and other substantive environmental protection requirements,
       criteria, or limitations promulgated under federal or state law that, while
       not "applicable" to a hazardous substance, pollutant, contaminant,
       remedial action, location, or other circumstance at a CERCLA site,
       address problems or situations sufficiently similar to those encountered at
       the CERCLA site that their use is well suited to the particular site
       (OSWER Directive No. 9234.0-05, July 9, 1987).
       "To Be Considered" (TBC) ARARs apply where ARARs are not
       promulgated for specific contaminants, locations, or remedial actions,
       or are not considered sufficiently protective of human health and the
       environment, and other criteria and advisories (particularly those that are
       health- or risk-based) are to be considered. Such additional criteria or
       advisories should be considered in all remedial studies when appropriate.

    The ARARs are subdivided into contaminant-specific, location-specific, and action-specific
    categories on each of the tables. Contaminant-specific requirements set health- or risk-based
    concentration limits or discharge limitations on specific chemicals. Location-specific
    requirements are restrictions placed on activities due to their particular locations (e.g., flood
    plains, faults, etc.). Action-specific requirements are performance, design, or other similar
    criteria related to remedial action.

3. Special evaluations will be required throughout the predesign and design phases of the project
   to determine the appropriateness of the last two categories for specific site conditions and
   remediation techniques. It is possible that some of these ARARs will be found to not actually
   be appropriate for the site specific conditions.




                                               Exhibit 43
                                                 6054
                                    Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 203 of 327 Page ID
                                                                       #:6098

                                                                                                             TABLE 10.1

                                                                                                        FEDERAL ARARs
                                                                  .    .                                                                                                                                                       Pise 1 of 9
                                                                                                       COMMENTS                                                                            Arm-           RELEVANT            TO IE
        REQUIREMENTS                                                                                                                                                                       CABLE           AND              CONSIDERED
                                                            REQUIREMENTS AND CRITERIA                                           REMEDIATION ELEMENTS AFFECTED                                           APmoritlATK


                                                                                                  CONTAMINANT SPECIFIC

       4* CFR P»rt M*        The remedy (election portions of the NCP (300-430) require certain contaminant                     These provisions are applicable to the remedy
  Nation*! Oil and Hazard*** specific enteric lo be established such is acceptable exposure levels for systemic                 selected for the site.
    Substances Pollution                                                                                                                                                                     •
   Contingency Pica (NCP) risks lo an individual arc requred to be between ID"4 and tO*. (A more complete
                             discussion of the NCP requirement is provided under the Action Specific ARARs).
  The Resource Conservation                                                                                                     The requirements of this act resulted in criteria for
  and Recover* Act at I»7t            and let the regulation of the management of hazardous waste. Section 3001 of the          identifying excavated wastes and controlled                  •
    (RCRA) (42 USC <M1                ad requires that criteria be developed for the identification of the characteristics of   emissions at the McColl site.
            •t. s«q.)                 hazardous waste, and far fating hazardous waste, which should be subject to the
    Srttlllc C - HaxardoM
      Watte Management                following regulation. (Additional discussion of RCRA is provided wider the Act km
                                      Specific ARARs)
       41 CFR Part Ml
   Identification and Listing
      •T HaurdwM Wwte
           SvbpanC                    A tofid waste m * huw&ms waste if it exhibits any of the characteristics identified in    The wastes that are affected by these regulations
  Otanckrislicof Hanrdovi Waste       Sobpsri C A partiil listing of Die criteria that ere applicable lo the McColl wastes      include the excavated arsenic-contaning and seep
  261.21 Chararteristicof             includes rttefotlowBg:                                                                    area material, controlled emissions, emission               •                 •

         Ignitability                                                                                                           control residue, and decontaminated solids and             OTfsite     Site clotun and
                                      CflfyyyLyyfoyi                                                                                                                                     dispowl or           the
                                                                                                                                liquids resulting from excavation and onsite
  261.22 Characteristic of            pH               £2                                                                       treatment                                               treatment of   itiaiugeiiiciit of
         Corrosivity                                                                                                                                                                      hazardous          onsite
  261.23 Characteristic of            Tmlritp rtanctfria'KtW                                                                                                                               wanes           hazardous
         Reactivity                                                                                                                                                                                        excavalad
                                      As            S.Ont/L
                                                                                                                                                                                                           wastes and
  261.24 Toxidty Characteristic       Ba          100.0 mi/J,                                                                                                                                              controlled
                                      Benzene       0.5 mg/L                                                                                                                                               (millions
                                      Cd            1.0 mg/L
                                      Cr            5.0 mg/L
                                                                                                                                         •         t t. f~t  JI-A       !.*•
         Clean Air Act                TMe I (Air Pblhuion Prevention and Control) of the Chan Aw Act encoorages and
      (41 USC 74tl-7<41)              assists Ac development and operation «f regional air pollution programs, including die the establishment of the South Coast Air Quality
                                      establishment of ah- quality control regions.                                          Management District (SCAQMD), which regulates                  •
                                                                                                                             air quality at the McColl site.




                                                                                                                   Exhibit 43
As determined bv the Toxicitv Characteristic (.caching Procedure (TCI.P)                                             6055
                                          Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 204 of 327 Page ID
                                                                             #:6099
                                                                                                                TABLE 10.1

                                                                                                           FEDERAL ARARs
                                                                                                             (Continued)
                                                                                                                                                                                                                    Page 2 of 9
                                                                                                          COMMENTS                                                                          AffLI-    RELEVANT       TO IE
                                                                                                                                                                                            CABLE       AND       CONSIDERED
             REQUIREMENTS                                          REQUIREMENTS AND CRITERIA                                          REMEDIATION ELEMENTS AFFECTED                                  AmtortUATE

                                                                                              CONTAMINANT SPECIFIC (Continued)

          4* CFR Sabcbapltr C -
              Air Programs
                 Part 5« -
           National Primary ana*
          Secondary Ambient Air
            Quality Standards
              Section* 50.4- 50.12          These sections establish national primary ambient air quality standards for the           These standards apply to the SMC during the closure
                                            protection of public health, they also include secondary ambient air quality standards    and post-closure period and to those areas in which    •
                                            necessary fat the protection of public welfare from any known or anticipated advene       the general public has access.
                                            effects of * pollutant The note relevant oonsliluenU that are dealt with include sulfur   Slate emission standards and modeling
                                                                                                                                      requirements, also outlined in this table, are also
                                                                                                                                      applicable, and may be more stringent than those
                                            • SO2                                                                                     presented here.
                                              - Primary                                 0.03 ppm (annual arithmetic mean)
                                                                                              0.14 ppm (max. 24-hr value)<*>
                                                - Secondary                                       .Sppni(»ax.3.|irvahie)<*>

                                            • Paniculate Mattr(PMto>                    50 (ig/m3 (annual arithmetic mean)
                                              (Prknary and Secoadary)                              150 ut/m3 (24-hr. svg.)<«>

                                            .   CO (Primary jf7)                                       9ppm(»-hraverage)<«>
                                                                                                     35 ppm (Hir average/*)

                                            • Oj(rra»u^aad Secoadary)                               .12 pfw (max. hourly)**)




                                            Ambiem air k defined as Oat portion of the atmosphere, external lo buildings, lo
                                            which me general public ha* acccas.




(J)   For accurate dennitions of the basis for calculations of the mean values, the reference should be made lo the regulations.
(*)   Not lobe exceeded more than once per year.                                                                         Exhibit 43
(7)   No secondary standards are provided.                                                                                  6056
                             Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 205 of 327 Page ID
                                                                #:6100
                                                                                                TABLE 10.1

                                                                                           FEDERAL ARARs
                                                                                             (Continued)
                                                                                                                                                                                                   Pace 3 of 9
                                                                                          COMMENTS
                                                                                                                                                                           Arru-    RELEVANT       TO BE
    REQUIREMENTS                                                                                                                                                           CABLE       AND       CONSIDERED
                                                  REQUIREMENTS AND CRITERIA                                         REMEDIATION ELEMENTS AFFECTED                                  AFPROPRIATE


                                                                                          LOCATION SPECIFIC

     Clean Air Act           As mentioned above, Tilte I (Ah- PolhMion Prevention and Control) of the Clean Air     These requirements of the Clean Air Act resulted in
  (41 USC 74»l-7*42)         Act encourages and smiltilhe development and operation of regional air pollution       the establishment of the South Coast Ah- Quality
                                                                                                                    Management District (SCAQMD). which regulates           •
                                                                                                                    air quality at the McColl site.

  RCRA (42 USC «M1           Among other provisions, tins ad supports the development of regulations for the        This act provided for the regulations outlined below
        et. seq.)                                                                                                   that affect the location of new haurdous waste
    48 CFR Part 2*4          of sundanis for Ac location, design, and construction of hazardous waste treatment,    facilities.                                             •
Standard* for Owners and)    disposal, or storage facinlies.
 Operators of Hazardous
Waste Treatment. Ster*|t
 and Disposal Facilities
         SubpartB                                                                                                   This requirement will be met by onsite facilities,
  General FtciiityStandaRb   m««BO«bel9artrfwit*inthee!B«!te«(JOOfeet)of»faultwhi<*lwjh.d                           as the closest fauh which has potentially had
     Seclioa 264.18(a)       dunlaermf.nl in Hotocene time.                                                         displacement in llolocene time is the Norwalk           •
                                                                                                                    fault, which is located approximately 1 mile south
                                                                                                                    of the McColl site.

                                                                                            ACTION SPECIFIC

    The Comprehensive        CERCLA requires *e selection of aremedy«\M is protective of human health and the These goals govern the selection, design and
 Environment*! Response,                                                                                      implementation of site remedial measures. The
                             provide for treatment that reduce vohmw, toiicky or nwbiNtyi« preferred to the   selective in situ treatment excavation and RCRA               •
    Compensation, and)
 Liability Act (CERCLA)      Mteitl practicable. Key onttMcfitiom arc bind disposal capacity RCRA the         equivalent closure approach was developed with
of 198* a* amended *y the    persistence, loKtdfy, mobility and propensity to bkwxumuUfe of hazardous         these goals in mind.
Superfund Amendments and)    sufastanoes, .Aort and long tarn ptr^iMlfort&ttehnbhtttcasfaxnkwn*rt
   Reaathorisation Act
(SARA) of 1*8C (42 USC       threats associated with excavation, transportation,redisposalor conlanmenl. In
       HW eL MO,)
    9621 Cleanup Standard    wiB renk m greater risk tobtanaa health cud me environment, and whether tie
                             alternatrtesarelcchnkalinipractkaifromiBcngiMCfingpefSpeciive.




                                                                                                       Exhibit 43
                                                                                                         6057
                               Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 206 of 327 Page ID
                                                                  #:6101
                                                                                                        TABLE 10.1
                                                                                                      FEDERAL ARARs
                                                                                                        (Continued)
                                                                                                                                                                                                         Puc4of9
                                                                                                  COMMENTS
                                                                                                                                                                                    AWLI-   RELEVANT      TO IE
     REQUIREMENTS                                                                                                                                                                   CA*LE     AND      CONSIDERED
                                                         REQUIREMENTS AND CRITERIA                                            REMEDIATION ELEMENTS AFFECTED

                                                                                            ACTION SPECIFIC (Continued)

     4« CFR Part 3M
National OH and Hazard***
   Sabstanees Pollallon
 Cantlniency Plan (NCP)
300.430 Remedial hvestigalion/ The purpose of the remedy selection process outlined in Section 300.430 is to               The provisions of the NCP apply lo the process
Feasibility Studies and Selection implement remedies that eliminate, reduce, or control risks to human health and the      used to select the appropriate site remedy. Some of
            of Remedy             environment                                                                              the aspects of that are included in the nine criteria
                                                                                                                           for detailed evaluation, and dial are particularly
                                  It requires that r     alike      s be developed that protect human health and the
                                                                                                                           relevant to the McColl site, include:
                                  environment by recycling waste or by eliminating, reducing, and/or controlling risks
                                  posed by each contaminant migration pathway.                                             • Short-term risks that might be imposed in the
                                                                                                                               community during implementation of the
                                  Seclioa 300.430 requires mat remediation goals establish acceptable exposure levels          remcQy.
                                  that are protective of human health and the environment and thai they be developed by • Potential impact on workers during remedial
                                  coiisideriagfesfpliaR^ or refevatt and appropriate r^^
                                                                                                                               action.
                                  environmental or state eavinnateMal or facility skiag laws, if available, as well as the
                                  following factors:                                                                       • Potential environmental impacts of the
                                                                                                                                  remediation.
                                   • r^iystemic toxicants, aixeptaUe exposure levels shall represent concentration
                                     teveh to which the tnamaa population, including sensitive subgroups, may be              • Technical feasibility including technical
                                     exposed without advene effect during a lifetime or part of a lifetime.                     difficulties and unknowns.
                                   • Por b»owa or suspected carcinogens, acceptable exposure levels are generally             • The ability and time required lo obtain any
                                     concentration levels thai leptestiKM excess upper bound lifetane cancer risk to an         necessary approvals and permits.
                                     mdividual of between 104 and IO*                                                         • Availability of services and materials, including
                                   • Factors related to technical limitations such as detection limits for contaminants.        die availability of adequate offsite treatment,
                                                                                                                                storage, and disposal capacity.
                                   • Factors related lo unccftaavy.

                                   M selecting a suitable remedy, the following alternatives, among others, should be

                                       Alternatives which treat the principal threats posed by the rite but vary in die
                                       di^reeoftreatnxMeniployedandthequanUtksandcliaracleristiaoflhelreatnMM
                                       residuals and untreated waste that most be managed.
                                       Alternatives that involve liufe or no treatment, but provide protection of human
                                       health and the environment by controlling exposure to hazardous substances,
                                       through engineering conarots, and institutional controls lo protect human health and
                                       the environment.
                                   Seclioa 300.430 furthermore defines the following criteria for guiding the developmem
                                                of remedial alternatives:
                                       Effectiveness which focuses on die degree to which tosfcity. mobility, or volume
                                       are teduced, residual risks are minimized, long-term protection is afforded. ARARs
                                       are complied with, snort-tern impacts are minimized, and how quickly protection is

                                       hnptementability which focuses on the technical feasibility.
                                       The coats of construction and any long -term costs lo operate and maintain the
                                       alternatives.




                                                                                                            Exhibit 43
                                                                                                              6058
                             Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 207 of 327 Page ID
                                                                #:6102
                                                                                                  TABLE 10.1
                                                                                             FEDERAL ARARs
                                                                                               (Continued)
                                                                                                                                                                                                           PIBC 5 of 9
                                                                                            COMMENTS                                                                        APPLI-        RELEVANT         TO»E
    REQUIREMENTS                                                                                                                                                            CABLE            AND        CONSIDERED
                                                  REQUIREMENTS AND CRITERIA                                           REMEDIATION ELEMENTS AFFECTED                                      APPROPRIATE


                                                                                     ACTION SPECIFIC (Continued)

The Resource Conservation    This ad provides technical and financial assistance for die developnient of management The requirements of diis act resulted in the
and Recovery Act of l»7a                                                                                              regulations outlined below dial affect hazardous
  (RCRA) (42 USC <M1         materials and for the safe disposal of discarded materials, and for dw regulation of die waste that is generated onsite.
          el. seq.)          management of hazardous waste, including dw establishment of standards for hazardous
  Subtitle C - Hazardous     waste generation (Section 3002). and for dw owners and operators of hazardous waste
    Waste Management         facilities (Section 3004).
    4* CFR Part »2
 Standards Applicable to
 GatMraian af Hazardaan
  .         Wsatt
          SubpartA           Theae sections ettabhn standards for generators of hazardous waste which to being        These requirements apply lo excavated wanes and
           General           disposed of w treated offute. They includerequirementsfor hazardous waste                controlled emissions dial are hazardous wastes in
                                                                                                                      lams of 40 CFR Part 261, and are intended for           •              •
  (Sections 262.10-2*112)
                             described by rae listed subpan tides. A shorter list of requirements applies to          offsite disposal These wastes likely will include      Ofisite     Manaf cm wit
           SubpartB                                                                                                   the arsenic-containing material, emission control    disposal or     of oraite
         TheMaaifeal                                                                                                  system residue, and decontamination solids and      tieatmenl of    hazardous
   (Sectfens 26120-26123)    262.11   Haotdous Waste Deterntkiation                                                   liquids.                                              hazanJous     excavated
                             26112    EPAI*ntificatioaNambm                                                                                                                   wastes     wasteland
           SubpartC          26134    AccamuladmTime                                                                                                                                      controlled
  oc-TnaMport Retfuacwenti   262.40   RecordkecpiMj                                                                                                                                       emissions
   (Sections 26130-26134)    26143    Additional Reporting
           SabpartD

   (Sections 26140-26144)




                                                                                                         Exhibit 43
                                                                                                           6059
                                         Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 208 of 327 Page ID
                                                                            #:6103
                                                                                                                TABLE 10.1
                                                                                                           FEDERAL ARARs
                                                                                                             (Continued)
                                                                                                                                                                                                                      Pace 6 of 9
                                                                                                          COMMENTS
                                                                                                                                                                                             APPLI-    RELEVANT       Toae
    REQUIREMENTS                                                                                                                                                                             CABLE       AND        CONSIDERED
                                                               REQUIREMENTS AND CRITERIA                                              REMEDIATION ELEMENTS AFFECTED                                   APPROPRIATE


                                                                                                   ACTION SPECIFIC (Continued)

    4t CFR Part 1*4
Standards far Owners and!
 Operators of Hazardous
Waste Treatment, Storage,
 and Disposal Facilities
          SubpartB                                                                                                                    These requirements are relevant lo onsite facilities
   General Facility Standards                                                                                                         provided lo control emissions, to treat
                                                                                                                                      die excavated seep area materials, and lo collect                   •
  (Section! 264.10 -264.18)
                                                                                                                                      decontaminated solids and liquids. The ground
          SubpartC                                                                                                                    water monitoring requirements, which are included
  Preparedness and PlweMiua                                                                                                           in Subpart f, would not apply to these facilities
  (Sections 264.30 - 264.37)                                                                                                          and is therefore not included.
          SubpartD
    Contingency Plan and                                                                                                              The Subpart G standards an alsorelevantlo dw
    tfaaMhf aiaMW M 1*11 LI awbrnjaaal
                                                                                                                                      closure of dw site. Activities dial are affected
  (Sections 264.50 - 264.56)                                                                                                          include the in situ treatment of materials, and the
           SubpartB                                                                                                                   design, construction, and long-term maintenance of
Maaifeat System. Recordkeepiag                                                                                                        the site cover and other site containment features
         and Reporting                                                                                                                such as crib and slurry walls. The Subpart G
  (Sections 264.70 -264.77)                                                                                                           requirements also include a 30-year monitoring,
                                                                                                                                      maintenance, and reporting period after dw facility
          SubptrtQ                                                                                                                    is dosed.
   Oooare and Post-doam
 (Sections 264.110 - 264.120)
           Subpartl
   Use and Management of
          ContaUwn
 (Sections 264.170 - 264.17»)
           Subpart J
         Tank System*
 (Sections 264.190 - 264.199)
          SabpartK                                                                                                                    These requirements are relevant to the in situ
    Surface Impoundments                  following:                                                                                  treatment of materials and ihe design, corou uciion,               S
                                              Eliminate any tax liqoids by removal or soHdificMion.                                   and long-term maintenance of dw site cover and
                                              Stabilize wastes to provide sufficient load-bearing capacity to support a rmal cover.   other site containment features such as crib and
        Section 264.228
 Closure and Post -Closure Care               Minimize migration of any free liquids.                                                 slurry walls.
    Paragraphs: a(2), b, and C                Minimize maintenance of dw cover.

                                             Accommodate adding and subsidence of the cover.
                                             Provide a cover dial has lower permeability dun underlying formations.

                                          include:
                                          • Maintenance of die cap
                                          • Prevention of run -on and run-off from damaging the cap.




                                                                                                                    Exhibit 43
                                                                                                                      6060
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                                                                       #:6104
                                                                                                              TABLr: 10.1
                                                                                                         FEDERAL ARARs
                                                                                                           (Continued)
                                                                                                         COMMENTS
                                                                                                                                                                                        APPLI-       RELEVANT       TO HE
        REQUIREMENTS                                                                                                                                                                    CAaut           AND       CONSIDERE0
                                                          REQUIREMENTS AND CRITERIA                                              REMEDIATION ELEMENTS AFFECTED                                      APPROPRIATE


                                                                                                  ACTION SPECIFIC (Continued)

             Subpart O              T*         1 I"     •   1.   -*-   r         arlauaJatHn. f    ft-    *   *   HI
                                                                                                                   M !   »,
                                                                                                                                 These requirements would be relevant to dw
            munoatois               They require the identification of principal organic hazardous constituents (PCM ICs).       construction and operation of components of the
                                                                                                                                 onsite emission control system.                                        •
  Sections 264.340.-264.343,
  264.343, 264.347, and 264.331     (ORE) of 99.99* far eacaPOHG An additional requirement includes a limit on



            Part 2*8
  Land Disposal RcttrlctlatM
  Sobpart D - Treatment Standards   These sections identify die restricted wastes. They include concentrations of the            These treatment standards apply to the excavated
  268.43 Treatment Standards        hazardous constituents which may not be exceeded by dw waste or treatment residual           wastes dial are intended for offsite disposal as
                                    for allowabSe land disposal of such wastes or residual. Selected pertinent standards,        hazardous wastes.                                        •
          Expressed as Watte
          CenceaftttiaBS            wfckfc are determined by Ac TOP procedure, include:
                                    • As: SmgJt
                                    • Benzene: 0.3 mg/L
                                    OdKrsundanknchxfe:
                                    • pH:S2
      EPA TECHNICAL                 These guidelines recoanstend a nwhiiayef cover consisting of the following layers            The design of the cap for site closure.
   GUIDANCE DOCUMENT                from lop to bottom:
                                                                                                                                                                                                                     •
       "Final Covers an                Vegetation/Soa: 60 cm (2 It)
   Hazardous Wast* Landfills           Filter (Nommal Thickness)
          and) Surface                 Dramage: 30 cm (lit)
        ImpMndsficnta"                 Low permeability FMLTO: 20 mil (minimum)


                                    erosion coMrol and ihe removal of the drainage layer in arid climates, die addition of
                                    biouc barriers to prevent damage by animals, and the addition of a gas vent layer to
                                    conirol gas emissions.
    dean Water Act (CWA)            Tne objective of mis Act is to restore and maintain dw chemical, physical, and               These goals affect dw discharge of flood water own
     (33 USC 1251-137*)             biological integrity of dw Nation's waters. In order to achieve this objective the Act       dw site and of wy waste water introduced to
                                    outlines seven goals. Those pertinent lolhe McColl site include:                             publicly owned water treatment plants (POTWs).           •
                                    • Diacharferf toxic po«k«ants in toxre amounts are to be prohibiled.                                                                              Potentially
                                    • rrofranswr the control oinonpomt sources oi pollution are to be developed.




                                                                                                                    Exhibit 43
Flexible Membrane l.incr
                                                                                                                      6061
                                       Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 210 of 327 Page ID
                                                                          #:6105
                                                                                                                         TABLE 10.1
                                                                                                                   FEDERAL ARARs
                                                                                                                     (Continued)
                                                                                                                  COMMENTS
                                                                                                                                                                                                        APPLI-       RELEVANT       TO BE
             REQUIREMENTS                                                                                                                                                                               CABLE           AND       CONSIDERED
                                                                   REQUIREMENTS AND CRITERIA                                                 REMEDIATION ELEMENTS AFFECTED                                          APPROPRIATE


                                                                                                           ACTION SPECIFIC (Continued)

             4* CFR Part 122
         EPA Administered Permit
         Programs: The National
            Pollatant Discharge
           Elimination System
                  (NPDES)
                   Subpart B             Unless EPA establishes a general or industry-specific permit or a group permit is                   These regulations affect any storm water runoff
         Permit Application and Special  obtained dial coven the proposed site remediation, closure and waste treatment                      derived from dw following areas and discharged               •
               NPDES Program             activities, it is likely dial M individual storm water runoff permit will be required.              offsite: disturbed land surfaces associated wkhdw
                ReqoirenwntsP)           Theae regulations apply, among odwn. to storm water runoff from construction areas                  site remediation and closure, the emission control       Potentially
                                         lanjerdwaSacraaadaaylNBanfotB waste treatment facilities. They require dut the                      system, other onsite waste treatment activities and         after
        12121 • Application for a Permit c onttiturnlc«iHceaaatioe« of arrydBchargenwetspeciTwd criteria which would be                      dw immediate access roads. These requirements do         October 1,
        12122 - Signatories to Permit    eMabtWrtatarattRORte.                                                                               not need to be met for any runoff discharged from           1992
               Applications and                                                                                                              those portions of dw site dial are closed and contain
                Reports                                                                                                                      no active waste treatment, and from any site run-on
                                                                                                                                             dial is diverted around dw disturbed surfaces.
         12126 - Storm Water Dbcharces
             4* CFR Part 4*3
           General Pretrealment
          Regalallona far Existing
            and New Sanrcea ef
                  Pollution
             Sections 403.1 -403.SS                                                                                                          These regulations would be applicable to My
                                                                                                                                             surface run-off from dw disturbed areas which to
                                                                                                                                             couected and discharged, or treated and discharged, or       •
                                                                                                                                             odwr onsite liquids discharged to a POTW.


                                          c*^BhediHcoaJB.tijtti^
                                          k&n%*iR$cM*t>Mnl<gt*,acdifi?*t4W.
                                          Tim* UUU>afu> jfamr1k.M«a( HM^lWlknHnl rmtBifinff ill Part afaTl tWtWttt fwJfaafllflleY MltliVlV


                                             Create a fire or explosion hazard.

                                             can accommodate lower vetoes).
                                             AresoIidorviacoBS.
                                             WiB cause interference with dw POTW.
                                             Cause heating ia excess of I04°F unless alternativetemperatureto
                                             specifically approved.
                                          For numerical standards reference should be made to dw County of Orange Sanitation
                                          District standards discussed in (his set of tables.
        Noise Control Act of 1972 Construction and transportation equipment noise levels (e.g.. portable air compressors, This act applies lo all activities of die selected
            (42 USC 1972) as      and medium Md heavy trucks), process equipment noise levels, and noise levels at dw remedy.
          Amended by the Qatet
                                                                                                                                                                                                         •
         Community Act of 1*78 typically enforce dwse levels. See the pullcrton Noise Ordinance contained in this set
                                  of table* for more detail.




                                                                                                                              Exhibit 43
<3>   Final Rule, November 16. 1990                                                                                             6062
                                         Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 211 of 327 Page ID
                                                                            #:6106
                                                                                                           TABLfc. 10.1

                                                                                                      FEDERAL ARARs
                                                                                                        (Continued)
                                                                                                                                                                                                                Page 9 of 9
                                                                                                      COMMENTS
                                                                                                                                                                                       APPLI-    RELEVANT        TO BE
            REQUIREMENTS                                                                                                                                                               CABLE        AND       CONSIDERED
                                                             REQUIREMENTS AND CRITERIA                                           REMEDIATION ELEMENTS AFFECTED                                  APPROPRIATE


                                                                                               ACTION SPECIFIC (Continued)

                4* CFR
          Subchapter G • Noun
          Abatement Programs
                  Part 204              Thto part requires dut portable air compressors win a rated capacity equal u> or above Any portable air compressors, and medium and
         Noise Emission Standards for   73 cfin which deliver air at a pressure greater than 50 psi meet specific noise emission heavy trucks that may be used onsite during site
                                        standards of 76 dBA. These standards do net apply to pneumatic tools or equipment        closure.                                               •
                                        dtat me air coajpfccaor nsea.

                   Part 205             Thto part requats dm rifitiina and heavy ttucks (gross weights in excess of 10.000      Any medium and heavy trucks that are used onsite.
                                                                                                                                                                                        »
              Emission Control          ofaunufacture.

                  a* era
               Sabpart H                                                                                                        Thto role coven activities involving personnel
         Section l«lt.m •                                                                                                       on dw site engaged in site investigation!,
           HatarooBi Waste                                                                                                      remediation and closure, as wett as certain post-
       Operations mmt Emergency         applicable to ate heakh and safely sspeos associated win hazardous waste                closure and monitoring activities, k requires
                Response                                                                                                        that site health and safety plans be prepared and
                                                                                                                                implemented. The appropriate level of protective
                                        Tbe ntk requires dial worker protective dotting and eojupmenl at various locations
                                                                                                                                clothing will have to be worn by site personnel.
                                        wimnautemcavfeMwoflbefoUowifig:
                                                                                                                                Medical surveillance of all site personnel will also
                                        • Level D (no leayiiatoiy protection. 10 hour avenge)                                   be necessary.

                                        • Le«dB(w|mualair)
                                        • Uvd A (totally eacapsulaied chemical protections^
                                          brecthinsapparaM)




                                                                                                                     Exhibit 43
                                                                                                                       6063
00-V1AA r?/t7/1IMIO
                                Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 212 of 327 Page ID
                                                                   #:6107
                                                                                                           TABLE 10.2
                                                                                                       STATE ARARs
                                                                                                                                                                                                             Page 1 of 11
                                                                                                   COMMENTS
                                                                                                                                                                                     APPLI-    RELEVANT        TO BE
      REQUIREMENTS                                                                                                                                                                   CABLE        AND       CONSIDERED
                                                       REQUIREMENTS AND CRITERIA                                                REMEDIATION ELEMENTS AFFECTED                                 APPROPRIATE


                                                                                              CONTAMINANT SPECIFIC

Hazardous Waste Control         HWCA to an EPA-approved state law which mandates controb for hazardous wastes                   This act established dw regulations outlined below
Act (HWCA) (Health and          from their poim of generation dirough accumulation, transportation, treatment.                  dial determine if wastes generated at dw McColl       9
  Safety Code Section           storage, and ultimate disposal.                                                                 site are hazardous.
     2516*. 253*5)
  CCR, Title 22, Social
   Security Division 4,
  Environmental Health,
  Chapter 3». Minimum
 Standards for Hazardous
 and Extremely Hazardous
           Waste
   * ARTICLE 11
Criteria for Identification
     of Hazardous and
  Extremely HastwdoBi
          Waitea


66693   Applicability of        A solid waste to a hazardous waste if k exhibits My of dw characteristics identified in         These characteristics and the associated testing
        Hazardous Waste         this Article.                                                                                   protocols are for evaluating dw wastes that are       w
        Criteria                A waste is toxic and hazardous if it:                                                           generated by excavating materials or controlling
                                                                                                                                emissions onsite to determine whether they are
66694   Sampling and Sample          Has aa acute oral LDso teas than 5,000 milligrams per kilogram, or
                                                                                                                                hazardous wastes.
        Management                   Has an accurate dermal LDso ten than 4.300 milligrams per kilogram, or
                                     Has M acute inhalation LCjn less than 10.000 parts per million as a gas or
66696   Toxicity Criteria
                                     vapor, or
66699   Persistent and               Has M acute aquatic 96 -boar LCso less than 500 milligrams per liter, or
        Bwoccumulative Toxic         f
                                     voduuss'
                                               any ccf a sewcx
                                                           IAJ t 1" 1 t  IL.I l_
                                                                 IK 01 suosiances  1 t •! ll» L. I
                                                                                  ai               itii mit f uLnmMtr *l IJIM
                                                                                     a singw or COTODBWQ    concemraHon
        Substance                    equal to or exceeding 0.001 percent by weight, or
66700   Waste Extraction Teat   •    Has been shown to pose a hazard to human health or enva-onment because of its
        (WET)                        carcinogenkity, acute toxicity, chronic loxicity, bioaccumuUtive properties, or
                                     persistence n the environment, or
66702   IgnitabiUty Criteria    •    b listed in 40 CFR 261 as a hazardous waste.
66703   Reactivity Criteria     Any waste to a hazardous waste which exceeds 'Us listed soluble threshold limit
66708   Corrorivity Criteria    concentration (STLC), or exceeds its listed total direshold limit concentration (TTLC).
                                A partial listing of dw important constituents and associated standards include the
                                following:
                                                                                                 TTLCW
                                                                             STLCW              Wet-Weight
                                Sjjbjjajjce.                                  Qg/L                mg/kg
                                Arienkaixl/or arsenic compounds                 5.0                  300
                                Barium                                          100               10.000
                                Cadmium                                         1.0                  100




W     Determined by
(9)   Determined by CAM WET procedure.                                                                            Exhibit 43
                                                                                                                    6064
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                                                                    #:6108
                                                                                                     TABLE 10.2
                                                                                                   STATE ARARs
                                                                                                    (Continued)
                                                                                                                                                                                                           Pace 2 of 11
                                                                                                COMMENTS
                                                                                                                                                                                   APPLI-    RELEVANT        TO BE
       REQUIREMENTS                                                                                                                                                                CABLE        AND       CONSIDERED
                                                      REQUIREMENTS AND CRITERIA                                            REMEDIATION ELEMENTS AFFECTED                                    APPROPRIATE


                                                                                   CONTAMINANT SPECIFIC (Continued)

 Farter-Cologne Water                                                                                                      These requirements pertain to dw onsite disposal of
  Quality Control Act                                                                                                      any wastes and die discharge of My site wastes.
  (WC l3m-13SM)                  BuvdirapaAfvely.                                                                                                                                               •
 CCR, Title 23 Water*
 Division 3, Chapter IS
 Discharg* af Waste I*
          Land
         ARTICLE t                                                                                                         This article describes waste classification for which
 Waste Classification and)                                                                                                                                                                                    •
                                 ^tA^^^lmAim^H^tma^tiongev^oMl TMs waste ctassirtcMkm system                               in dw Action Specific ARARs under Article 4.
      Management                                                                                                           CCR Title 23. Any wastes Otat may be considered
           Section               of wastes.                                                                                for onsite disposal are likely to be classified as
                                                                                                                           either wet or designated.
2320    Applicability and
        Cl»ssific*Uon Criteria
Santa Ana Reglwtal Water         Tne RWQCB often references and uses DHS action levels (ALs) when dwRWQCB                  Should offsite discharge of My onsite rainwater
  QcalHy Conlrel Beard           delaaun»waa1e»»terdtocnarfe standards for site -specific discharges. The DHS ALs          accumulation be contemplated, these ALs should be
                                 by tentative* are guidance and dwrefore are to be considered.                             considered in determining acceptable concentration                                 •
        (RWQCB)
Final DlKharge Shatter*          DHS AL* which stay be specified by the RWQCB as wastewater treatment standards            levels for constituents in dwse waters.
   for Waste Disposal            fortoxavfound• treated waslewater at dw site are aimwa be low:
                                 • Benane              0.7 ppb
                                 • Tohwne              100 ppb
                                 • Xytone             620 ppb
    Ceunly Sanitation            CSDOC KgKbtions of September. 1989. prohibit die discharge of wastewater to               These standards are potentially applicable to any
District »f Orange Cummjty       sewagefoctNoevuwneel by Ae Disttict whtcfa among other diings obstructs die flow          surface run-off from disturbed areas which to
                                 or damages me facilities, to toxic, or violates any statute, regulation or ordinance of   collected and discharged or treated and discharged to    •
         (CSDOC)
                                 any pubfac or regulatory agency with jurisdiction over die discharge of wastewater.       a POTW.



                                                                                  fmeflj
                                 • Aram*;                                          2.0
                                 * Csdra-5                                         1.C
                                 • Chromium (total)                                2.0
                                 • Total Toxic Organics                          0.5S
                                   (as defined by EPA)
                                 • Oil or grease of mineral or                    100.0
                                   petroleum origin
                                 CSDOC regutalkw for Use of District Sewage Facilities (July 1. 1983) require




                                                                                                             Exhibit 43
                                                                                                               6065
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                                                                                                    TABLE 10.2

                                                                                                  STATE ARARs
                                                                                                   (Continued)
                                                                                                                                                                                                        Pate 3 of 11
                                                                                              COMMENTS                                                                          APPLI-    RELEVANT       TO BE
   REQUIREMENTS                                                                                                                                                                 CABLE       AND        CONSIDERED
                                                     REQUIREMENTS AND CRITERIA                                           REMEDIATION ELEMENTS AFFECTED                                   APPROPRIATE


                                                                                  CONTAMINANT SPECIFIC (Continued)

 Title 17 Public Health         The regulations of CCR. Tide 17, Sections 70200 and 70200.5 set standards for            These standards apply to the site during dw closure
  Division 3 Chapter 3          saibient air quaHty as a basis to prevent or abate dw effects of air pollution Effects   and post -closure period and to those areas in which
                                on health, aesthetics and dw economy are not usually associated widi levels less than    the general public has access.                          •
 Local Health Services
  Mulford - Carrel Air          Itunt HHlujHiul Iff tftw CvtiHf mlif i IW)'
      Resources Act             SnhJmcj                                     Cone.                  piirstion
(Health and Safety Cede         Ouns                                      .09 ppra                     1 hr
 Sections 3»tM-3957«)           CD                                        9.0 ppra                    8 hrs
                                                                         20.0 ppm                      1 hr
                                SO,                                       25 ppm                       Ihr
                                                                          .05 ppm                    24 hrs
                                NO,                                       .25 ppm                      1 hr
                                PH,,                                    SO 0 agtari                  24 hrs
                                (nupended partiailat*                   30.0 ug/m3                   24 hrs
                                •tatter)                               (annual mean)
                                Benzene and bexavalent chiomium are also idenuTwd as toxic air contaminants.
                                This act assigns responsMlily for dw identification of air poNuUnls lo dw Slate
                                rkMiAilMMil iirilMMi ^MTMirM rnirei wwf Ifv ^tat* Aw KMUMVTM llnM-d f ARRI
                                The ARB and local air pothmton control districts must dwa develop control measures
                                reducing emissions of dw identified poHuuntn. Although it sets no standards, this law
                                to applicable became it gives authority lo local agencies.

                                                                                              LOCATION SPECIFIC

 Porter-Cologne Water           The pertinent section* of fee act deal with dw requirement for die establishment of      These requirements pertain to dw onsite disposal of
 Quality Control Act            standards applkabk to waste discharge to land.                                           any wastes.
                                                                                                                                                                                                          •
  (WC I3»M-l3it«)
CCR, Till* 23, Waters,
Division 3, Chapter IS,
 Discharges of Waste
        In Land
         Article 3
Waste Management Unit
Classlfleatleti and Siting
 Section 2532(d). awl 253X<0




                                                                                                         Exhibit 43
                                                                                                           6066
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                                                               #:6110
                                                                                                 TABLE 10.2
                                                                                              STATE ARARs
                                                                                               (Continued)
                                                                                                                                                                                                           Pace 4 of 11
                                                                                           COMMENTS                                                                           APPLI-       RELEVANT          TO BE
   REQUIREMENTS                                                                                                                                                               CABLE           AND         CONSIDERED
                                                  REQUIREMENTS AND CRITERIA                                            REMEDIATION ELEMENTS AFFECTED                                      APPROPRIATE


                                                                                            ACTION SPECIFIC

Hatardons Waste Cawtrwl      HWCA to an EPA-approved state law which mandates conlrob for hazardous wastes             These requirements affect site closure, hazardous
Act (HWCA) (Health and                                                                                                 excavated wastes and controlled emissions, and dw
  Safety Cede Section        storage, and ultimate disposal.                                                           offsite disposal of hazardous wastes.                    •              •

     251M.25395)                                                                                                                                                              Offsite     Site closured
                                                                                                                                                                            disposal or        dw
                                                                                                                                                                           treatment of   management
                                                                                                                                                                             hazardous      of onsite
                                                                                                                                                                              wastes       hazardous
                                                                                                                                                                                           excavated
                                                                                                                                                                                           wastes and
                                                                                                                                                                                           controlled
                                                                                                                                                                                           emissions

 CCR, Title 22 Social
 SecBrity, Division 4,
 Environmental Health
 Chapter 3» Mhttmnm
Standards far Hazardous
and Extremely llaiardetia
         Waste
     ARTICLE 2               Thepnwtowmi)fChapter30applylodwmanagem<»tofanyKquid,semisolid, sol^ Site closure and dw generation, treatment and
                                                                                                                       offsite disposal of hazardous wastes.
 Scope and; Preceatares      regulations m Ms chapter require specific design standards or criteria, tw owner or                                                               •               •
 (Sections («3M and          operator shaH design in accordance with dnse standards and criteria or provide a design                                                          Offsite     Site closure
        •«3»5)               that provides for M equivalent kvd of protection for public heal* and the                                                                      disposal or      and die
                             CBVtPOMRCHL                                                                                                                                   treatment of   management
                                                                                                                                                                             hazardous      of onsite
                                                                                                                                                                              wastes       hazardous
                                                                                                                                                                                           excavated
                                                                                                                                                                                           wastes and
                                                                                                                                                                                           controlled
                                                                                                                                                                                           emissions




                                                                                                      Exhibit 43
                                                                                                        6067
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                                                                                                    TABLE 10.2

                                                                                                 STATE ARARs
                                                                                                  (Continued)
                                                                                              COMMENTS                                                                             APPLI-       RELEVANT        TO BE
    REQUIREMENTS                                                                                                                                                                   CABLE           AND       CONSIDERED
                                                       REQUIREMENTS AND CRITERIA                                         REMEDIATION ELEMENTS AFFECTED                                         APPROPRIATE


                                                                                        ACTION SPECIFIC (Continued)

      ARTICLE «
   Requirements far
 Generators ef Hazardous
          Waste
         Sections
66470 Scope and Applicability                                                                                            The requirements are applicable to hazardous wastes
66471 Hazardous Waste           An owner or operator who initiates a shipment of hazardous waste from a treatment,       dial are excavated or collected or otherwise
      Determination             storage or disposal fadlily shall comply with dw generator standards established in this generated onsite. The wastes affected will likely
                                                                                                                                                                                    •              •
      Requirement for die       article. A person who generates a waste shall determine if dial waste to a hazardous     include dw arsenic -containing material, incinerator      Offsite       Onsite
      Geaentor                                                                                                           ash, and decontamination solids and liquids. The        disposal or    hazardous
66472 EPA Identification                                                                                                 seep area material, which is excavated, may not be     treatment of    excavated
                                J^luMmtetfkt&ffamm^d^tQ^fam&ttxfomWAi&^tie&lkm                                           hazardous after in situ treatment
        IN HRHXn KX InW                                                                                                                                                           hazardous     wastes and
                                number.
      Generator                                                                                                                                                                    wastes       controlled
                                A generator who kanspertx, or offers for transportation, hazardous waste shaB prepare a                                                                         emissions
664W General Requirements
      for Manifest Ueeb? fee    onsite for 90 days or teas wjdtout a permit or wnhonl having interim status, provided
      Generator                 that A to euuuui lately contamed and labeled, and suitable prevention and contingency
66411 Hazardous Waste           plans are estabttohed.
      Manifest

      dw Manifest
664«4 Generator Useofdw
      Manifest
66492 Reconfceeping
      Requirements for fee
      Generator
66304 Packageig. Labeling,
      Placarding and Markng
      Requirements for dw
      Generator
66308 Accumulation Tine for
      the Generator
        ARTICLE IS                                                                                                      These requirements are applicable to onsite
                           inqHf-'frHV Mining of personnel,requirementsfor handling ignitable,reactiveor
General FacllHy Standards incompatible wastes, as well as seismic and precipitation design standards.                                                                               •
   for Interim Status and)
    Permitted Facilities .
 (Sections <7IM, «71»J-
           «7I»«)
        ARTICLE 19              Facility shall be designed, constructed, maintained, and operated to minimize dw
                                possibility of fire, explosion, orreleaseof hazardous waste. Other requirements deal
      Preparedness and
                                widi necessary equipment dial must be provided, testing and maintenance of
   Prevention for Interim
    Status and Permitted        witfi local authorities.
          Facilities
  (Sections tint-tint)



                                                                                                           Exhibit 43
                                                                                                             6068
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                                                                #:6112
                                                             TABLE 10.2
                                                                                                   STATE ARARs
                                                                                                    (Continued)
                                                                                                                                                                                                               Pate 6 of 1 1
                                                                                                COMMENTS                                                                           APPLI-      RELEVANT         TO BE
    REQUIREMENTS                                                                                                                                                                   CABLE          AND        CONSIDERED
                                                       REQUIREMENTS AND CRITERIA                                          REMEDIATION ELEMENTS AFFECTED                                       APPROPRIATE


                                                                                         ACTION SPECIFIC (Continued)

       ARTICLE 2»               These sections outline die pumose of die conlmgency plan, its content, availability of
  Contingency Plan and          copies, and amendments as well as requirements for an emergency coordinator and
                                aa_w*au«BaaHBBi

Emergency procedures for        ptwoounB*
    Interim Status and
   Permitted Facilities
 (Seetlens 67l4t-«7l45)
       ARTICLE 21        These iequiitn>c«U include- the maintenance of operating records, the ovtilaNlity of
     Manifest System,    thro Kconb,uw«lM for «R^^
  t  Recordkeeplng and
       Reporting far
    Interim Status and
    Permitted Facilities
 (Sections <?!<•, 671(4,
671*5, 67167, and 6716*)
       ARTICLE 21                                                                                                         It is anticipated dwt dw monitoring requirements
                                                                                                                          pertaining to air and possibly soil would be
Environmental MaalterlBf
  far Interim Stains and                                                                                                  applicable to dw onsite hazardous waste treatment          •
   Permitted Facilities                                                                                                   facilities.
                                -   u-mfrlUBCC. mUWMIflg fiUyHIKaV.
 (Sections «7Ut-«7l(S,
      (71M-C719*)
                                    wu^lhcf^ifyrfidltweejux^                                Akconstitucnl

                                    Bosfll)
                                •   Point of compliance.
                                •   rfmumvtiitf mftutm .—JiiaUn.

                                The regulations also aBow for die Department to establish alternative concentration
                                limits for a hazardous constituent it it to found not to pose a substantial hazard to
                                huntM health or dw environment
       ARTICLE 23               Thto Article deals with closure performance standards, disposal or decontamination of     These closure performance standards and
Claim and Poit-Cleaara
                                equipiiH^andpw-uonnvMavwHiiBctif prupcriy. ii to relevant to owners and                   requirements for disposal or decoraaminauon of            e             9
                                                                                                                          equipment are relevant or applicable to site closure
 for InteriM States and                                                                                                   as well as the dismantling and closure of onsite
                                It requires diat the facility be closed in a manner dial minimizes die need for further                                                           Onsite      Site Closure
  Permitted Facilities                                                                                                    hazardous waste treatment facilities. The post-        Hazaraous
(Sections (72II.«72I7)          maintenance, and controb, and minimizes or eliminates (lo dw extent necessary to
                                                                                                                          closure requirements would only be relevant to site      Waste
                                constituents, tetchftte, fminftH, or wtste dixswposiUon promts lo ihc groimd or           closure.                                               Treatment
                                                                                                                                                                                 Facilities
                                When closure to completed, all facility equipment and struclurea shall be properly
                                disposed of, or decontaminated by removing all hazardous waste and residues.
                                At facilities when hazardous waste win remain after closure, post-closure care shall
                                continue for 30 years after dw date of completing closure and shall consist of at least
                                dw following:
                                • Monitoring and reporting.
                                • Maintenance, post-closure care and monitoring of wisie contaimncnl systems.


                                                                                                            Exhibit 43
                                                                                                              6069
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                                                                     #:6113
                                                                                                                    TABLE 10.2

                                                                                                                 STATE ARARs
                                                                                                                  (Continued)
                                                                                                                                                                                                                             Pace 7 of 11
                                                                                                             COMMENTS
                                                                                                                                                                                                     APPLI-    RELEVANT        TO BE
       REQUIREMENTS                                                                                                                                                                                  CABLE        AND       CONSIDERED
                                                           REQUIREMENTS AND CRITERIA                                                          REMEDIATION ELEMENTS AFFECTED                                   APPROPRIATE


                                                                                                     ACTION SPECIFIC (Continued)

   Porter-Cologne Water           The Porter -Cologne Water Quality Control Ad establishes control boards which                               The Tide 23 regulations governing discharge of
   Quality Control Act            exercise dw regulatory functions of dw state in the field of water resources. It also                       waste to land affect dw onsite disposal of My
     (Including I«M               required the promulgation of dw Tide 23 regulations which govern discharges of                              waste.                                                              •
                                  wastes to land
       (WC I3CM-138W)
  CCR, Title 23 Waters,
  Division 3, Chanter IS,
   Dlscharget of Waste
          la Land
         ARTICLE 1                Chapter 15 establishes waste and site classification procedures, waste nunagenwnt       As detailed below, selected construction or
                                                                                                                          prescribed standards would be TCBs for site closure
            General               disposal in laadfHto, surface impoundments, waste piles, and land treatment facilities. and My onsite disposal of excavated materials                                                         •

            ifrfflMffl            h coven siting, design and construction of new facilities, monitoring and closure, and which are wastes pursuant lo Article Z

2310     Applicabilily
                                  Alternatives to coaanction or prescriptive standards contained in this chapter may be
                                  coroMxrad, provided they provide &a ta^utvwcnt level of protection.

         ARTICLE 4                gfcipflifijj frfrft-ji frrCTiiftF JMnfirt tatfiiTtTJnTi aaffij faAmftwKr haafTJcra fhould IJT (DomkfciTrf   Selected criteria should be considered for dw design
                                                                                                                                              and construction of site closure components such
  CnnatrncthM Standards           radioes. Tbeaecrilertosresummsrizedbetow.                                                                   as the cap, crib walls, and dw slurry walls, and                                 •
               Portions           Materials used in conuunment sftvctares an to have appropriate chemical and physical
                                                                                                                                              also for dw onsite disposal of materials which are
Seieenon      afSeoions                                                                                                                       designated wastes pursuant to Article 2. There are
                                                                                                                                              no management requirements for inert wastes.
2341       General Criteria fer
           Containment
           9VVCHTO                curtains are lo consist of a mixture of clay and other suitable fine-grained soils. At
2343       Sabsarfecs Barriers    least 30 percent of the material, by weight, are » pass a No. 200 U.S. Standard sieve.
                                  The materials shsH he raw-grained soils with a significant clay content and without
2347       SetomfcDesign          organic matter, fa dw "SC." *CL," or "OF classes of the Unified Soil Classification
                                  system.
                                  Cutoff walls shall be:
                                  •    A minmum of 2 feet duck for day materials; or
                                  •    A mBamtm of 4o mito wick for synthetic materials.
                                  Wsnat maHagcinral mini, mnlsaanrnt nnnmani. divrninn and nVasiagf farilitiri air
                                  to be designed and constructed to HmR, to dw greatest extent possible, ponding.

                                  1,000-year, 24-hour precipitation. (This standard pertains to a waste management unit
                                  containing a designated waste.)
                                  Surface and subsurface drainage from outside of a waste management unit is to be
                                  diverted from dw waste management aniL Cover materials are to be graded to divert
                                  precipiution from the waste management unit, to prevent ponding of surface water
                                  over wastes, and to resist erosion.


                                  damage to dw foundation or to dw structures which control leachate, surface drainage,
                                  erosion, or gas.



                                                                                                                            Exhibit 43
                                                                                                                              6070
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                                                                                                   TABLE 10.2

                                                                                                 STATE ARARs
                                                                                                  (Continued)
                                                                                                                                                                                                       Pace 8 of 11
                                                                                              COMMENTS
                                                                                                                                                                               APPLI-    RELEVANT        TO BE
       REQUIREMENTS                                                                                                                                                            CABLE        AND       CONSIDERED
                                                    REQUIREMENTS AND CRITERIA                                              REMEDIATION ELEMENTS AFFECTED                                APPROPRIATE


                                                                                         ACTION SPECIFIC (Continued)

         ARTICLE •           Thto article deals with general that pertain to facilities containing a designated waste, Selected criteria, should be considered for dw design
                             as weU as more detailed landfill and surface impoundment closure requirements it also and construction of site closure components such as
          General            includes requirements for a post-closure maintenance period as long as dw wastes pose dw cap cnb walk, and dw cutoff walls, and also for
           Sections          a threat to water quality.                                                                dw onsite disposal of excavated materials which are
                                                                                                                       designated wastes pursuant to Article 2.
                             Closed waste management units are to be provided with at least two pel inaneiH
2380    General Closure
                             monuments from which dw location and elevation of wastes cm be determined
                             throughout dw post -closure maintenance period. Vegetation for closed waste
23SI    LandfiMCtosure
        Requirements          Final Covet leauiieBituiBi mdlcatet
                              •    dosed landfill* an to be provided widi not less dun 2 feel of appropriate
        Closure ReaavcawBU        materials as a foundation hyer for die final cover. A lesser thickness may be
                                  allowed for if differential settlement of waste, and ultimate land use will not affect
                                  the sMcftnl mWfritjr of the final cover.
                              •    Ooaed landfiHs are to be provided widi not less dian 1 foot of soil, placed on lop
                                  rfaVsfoitodauoalayerandcomp«*ed to*tainapermeabili»yof either 1 x 10*
                                  cm/sec or less, or equal to dw permeability of any bottom liner system or

                              •   dosed landfills aretobe provided with net less man I foot of soil placed on top
                                  of the tow permeability kyer. The rooting depdi of any vegetation planted on dw
                                  cover b not to exceed me depth to dw low permeability layer.
                              •   The cover to lo be designed and constructed to function widi dwmmamm

                              The surface ofdw closed impoundnwnB is to be graded and maintained to prevent




                              damage of die final cover doe to drainage to lo be prevented, and survey monuments
                              protected.
                              All residual liquid to to be treated to eliminate free liquid

  Title 17 Public Health      This act assigns responsibility for dw identification of sir pollutants to the CWIS and Although it eels no standards, this law is applicable
  Division 3, Chanter 3       ARB. TheARB and local ear pollution control districts must own develop control          because it gives authority to local agencies.
   Local Health Service       mc*src» reduce^ emissions of uVid^ried pollutants.
   Mulford . Carrel Air
       ResMrees Act
 (Health and Safety Cade
 Sections 3NN - 39579)




                                                                                                         Exhibit 43
                                                                                                           6071
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                                                                                                                            TABLE 10.2

                                                                                                                         STATE ARARs
                                                                                                                          (Continued)
                                                                                                                                                                                                                                    Pa«e9ofll
                                                                                                                    COMMENTS                                                                                APPLI-    RELEVANT        TO BE
   REQUIREMENTS                                                                                                                                                                                             CABLE        AND       CONSIDERED
                                                            REQUIREMENTS AND CRITERIA                                                                 REMEDIATION ELEMENTS AFFECTED                                  APPROPRIATE


                                                                                                           ACTION SPECIFIC (Continued)

South Coast Ah- Quality                                                                                                                               These prohibitions apply to die onsite construction
 Management District                                                                                                                                  and waste treatment activities. They pertain lo        •
      (SCAQMD)                                                                                                                                        operations Md facilities such as in situ treatment,
                                                                                                                                                      she grading, road construction, cap and cutoff wall
    Regulation IV .                                                                                                                                   construction, and dw emission control systems.
     Prohibitions
Rate 401 - VisWe &BJsstott     Emtoskm for M aggregate period of more dian three minutes in any one hour shall not
                               be as dark or darker in shade tin* No. 1 on dw Ringehnann Chart.
                               PtaAH^a llui diw-Jlm* tnmt MV HVMTV nf HIV material f mrftufiM ttfcwniK
    Rule 402 -Nutoance
                               compounds) dial causes injury, or annoyance to dw public, property, or businesses or
                               endangers bunun beakh, comfort,reposeor safely, « which causes injury or damage
                               to business property.

  Rule 403 -RtgWve Dust
                               oftteemmtoaKManx. Downwind p*mkuh|g concentfMtwis rousi not be more than
                               tOO MiuugiWnt per cubic meter, avenged ower 5 tours, above the upwind pariiculaie
                               conceflttttnm. TTw«bovens.«do«o*tppty if ite wind speed, weiifed over


                               pwnc fQMWBys.
                                ThtaT flltm JPlllllJnltual •otaimitaWalaT fftf lUu-JlaaTalB* tlf IMftliOltmtaf. injlller nttlO tlaC asJinia^TphfTi*
    Rules 404 and 405 -
   Solid Partktriaie Matter    from any aource. The standard is dependent upon dw volume of air or dry gas
 (Concentration and Weight)    discharged andrangesfrom 23 mgMi3 to4SOmg/m) (see Table 404|sl|) or 0.99 to 30
                               IbAwur (see Table 40S(a|). These standards apply to M average over one cycle of
                               operation or one how, whichever to less.

Rule 407 - Uatrid sad Osstow    Thto row prohibits die discharge from any equipment of:
     Air Contaminants          • CO exceeding 2,000 ppm by volume (averaged over 15 consecutive minutes).
                               • SnMur compounds, csfcnlated as SOj exceeding 500 ppm (averaged over

                               These provisions do not apply to stationary internal combustion engines, propulsion
                               of mobile equipment, or emergency venting due to equipment failure.
  Rate 409 -Corabwtioa
      Contaminants             cubic meter (0.1 grain per enbic foot) of gas calculated to 12 percent of carbon dbxide
                               (CO)) avenged over a minimum of 1 5 consecutive minutes.
        Rule 474-               Thto rale Ian its ne discharge of elides of nitrogen into me atmosphere from any
  FoeSBuraiflgEqaissBaS
    Oxides ofNarogen            are based on dwBTUnput rate per hour.
Role 480 . Natural Gas-Fired   An A» Pollution Control Device which operates on natural gas to lo include dw
      Control Devices          capability lo cause die equipment or source generating dw emissions lo be taken out of

                                fad system for use during a natural gas shortage or curtailment.




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                                                                   #:6116
                                                                                                   TABLE 10.2
                                                                                                 STATE ARARs
                                                                                                  (Continued)
                                                                                                                                                                                                    Pate 10 of II
                                                                                             COMMENTS                                                                        APPLI-    RELEVANT       TO BE
   REQUIREMENTS                                                                                                                                                              CABLE        AND       CONSIDERED
                                                      REQUIREMENTS AND CRITERIA                                         REMEDIATION ELEMENTS AFFECTED                                 APPROPRIATE


                                                                                       ACTION SPECIFIC (Continued)

Addendum to Regulation FV
Rule 33 -Orange County-         discharged into dw atmosphere in concentrations at dw point of discharge exceeding
   Sulfur Compounds-            300 parts per million by volume calculated as sulfur dioxide (SOj).
      Concentration
Regulation XI • Settrea
  Specific Standards
       Ride 1130-                Thto rale requires that an Excavation Management Plan approved by dw Executive         These requirements are applicable to dw excavation
Excevation of a Landfill Site    Officer of SCAQMD be put in place before any excavation to initiated. The plan shall of waste onsite and to die in silu treatment
                                                                                                                        activities.                                           •
                                 excavated and ••smyorted and shall identify mitigation measures including gas
                                 collection sad dJsjwssJ. baaing, encapsul at ion, coveting of dw mater ial.wd chemical
                                 neutralizing.
       Rule II 50 2-             Rule 1 130.2 States that gaaeow emissions ham inactive landfills shall be limited « These requirements are applicable to dw design of
Control of Gateow Bmbstons       Total Organic Carbon (TOO to 500 ppm measured as methane (ClU) at any point on dw site closure cap.
  RwuuctiveLandrtas              dw serf ace of dw landfill and to 50 ppm measured as tout organic compounds over a                                                           •
                                 surface ana of dw landfill
         Rule 1166 -             This rate limits ate emtosion of Vefctite OrgMic Compounds (VOC) from soil             These requirements are applicable to onsite
 Vctctife Organic Gmoound        comamMted with VOC during rite remediation activities.                                 excavation and treatment of contaminated soils.
      Emnstons rtom
                                                                                                                                                                              •
                                 Treatment or hMdung VOC -contatninated toil requires iHylenwntation of m
  Decontamination of Soil        which remit in Best Available Control Technology and include at feast one of the
                                 fitlti.aniaaa*
                                 iUUUnViUB,.




                                 • Orfleclio* and da^K>e»l of dw VOC froratte excavated soil crnite.
                                 • Airy approved equrvalemVtXr-contammatedaotl control measure.
                                 OnsHe er offste spreading of VOC-cootam«iaied soil which results in uncontroned
                                 evaporation of VOC to dwatowsphereshaO not be allowed.

                                 compoands having a Reid vapor pressure (RVP) less than «0 mm Hg (1 X pounds
                                 i«squ«Mi^).efs«ibgot^v^upim«e(AVP)lessthM36mmHG(0.7psi)
                                 itao*c




                                                                                                         Exhibit 43
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                                                                   #:6117
                                                                                                       TABLE 10.2
                                                                                                     STATE ARARs
                                                                                                      (Continued)
                                                                                                                                                                                                           Pace II of II
                                                                                                 COMMENTS
                                                                                                                                                                                    APPLI-    RELEVANT       TO BE
      REQUIREMENTS                                                                                                                                                                  CABLE        AND       CONSIDERED
                                                       REQUIREMENTS AND CRITERIA                                             REMEDIATION ELEMENTS AFFECTED                                   APPROPRIATE


                                                                                           ACTION SPECIFIC (Continued)

  Regulation XIII - New
     Source Review
Rates 1301. 1302, 1303. 1306.    Thto regulation sets forth preconstroction review requirements for new or modified          Theserequirementsapply to portions of dw
        1309, 1309.1             stationary sources, to ensure dial dw operation of such slat ionary sources does not        emission control system. The site to in a non-
                                 iatuftie with progress in attainment of dw national Md state ambient air quality            attainment area for dw following constituents:          •
                                 standards, without unnecessarily restricting dw future economic growth with in the              Ozone
                                                                                                                                 Carbon monoxide
                                 emission ulcHlstMns, emission reduction credits Community Rank and analysis                     Nitrogen dioxide
                                 and reporting.                                                                                  Suspended paniculate matter
                                 The basic reqtrirefneats era dial any new facility which results in a net emission              Sulfates
  *
                                 mcreaif of any nonallainmeni air conlamamil or halogcnated hydrocaibon be denied a
                                 permit unless each of »e followingrequirementstomet
                                 • Best Available Control Technology (B ACT) to employed.
                                 • Models^ demoMtnlPSBjat ambient air quality standards will not be violated or any
                                   existing violations made significantly worse.

                                   from die Community Bank.
                                 • TnefedKty complies wiftappfcabteralesand regulate
                                 « Tfaef»dlitycoiBpJw«wid»dwit<j«yuiKiitsof40CTR.PanSi,Subf>Mtl.
 Refnlatle* XIV . Tevks
Rule 1401 - New Scarce Review The nde specifies lanini for canoe? risk and excess cancer cases from new permit units         These requirements apply to the design and
      ofCarcinogeaicAir       and modifications to exii^ sources that emit carcinc^enicasfcxmuminanti. The                   operation of portions of dw emission control
                              rate estaMtohes aBowafcfe emission impacts for all such stationary sources. Best               system.                                                 •
        Contaminants
                              Available ConMl Technology for toxins (T-BACT) will be required for My system

                                 greater to estimated to occur. Limits are calculated using unit risk factors for specific
                                 conlam hunts.
                                 _.                                      ,*    ,           •       . . . ^           •       The exemption from dwse standards would be
PutlertoR Manklpal Cade
       Chanter tS.99             property boundary.                                                                          applicable to the site remediation period. The
                                                                                                                                                                                     •
 Fullerton Noise Control
                                 The ordinance specifies that noise levels not exceed S3 dBA for more dian a 30-minute ckasrapaisA

                                 boundary, ftom the hoan of 10p.m. through 7 am- noise levels should not exceed
                                 50 dBA for more than a 30-minute period. Other noise limits are specified for shorter
                                 periods of lime.

                                 pfwkfedUKMKtivMKidoaot^
                                 weekdaysfectedmgSaturday, wtlany liti.<onSond»tyorafed«ll»lid«y.
California Environmental                                                                                                     A court order requiring dial an Environmental
  Quality Act (CEQA),            project, alternatives to dw proposal, and measures to mitigate dw projecl's significant     Impact Report (EIR) be prepared for excavation and
                                                                                                                             offsite disposal in accordance widi dw California       •
 Public Resources Cede,
  Division 13, Section                                                                                                       Environmental Quality Act (CBQA) was issued
 2IMt et sen.. (14 CCR                                                                                                       in 1983. The EIR was to evaluate impacts of
 Division «, Chapter 3)                                                                                                      activities at both die area receiving dw waste and
                                                                                                                             along the transportation corridors, as well as those
                                                                                                                             at the McColl site ilsolf

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                              APPENDIX I

                       The Reactions Occurring
                     in the McColl Superfund Site




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                        THE REACTIONS OCCURRING
                      IN THE McCOLL SUPERPDND SITE




                                                       Charles N. Satterfield
                                                             October 11, 1991




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                                  The Reactions Occurring

                                in the McCQM Superfund

                                   Charles N. Satterfieid

                                      October 11, 1991

 Executive Summary

       The McColl site contains twelve sumps into which acidic petroleum waste was

 deposited between 1942 and 1946. This waste was a by-product from the ..manufacturing

 of high octane aviation fuel during World War n. Site investigations conducted since

 1980 have found that the waste has converted to a hard asphaltic cement-like material

 ("asphaltic cement") with relatively high ash content. Tar material, generally found

 above the denser asphaltic cement, is also found within the surnps. This tar is an

 intermediate product and represents waste that has not been completely transformed into

 asphaltic cement.

       The reactions that are responsible for changing the waste into the asphaltic

 cement are:

        (1) acid-catalyzed polymerization and polycondensation of organic material;

        (2) the above reactions, accelerated by autoxidation; and

        (3) the above reactions, accelerated by acidified clay, and reaction with clay.

 These reactions, which are continuing to occur, are not reversible under conditions

 existing at the McColl Site.

        Clay, which is contained in the soils surrounding the sumps and other materials

 placed on top of the waste, has played a key role in the reactions and is the likely source

 of the ash found in the asphaltic cement-like material. By acidification from the sulfuric

 acid, the clay became a catalyst for polymerization/condensation reactions and this.

 combined with the clay's high adsorbent capabilities, led to the formation of an asphaltic


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     cement-like material.

     1. Introduction

            The McColl Site is an inactive waste disposal facility located in the city
     Fullerton, California. According to McColl Site records, the facility accepted acu
     petroleum waste between 1942 and 1946 (Radian, February 4, 1983), which was
     placed in twelve excavated sumps.

            During the 1950's at least three of the sumps in the Ramparts area were covered

     with drilling mud from various California oil fields. The western sumps were later

     covered with natural fill materials during the construction of the Los Coyotes Country-

     Club golf course in the late 1950's.

            Various site investigations have been conducted since 1980 to identify the types

     and quantities of wastes at the McColl Site. Results of these investigations indicate that

     the waste originally placed in the sumps in the 1940's has been transformed into tar and

     an asphaltic cement-like material ("asphaltic cement"), the latter sometimes termed

     "char." The asphaltic cement is more dense than the tar. In general the more dense

     asphaltic cement is found at the bottom portion of the sumps, while the less dense tar is

     found in the upper portions. It appears that pockets of tar also exist within the asphaltic

     cement.

           This paper addresses the possible reactions that-have occurred at the McColl Site

     that have resulted in changing the original waste into the present composition.



     2. Origin and Original Composition of Waste

           The waste that was deposited in the McColl sumps is described as a waste product

^^   from the production of high octane aviation fuel during World War II by alkylation of




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isoparaffins catalyzed by sulfuric acid. In the alkylation reaction, isobutam s mixed with

C3 - C5 olefins at ambient pressure and a temperature in the range of 45-70         in the

presence of sulfuric acid. The product consists essentially of C? - G, isoparaffL    and its

octane number is quite sensitive to the concentration of H2SO4. The sulfuric aciv,

becomes diluted with water and organics dissolved in it. Fresh acid is typically charged

at 98-99.5 wt% H2SO4 and is discarded typically at about 90 wt% (Putney, 1959).

       The organic material in the acid can come from several sources. Mercaptans and

hydrogen sulfide are present in nearly all untreated light olefin feedstocks (Putney, 1959),

and these would dissolve into the acid. Water may be present in small amounts in the

feedstocks, either absorbed or entrained, which dilutes the acid. Olefins can polymerize

with each other, a reaction that is minimized by using a great excess of isobutane to

olefins in the alkylation reactor, yet some can still occur, the resulting polymeric material

going into the acid. Abraham (Vol. 1, pp. 78-79) states that concentrated suifuric acid

removes unsarurated and aromatic hydrocarbons, asphaltic bodies, and "saponifiable

bases" by a complex combination of formation of sulfo derivatives, simple solutions and

polymerization.

       In summary, the organic constituents in the original waste consisted of undefined

material of varying molecular weight and composition, formed by polymerization-

condensation side reactions of the ideal feedstocks, together with other complex

reactions from impurities, plus various dissolved species. The original acid concentration

in the waste was probably about 90% H2SO4. More details are given, for example, in the

review by Putney (1959). It is important to note that essentially no "ash" or non-

combustible mineral matter would have been present in the original waste.




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3. Present Composition of Waste Mate.ri.al

       From the data available to me, there are only two sets of chemical an,     >es that

seem to distinguish between tar and "char" in the sumps.

       In 1983 Radian, in a "McColl Phase II study," reported on samples obtaineu in an

earlier Phase I study in 1982 from cores at Ramparts R-l, R-2, and R-5, and Los

Coyotes L-l and L-2. Two samples from each of the five cores were analyzed. Eight of

the ten fell into a class termed W-4 and were described as (Radian, 23 Feb., p. 1-1) "a

hard, black, asphaltic waste with a slight rubbery texture." The analysis showed an

average ash content of 48% by weight, sulfur of 8.1%, a pH of 1.5 and a bulk density of

1.1 g/cm3 (disturbed material). The Radian report did not provide data on the ash

content of individual samples.

       The EPA Pre-Publication Report (September, 1990) gives information on samples

of "raw mud, raw tar, raw char and treated tar" from the L-4 sump. Table 1 summarizes

relevant data from the report. The proximate and ultimate analyses were performed on

four sets of samples. As stated on page 4-94 of the EPA report, "In all of these analyses.

some volatile matter was driven off of the sample when it was heated to 105 • C to

determine the moisture fraction. Also, the moisture content of these samples may be

higher than undisturbed waste due to the foam vapor suppressants sprayed on the waste,

which contained large amounts of water."

       As shown in Table 1, the EPA report notes that "the raw tar sample contained a

high percentage of combustible material, . . . an ash content of less than 2 percent, and a

high sulfur content of 10.6 percent" and "raw char has a fairly high ash level of about' 55




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percent, a sulfur level of 4.5 percent."



             TABLE 1. TRIAL EXCAVATION WASTE SAMPLE ANALYSIS

                 PROXIMATE AND ULTIMATE (AS-RECEIVED BASIS)

                          Ref: EPA, September 1990 (Table 4-16)

Parameter                    Raw tar                    Raw char

Proximate
Moisture, wt %a              11.6                       21.2
Volatiles                    69.9                       20.1
Fixed carbon, wt %b          16.9                        4.0
Ash, wt %                     1.6                       54.7

Ultimate
Carbon, wt %                 51.1                       8.6
Hydrogen, wt %                5.4                       3.7
                             (4-l) c                    (13)c
Sulfur, wt %                 10.6                       4.5
Nitrogen, wt %                0.1                       0.1
Oxygen, wt %d                31.1                       28.3
                             (20.8)c                    (9.5)c

a
    Moisture includes some volatiles lost at 105 * C.
b
    Fixed carbon determined by difference in proximate analysis.
c
    Excludes hydrogen and oxygen contained in water.
d
    Oxygen determined by difference in ultimate analysis.

        The EPA report also provides proximate and ultimate analyses performed on core

samples collected from various depths in sump L-4. Results from the proximate analyses

further indicate that higher ash contents are found at greater depths within the sumps.

For a sample believed to be tar, the ash content was 14.7%. In comparison, two deeper

samples believed to be the asphaltic cement had ash contents of 49.4% and 53.8%.

Results from the ultimate analyses indicated that total sulfur content ranged from 10.4 to




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 14.5% for the asphaltic cement and tarry material, respectively. These ar;     ses give the

 total sulfur present but not the form in which the sulfur is combined.



 4. Presence of Clay at the McCo}I Site

        Waste from an alkylation unit in a refinery would be expected to contain

 negligible amounts of ash, which is mineral matter. The one analysis in Table 1 appears

 to be the best available at present for "raw tar." Particularly noteworthy, however, is that

 all eight samples of asphaltic cement from the Radian analyses, the raw "char" from the

 more recent EPA study, and the lower bore samples contained large amounts of ash,

 averaging in the neighborhood of 50%. This suggests the possibility that substantial

 amounts of clay were introduced into the waste sumps from the surrounding soil as well

 as from drilling muds and other sources. Most of the asphaltic cement was probably

 formed by reactions between the waste and the clay material.

        The boring logs prepared by CH2M Hill in 1987 show that material containing

 clay was present in all borings of soil near the sumps (LO-SO-01 through LO-SO-09 and

 RA-SO-01 through RA-SO-07). The soil was described in many cases as clayey silt, silty

 clay, clayey sand or sandy clay. Radian (Feb. 15, 1983), p. 3-23, gives a diagram of soil

 textural classes from a book by Hillei, "Soil and Water Physical Principles and Processes,"

 that shows that these definitions mean that the clay content is at least 30%. According

 to the boring logs, almost without exception, clay was present in the top 15-20 feet of the

 soil and in many cases also much lower.

        Drilling mud consists essentially of bentonite clay which mostly consists of a type




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 of clay having a chemical structure termed "montmorillonite." Radian (15          b. 1983), p.

 2-1, states that in the early to mid-1950's, drilling mud was used to cover son     of the

sumps in the Ramparts section while in the late 1950's the western sumps were overed

during the construction of the Los Coyotes golf course. (This cover is described, p. 3-15,

as being clayey topsoil). The drilling logs of CH2M Hill give information on nine

boreholes drilled in the Ramparts sumps. These show that drilling muds were disposed

of in the R-l, R-2 and R-4 sumps. The CH2M Hill drilling logs also indicate the

presence of clay material above the waste within sumps. The Ecology and Environment

report (1991) on the subsurface investigation at sump L-l indicated significant clay cap

material, up to as much as 10 feet in thickness.

        Radian (17 Mar., p. 3-15) further quotes a soil survey by Wachtell in 1978. The

natural soils in the Ramparts area, are described as being primarily clays and clayey

loams. From the soil survey, the Los Coyotes area is reported as consisting mostly of a

sandy loam with clays possibly occurring along the western edge.



5. Reactions

       To obtain an understanding of the probable reactions and changes in composition

of the McColl wastes over the last 45 to 50 years requires piecing together data and

information from a variety of sources. Several observations and facts are pertinent:

        Source of SO,: It is evident that sulfuric acid is slowly reduced to SO2 by organic

material in the alkylation waste. Kalichevsky and Stagner (1942), p. 76, give data on the

increase in SO2 over a 21-day period in a waste from treatment of cracked gasoline. A




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          fresh acid waste from refining of heavy oils analyzed 1.37% SO2 and this a mm of SO,
/**"si
          increased as the waste aged (Kalichevsky and Stagner, p. 122). The H2SO4 .      he waste

         at McColl may still be slowly reduced to SO, by organic material present. Ho1 ver, SO,

         has a considerable solubility in H2SO4. The SO2 that escapes to the atmosphere -hen

         McColl waste is first exposed probably represents release of entrapped gas and dissolved

         SO,.

                Polymerization and Condensation: The presence of sulfuric acid will catalyze the

         polymerization and condensation of unsaturated compounds to form higher molecular

         weight material. These reactions will occur in the absence of air but are accelerated by

         oxygen (see "Autoxidation" below). The most reactive compounds disappear first so the

         process as a whole will steadily decrease in rate with time. Some compounds such as

         saturated hydrocarbons will never polymerize in the absence of oxygen but may become
/*">,
         autoxidized or adsorbed onto clay. This explains why tar, which is an intermediate

         product between the waste and asphaltic cement, still exists within the sumps.

                Autoxidation: It has been observed that tar appearing on the surface as tar seeps

         often hardens rapidly. This is a type of polymerization/condensation which is set off by

         oxygen and is termed autoxidation. Autoxidation is defined as a spontaneous, self-

         catalysed oxidation from air and occurs with a large variety of substances. An example

         of autoxidative polymerization occurring at ambient conditions is the commonly-

         experienced use of an oil-base paint. Upon exposure to air, the paint thickens and

         hardens. There are many other examples. The viscosity of a vegetable oil such as

         linseed oil is increased by blowing with air at moderately elevated temperature.




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 Similarly the viscosity of asphalt is increased by air blowing (Earth, 1962).   -tany years

 ago Kalichevsky and Kobe (p. 107) reported that lubricating oil acid wastes       ay be

 allowed to solidify on standing."

       A principal purpose of sulfuric acid treatment of petroleum products is to remove

components especially susceptible to autoxidative polymerization, since this reaction

leads to the formation of insoluble gums in gasoline and distillate fuels and sludges in

lubricating oils. The reactions are highly complex but may be divided into two types,

dehydropolymerization and polycondensation. The two types may be symbolized in

general as:

        RH + R'H ,^3^ R-R' + H2O etc.                            (1)

        R(O)H + R'(0)H --> R-R' or R(O)R' + H2O etc. (2)

Here RH and R'H represent hydrocarbons from which, in an overall sense, hydrogen is

removed by oxygen to form H2O, accompanied by combination of the two hydrocarbons

to form a larger molecule, R'R'. The process then repeats. R(O)H and R'(O)H

represent insertion of oxygen from the air as the first step, followed by elimination of

H,O and condensation. Again, the process repeats to form higher molecular weight

products.

       Unsaturated bonds, e.g., those in olefinic compounds and aromatics, are

particularly susceptible to autoxidation but the degree of reactivity varies greatly with

structure. Some sulfur and nitrogen compounds even in small amounts greatly accelerate

the oxidation rate (Lundberg, Vol. II, p. 716), while other materials act as inhibitors.

Thus the overall oxidative polymerization rate can vary greatly with slight changes in




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        composition. This explains why one tar seep at McColl may harden rapid,       vhile
       another may remain fairly soft.

              The most probable mechanism in dehydropoiymerization (reaction 1) ir. >lves

       initial reaction with oxygen to form a hydroperoxide which in turn decomposes tc initiate
       a polymerization reaction that proceeds by a free-radical (or ionic) chain mechanism.

              In polycondensation (reaction 2) the initial reaction is that of oxygen with the

       organic to form an acid, alcohol or similar oxygenated structure. These then combine

       with the release of water. A simple example in commerce is the manufacture of

       polyester polymers by condensation of a dicarboxylic acid and a dihydroxy alcohol. More

       information on oxidative polymerizations is given in books by Scott (1965) and a two-
       volume compilation edited by Lundberg (1962).

              Autoxidation would accelerate the conversion of the original waste to a thicker

       tarry material, but this would depend on the extent to which air could have access to the

       waste. One can visualize two extremes: (i) Waste was disposed on a rotating basis

       amongst several sumps, forming a relatively thin layer and with considerable intervals

       between disposals. This would maximize autoxidation. (2) One sump at a time was

       filled, reducing the opportunity for autoxidation.

              Sludge Asphalts: Some further clues come from scattered information on so-

       called "sludge asphalts." For many years (e.g., 1910-1950) these were produced from

       sulfuric acid sludge resulting from treatment of a variety of petroleum products in

       refineries. A great variety of methods were used to treat the sludge with the objective of

       producing asphalt of desired physical properties. Samples of six sludge asphalts were


/**>



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        examined by Abraham (Abraham, p. 192). Most of his characterizations a, of minor
/*""N
        interest here, but he reports that his sludge asphalts had a high sulfur comet    from 5.4

        to 8.7 wt%. He also comments that sludge asphalts significantly differ from 01 *r

        asphalts in having a high percentage of oxygen, but gives no data. He also repor.ad that

        air blowing of sludge asphalts hardens the sludge.



        6. What Happens When Clays Contact An Acidic Hydrocarbon Waste?

               First and foremost, clayey material at McColl, when contacted with acid waste,

        was transformed into a solid acid catalyst. This catalyzed polymerization/condensation

        and simultaneously the products were adsorbed onto the acidic clay, forming an asphaltic

        cement-like material. The following describes how the solid acids are formed and then

        how the clayey material could have contacted and converted the waste.

               Clays after acid treatment have been used for decolorization of mineral oils since

        the 1920's and the first petroleum cracking catalysts (early 1930's) were prepared by first

        treating bentonite clay with sulfuric acid (Ryland et al., p. 14). The reactions of sulfuric

        acid with a clav are complex, but they involve replacement of exchangeable cations with

        hydrogen to form so-called acid-clays, together with various degrees of dissolution of the

        clays and precipitation of new phases. These changes depend on acid concentration,

        temperature and time of contact.

               Clays are hydrated aluminosilicates that exist in a variety of types of structures.

        Two of the types commonly found are:

               Kaolin (ideal) Al4Si4O10(OH)8- nH2O


                                                       11



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       Montmorillonite (ideal) (Al315Mg085)Si8oO20(OH)4X08S-nH2O
              where X = monovalent cation

       Drilling muds consist essentially of bentonite, a montmorillonite type ot ay,

which swells in water to form a thixotropic gel. The above two types are the "ide d"

compositions but in nature impurities may be present.

       As an example of the effects of acid treatment, Mills et al. (1950) give detailed

information on the degree of removal of various cations from a variety of bentonite clays

using 5-20% sulfuric acid at 93" C for times of up to 16 hours, followed by extensive

washing. Impurities (Ca, Mg, Fe) in the ideal montmorillonite structure are typically

present in the order of 1-4 wt.% each. For a representative case, the percent removal of

various ions as reported by Mills et al. was Na, 90%; Ca, 96%; Mg, 60%;

Fe, 63%; Al, 47%. In the case where a clay is mixed with McColl acidic waste, clay

would be converted into the acidic form by replacement of cations, together with varying

degrees of solution of alumina, followed by complex precipitation of hydroxides as pH

rose with gradual disappearance of suifuric acid.

       Benesi (1956) prepared samples of hydrogen-exchanged montmorillonite and

kaolinite by treatment with an ion-exchange resin in the acid form, so as to avoid the

dissolution-precipitation of the clayey material. He reported that the clays had acid

strengths, in terms of the Hammett acidity function, Ho, of about -5.6 to -8.2. These

were determined by colorimetric indicator methods (see, e.g., Satterfield, 1991) and this

acid strength is equivalent to a sulfuric acid concentration of 71 to 90% (Benesi, 1956).

The acidified clays can thus catalyse the same polymerization/condensation (and other




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reactions) as concentrated sulfuric acid. In addition, these acidified clays a   also good

adsorbents. The combination leads to the formation of an asphaltic cement-, a

material.

       Contact of acid waste with clayey material could have occurred at McColl a at

least three different ways.

       A. The sides of the sumps were sloped. As waste was deposited down the slopes

there would have been opportunity for the concentrated acid in the waste to dissolve

and/or suspend clayey material. Upon subsequent drop in sulfuric acid concentration by

rainwater, reduction to SO2, etc., converted clayey-type material would precipitate and/or

coagulate with polymeric carbonaceous material to form an asphaltic cement.

       B. In sumps covered with drilling mud or a clay cap, contact of waste and the

clayey material could have caused the same processes as in (A) above. The EPA 1990

report in Appendix F (p. F-2) gives the density of raw char as 74 lb/ft3 and raw tar as 33

lb/ft3, as measured in the field by weighing a 5-gallon bucket of waste material. The

value for tar seems low, but in any event the density of asphaltic cement would be

expected to be greater than that of tar, so it would tend to settle, providing a mechanism

for gross mixing when drilling mud was dumped on top of tar in the sumps. The

difference in density between the two materials would also explain why the less dense tar

material would be found above the much denser asphaltic cement. Small pockets of tar

may also exist within the asphaltic cement. These could be due to non-reactive tar

trapped within the asphaltic cement matrix, or tar which is only slowly converting to

asphaltic cement because of lack of oxygen.




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       £. Other sumps are presently covered with several feet of soil. Th soil

 generally appears to contain clayey material that would react as in A and B_ ^ove.
       As described above, it becomes evident that clays play a key role in cot ersion of
 tar to asphaltic cement. In summary:

       A. Clays are converted to the acidic form by sulfuric acid.

       S. Acidified clays dissolve/disperse.

       £. The converted clays precipitate and/or coagulate as acid concentration drops.

Simultaneously, the clays

        • catalyze polymerization reactions, and

        • adsorb polymeric materials and gradually become inactive as they

          become coated.

The result is the formation of an asphaltic cement.



8. Can Asphaltic Cement Be Converted into Tar?

       Acid catalysts such as sulfuric acid and acidified clay can catalyze a wide variety

of reactions of hydrocarbons and other organics.      (Satterfield, 1991, Chapter 7; Tanabe,

 1970; and other sources): Polymerization and condensation reactions readily occur and

the polymeric products are adsorbed onto the clay. As these products accumulate, they

surround the clay particles and the clay becomes inactive.

       The reactions described here ail occur spontaneously at ambient conditions and

are mildly exothermic (i.e., give off heat). Likewise the adsorption of waste onto clay is

exothermic. Thus the reverse of these reactions cannot occur spontaneously under the




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same conditions that drove them forward. To convert an asphaltic cemen         ito a tar

would require a high temperature pyrolysis (which is endothermic, i.e., soak     p heat) or

some form of hydrogenation in massive processing equipment. None of these inditions

exist at the McColl site.

       There is no theory or evidence that asphaltic cement in the McColl sumps will be

converted back into tar under the conditions there. Everyday observations and

knowledge of reactions occurring with carbonaceous materials indeed all indicate that

conversions are in the opposite direction. For example, in mining coal one does not

observe tarry material accompanying it, and an asphalt road gradually becomes harder

rather than softer with time.




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                              APPENDIX J

         Shroud System Configuration Development Task,
      Summary Report, Subtask 2, Technical Considerations
       for Developing Shroud System Configuration (Draft)




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               SHROUD SYSTEM CONFIGURATION
                    DEVELOPMENT TASK
                           SUMMARY REPORT
                              SUBTASK 2
              TECHNICAL CONSIDERATIONS FOR
                DEVELOPING SHROUD SYSTEM
                     CONFIGURATION
                         (DRAFT)


                        MCCOLL SUPERFUND SITE




                                 August, 1992




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  APPENDIX A          ESTIMATED      EMISSION            RATES   DURING
                      SOLIDIFICATION




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                                       LO INTRODUCTION
   1.1       Purpose

   1.        The purpose of Subtask 2 was to identify and evaluate relevant site conditions,
             technical criteria and rationale for the development of an emissions collection
             shroud. The goal of this subtask was to identify site conditions which affect
             shroud design and operating characteristics. Based on these considerations, the
             criteria and basis for developing a preliminary shroud configuration and operating
             strategy are to be developed.           In addition, technical and engineering
             considerations which require additional evaluation prior to design in Subtask 3
             were identified, including those considerations which may ultimately prevent
             implementation of some remedial alternatives which rely on a shroud system.

   12    Background

   1.        The use of a shroud system to collect the emissions generated by in situ
             solidification was initially proposed by the McColl Site Group1 (MSG) in the
             "Selective Excavation Plan".2 The proposed shroud system consisted of the
             following major components:

                    A "primary" shroud to contain emissions from the area being solidified.
                    A larger "secondary" shroud which would cover the primary shroud,
                    thereby increasing the degree of emission collection efficiency.

  2.         Since that time, EPA has proposed the use of a shroud in the following
             alternatives considered in the SROA H:

                    Full In Situ Solidification
                    Soft Material Solidification
                    Selective In Situ Solidification Without Waste Excavation

  3.         This report contains the results of a collaborative effort (referred to as the
             Shroud System Configuration Development Task) by the California Department
             of Toxic Substances (DTSC) and the MSG. The purpose of this effort was to
             further examine if and how the shroud would contain air emissions produced
             during in-situ solidification. The task was divided into the following three
             subtasks:

         1
          The McColl Site Group is composed of Shell Oil Company, Atlantic Richfield
  Company, Phillips Petroleum Company, Union Oil Company of California, and Texaco
  Refining and Marketing, Inc.
         2
          McColl Superfund Site Selective Excavation, Treatment and RCRA Equivalent
  Closure Report, dated February 12, 1991, prepared by Envkonmental Solutions, Inc. and
  Environ, for the MSG.
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                    Subtask 1:    Literature Survey
          •         Subtask 2:    Comparison of Existing Technology with McColl Site
                                  Conditions
                    Subtask 3:    Shroud System Preliminary Configuration

  4.     The Shroud System Configuration Development Task - Summary Report (Subtask
         1, Literature Survey, July 1, 1992), containing a summary of the literature survey,
         has already been issued.

  13     Summary of Conclusions

  1.     In the evaluation of the Technical Considerations and the Shroud Configuration
         Development Criteria, a number of important design issues were identified which
         will significantly affect the configuration of the emissions collection shroud, and
         which may, ultimately, prevent use of a shroud for some remedial alternatives.
         These areas are:

                    Emissions
                    Boring and Mixing Equipment
                    Swell Material

  2.     In the evaluation of emissions and their potential effects on configuration design,
         the following issues were identified which may, depending on the remedial
         alternative selected, affect the design of the shroud:

                    An effective ground seal is required to prevent emissions. Factors which
                    significantly affect the integrity of the ground seal and the performance
                    of the shroud include the size of the shroud, the volume of swell
                    generated, and emissions. The volume of swell generated, and the
                    complexity associated with both containing the swell and controlling the
                    emissions associated with waste treatment, have a major impact on the
                    ability to successfully operate the shroud especially as the area! extent and
                    depth of waste/disturbance are increased. A shroud would need to be
                    designed to contain the swell, the normal emissions, and the transient
                    emissions, a difficult, if not impossible, proposition.

                    The shroud and emissions collection system must perform their function
                    during both normal in-process emissions and transient emissions of steam,
                    SOj, hydrocarbons and steam which will be released during neutralization
                    and solidification. SO2 and THC emissions depend on the amount of
                    waste disturbed and the rate of disturbance. As much as 2,800 grams of
                    SO2 per cubic yard of waste neutralized/solidified is expected to be
                    released. In contrast to SO2 emissions, THC emissions are produced
                    during waste disturbance and by volatilization, which is enhanced by the
                    elevated temperatures reached during neutralization/solidification. The
                    estimated THC release is approximately 5,000 to 6,000 grams per cubic
                    yard treated. ^ Calculation of transient emissions indicates that

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                    neutralization of pH -0.2 waste will generate approximately 1,400 cubic
                    feet per minute of steam pockets which will contain puffs of SO2 and
                    other gaseous emissions. The time required for the steam to rise to the
                    surface of the borehole is a critical factor in defining the shroud
                    configuration. Neutralization/stabilization of the wastes down to, and
                    including, the tarry wastes, have low potential to create significant
                    transient emissions because of the ability to mix less acidic waste with
                    more acidic waste. The potential for transient emissions rises dramatically
                    as the asphaltic cement is penetrated and the potential for encountering
                    highly acidic waste pockets increases. In addition, as the depth of
                    treatment increases, the transient release is expected to become
                    particularly violent due to increasing pressure. The shroud design must
                    be able to contain any transient off gas bursts.

 3.      The selection and design of the boring/mixing equipment will affect the shroud
         design. These effects include:

                    The auger size and auger configuration will impact shroud dimensions, as
                    will the proposed remedy and the depth of treatment.

                    The shroud design must reflect the weight and size limitations imposed
                    by the currently available auger/crane units. The maximum shroud height
                    and diameter is approximately 22 feet and 28 feet respectively, and
                    maximum weight is 15,000 pounds. This will restrict the potential
                    materials of construction and the volume of swell the shroud will be able
                    to contain.

 4.      The volume of swell generated in the in-situ solidification process will have a
         major impact on shroud configuration. The swell volume will be a function of
         the swell factor (based on the volume of reagents added), and the depth to
         which the solidification is performed. The effects of swell volume on the shroud
         configuration include:

                    Using a 45 percent swell factor, the volume of swell from each 5-foot
                    diameter borehole can range from 4.9 yd3 to 18.0 yd3 for solidification of
                    15 feet and 55 feet, respectively. The volume of swell generated by
                    full-depth solidification will not be containable within the shroud, and will
                    create swell management problems each time the shroud needs to be
                    moved. The problems are aggravated as the depth and volume are
                    increased. Balancing the shroud size, weight, strength, and materials of
                    construction against the volume of swell and emissions may make certain
                    remedial options non-viable.




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                     2.0     SITE CONDITIONS RELEVANT TO THE EVALUATION AND
                                   DEVELOPMENT OF A SHROUD SYSTEM

           1.      The development of the shroud system configuration must consider the impact
                   of the various waste types. In this section, the relevant McColl site conditions
                   have been evaluated against the major technical considerations identified. The
                   major technical considerations have been divided into three general categories:
                   (1) emissions, (2) boring/mixing equipment interface, and (3) swell interface.
                   Table 2.1 summarizes the impact of the four major waste types on the technical
                   assumptions used in developing the shroud system. The remainder of this section
                   contains further discussion of the various technical considerations. Figure 2.1
                   provides a schematic representation of the shroud unit and the relationship of
                   a number of design elements.
           2.      Based on the discussions in this section, a set of preliminary criteria for
                   evaluating and developing a shroud system is presented in Section 3.0 of this
                   report.

           2.1     Emissions

           2.1.1   Shroud System Function and Emission Source

           1.      The primary function of a shroud would be to collect gaseous emissions during
/****%             and after in-situ treatment of the McColl waste. The emission sources
                   considered in this subtask include the four waste types, and the swell materials
                   produced by the mixing of the wastes and the solidification reagents. These
                   swell materials would consist of solids, slurries and/or liquids, and would contain
                   some level of wastes and constituents of concern.

           2.1.2 Emission Rates
           1.      Emission rates would be expected to vary during and after treatment. Initially,
                   emissions would be expected to be produced by: (1) the disturbance of the
                   wastes, and (2) increasing temperatures caused by the neutralization of the acidic
                   materials. Neutralizing pockets of highly acidic waste would generate steam
                   which would contain significant levels of SO2 and other gaseous emissions. The
                   generated steam could be trapped in the borehole and be released when
                   sufficient pressure buildup occurs. A sudden and potentially explosive release of
                   steam and other gases could, depending on volume and pressure, overwhelm the
                   ability of the emissions control system to contain the emissions. In a severe
                   event, this could lead to a loss of containment and an emissions release to the
                   environment at levels high enough to constitute a short-term hazard to workers
                   and the community.




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                                                   Exhibit 43
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                                                                           #:6151
                                                                         Table 2.1
                                                   Technical Considerations for Developing Shroud System
                                                                Configuration - McColl Site
                                                                                                                                                                                                  Page 1 of 4
                                                      IMPACT OF SITE-SPECIFIC CONDITIONS

  DESIGN CONSIDERATIONS                               ARSENIC-CONTAMINATED MATERIAL0'                      DRILLING MUD<1>                 TARRY WASTE                 ASPHALTIC MATERIAL

  SWELL INTERFACE                                       Reagent formulations and mixing process will          Reagent formulations           Reagent                      Reagent formulations and mixing
  QUANTITY AND CHARACTERISTICS                          determine the swell characteristics                   and mixing process will        formulations and             process will be needed.
  • Solids                                                                                                    determine the swell            mixing process will          Swell volume will be proportional to
  • Slurry                                                                                                    characteristics.               be needed.                   the volume of reagents added.
  • Liquids                                                                                                                                  Swell is directly            Use of liquids during drilling to
  • Effect of swell temperature and corrosivity                                                                                              proportional to the          improve mixing will increase liquid
    cm shroud and auger material of                                                                                                          volume of reagents           volume of swell.
    construction.                                                                                                                            required to achieve          Swell will increase in volume due to
                                                                                                                                             stabilization.               solids expansion during drilling.
                                                                                                                                             Due to density               Due to density difference, untreated
                                                                                                                                             difference, untreated        waste will be brought to surface.
                                                                                                                                             waste will be brought
                                                                                                                                             to surface.

  HANDLING AND RETENTION.                                Special safety provisions needed to prevent       None                              High potential for           Due to the depth of each pass,
  • Solids                                               particulate emissions.                                                              tarry material rising        allowances have to be made for a
  • Slurry                                                                                                                                   to the surface.              large volume of swell material.
  • Liquids                                                                                                                                                               High potential for untreated solids to
                                                                                                                                                                          reach surface.

  EMISSIONS                                              Primary function is dust control.                    Due to lower potential         Contains waste and           Contains waste and constituents of
  SHROUD SYSTEM FUNCTION:                                                                                     emissions, it has a lesser     constituents of              primary concern.
  * Collect emissions during and after                                                                        impact on shroud               primary concern.             Potential for high emissions during
    treatment.                                                                                                function.                      Potential for high           treatment and during curing after
                                                                                                                                             emissions during             treatment.
                                                                                                                                             treatment and during
                                                                                                                                             curing after
                                                                                                                                             treatment.

  EMISSION SOURCE                                        Reagent formulation and mixing process            None                              Reagent formulation         Reagent formulation and mixing
  • Swell Source                                         impact source.                                                                      and mixing process          process impact source.
  • Swell Slurry                                                                                                                             impact source.              Continued emissions after treatment
  • Swell Liquids                                                                                                                            Continued emissions         will impact emissions control systems.
  • Waste Layers                                                                                                                             after treatment will        Large volume of swell increases
                                                                                                                                             impact emissions            emission source volume.
                                                                                                                                             control systems.


(1) Arsenic and drilling muds may not be found in a waste free form, and may be mixed with tarry or asphaltk materials. Mixed arsenic waste or drilling muds are considered as part of the tarry waste or asphaltic
    material for purposes of this evaluation.



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                                                                    #:6152
                                                                                    Table 2.1
                                                              Technical Considerations for Developing Shroud System
                                                                           Configuration - McColl Site
                                                                                   (Continued)

                                                                                                                                                                                     Page 2 of 4
                                                 IMPACT OF SITE-SPECIFIC CONDITIONS

  DESIGN CONSIDERATIONS                          ARSENIC-CONTAMINATED MATERIAL<1>                    DRILLING MUD<'>          TARRY WASTE                           ASPHALTIC MATERIAL

  EMISSIONS (Cont'd)                             • Reagent formulation and boring/mixing             None                      • Reagent formulation and            • Reagent formulation and
  EMISSION RATE:                                   equipment impact emission rate.                                               boring/mixing equipment              boring/mixing equipment impact
  • During Treatment                                                                                                             impact emissions rate.               emission rate
  • Maximum Emission                                                                                                           • Low pH may increase                • Higher potential for maximum
  • Post-opentkm                                                                                                                 emission rates due to heat of        emissions due to greater depth and
                                                                                                                                 neutralization.                      the potential for trapping the
                                                                                                                                                                      emissions.
                                                                                                                                                                    • Lower pH of asphaltic materials and
                                                                                                                                                                      inability to mix with other materials
                                                                                                                                                                      increases potential problems due to
                                                                                                                                                                      heat of neutralization.
                                                                                                                                                                    • Large volume of material treated
                                                                                                                                                                      increases duration of post-operation
                                                                                                                                                                      emissions.

  GROUND SEAL:                                   • Requires control of particulate emissions.        None                      •' Requires a highly teak-tight      • Requires a highly leak-tight design.
  • Effect of site topography variations.                                                                                         design.                           • Large swell volumes will significantly
  • Maintaining seal/potential leakages                                                                                        • Swell volume will reduce             reduce the effectiveness of the ground
    during treatment and shroud                                                                                                   effectiveness of ground seal.       seal and may prevent shroud use
    movement.                                                                                                                  • Liquid nature of the swell may       altogether.
  • Interface with tertiary shroud.                                                                                               reduce effectiveness of ground    • Liquid nature of the swell may reduce
                                                                                                                                  seal.                               effectiveness of ground seal.


(1) Arsenk and drilling muds may not be found in a waste free form, and may be mixed with terry or asphaltk materials. Mixed arscnk waste or drilling muds are considered as part of the tarry waste or asphaltic
    material for purposes of this evaluation.




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                                                                                                    6109
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                                                                     #:6153
                                                                                      Table 2.1
                                                               Technical Considerations for Developing Shroud System
                                                                            Configuration - McColl Site
                                                                                    (Continued)
                                                                                                                                                                                       Page 3 of 4
                                                IMPACT OF SITE-SPECIFIC CONDITIONS

  DESIGN CONSIDERATIONS                         ARSENIC-CONTAMINATED MATERIAL*1'                      DRILLING MUD<!>           TARRY WASTE                        ASPHALTIC MATERIAL

  EMISSIONS (Cont'd)                            None                                                  None                      • Air flow would need to be        • Air flow would need to be
  AIRFLOW:                                                                                                                        sufficient to remove               sufficient to remove contaminants
  • Auger annulus conduction.                                                                                                     contaminants and transient         and to remove transient
  * Treatment system interface.                                                                                                   steam emissions.                   emissions.
  * Potential shaft and ground seal                                                                                             • Auger annulus would be the       • Auger annuius would be the
    leakages.                                                                                                                     primary emissions pathway,         primary emissions pathway, which
  * Temperature induced puffs.                                                                                                    which may be subject to            may be subject to potential
  • Normal and maximum emission                                                                                                   potential plugging, creating       plugging due to targe swell
    rates.                                                                                                                        potentially hazardous              volume, creating potentially
  • Performance requirements.                                                                                                     conditions.                        hazardous conditions.

  PERFORMANCE REQUIREMENTS:                      • High reliability factor is needed for control                                - High reliability factor is       • Must allow for increased auger
  • Pence line limits.                             ofdusts(2).                                                                    needed for control of              failure and replacement during
  • Treatment system efficiency.                                                                                                  emissions'2' during normal         drilling operations.
  • Reliability during normal and                                                                                                 and transient conditions.        • High reliability factor is needed
    unexpected conditions.                                                                                                                                           for control of cmissions(2) during
                                                                                                                                                                     normal and transient conditions.

  BORING/MIXING EQUIPMENT                        • Single auger (large diameter) with short            • Single auger            • Single auger (large diameter)   • Double auger (small diameter)
  INTERFACE                                        mixing head may be adequate.                          (large diameter)          with short mixing head may        with long mixing head may be
  • Size/configuration of Shroud due to                                                                  with short mixing         be adequate. However,             needed.
    mixing element design(3)                                                                             head may be               multiple augers may be          • Auger head will likely have to be
                                                                                                         adequate.                 necessary to mix the tar,         changed when reaching this layer,
                                                                                                                                   given its consistency.            due to the need to grind the
                                                                                                                                                                     asphaltk material into small
                                                                                                                                                                     pieces, in comparison to the
                                                                                                                                                                     mixing required for the tarry
                                                                                                                                                                     layer.


(1) Arsenk and drilling muds may not be found in a waste free form, and may be mixed with tarry or asphaltic materials. Mixed arsenic waste or drilling muds are considered as part of the tarry waste or asphaltic
    material for purposes of this evaluation.

(2) Required reliability factors are to be determined as part of this study. However, a safety factor of at least 2 is generally used in studies of this type.

(3) Auger selection is based on the combined requirements determined by the type of material to be augured, the treatment and potential emissions rates. Soft materials such as drilling muds may be solidified
    using a large diameter auger. Harder materials, such as the asphaltk cement or materials which may need greater mixing capability, may require small diameter and multiple augers.




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                                                                                      able 2.1
                                                              Technical Considerations for Developing Shroud System
                                                                           Configuration - McColl Site
                                                                                    (Continued)
                                                                                                                                                                                      Page 4 of 4

                                                          IMPACT OF SITE-SPECIFIC CONDITIONS

  DESIGN CONSIDERATIONS                                  ARSENIC-CONTAMINATED MATERIAL(l>                      DRILLING MUD<»                 TARRY WASTE                    ASPHALTIC MATERIAL

  BORING/MIXING EQUIPMENT INTERFACE                         Reliable means for retaining and handling          None                           • Removal of tarry                Removal of tarry and
  (Confd)                                                   secondary waste.                                                                    material would require          asphattk materials would
  AUGER CLEANING:                                                                                                                               special cleaning                require special cleaning
  • Cleaning method                                                                                                                             solutions or equipment.         solutions or equipment.
  • Cleaning agents                                                                                                                                                             Removal or cleaning of swell
  • Secondary waste handling                                                                                                                                                    would be a problem.

  USE OF LIQUID DURING DOWNWARD                              May not be required.                              • May not be required.            May not be required.           Large volume would likely be
  INSERTION OF AUGER                                                                                                                                                            required to improve
                                                                                                                                                                                neutralization, mixing, and
                                                                                                                                                                                temperature control;
                                                                                                                                                                                increases swell and handling
                                                                                                                                                                                problems.

  ACCESS DURING:                                          • Special safety provisions would be needed.         None                           • Special safety provisions       Special safety provisions
  • Unexpected conditions                                                                                                                       would be needed.                would be needed.
  • Personnel entry                                                                                                                                                             Large volume of swell would
  • Machinery entry                                                                                                                                                             complicate access.
                                                                                                                                                                                Auger replacement would
                                                                                                                                                                                require special access
                                                                                                                                                                                considerations.

  MOVEMENT FROM ONE BOREHOLE TO                           None                                                 None                           None                              With increasing depth,
  ANOTHER:                                                                                                                                                                      movement from one borehole
  • Maintaining seals at auger shaft and ground                                                                                                                                 to another would increase in
    interface.                                                                                                                                                                  difficulty because of
                                                                                                                                                                                continued offgasing and large
                                                                                                                                                                                swell volumes.


(1) Arsenk and drilling muds may not be fotrad in a waste free form, and may be mixed with tarry or asphaltk materials. Mixed arsenk waste or drilurig muds are considered as part of the tarry waste or asphattic
    material for purposes of this evaluation.




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                                                  Auger Shaft -                                                 BORING/MIXING
                                                                                                                 EQUIPMENT
                                                                                                                 INTERFACE
                                                   Potential                                                •   Size/Configuration
                                                  Emissions                                                 •   Auger Cleaning
                                                                           f Auger Shalt/                   •   Liquid Usage
                             Secondary Shroud                              Shroud Interface                 •   Access
                                   •BMdKQBK                                                                 •   Movement
                                    Primary Shroud

             Inlet Air
                                                                       Inlet Air
                                             Inlet Air                                                                       AIR
                                                                                                                       "TREATMENT
      EMISSIONS
 Shroud System Function                                                                                                      AIR
 Emission Source                                                                                                        TREATMENT
 Emission Rate
 Ground Seal
 Auger Shat Seal                                                                                                  CLEANING WASTE
 Air Flow
 Performance Requirements                                        Auger
                                                                 Mixing
                                                               Equipment

                                                                                                                    Soil/Shroud Interface

                                                                             Auger Hole
                            SWELL INTERFACE                                                               FIGURE 2.1
                            Quantity/Characteristics                                                      TASK 2
                            Abtfty To Handle                                                           SCHEMATIC OF
                            Within Shroud                                                     SHROUD TECHNICAL CONSIDERATIONS
                                                                                                      McCOlL SITE GROUP
DRAFT                                                                 Exhibit 43
                                                                                               ENVIRONMENTAL SOLUTIONS, INC.
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   2.     The maximum transient emission rate is based on 1) the potential for large
          "puff emissions to occur due to the disturbance of the waste and penetration
          into gas pockets and 2) the emissions generated by high neutralization
          temperatures. It is necessary to design the shroud to be able to contain the
          peak emission rate and to prevent a build-up of pressure and contaminants
          within the shroud which could disrupt the soil/shroud seal or the auger/shroud
          seal and could release emissions to the surrounding area, a very difficult, if not
          impossible, proposition. Further, a build-up of contaminants within the shroud
          may cause the emissions to exceed the design of the emission treatment system,
          potentially releasing contaminants into the environment, which could constitute
          a short-term hazard to workers and the community.

   2.1.3 Ground Seal

   1.     The seal of the shroud to the ground surface must be considered as part of the
          overall design. The shroud/ground seal must be effective in containing emissions
          within the shroud. The shroud must be designed to adjust for variations in site
          topography and to prevent leaks during treatment and shroud movement.
          Further, due to the expected volumes of swell generated by the solidification
          process, and the potential for high emission rates, a build-up in pressure within
          the shroud could force swell materials out of the shroud, disrupting the ground
          seal, and releasing emissions to the environment or carrying swell material into
          the emission treatment system. Based on the potential for leakage at the
          shroud/ground interface, a highly reliable ground seal, capable of withstanding
          the expected pressures and swell volumes, would need to be developed, a very
          difficult, if not impossible, proposition.

   2.     Potential ground seal designs include a knife-edge type seal which can be pressed
          into the soil, 2 to 6 inches to create a seal, as presented in the Selective
          Excavation Plan. Other potential designs include the use of plastic flaps/drapes
          around the shroud, as presented in the SROA II, or the use of interlocking rods
          which may act as a skirt/seal around the shroud. Given the expected fluidity
          of the swell material, the use of any non-rigid ground seal is highly questionable.

   2.1.4 Auger Shaft Seal
   1.     To contain emissions within the shroud, a seal must be designed to prevent
          emissions from escaping around the auger shaft/shroud interface. In the design
          of the auger/shroud seal, a number of factors affect the design. These factors
          include:

                        Vertical shaft movement during augering and mixing.
                        Lateral movement due to shaft wobble.
                        Vibration of the auger unit.
                        Rotation forces around the shaft.
                        Waste material filling the shroud and riding up the shaft.


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  2.1.5 Air Flow

  1.     Control of contaminant flow is critical in removing contaminants from the shroud
         and transporting them to the air treatment system. The system must be designed
         to compensate for air leaks in the shroud, which are expected to occur at the
         auger shaft and ground interfaces. Air leakage is related to the concentration
         of contaminants within the shroud and to the volume of the shroud. As swell
         increases and the shroud volume decrease, the air flow rate must be altered to
         maintain sufficient surge volume to handle both normal emissions rates as well
         as the transient emissions rate previously discussed in Section 2.1.2. Because of
         the small surge capacity and the broad range of emission generation, air flow
         control may not be guaranteed at commercially practical stabilization rates.
         Further, air-flow control will be an integral role in controlling temperatures
         within the shroud.

  2.1.6 Performance Requirements

  1.     Performance requirements for the shroud system must be based on the allowable
         emissions levels, which are the sum of the emissions from the shroud, off-gassing
         of treated materials, the efficiency of the air treatment system, and the reliability
         or safety factor required to account for unexpected occurrences. Performance
         must also be based on maintaining the concentration of volatile gases in the
         shroud below the lower explosive limits. Based on these factors, an overall
         performance requirement for the shroud must be developed which will protect
         the community, site workers and the environment. The development of emissions
         performance requirements will be discussed further in Section 3.0.


 22      Boring/Mixing Equipment Interface

 2.2.1 Auger Size and Configuration

  1.     The selection of the auger size and configuration will have a significant effect
         on the shroud design. Depending on the auger selection, the shroud size, the
         material of construction and other factors will be affected. The selection of the
         auger size must be based primarily on the ability of the auger to penetrate the
         various waste types and to effectively mix the neutralizing and stabilizing agents
         with the wastes.

 2.      For purposes of this study, it has been assumed that a single, large auger (4 to
         8 feet in diameter) will be capable of solidifying arsenic containing soils and
         drilling mud. A smaller-diameter auger, or a multiple-auger system, may be
         required to effectively mix the tarry materials with the solidifying agents, due to
         their tar-like consistency. The use of a small-diameter auger is assumed for the
         asphaltic material, based on the need for higher torque to penetrate the asphaltic
         material. Notwithstanding the use of a smaller auger, it may prove difficult to
         penetrate the asphaltic material due to its hard nature and to reduce the particle

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              size of the asphalt to a size consistent with solidification, mass transfer and the
              mixing process.

       3.     The number and size of the augers will have an impact on the shroud design,
              including such features as the shape of the shroud, design of the auger shaft
              seal, the rate at which the auger penetrates and mixes, and the rate of emissions,
              which in turn affects the emission handling system. All of these factors will
              influence shroud selection and operation and will impact the viability of the
              various options.

       222    Auger Cleaning

       1.     In the design of the shroud, provisions must be made to allow cleaning of the
              augers and shaft. The requirements for cleaning should be based on levels of
              cleaning that sufficiently achieve decontamination to allow access for maintenance
              or repair. The shroud design must therefore allow for a cleaning mechanism,
              which may include physical cleaning methods such as scraping or the use of
              cleaning agents. The shroud design must include a mechanism or process to
              handle the cleaning residual or secondary wastes. The cleaning process must
              account for handling untreated or partially treated waste. Handling of tarry
              material also must be considered since this material may still have the
              consistency of a sticky tar or paste, which may be difficult to physically or
              chemically remove.

       223    Use of Liquids in Mixing Process

       1.     During the mixing process, the neutralization/stabilization agents may be added
              as a slurry or powder through the auger stem. Dry agents (powders) can
              generally only be pneumatically delivered to a depth of 10 feet Depending on
              the consistency of the waste, the reagents and the resulting mixture, additional
              liquid will be required to facilitate mixing and neutralization/solidification
              especially at depths greater than 10 feet. The use of additional liquids will
              increase the swell volume, and will alter its characteristics by making it more
              liquid in nature, requiring additional evaluation to manage the resulting swell.
              Further, the use of liquids while helping to control maximum temperatures will
              increase the levels of steam generated during the neutralization process and,
              consequently, the potential for pressure buildups during processing. These
              problems which already tend to increase with treatment depth would be
              compounded.

       2.2.4 Access

       1.     In the design of the shroud unit, access to the interior of the shroud must be
              allowed for repairs and maintenance. The shroud design would have to allow
-^            for personnel to safely and efficiently move in and out of the shroud.

       22.5 Movement During Processing

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  1.    During operation, the auger/shroud unit must be able to move from one
        borehole to another to maintain efficient processing. To allow movement from
        one borehole to another, the integrity of the auger/shroud seal must be
        maintained to prevent emissions from the shroud. Movement must allow for the
        release of swell from within the shroud while maintaining the connection between
        the shroud and the air treatment system. Although the bulk of the emissions
        are expected upon disturbance of the waste (the "puff1 phenomenon), there will
        be longer term emissions that must be controlled as the treated waste solidifies.
        Depending on the type and volume of reagents and the amount of water added
        to the waste, "curing" of the solidified material may take several days at the
        surface and even longer at depth. The swell material at the surface will
        continue to have some level of emissions until it is "cured". This will affect the
        duration of the remediation. Once again, the greater the amount of waste that
        is disturbed, the greater the potential for long-term emissions.


 2.3    Swell Interface

 2J.I Quantity and Characteristics

 1.     In the design of the shroud, the quantity and characteristics of the swell
        materials will significantly affect the design. In the neutralization/solidification
        process, the reagents will determine the final treated waste characteristics. These
        characteristics can range from solids to slurry to liquids, depending on the
        mixture and the volume of liquid added to facilitate mixing and the ability of
        the auger to break up the waste.

 2.     The overall volume of swell will be a function of the neutralization/solidification
        mixture required to achieve the required characteristics, and the depth or volume
        of waste treated. As the volume of waste treated increases with increasing
        depth, the amount of swell generated will also increase. In the SROA n, the
        estimated swell volume is reported to range from 10 to 30 percent. Based on
        the assumption that the reagent formulation consists of 20 percent water, 10
        percent lime, 10 percent Portland cement and five percent organophilic clay, the
        total swell volume would be at least 45 percent. The SROA II proposes a two
        step process. The first step would be to neutralize all the sumps. The second
        step would be solidification. In this two step process, the shroud would need to
        handle approximately one-half the total swell per step. Because the shroud must
        be able to handle a reasonable worst-case scenario, 45 percent swell from a
        single step process will be used as the estimated swell factor in this report.

 3.     Assuming a 5-foot diameter auger and a swell factor of 45 percent, the volume
        of swell would range from 4.9 yd3 (132 ft3) to 18.0 yd3 (485.5 ft3) for stabilization
        to a depth of 15 feet and 55 feet, respectively. Since the primary shroud must
        contain all of the swell volume brought to the surface, the depth of swell
        material within the shroud could become significant and hamper processing
        operations. The potential depths of swell within the primary shroud are

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         graphically shown in Figure 2.2 for primary shroud diameters of 7, 10, 14 and
         28 feet.

  4.     The potential volume of swell will significantly affect the process selected to
         collect and handle the swell, emissions collection, as well as the shroud design.
         As the volume of swell increases, the ability of the shroud to contain both the
         swell and the emissions is compromised.

  232    Handling and Retention

  1.     As discussed above, the shroud design would be required to include a system to
         retain and handle the swell volume generated during the treatment process. As
         part of this retention and handling system, the large volume of swell potentially
         generated would need to be collected for further treatment (if treatment is
         required), for disposal, or for forming within the shroud. Due to density
         difference between the reagents and the wastes, a potential exists for untreated
         materials to rise to the surface during processing, which may require further
         treatment and add to emissions, or may restrict final disposal.

 2.      When the shroud is lifted, liquid swell materials will flow out from the shroud,
         creating potential emissions from continued off-gassing of untreated waste
         materials. This liquid material will be difficult to manage and make working
         conditions more difficult.




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                           10     15     20            25   30     35      40     45     50    55
                                    DEPTH OF WASTE SOLIDIFIED (FEET)




                                                                            FIGURE 2.2

                                                                 ESTIMATED SWELL HEIGHT 45%

            P.S.O.« PRIMARY SHROUD DIAMETER                                 McCOLL SITE
                                                                        FUUERTON, CALIFORNIA

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               3.0 CRITERIA AND BASIS FOR SHROUD CONFIGURATION
   1.      Based on the foregoing analysis, This section describes the criteria and basis for
           developing and evaluating a preliminary configuration for a shroud system to be
           used during the in situ stabilization operations at the McColl Superfund Site.
           The shroud system consists of gaseous emission collection enclosures and
           accessories required to perform the specified functions.


   3.1     Emissions

   3.1.1   Functional Requirements

   1.      The primary function of the shroud system would be to contain and collect
           emissions released during the disturbance and in-situ neutralization/stabilization
           of the waste. Emissions collected by the shroud system would need to be
           removed and treated by an air filtration/treatment system.

  2.       The shroud system would need to be able to perform its function during the
           normal, transient, and post-operation gaseous emissions, as specified below.

  3.       The shroud system function includes a primary enclosure and a secondary
           enclosure, the purpose of which would be to confine the waste disturbed during
           the boring and mixing operations, including any swell material, which may consist
           of solids, slurry, and liquids.

  3.1.2 Emission Sources and Rates

   1.      Emissions to be collected by the shroud system include normal, transient and
           post-operation emissions. The shroud system must be designed to capture the
           peak emissions.

  2.       Waste consists of four general types: arsenic contaminated material, drilling mud,
           tarry waste, and asphaltic cement material. The waste is located within 12 sumps
           and is covered by a cap consisting of approximately 1 to 8 feet of soil (refer to
           McColl Site reference documents for physical and chemical properties of the
           waste). The tarry waste and the asphaltic cement material are the source of SO2
           and volatile organic compounds (e.g.. THC) emissions.

  3.       When the waste is disturbed, large volumes of SO2 and THC are released.
           Since volatilization of volatile organic compounds is increased at elevated
           temperatures, THC emissions are further increased as elevated temperatures are
           reached during the neutralization/solidification process. Projected bulk emission
           factors for SO2 and THC, expressed as grams per cubic yard of waste
           neutralized/solidified, are shown in Table 3.1. These values represent the
           estimated peak emission factors associated with the different waste types.


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  4.     Additionally, it is anticipated that the neutralization heat generated by adding
         reagents to highly acidic wastes could result in formation of a steam pocket in
         the borehole. After accumulation and pressure build-up, the steam pocket would
         travel to the borehole surface and erupt into the shroud. The volume of the
         steam discharged into the shroud during a transient condition is calculated to be
         approximately 1,400 cubic feet in a one minute period. For a 55-foot deep
         borehole, at least two such transient emissions (puffs) are anticipated. These will
         be puff-type emissions which will release steam, SO2 and hydrocarbons. For
         design purposes, the steam volume should be increased by at least a factor of
         2.0 to allow for safety.

  5.     Due to the heat of hydration and off-gassing from the disturbed waste, emissions
         from exposed waste are expected to continue well after the stabilization operation
         is completed. The shroud system must ensure these emissions are captured. An
         estimate of the post-operation emission rate must be developed during the shroud
         system configuration development subtask.

  6.     The shroud system must include all instrumentation and other features needed
         to monitor gaseous emissions and control the process in a manner that gaseous
         concentrations and gas pressures inside the shroud are within a safe range.

  3.1.3 Ground Seal

  1.     The shroud system ground seal must maintain gaseous emission leakages to the
         levels specified by the performance criteria (see Section 3.1.6).

  2.     The seal must be compatible with the site topography.

  3.     During the movement of the shroud from one borehole to another, the ground
         seal integrity must be maintained while the shroud system function is being
         transferred to the tertiary shroud.

  3.1.4 Auger Shaft Seal

  1.     The shroud system seal with the boring/mixing equipment shaft must maintain
         gaseous emission leakages to the levels given by the performance criteria (see
         Section 3.1.6). The seal must be compatible with the boring/mixing equipment
         described in Section 3.3.

  2.     Seal material must be compatible with the high temperature and low pH
         environment inside the shroud.




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                                                    Table 3.1
                                           Estimated Emission Factors



                                                                             VOLATILE
                                                        SULFUR               ORGANIC                    OTHER
                     WASTE                              DIOXIDE             COMPOUNDS                 COMPOUNDS
                                                         (g/bcy)              (g/bcy)                   (g/bcy)
   Arsenic Contaminated Material                                     (i)                       (i)              (i)
   Drilling Mud                                                      CD                        (i)              (i)
   Tarry Waste                                                      220                    6,000                (i)
   Asphaltic Cement Material                                    2,800                      5,500                (i)

 (1)     Emission concentrations to be determined and used for the final shroud system configuration. For the preliminary
         configuration efforts, it is assumed that SO2 concentrations for tarry waste and asphaltic material layers would be the
         controlling criteria. However, odor from thiophenes, which are not life threatening, would also affect the shroud
         configuration development.




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  3.1.5 Air Flow

  1.     The shroud system enclosures must have negative air pressure with respect to the
         ambient conditions.

 2.      The flow of air must be from the least contaminated to the highest contaminated
         zone (i.e., from ambient to the secondary enclosure, and from the secondary to
         the primary enclosure).

 3.      The shape of the shroud system enclosures must allow for minimal air pockets
         and must facilitate an efficient flow of the gaseous emissions to the air
         filtration/treatment intake ducts.

 4.      The air flow rates must be sized to handle normal, transient and post-operation
         emissions.   As an initial estimate, the flow rate must be based on one
         change-per-minute in the primary enclosure and four changes-per-hour in the
         secondary enclosure, based on the calculated SO2 concentrations.

 5.      The air flow system must be scaled to remove excess heat from the shroud.
         Temperatures within the shroud must be controlled to limit the temperature
         increase to 20°F above ambient conditions to assure that shaft seals and other
         parts are not damaged by high temperatures.

 3.1.6 Performance Requirements
  1.     The shroud system must perform its function while complying with the following
         performance requirements:

                    SO2 releases: The shroud system must maintain the level of SO2
                    measured within 10 feet distance from the outside of the secondary
                    enclosure to no more than 0.5 ppm above the background concentration.
                    The method for measuring the concentration must be the same as that
                    for measuring ambient SO2 levels specified in the California Air Quality
                    Standard 953 (FR80, April 26, 1988, p. 14926). This level, which is
                    specified as the average over a one—hour period, must be maintained
                    during normal, transient and post-operation conditions.

                    Hydrocarbon gas concentrations: The concentration of hydrocarbon gases
                    inside the shroud must be kept to less than 25 percent of their explosive
                    concentration limits,




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  32        Mixing/Boring Equipment Interface

  1.        The shroud system must be compatible with currently available boring/mixing
            equipment. Based on a preliminary survey of available standard equipment, the
            shroud system must consider the following:

                    A 5-foot diameter, 6-foot high mixing blade mounted on a 13-inch
                    square Kelly bar shaft, or multiple smaller augers each mounted on its
                    own shaft.
                    Boring/mixing blade with adjustable rotation.
                    A 2-inch maximum lateral movement of the shaft at the point where it
                    meets the top of the shroud system enclosure.
                    Shroud size limitations:
                        must not extend more than 14 feet from center of the borehole to the
                        front of the crane cab.
                        height limited to a 22—foot maximum.
                    Shroud system maximum weight must be limited to 15,000 pounds.
                    The shroud system must have features to allow emergency personnel
                    access inside the primary and secondary enclosure.
                    Visual ports must be provided to allow inspection.


  3.3       Swell Interface

  1.     The shroud system must be able to perform its function in the presence of swell
         coming from the borehole.

  2.     The quantity of the swell has been estimated to be about 45 percent3 of the
         borehole volume.

  3.     The swell is assumed to be in a slurry form with approximately 2-percent free
         water by volume.

  4.     The shroud system must confine the swell material within the primary enclosure.
         The depth of treatment must be set by the size of the shroud so that the
         volume of swell does not exceed the capacity of the shroud. An effective ground
         seal is required to prevent emissions. The volume of swell generated has the
         potential to significantly affect the integrity of the ground seal and the
         performance of the shroud. Exceeding the capacity of the shroud will result in
         carryover of slurry into the emission treatment equipment, displacement of the
         shroud, and release of emissions. Containing the swell and containing emissions

        3
           This criteria depends on the process selected. If lime and cement are added
  in two steps, the swell increase for each step is estimated, based on current
  information, to be approximately 23 percent. The shroud system configuration should
  include both single and double step processes.
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         associated with waste treatment are a major control challenge and may prevent
         implementation of some remedial alternatives. Key factors in this evaluation are
         the swell factor and the depth of treatment.


  3.4    Health and Safety Requirements

         At this time the following requirements have been identified:

  1.     A failure analysis must be performed for the shroud system. The shroud system
         must ensure that the emissions released in the work area during a failed
         condition will be less than the levels considered to be Immediately Dangerous
         to Life or Health (IDLH).

  2.     The shroud system must include evaluation of all safety features required by
         OSHA.

  3.     The shroud system configuration must be such that personnel entry inside the
         enclosures will not be required during a normal operating event.




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        4.0   ADDITIONAL TECHNICAL AND ENGINEERING CONSIDERATIONS

   1.     This section identifies additional areas which require engineering development or
          special studies during Subtask 3 (Preliminary Configuration Development Phase).
          The additional studies are required due to the complexity of the problems and
          relate to the depth of treatment and the total volume treated. In the
          development of preliminary criteria for the shroud configuration, a number of
          assumptions were made, as discussed in Chapter 3.0. As part of the additional
          studies in Subtask 3, these assumptions must be validated.


  4.1     Technical and Engineering Considerations

   4.1.1 Swell Containment and Removal Mechanisms

          Based on the potentially large volume of swell generated in the solidification
          process, additional studies must be undertaken to determine if it is possible to
          design a shroud which will be capable of handling the swell and emissions from
          the in-situ remediation of the sumps. As previously indicated, solidification to
          a depth of 55 feet, using a 5-foot diameter auger and assuming a 45-percent
          swell factor, would generate approximately 18 cubic yards of swell material per
          hole, which would likely exceed the capacity of the shroud. The ability to
          construct a shroud that would simultaneously contain large volumes of swell and
          the emissions associated with that swell, while meeting the height, diameter, and
          weight restrictions, is not assured.

  4.1.2 Swell Emissions

          The potential effects of untreated wastes, which rise in the soil column due to
          differences in density between the wastes and the solidification reagents, and are
          not mixed with the solidification reagents must be evaluated.

  4.1.3 Auger Cleaning and Personnel Access

          Additional study of the design requirements for the development of the auger
          cleaning system is required. As described in Chapter 2.0, cleaning of the auger
          will be required to remove waste materials, to allow moving the shroud, or to
          access the augers for repair or maintenance.

  4.1.4 Ground Seal and Auger Seals

   1.     The ability to seal the shroud to prevent fugitive emissions is critical for
          protecting human health and the environment. As discussed in Chapter 2.0, the
          ground seal and auger-shaft seal are subject to numerous stresses, such as the
          swell volume, which may affect their integrity. The swell has the potential to
          lift, warp, or rip the shroud, and leak unsolidified, or even untreated waste, into
          the environment. As the  •
                                      volume of swell that must be handled by the shroud

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         increases, the probability of breaches of the seals increases. Based on the
         number of variables which may affect these seals, additional study is required
         (prior to initiating the design) to further evaluate the potential engineering
         required to resolve these issues.

  2.     The potential types of seals for the ground/shroud interface range from a knife
         edge shroud, which is driven 2 to 6 inches into the ground to create a seal, to
         the plastic flap/drape system described in the SROA II. Due to the potential
         affects of the swell, negative pressures, potential pressure changes, movement and
         vibration of the auger unit, the shroud seal requires further evaluation prior to
         design.

  3.     As discussed above, the auger shaft/shroud seal is also a potential source of
         fugitive emissions, given the types of stress expected, as detailed in Section 2.0.
         Various types of sealing systems must be evaluated prior to design.

  4.1.5 Tertiary Containment Systems

  1.     As currently described, the shroud system consists of a primary emission
         collection shroud and a redundant secondary shroud to be designed to prevent
         fugitive emissions from the primary system. In the Selective Excavation Plan, a
         tertiary collection system is proposed to collect emissions from the treated areas
         and treated materials, which will continue to off-gas or release contaminants
         during the curing period.

  2.     Prior to design, the use of a tertiary collection system must be evaluated to
         determine its efficiency in collecting emissions during curing, and its relationship
         to the collection of emissions from the primary and secondary shrouds.

  4.1.6 Materials of Construction

  1.     Additional evaluation of the materials to be used in the construction of the
         primary and secondary shrouds is necessary prior to the Subtask 3 design. Due
         to the potential size of the shrouds, the weight will likely vary depending on the
         material of construction. In situ solidification vendors have indicated that the
         shroud weight should not exceed 15,000 pounds.

  2.     Based on the indicated maximum shroud weight of 15,000 pounds, the available
         construction materials must be evaluated to determine which materials would
         produce a shroud within the required weight specifications., while still providing
         sufficient structural integrity, reliability, and resistance to corrosion and fire.
         Therefore, additional evaluation is required prior to initiating Subtask 3 design.




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                                   APPENDIX A
                 ESTIMATED EMISSION RATES DURING SOLIDIFICATION
   A
       -l   Sulfur Dioxide (SOJ Bulk Emission Factors

   1.       To estimate emissions from a volume-bajecj in situ mixing process, the trial
            excavation enclosure exhaust data were used. These data include the excavation
            rates, outlet flows and concentrations (prior to the scrubber). In effect, the
            enclosure served as a large- scale flux chamber; one large enough to capture the
            gases instantaneously released when the track-hoe bucket penetrated the surface,
            fracturing soil-gas pores and gas pockets.

   2.       To estimate SO2 emission rates (per volume of waste disturbed), a differential
            non-steady state mass balance over the enclosure was constructed and the SO2
            mass input required to duplicate the SO2 concentrations in the enclosure were
            back-calculated. The SO2 mass balance equation for the enclosure may be written
            as:

            Rate of change in          SO2 Input                SO2 removal
            SO2 concentration =        from waste           - in outlet exhaust
            in the enclosure           disturbance              air to scrubber

            or

            d CBC =       Excavation   x        Emissions      -     Outlet x     Flow
            d T             Rate                Factor                Cone        Out


   3.       Since all terms in this equation were measured, with the exception of the SO2
            emission factor, the equation was used to back-calculate the SO2 source term
            required to make a plot of enclosure SO2 concentrations match the outlet SO2
            measurements. This procedure was carried out for the data provided for four
            days reported to be typical with respect to excavation rate; these days were June
            9 (tar excavation), June 12 (tar) June 15, (tar and asphaltic cement) and June
            26 (asphaltic cement). During periods when foam was used, a foam control
            efficiency of 50 percent was assumed. The modeled concentrations and the
            measured data for these four cases are shown graphically in Exhibits A-l through
            A-4, respectively. SO2 release rates fitted to each model are listed in Table A-l.




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         A2       Volatile Organic Bulk Emission Factor?
/-*•
         1.       In contrast to SO2 emissions, THC emissions are produced during waste
                  disturbance by both gas pocket/soil pore fracturing and by volatilization from the
                  liquid/solid phases. Thus, a similar emission factor derivation for THC, based
                  on surface excavation, would only provide estimates of the instantaneous release
                  and ambient temperature volatilization. Since volatilization of "volatile" organics
                  is greatly increased at elevated temperatures, the THC levels observed during the
                  trial excavation would only represent the lower limit for in situ
                  neutralization/stabilization.

         2.     Approximately 90 to 100 percent of the volatile compounds in the waste are
                expected to be rapidly evaporated or steam-stripped as elevated temperatures
                (e.g. 100 C) are reached during the neutralization and solidification processes
                (e.g. Accurex, 1989). By assuming that sufficient steam and other gases are
                produced to flush volatilized materials to the surface, and by knowing the
                original concentration of volatile organics in the waste, the bulk emission factors
                for these compounds were estimated. Concentrations of volatile organics in the
                tar and asphaltic cement, and the corresponding bulk emission factors are listed
                in Table A-2.


         A3       Calculation of Emission Rates..

         1.     Emission rates for in situ mixing and solidification are determined from the
                "bulk" emission factors, BEF, and the volumetric production rate by

                  ER = PR x BEF x (1.0 - ICE)
         where:
                  PR = the volumetric production rate, bcy/min
                     = auger penetration rate x hole x-section
                  BEF = the bulk emission factor, g/bcy,
                  ER = the emission rate into the shroud, g/min, and
                  ICE = the in situ control efficiency.

         2.       To estimate the uncontrolled emission rate into the shroud, the in situ control
                  efficiency (ICE) was assumed to be zero. This represents the maximum emission


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                  rate which could be experienced (i.e., without any reduction due to addition of
/*"*%             reagents). Exhibits A-5 and A-6 summarize the resulting peak emission rates
                  as a function of auger penetration rate during solidification.


          A3     Steam Generation,

          1.     When highly acidic areas are encountered during the neutralization process, a
                 large amount of heat will be generated from the neutralization reaction. To
                 compute the amount of steam generated, the following assumptions were made:
                 1) lime would be added to neutralize the sulfuric acid in the waste; 2)
                 neutralization would be accomplished using a 5-foot diameter auger; and 3) a
                 1.5-ft layer of waste having a ph of -0.2 would be neutralized. The resulting
                 heat of neutralization would generate as much as 1400 ft3 per minute of steam
                 mixed with other gases.



                                               REFERENCES

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                                                 TABLE A.I




               Tar Excavation
                   June 9
                   June 12                                    100 g/bcy
                   June 15                                    345 g/bcy
                   Average:                                   %XLs£3£x
              Asphaltic Cement Excavation                    _22Qg/bcy
                  June 15 pm
                  June 26                                     3750 g/bcy
                  Average:                                   ISQQj&ey.
            bey - bank cubic yards                           2800 g/bcy
            g = grams




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                                         TABLE A.2

         BULK EMISSION FACTORS FOR VOLATILE ORGANICS


                                             TAR      ASPHALTIC
                                                                      SOURCE
          THC Concentrations (Lig/g)        £550"       5,013     (Radian, 1982)0)
          Bulk Emission Factor (g/bcy)      6,042       5,457
                                                                         (7/30/92/mun)




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                                                     Exhibit A-l




           Enclosure/502 Emissions Model
                   Oullet S02 for 6/09/90 Excavation
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                                       Time of Day, hours



                                      Model           •*•   Measured
                                              Exhibit 43
                                                6132
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                                                     Exhibit A-2




           Enclosure/S02 Emissions Model
                   Outlet S02 for 6/12/90 Excavation
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a 1000
     900
a>
     800

o    700
CO
     600
o
     500
     400
o
c 300
o    200
r
o    100
O
CN
O     00:00                    07:00                          14:00
CO
                                        Time of Day, hours


                                     Model       Exhibit 43
                                                              Measured
                                                   6133
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                                             Exhibit A-3




Enclosure/S02 Lmissions Model
      Outlet S02 for 6/15/90 Excavation




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                                                    14:00            21:00
                           Time of Day, hours



                        Model                   Measured
                                   Exhibit 43
                                     6134
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                                             Exhibit A-4




Lnclosure/S02 Emissions Model
      Oullet S02 for 6/26/90 Excavation




                                        I        I    I    1   1   1      T  i   r
                                                                       21:00
                           Time of Day, hours



                        Model                    Measured
                                    Exhibit 43
                                      6135
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                                                  #:6179
             E m i s s i o n R o t e v e r s u s Auger P e n e t r a t i o n R a t e
                                     Tar
     9000-1


     8000



- 7000
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ra6000H



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Ld

     2000~



     1000-


                                 T   1   I   I    1      1         1   1   1    1    1   1   1   1    1
          0.0              0.5                   1.0                           1.5                   2.0
                   Auger      Pen e tr a t Ion/M Ix In g R a t e                         ( f t/mln)
                                                      Exhibit 43
                                                        6136
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                                                 #:6180
                                              Exhibit A-6
              Em Is s Ion    Ra te v e r s u s Auger                         Pen e t r a t l o n        Ra t e
                            As p h o I t i c Ce me n t
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         0.0                    0.5                    1.0                        1.5                   2.0
                   Au g e r      Pe ne tra t I o n / M I x In g Ra t e                      (ft/mIn)
                                                            Exhibit 43
                                                              6137
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                              APPENDIX K

             Geochemical Analysis of Solidification
      Alternatives Proposed hy the EPA for the McColl Site




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            MORRISON KNUDSEN CORPORATION
            ENVIRONMENTAL SERVICES DIVISION

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MAXIMUM ITERATIONS = 400
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r - t o j e i t : MCCOLL

Input file. 504 Z
Output file:

Operation:

C o n d i t i o n s and assumption;
    CA(DH>2 AND A N H Y D R I T E EOUILIDRATED U/ H2S04   PH>1 t-

0050100000 0 O                   0. 00000
SOLUTION 1

 2 0 3        1. 0 0            132       25.0     1.01
   4 0. OOOE+00            5   9. G88E+03
MINERALS
CA<OH)2            3         0. OOOE+00 23. 1    -30. 5             0            0. 000
   4   'l.OO               3    2 00       1 -2. 00
ANHYPR1TE          2          6. 00    -4. 26     -4. 26            0            0.000
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D a t e Jun 08.      92                      Analyst:
P r o j e c t MCCOLL

I n p u t f i l e S04 3
Outp-jt f l l * :



C o n d i t i o n s and assumptions:
    C A < O H > 2 AND ANHYDRITE EQUILIBRATED W/ H2S04 « PH»1 S, EH=7Q1


**•*«* •*•*••********»#•<.*»«*******»*****»*•«******•••*** •«•***«? »*****•******»
•*«*»*»**•****»«•*»**«»••*«•*«•«•*»*•*«**•«*•*»«»••*•*•«•»<»••«*»•**•*••*•«**




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                                                            #:6194
       SOLUTION NUMBER 1                                                                     PACE




        ONCENTRATION OF A'l'.'F.flUS COMPONENTS       » • < • « « < t i j j 4 n »• 4 j 4<-t« »•«<*•••»*


                   TOTAL            TOTAL           TOTAL
                   MOI.AL1TY      LOO MOLALITY       MO/KG


                  1 039M>01          -0.9831       9 8880E+03




DESCRIPTION OF SOLUTION

pH                                        1. 000
EH (mV)                                780. 903
PE                                      13. 202

A C T I V I T Y OF H20                   0 996
IONIC STRENGTH (Ml                       0. 143
TEMPERATURE < C >                       25. 000

CATION CONC. (EQ/KC H2D)                 1. 234E-01
ANIOf I CONC. (EO/KG H20)               -1. 233E-O1
CHARGE BALANCE        .   (''.)          8 4B9E-03

TOTAL ALKALINITY (EG/KG H2Q)              1.364E-13

TDS (MG/KC)                              9.888E+03
DENSITY                                  1. 010

ITERATIONS

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D I S T R I B U T I O N OF AQUEOUS SPECIES     »»»»*»»»*ft»»»»»ft«fc*ft»***»fr*••*•»»*»»»»»»

                                      LOG                      LOG                          LOG
r.HECIES             MOLALITY       MOLALITY     ACTIVITY    ACTIVITY     GAMMA            GAMMA


E-                  6 276E-14       -13. 202   6 276E-14     -13 202    1 OOOE+00          0 000
M»                  1 234E-O1        -0. 909   1 OOOE-OI      -1 000    8 107E-01         -0. 091
H20                 9 961E--01       -0. 002   9 961E-01'     -0 002    1 OOOE+00          O 000
H£O3-               1 417E-28       -27. 849   1 O79E-2B     -27 967    7 &17E-01         -0. 118
HS04 -              8 459E-02        -1. 073   6 3S1E-02      -1 196    7. 520E-01        -0 124
02 < AQ I           4. B04E-30      -29 31B    4. 964E-30    -29. 304   1 033E+00          0.014
QH-                 1 364E-13       -12 865    1. 001E-13    -13 000    7. 336E-01       -O. 135
504-2               1. 937E-02       -1. 713   6. 554E-03     -2 183    3 384E-01        -0. 471
•••*»«»»»»•»»»»••»»»»*»«•»*»••«»»••»•••»•••••»•»»»»»»••»•»»»»»•«•»••»•«•«»•»




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S T A B I L I T Y OF SOI.ID AND C-AS PHASES       ••»««»•»«»•*•*•»• »•*«<• .1^.*»*»»»•«««»•*

PHASE                                             LOG IAP          LOG K T        LOG IAP/KT


H20 ( L I 0 )     H20-I 1'iuid                     -0. 002          O. 000           -0 002
ICOl ICE)         H20-1CE                          -0. 002          0 000            -0 002
i COCOAS)         I«M-OA*.»                        -0. 002          1 509            -1. 310
02 ( GAS )        IDEAL ?5A3                       56. 806         83 119          -26. 313
•JG2(GAS>         ideal gas                       -11 714          15 493          -27. 206
UG3(GAS)          ideal gos                        16. 689         44 633          -27. 944

H2<CV=>           i d e a l ass                   -31 484          -3 150          -28 334
SULFUR-RHOMB      rhombic-3                       -68 520         -15. 026         -53. 494
HSS               i d e a l ga;                   -96. 924        -20 907          -76. O17
S2CGAS)           d i a t o m i c sulfur, i d e   137. 039        -16. 136        -120. 903
SS(CAS)           octa-atomic sulfur,             548. 156       -111. 677        -436. 479
«•*»*•»••»«•««»« *» -*«-«4 t* •*•*•« II »»»•*»««»«»»«»••»««•»«•»•»«« • «*J» «••»•»••«»•»*•»«»»»»




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EUUILIURATING Sni.UTlUri I WITH SOLID AND GAS PHASES

MAINTAIN STEAD/ STATE WITH THE FOLLOWING SOLID AND GAS                          PHASES.
    CAlOH)2      (3I =     0.0000)      ANHYDRITE    (SI =                       0 0000)

SOLUTION 1 IS


-»««*•»»**»»**•»»»**»»***»»» »**************l*»*******»4**«*»**««**-***** *******




PHASE CHANGES           *»«•«*»->****«»**»«***»***»«*»»**«««»<i»»»»»a »*•*»**»»*»»»»»»*

                                            DELTA      PHASE
PHASE               MOLES/KO           GRAMS/KG                    CM«*3/KG          LOG IAP/KT


CA(OH)2            1 276K-01         9. 457E+00        4 219E+00            0 0000
ANHYDRITE         -8 558f-:-02      -1. 165E+O1       -3.931E+00            0 0000
* N e g a t i v e DELTA PHA3E i n d i c a t e s removal of p h a s e from        solution
  Zero value in column "ciri**3/kg" indicates that no                         data for
  c a l c u l a t i o n IE a v a i l a b l e .

f**»-«****«*****»-4ll***« 4 It ***•*****«**«****»*•**••**»**»*******•*****•**•**•**




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OUTPUT SOLUTION                                                                    PAGE




TOTAL CONCENTRATION OF A«1UEOUS    COMPONENTS         »*»*»»*•»•»»»*» . t*44*»i


                   TOTAL          TOTAL            TOTAL
COMPONENTS         MOLALITY     LOG MOLALITY        MG/KG


CA                4 P057E-02       -1.3762         1. 67"OE+03
o                 1. 83G4E-O2      -1. 7356        1. 7599E+03

*l'«»*f»*»»«*»*»»*»»*IH- • *•»»»* *****»»****»****«»fc**l>«-tr*<»»«»**F*»««k***»***»*




DESCRIPTION OF SOLUTION         ****************t*****

PH                                      12. 497
EH (.i>V>                            -364. 284
PE                                      -6.159

A C T I V I T Y OF H20                  0. 999
IONIC STRENGTH (M)                      0. t i l
TEMPERATURE (C)                        25. 000

CATION CONC.(EQ/KG M2D)                 6.730E-02
ANION CONC.(EQ/KG H20«                 -6.728E-02
CHARGE BALANCE          C.'.}           1.555E-02

TOTAL ALKALINITY (EQ/KG H20)            4.733E-02
                                                                                                         9
TDS {MG/KG)                             3. 440E+03
DENSITY                                 1. 003
                                                                                                         €
ITERATIONS                            145
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                                                                      Exhibit 43
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D I S T R I B U T I O N OP AQUEOUS SPECIES                   »»»»»»*»»»»*»»•»*•« **********

                                      LOG                      LOG                         LOG
"I'ECirS             MOLALITV       MOLALITY     ACTIVITY    ACTIVITY     GAMMA           GAMMA


CA+2                3 030!-- 02       -1. 510   1 170E-02     -t 932    3 738E-01        -0. 422
•TAQtU              5 544E-0:<        -2. 256   4 376E-03     -2 :*59   7 B94E-01        -O. 103
CASIM               5 63SE-03         -2. 249   5 77BE-03     -2 238    1 02AE+00         0. Oil

E-                  1 44IK+06          6. 139   1. 441E+06     6 159    t OOOE+00 ' 0 000
M»                  3 B82E-13       -12. 411    3 1B6E-13    -12 497    B 209E-01       -O. 086
112< A Q )          1 713E--16      -15. 766    1. 758E-16   -15 755    1 026E+00        0 Oil

H20                 f 984E-01        -0 001     9 984E-01     -O not    1 OOOE+00        O 000
HS03-               1 692E-24       -23 772     1 312E-24    -23 882    7. 751E-01      -0 111
HSQ4-               1. BB1E-13      -12. 726    1. 447E-13   -12. 840   7. 69IE-01      -O. 114

OH-                 4 1 7BE-02       -1 379     3. 14BE-02    -1 502    7. 533E-01      -O. 123
SO3-2               5. 983E-19      -18 223     2 160E-19    -IB 666    3 610E-01       -O 443
S04-2               1 27SE-02        -1. 894    4 679E-03     -2 330    3 669E-01       -0. 435

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51 A B I L I T Y OF SOLID A'lfl (.AS PHASES   V**************!,****!!**!, ,, *»*««*•**»«»«


PHASE                                          LOG 1AP          LOG KT         LOG      IAP/KT


i'ORTLANDITE      Co •' OH > 2                  23 060          22 690                 0. 370
ff f PS'.'M                                     -4. 263         -4 330                 0 067
•1A(OH)2          HHOtinit—".At OH) a           23 060 ^        23 060                 0 000
AIJHVDPITE                                      -4 262          -4 262             0. 000
ri20(ICE)         H2Q-ICE                       -0. OOl          0 000            -0. 001
H20U.IQ)          H20-I i. (ii id               -O. OOl          O GOO            -0 001
BASSANITE         CaS04«0 SHL'O                 -4. 262         -3 370            -O. 892
u-CAS04*0 5H      beta-CaS04»0. 5H20            -4. 262         -3 194            -1.068
H20(GAS)          H20-GAS                       -0. OOl          1. 509           -1. 510
CAO                                             23. 061         32. 808           -9. 747
HIM CAS)          ideal gas                    -15. 755         -3. 150          -12. 603
SULFUR -RHOMB     rhombic-S                    -44 477         -15. 026          -29. 431
502 (GAS)         ideal gas                    -19. 127         15 493           -34. 619
H2S               ideal ga&                    -57. 153        -20. 907          -36. 246
303 (CAS)         ideal gas                     -6. 432         44. 633          -31. 084
02(6^.5)          IDEAL HAS                     23. 350        83. 119          -57 768
S2(CAS)           diatomic sulfur, ide         -88. 934       -16 136           -72.818
SB (CAS)          octa-atomic sulfur.         -333. 816      -111 677          -244. 139

*<• **»****«*»***»•*»k»f •«It***************************************************




                                                                          Exhibit 43
                                                                            6157
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                                                                                                                                                        QQQQOQQOQO
GiiGCKii'jGQGQ   OOOOOOOOOOOOOOOOOOOOOOOO             D i g i t a l E q u i p m e n t Corporation - VAX/VMS Version VS.5     OOOOOOOOOOOOOOOOOOOOOOOO   0000000000
                                                                                                                                                        0000000000

                                                             N   N        III    BBBB       L       EEEEE     RRRR
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                                                             N N N         I     BBBB       L       EEEE      RRRR
                                                             N NN          I     B    B     L       E         R R
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                                                             N   N        III    BBBB       LLLLL   EEEEE     R    R

                         N    M       CCCC    CCCC       OQO     L         L                     OOO     U U     TTTTT   PPPP     U   U   TTTTT
                         MM MM    C          C          O O      L         L                    O   O    U U       T     P    P   U   U     T
                         M N M    C          C          O O      L         L                    0    0   U U       T     P    P   U   U     T
                         M    H   C          C          O O      L         L                    0    0   U U       T     PPPP     U   U     T
                         M    M   C          C          0    0   L         L                    a a u U            T     P        U   U     T
                         r)   M   C          C          O O      L         L                    0    0 U U         T     P        U   U     T
                         M    M    CCCC        CCCC      OOO     LLLI.L    LLLLL                 OOO   UUUUU       T     P        UUUUU     T
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G'.i&n.iGQQGG    OOOOOOOOOOOOOOOOOOOOOOOO                                             Exhibit 43 - VAX/VMS Version V5 5
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Ov'iQOdOQOOO                                                                         6158                                                               OOOQQGOUiJti
                            Case 2:91-cv-00589-CJC Document 677-14 Filed 07/10/20 Page 307 of 327 Page ID
                                                               #:6202


INPUT FILE                                                                          PAGE

M A X I M U M ITERATIONS = 400
EC1.03E =       1 OOOOOOOE-1 1
KLOSE =         1 OOOOOOOE-07
THCLOS = ' 1.0000020E-07
flCLO^E »       1 00000IOE-05
               DATA READ FROM DISK

ELEMENTS
SPECIES
LOOK hIN
BETAS
MIX PARS
D.ite Jun 09.          92            Analyst:   GEORGE
P r o j e c t : MCCOLL

Input f i l e : SO4 2
Output f i l e :

Operation.

C o n d i t i o n * and aisumpt ions
    CA'OH)2 AND A N H Y D R I T E COUIL. U/ H2S04 it PH«0. 3
0150000000 O 0                   0.COOOO
SOLUTION 1

 2    0 3     0. 300      139        25. 0     1. 06
    4 0.OOOE+00         t> 775E+04
MIUE3ALS
CA(OH>2           3    0 OOOE+00 23. 1       -30. 3            O                    O. 000
    4     1 00       3    2 00         1 -2.00
AliMV M I TE      2     c. 00      -4. 26    -4. 26            0                    O. OOO
    4     1 00       5    1 00
                  0    O. OOOE+OO 0. OOOE+00 O. OOOE+00            0                0.000




                                                                       Exhibit 43
                                                                         6159
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                                                                                    PACE




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hit** I. * ••*«**»*•****« •!, »l (ft**************************************************



       Jun 09.  92               Analyst:   GEORGE
Projs.;t MCCOLL

I n p u t f i l e S04 2
Outp.jl f i l e .

Oper-it ion'

C o n d i t i o n s and assumptions
    CA(OH>2 AND ANHYDRITE EQUIL. U/ H2SO4 ft PH'O. 3
I *•»*! »«»»?«*«)t»lf»»»»I- t I III »* It***********************************************
*h>* I* »!>«***»**«»**«•«-»<. •»•»**»*»*»»*»****»»*••»»*•»»»*»»*•»****»»*»»*•«**•*




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                                                                         6160
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•
     INPUT SOLUTION NUMBER 1                                                                                                    PACE



f»
     TOTAL CONCENTRATION OF- AQUEOUS COMPONENTS                                        *».»..«*.«**•*«*.**»«»»***»»*«

I
                                 TOTAL                  TOTAL                      TOTAL
     COMPONENTS                  MOLAHTV              LOG MOLALITY                  MC/KG
t
     3                         6 3801E-01                   -0. 1952              5. 7749E+04
     < * * > I **«*,! «*•«*-»* 4 •*» 4 414** I**************************************************




     DESCRIPTION OF SOLUTION                          *»«»*«»»•»*»•«»»«»»•*«»»**«*»»»*»»***«»»«•*•««•»

     pH*                                                           0. 293
     EH C.r,V>                                                   821. 899
     PC                                                           13. 893

     A C T I V I T Y OF H20                                         0.978
     IONi: STRENGTH (M)                                             0 713
     TEMPERATUkE <CI                                               25.000

     CATION CONC.(EQ/KG H2O)                                        6 766E-01
     ANIOil CONC (EQ/KG H20>                                       -6. 766E-01
     CHARot BALANCE          ifc)                                  -9. 550E-04

     TOTAL A L K A L I N I T Y H-Q/h'j H2O)                          3. 193E-14

     TDS iMG/KG)                                                     5. 773E+04
     DENSITY                                                         1.058

     I TEH>M IONS                                                    5
     «•..*» • a************** t > 4 < » < » » » » » » » « » » » » * • * * » » * » • » » » * » * * » * » » » » * • » » « » » » * * » » » » » »




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                                                                                         PAGE



4)   DISTRIBUTION OF AQUEOUS SPECIES           *«********«*•***«***»**»*********•***»**

                                     LOG                         LOG                           LOG
f    SPECIES          MOl.Aul TY   MOLALITY      ACTIVITY      ACTIVITY       GAMMA           GAMMA


f    E-             1 272E-14      -13. 895     1 272E-14      -13. 895    1 OOOE+OO          0.000
     H+             6. 766E-01      -0. 170     5. 093E-01      -0. 293    7. 527E-01        -0. 123
     H20            9. 777E-01      -0. 010     9. 777E-01      -0. 010    1. OOOE+00         0. 000
 f
i
     HSO'3-         9 434E-28      -27. 024     7. 099E-28     -27 149     7. SOBE-01        -0. 124
     HS04 -         5. 994E-01      -0. 222     3. BS3E-01      -O 414     6. 42BE-01        -0. 192
,    02(A<j)        3 570E-30      -29 447      4. 209E-30     -29. 376    I. 179E+00         0. O72

     OH-             3. 193E-14    -13 496      1 929E-14      -13 715     6. 040E-01        -0. 219
,    S04-J           3. 656E-02     -1. 414     7. 796E-03      -2. 108    2. 021E-01        -0. 693

               * * * * * * * * * * 4 9 - » « »»»«»•»***»»*»»«»»»»*•**••»»»»•*«»»•««*»»*»**•»»*»»•




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                                                                                      PAGE



S T A B I L I T Y OF SOLID AND C-AS PHASES     **********«««»***»**»*»«»»****«*»**»*»
I'HASu                                          LOG IAP        LOG KT         LOG IAP/KT


HtO(LIQ)         H20- liquid                     -0. 010        0. 000           -0. O10
H20UCE)          H20-ICE                         -o. 010        0. 000           -0. 010
HZOt JAS)        H20-SAS                         -0. 01O        1. 509           -1. 519
CQ2o;AS>          ideal .ja-»                   -10. 181       15. 493          -25. 673
                  IDEAL OA-3                     56. 734       83. 119          -26 383
*J3< ;AS>         id«al Jai                      IB 187        44 633           -26. 446
     ?>          ideal gus                      -31. 456       -3 150           -28. 306
SULFUR-RHCMB     rhombic-S                      -66. 913      -15. 026          -51.889
H2S              i d e a l gas                  -95. 292      -20. 907          -74. 385
£.2»GA-3)               nit »alfur. tde         133.830       -16 136         -117. 693
                 octa-j(.o.ni<: sulfur.         535. 318     -111. 677        -423.641

                                 «J O************************** *************»4*******




                                                                         Exhibit 43
                                                                           6163
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        ->            .                                       #:6207
                                                                                       0
                                                                                              PACE



**»*t***ft****»»***»lik* tfr»«r« «.••*»»*»»»«*»»»**»»*»»«*»*»*»»**•*»»»»»**»**»»»**»


E Q U I L I B R A T I N G SOLUTION I WITH SOLID AND GAS PHASES

M A I N T A I N STEADY STATE WITH THE FOLLOWING SOI. ID AND CAS                     PHASES:
        CA(OHt2         (SI -     0. OOOO)      ANHYDRITE      (SI -                 O. 0000)

SOLUTION 1 IS

ttft >k »«>«.*»*»»«**»••• i, »• •***»**•****** •»********•«***»***••****«**•«***««*•»



PHASE CHANGES           t »»i. . turHr.*. «»••»**»****»*»»*»««***»»»»•»»*•***»»»*»*»»»»

                  ----    - -               DELTA      PHASE          ------
PHAS£              MOLES/KG            GRAMS/KG                     CM*«3/KC            LOG IAP/KT


CA40HI2            o 617E-01         4. 903E+O1        2. 187E+01            O. OOOO
ANH/IJRITE        -6 196E-01        -8. 436E+01       -2. 847E+01            0.0000

* N e j a t i v e DELTA PHASE i n d i c a t e s removal of phase from               solution:
  Ze-o v a l u e in c o l u m n "cm*»3/kg" i n d i c a t e s that no             data for
  c a l c u l a t i o n is a v j i l j b l e
J > « * t l I 4 « * * * « * 4 * * I 1 * l < * »*•*»•»***»»»»••*»»» »»»»»»»*»»»»»* »»***«»»*»*•-**»«*•**




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OUTPUT SOLUTION                                                                                                    PACE



TOTAL CONCENTRATION OF AQUEOUS COMPONENTS                         *****************************


                              TOTAL           TOTAL            TOTAL
COMPONENTS                    MOLAL1TY      LOC MOLALITY        MG/KC


CA                           4. 2046E--02     -1. 3763         1 . 6794E+03
3                            1 B387E-02       -t. 7333         1.7602E+03
fc*k«lr*»*»«*****»*»»***t<                                       ft***************************************************




DESCRIPTION OF SOLUTION                     c***,********************************************

pH                                                 12. 991
EH (.nV)                                          821. 899
PE                                                 13. 893

A C T I V I T Y OF H20                              0.320
IONIC STRENGTH (M)                                  0. I l l
TEMPEKATUPE (C)                                    23. 000

CATION CONC. (EQ/KG H20>                            6.72BE-02
AMIO.I CONC. (EG/KG HID*                           -6. 730E-02
CHAROE BALANCE           (?.)                      -9. 608E-03

TOTAi. ALKALINITY (EQ'KG H20)                       4.733E-02

TDS iMG/KG)                                         3. 440E+03
C.HNSITY    /                                       1. 003

ITERATIONS                                        66

                t****-.i*4**4 < j « t ****** a* »•**»**«•* *•***•**>**»*»****************«*«*




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                                                                              PACE



DISTrtlBUTION OF AQUEOUS SPECIES
                                         v***************************************
                                LOG                     LOG                        LOG
SPECIES          MOLALITY     MOLALITY    ACTIVITY    ACTIVITY     GAMMA          GAMMA


CA+C            3 087E-02      -1. 310   1. 170E-02    -1 932    3 789E-01       -O. 422
CAOHr           5 543E-03      -2. 236   4 376E-03     -2 339    7. B94E-01      -0 103
CAS04           5 •633E-03     -2. 249   5 778E-03     -2. 238   1. 026E+00       0. Oil

E-              I. 272E-14    -13. 893   1. 272E-14   -13 895    1. OOOE+00       0. 000
11+             1 244E-13     -12. 903   1. 021E-13   -12 991    8 209E-01       -0. 086
H20             3 200K-01      -0. 493   3. 200E-01    -0. 495   1. OOOE+00       0. 000

H202            5 660E-10      -«? 247   5. B06E-10    -9. 236   1. 026E+00       O. Oil
HSO4-           6 031E-I4     -13 220    4. 639E-14   -13 334    7. 692E-01      -0 114
02IA4)          2 719E«-20     20 434    2 789E+20     20. 445   1. 026E+00       0 Oil
OH-             4 I7ff.-i)2    -1 379    3. 148E-02    -1. 302   7 333E-OI       -O. 123
                1 275fc-02     -1. 894   4. 690E-03    -2. 330   3. 670E-01      -0. 435
 »*«. lr»***fc»***»4r**l»»ll «» I***************************************************




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                                                                                   PAGE



S T A B I L I T Y OF SOLID AND GAS PHASES        v*************************************

PHASu                                             LOG IAP       LOG KT         LOG IAP/KT


Oi: ( GAS >      IDEAL GAS                        106. 555      83. 119           23. 437
HJRTLANDITE      Ca(OH)2                           23 060       22. 690            0.370
CA(OHi2          RHOMB1C-«.A(DH)2                  23. O60      23. O6O            O 000
ANHYDRITE                                          -4. 262      -4. 262            0. 000
H^O(LIQ)         H20- l                            -0. 493       O. OOO           -O. 493
H20< ICE)        H20-ICE                           -0. 493       O. 000           -0. 493
GVPSUrt          CaS04*£H20                        -3. 231      -4. 330           -0. 922
DASSANITE        CaS04«O SH20                      -4. 509      -3. 370           -1. 139
1J-CA304*0 5H    beta-CabQ4*0. 5H20                -4. 509      -3. 194           -1. 315
                 H20-GA3                           -0. 493       I. 309          -2. 004
CAO                                                23. 333      32. BOB          -9. 233
                 ideal                             -6. 946      44. 633         -51. 578
H2 ( GAS >       ideal rjas                       -36. 832      -3. ISO         -53 702
S02(GAS>         ideal gas                        -60. 223      15. 493         -75.716
SULFUR-RHOMB     rhomb ic-S                      -166. 779     -13 026        -151. 733
H£S              i d e a l g<is                  -220. 551     -20. 907       -199. 643
S2(GAS)          d i a t o m i c sulfur. ide     -333. 538     -16 136        -317. 421
SB I CAS )       o c t a - a t c m i c sulfur.   1334. 231    -111. 677      -1222. 554


              »**»*»**»**«* »»***«*»**»*»»»»•»***«****«*•*•••*»*»»»»***»*»•»«»»»




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                              APPENDIX L

                 Heat Modeling of Temperatures Due
              to In-Situ Neutralization of McColl Waste




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Heat Modelin of Temperatures due to In Situ Neutralization of McColl Waste



Because neutralization of McColl waste with a lime slurry is an integral part of many of the
remediation options for the McColl Superfund site, modeling of the heat generation during
neutralization and temperature expectations has been done to anticipate their effects on
implementability and cost of remediation.

This model is limited to heats generated due to neutralization even though friction and hydration
during cement setting also generate heat. The neutralization is expected to create the greatest
temperature rise. Also, in scenarios where neutralization and solidification occur at different times,
the neutralization and hydration heats, with their respective temperature effects, would not be
cumulative.

As with all models and calculations, the results are theoretical and depend on assumptions as
explained herein.



       Initial Temperature

The rise in temperature (T - T^m) of neutralized waste is found by

        1) calculating the heat generated by the acid-base reaction (heat of reaction, Hr),

       2) determining a heat capacity (Cp) for the waste, or waste components, and

       3) relating the two by the equation

                       n*Hr = £m,.*CP,.*(T-TWUal)                                                  (1)

       where Hr        =   heat of reaction (kcal/mole),
             n         =   moles reacted,
             i         =   number of reacted waste components,
             m,        =   mass of j'th waste component (g),
             Cp;       =   heat capacity of z'th waste component (cal/g°C),
             T         =   final temperature,
                       =   ambient initial temperature (assumed to be 25°C, or 77°F).


Finding the Heat of Reaction. The heat of reaction (Hr) of a neutralization process is found once
the reactants and products of the reaction are determined. H, is the sum of the heats of formation
of the products less the heats of formation of the reactants. These heats of formation are constant
values found in literature for most compounds.

The most dominant acidic reactant in McColl waste is aqueous sulfuric acid. The Unocal analysis
found enough moisture in the waste to assume that the sulfuric acid is aqueous, or already reacted

                                                    1


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 with the water present. The spent acid was nearly water-free when deposited; therefore, most of the
 water found in the waste today is likely from the atmosphere and condensation reactions within the
 waste. This water would have reacted with the sulfuric acid as it was introduced, evolving heat at
 the time of reaction.

 Hydrated lime, Ca(OH)2, would be the basic reactant in a water/lime slurry. If quicklime, CaO, were
 used to prepare the slurry, heat would be evolved during preparation, but the hot slurry would likely
 be cooled before injection into the waste. If quicklime were added directly 'without water, then heat
 generation could result in extreme temperatures, provided adequate contact with the acid.

 With lime as a reactant, the assumed product is synthetic gypsum (calcium sulfate dihydrate,
 CaSCy2H2O). Gypsum does not begin to decompose to the hemihydrate, CaSCvVzHjO or plaster
 of Paris, until it reaches 262°F and then further to the anhydrite, CaSO4, at 325°F. This
 decomposition scenario is significant because it indicates that the product should hold bound water
 until these temperatures are reached, preventing the bound water from vaporizing. Such vaporization
 would help cool the neutralized waste.

 The simplified reaction is therefore

                        H2SO4(aq) + Ca(OH)2 - CaSCy2H2O (gypsum)                                    (2)

 With these expected reactants and products, the heat of reaction is 30.7 kcal per mole of H^O^ that
 reacts. The heat of reaction must be expressed in terms of a component of the reaction, and not in
 terms of the waste which varies in acid concentration. This generated heat (30.7 kcal for every mole
 of neutralized acid in the treated waste) must be dissipated into the reacted waste products and excess
 materials present, resulting in a rise in temperature that is dependent in part on the ability of the
 reacted waste to absorb the heat.


 Estimating the Heat Capacity. The ability to absorb heat is empirically expressed as the heat capacity,
 Cp, and has units of energy per mass per temperature increase. (A simple example is that of water
 with a defined Cp of 1.0 cal/g°C, meaning that one calorie applied to one gram of water will raise the
 temperature one degree Celsius.) A mixture of materials will have an overall Cp calculated from the
 Cp of each component by a weighted average. An effective overall Cp is mathematically expressed
 as the summation term of equation 1:
                         IX*Cpf

 The term must be evaluated for the reacted waste because the reaction results in a composite waste
 of excess water, gypsum product, and residual waste, all of which have different heat capacities. The
 residual waste component is itself composed of water, ash, and an organic component. Evaluating
 the overall Cp term then becomes a question of finding a Cp for the residual waste organic
 component alone-since the capacities for water, gypsum, and ash (as clay or sand) are already well
 documented in literature--and finding each component's contribution to the total mass. (This is
 further explained and presented graphically in the Appendix.)

 Kopp's rule was used to estimate the Cp for this residual waste organic component. The rule uses
 elemental composition of compounds and is explained in the Appendix along with a sample




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 calculation. Results from 21 samples previously tested at Unocal were thus treated. Using the
 classifications of waste types developed by Morrison Knudsen, the resulting averages for Cp for
 residual "asphaltic cement" waste and for residual tar waste were 0.4 cal/g°C and 0.5 cal/g°C,
 respectively. The calculated heat capacities are tabulated by sample in Table 1.

 Comparable literature values (measured) for similar materials include asphalt~0.22, coarse, gravelly
 soil~0.44, clay-0.224, coal--0.26 to 0.37, coal tars-0.35, engine oil (@100°C)-0.52, kerosene--0.47,
 all in cal/g°C. Note that water and hydrocarbons generally have higher heat capacities than clay and
 soil. Because McColl tar has a higher hydrocarbon content than does asphaltic cement, the tar heat
 capacity is expected to be higher.



 Estimating the Temperature. The heat of reaction results in a temperature rise in the reacted waste,
 dependant on the waste's heat capacity and its ability to dissipate the heat. The assumption of an
 adiabatic system (no heat dissipation through conduction) is appropriate for initial temperature
 estimations because soil is such a good insulator.

The temperature rise for multiple scenarios was calculated using equation 1. Each component mass,
m,, was determined for each model scenario. With a basis of one mole of reacted acid, the unreacted
waste mass is determined by the set acid concentration. Concentrations of lime in the reagent slurry
enable calculation of the mass of slurry needed to stoichiometrically neutralize the acid, and this sets
the excess water added to the system. The calculations using these masses and the calculated Cp's
result in Tables 2 and 3 for asphaltic cement and tar, respectively. The temperatures increase from
upper left to lower right because in that direction there is always less slurry water and less residual
waste to soak up the generated heat. The partitions within the tables indicate the conditions at which
the excess water boils (upper partition) and at which the water is effectively boiled away (lower
partition), resulting in temperatures rising above the boiling point. Any condition within, above, or
to the left of the boxed area results in excess slurry water, either subcooled (above or left) or at
boiling point (within).

 Dissipation of much of the heat is ensured through the act of augering and mixing during
 neutralization, releasing vaporized slurry water as steam. These calculations assume that all of the
 slurry water is vaporized, even though some water will be trapped by physical absorption and chemical
 dissolution. This total vaporization assumption makes some estimated temperatures conservatively
 low. Because of the effects of physical adsorption and chemical dissolution, temperatures above the
 boiling point of water (superheat) are possible even with water present.

 The temperature rise differences between asphaltic cement and tar are due to the difference in heat
 capacities. The higher tar heat capacity means that tar can absorb heat without as large a
 temperature rise as would result in the asphaltic cement This means that the temperature rise in
 the asphaltic cement will be greater than in tar of equivalent acid content.


 Expected Temperature Rise. As determined by the Unocal analysis, the acidity of waste ranges from
 mild (pH of over 4) to very high (pH of -0.2, or equivalent to over 31 weight percent as sulfuric acid).
 Upon neutralization with lime, these acid concentrations would result in a wide range of temperature
 expectations as can be predicted using Tables 2 and 3. However, as explained earlier, Tables 2 and




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3 were created using the average heat capacities (Table 1) for each waste type, and the heat
capacities themselves ranged significantly. If these individually calculated heat capacities were used
for estimating the corresponding sample's temperature rise, then even a wider temperature range
would be expected.

A realistic scenario would be that all temperatures within the range will occur somewhere, even if
only as a hot spot. Unfortunately the efficiency of mixing and overall average acidity, two relative
unknowns, will be factors vital to the calculation of average initial temperature of the entire column.
Vertical mixing is expected to be limited, resulting in varied temperatures along an augered column,
dependent on the local acid concentration within the column.


Conclusions

        1)     McColl waste may reach hot-spot temperatures that will boil water when neutralized
               with lime, depending on slurry water content. (Temperatures above the boiling point
               of water may be reached due to physical adsorption and chemical dissolution, even
               with water present.)

        2)     The temperature resulting from neutralization is very dependent on the water content
               of the reagent slurry.

        3)     The temperature rise will be more severe in asphaltic cement than in tar of equivalent
               acidity. This is due to the asphaltic cement's lower heat capacity.




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Table 1

Residual Waste Heat Capacity (Cp) Estimates using Kopp's Rule

          Sample              Material                 Cp (cal/g°C)    Cp (cal/g°C)
                                                       Ash as "clay"   Ash as "sand"
            BJ            Asphaltic Cement                 0.46            0.46
             A            Asphaltic Cement                 0.42            0.41
             D            Asphaltic Cement                 0.50            0.50
             E            Asphaltic Cement                 0.35            0.33
             F            Asphaltic Cement                 0.31            0.28
           R-2-5          Asphaltic Cement                 0.36            0.34
           R-3-5          Asphaltic Cement                 0.33            0.30
           R-3-3          Asphaltic Cement                 0.50            0.49
            AJ            Asphaltic Cement                 0.40            0.39
           M-CS           Asphaltic Cement                 0.36            0.33
           R-3-2                Mud                        0.57            0.56
           R-2-2              Mud/Tar                      0.57            0.57
            LJ                   Soil                      0.33            0.31
           R3-J                  Soil                      0.29            0.27
            DJ2                  Tar                       0.51            0.51
            DJ                   Tar                       0.51            0.50
             PJ                  Tar                       0.37            0.36
             B                   Tar                       0.43            0.43
             C                   Tar                       0.42            0.42
           R-2-1                 Tar                       0.51            0.50
      R2/R3SSS                   Tar                       0.56            0.55
                          Asphaltic Cement                 0.40            0.38
          Averages
                                 Tar                       0.47            0.47




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Table 2. Initial Asphaltic Cement Temperatures (degrees F) after Neutralization

                      H2SO4(aq) + Ca(OH)2 + slurryHZO             > CaSO4.2H2O + slurryH2O(g,l)

                      Acid as weight percentage of waste
                              1          5       10         15            20      25     30        35    40      45
                  5         88        102        108       110           111      112 113         113   113     114
                 10         89        115        129       136           140    143   145         147   148     149
                 15         90        123        145       158           166    172   176         179   182     184
                 20         90        129       157        176          188     197   205         210   212 '   212
    %            25         91        133       167        191          208 [   212   212         212   212     212
   lime          30         91        135       175        204          212     212   212         212   212     212
    in           35         91        138       182        212          212     212   212         212   212     212
   lime          40         91        140       187        212          212     212   212         212   212     212
  slurry         45         91        141       192        212          212     212   212         212   212     212
                 50         91        142       196        212          212     212   212         212   212     212
                 55         91        143       200        212          212     212   212         212   212     212
                 60         91        144       203        212          212     212   212         212   212     212
                 65         91        145       206        212          212     212   212         212   212     212
                 70         91        146       208        212          212     212 | 229         256   284     312
                 80         91        147       212        212          256     303   351         400   449     500
                 90         91        148       212        256          318     381   445         511   578     647
                100         91        149       219        293          367     444   521         601   682     764

Parameters:           Initial temperature 77 F
                      Heat of reaction 30.71 kcal/mol of H2SO4
                      Heat of vaporization 0.539 kcal/g of H2O
                      Heat capacity of residual waste 0.39 cal/gK (asphaltic cement)




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Table 3. Initial Tar Temperatures (degrees F) after Neutralization

                      i ii.ijvx-T^avji^ T v— a^v^j. iji* T^ oiuiiyi i.i,\j    •--*   v^avjvt.^.iijovy T siunyn^vy^ l
                                                                                                                  &)
                      Acid as weight percentage of waste
                              1         5         10                     15             20         25        30         35    40      45
                  5         86        101       106                     109            110        111       112        113   113     113
                 10         87        112       126                     133            138        142       144        146   147     148
                 15         88        118       140                     153            162        168       173        177   180     182
                 20         88        122       150                     168            182        192       199        206   211   ' 212
    %           25          88        125       158                     181            199        212       212        212   212     212
   lime          30         89        127       164                     192            212        212       212        212   212     212
    in           35         89        129       169                     201            212        212       212        212   212     212
   lime          40         89        131       174                     209            212        212       212        212   212     212
  slurry         45         89        132       177                     212            212        212       212        212   212     212
                 50         89        133       180                     212            212        212       212        212   212     212
                 55         89        133       183                     212            212       212        212        212   212     212
                 60         89        134       185                     212            212       212        212        212   212     212
                 65         89        135       188                     212            212       212        212        212   212     212
                 70         89        135       189                     212            212       212        212        234   259     286
                 80         89        136       193                     212            230       271        315        359   406     454
                 90         89        137       195                     229            283       339        397        457   519     584
                100         89        137       197                     260            325       393        463        535   610     689

Parameters:           Initial temperature 77 F
                      Heat of reaction 30.71 kcal/mol of H2SO4
                      Heat of vaporization 0.539 kcal/g of H2O
                      Heat capacity of residual waste 0.47 cal/gK (tar)




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                                                     Appendix



      Determination of Waste Heat Capacityt Cp. To enable the range of conditions and flexibility built
      into Tables 2 and 3, the heat capacity of the reacted waste must be estimable at any condition. There
      is no practical way to experimentally determine the Cp for reacted waste at all conditions due to the
      number of tests that would be needed. However, an estimate of Cp can be made using Kopp's rule
      which allows such estimates based on the elemental makeup of a compound. The elemental makeup
      of the waste is discernable through the analysis done at Unocal (although the analysis was not
      specifically tailored for this purpose).
      The unreacted waste was analyzed for carbon, hydrogen, nitrogen, sulfur, ash, moisture, and sulfuric
      acid. Since it is the reacted waste that will be absorbing the heat of reaction, this reacted waste must
      be characterized as a step to estimating its heat capacity.
      As the summation term of equation 1 of the text indicates, the heat capacity of the mixture is found
      by taking a weighted average of the heat capacities of each component. Therefore, each capacity and
      the mass of the corresponding material must be found. The unreacted and reacted wastes are
      schematically depicted below (not to scale). Known heat capacities are indicated, and the
      corresponding masses are found by material balances.

              Unreacted Waste and Lime Slurry before Mixing


      1               Unreacted Waste (tested material)
                         C, H, S, ash, water, HjSO,

              Reacted Waste and Gypsum after Mixing
                                                                                Lime
                                                                              [Ca(OH)2]
                                                                                              Slurry Water




                               Residual Waste                                 Gypsum          Slurry water
                              C, H, S, ash, water
                                (unknown Cp)                                  Cp=0.26            Cp=l
          Organic component                Ash                    Water
               C,H,S                 "clay" or "sand"
            (unknown Cp)             Cp=0.22 or 0.19              Cp=l


      The elemental composition of the reacted waste was estimated from the test results by the steps that
      follow.
              1)      Assume stoichiometric addition of lime which reacts with the sulfuric acid as follows
                              H2SO4 + Ca(OH)2 - CaSCy2H2O (gypsum)                                        (2)
                      (Note that the water produced by the neutralization remains; bound to the gypsum
/-s                   product, hence the slurry water is effectively inert and serves only as a carrier and
                      heat sink. This also means that the residual waste component of the reacted waste



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               will have a water component equivalent to the initial waste water content since the
               slurry water is chemically inert.)

       2)      Assume that the ash component is either clay or sand, and neglect oxide formation
               during ashing. Assume that the moisture component is water.

       3)      Regroup the elements into gypsum product, slurry water, waste water, ash and
               residual waste organic component while taking into account the reaction. This
               includes treating the elemental makeup of the total waste sample by accounting for
               elements that would be counted twice in the analysis such as hydrogen also found in
               the moisture, acid and clay and sulfur found in the acid. The remaining carbon,
               hydrogen, nitrogen and sulfur define the elemental makeup of the residual waste
               organic component. All of the carbon is assumed to be part of the organic
               component. Nitrogen content is neglected since in was not detected or detected at
               the minimum detection level in all samples. The entire oxygen content of the total
               samples (not measured) is assumed to be in the ash, water, and acid components.

       4)      Convert the weight percentage data to fractions of total atoms. This results in an
               average composition for the residual waste organic component that can be expressed
               as a chemical formula.

       5)      Apply Kopp's rule to this chemical formula to estimate its heat capacity. This is done
               by assigning each element its respective contribution to the overall heat capacity.
               Expressed in terms of calories per gram molecular weight, the individual atomic heat
               capacities are: C, 1.8; H, 2.3; S, 5.4. These capacities are multiplied by the number
               of atoms in the formula, summed, then divided by the molecular weight of the
               compound, resulting in a heat capacity expressed in calories per gram of material per
               degree C.


As a specific example of how Kopp's rule is applied, a sample calculation follows for the sample "E".
The Unocal testing data show that "E", a core sample of asphaltic cement, has the composition:

       Carbon          14.4 wt.%
       Hydrogen         3.1 wt.%
       Nitrogen         none
       Sulfur           5.31 wt.%
       Adj. ash        54.6 wt.%
                        9.18 wt%
       Moisture        10.7 wt.%


The ash percentage in the list was adjusted to account for dehydration during ashing since the ash
component lost water that was not accounted for in the moisture data.

       adjusted ash            = 51.4 * (552/520) = 54.6 wt.%

The sulfuric acid reacts with the lime to form the gypsum product and is therefore not found in the

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^^      reacted waste. The hydrogen in the moisture and acid (each determined by ratios of molecular
        weight) is subtracted from the total hydrogen, leaving the hydrogen that is associated with the organic
        component of the residual waste. Likewise the sulfur in the sulfuric acid is subtracted from the total
        sulfur, leaving the sulfur that is associated with the organic component.

                adjusted hydrogen          = 3.1 - (2/18) * 10.7 - (2/98) * 9.18 = 1.72 wt.%

                adjusted sulfur            = 5.31 - (32/98) * 9.18 = 2.31 wt.%

        These adjustments result in the composition of the organic component of the residual waste,
        expressed as percentage of the total unreacted waste:

               carbon             14.4 wt.%
               hydrogen            1.72 wt.%
               sulfur              2.31 wt.%

        This composition is then converted to moles and normalized to 100 percent to reflect the true molar
        composition of the organic component alone, resulting in

               carbon             40 mole %
               hydrogen           58 mole %
               sulfur              2 mole %

        This molecular composition reflects a material with a chemical formula of CJH^Sj, or CjoH^. The
^^      heat capacity estimate is found by assigning each atom its respective atomic heat capacity and then
        dividing by the "molecular weight," or

               [(Cp-Carbon) * 40 -f- (Cp-Hydrogen) * 58 + (Cp-Sulfur) * 2] / 602               or

               (1.8 * 40 + 2.3 * 58 + 5.4 * 2) / 602 = 0.35 cal/g°C

        This heat capacity is used with the known heat capacities of the ash (0.224) and water (1.0)
        components to find the heat capacity of the residual waste. This is done by using the weighted
        average, or

               Cp(residual waste) = organic * Cp(organic) + ash * Cp(ash) -f- water * Cp(water)
                      each component being expressed as a weight fraction of the whole.


        The weight fractions are taken from the original data (percentages) and are

               water               0.107
               Adj. ash           0.546
               Organic            0.184
               total              0.837

        Theoretically the total would be 1, but experimental error rarely allows full accounting for all the
        elements. The calculated residual waste Cp is therefore divided by the total recovery to correct the
/*">>
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value.

         Cp(residual waste) = (0.184 * 0.35 -f- 0.546 * 0.224 + 0.107 * 1.0) / 0.837 = 0.35 cal/g°C

Results from 21 samples analyzed at Unocal were thus treated. Using the classifications of waste
types developed by Morrison Knudsen, the resulting averages for Cp for residual "asphaltic cement"
and "tar" waste were 0.39 and 0.47 cal/g°C, respectively.




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